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Limitations > Tolling

HN2|%] Statute of Limitations, Equitable Estoppel

Despite their value, the time limits imposed by statutes
of limitations may on occasion be too mechanical and
unforgiving. For that reason, the doctrine of equitable
tolling permits a court to pause the statute of limitations
when some significant impediment beyond the plaintiffs
control prevented the plaintiff from filing a timely action.
In other words, much of the focus of equitable tolling is
the impediment to filing. Thus, the equitable tolling
inquiry turns not on the uniqueness of a party's
circumstances or the outrageousness of what they
endured, but instead on the severity of the obstacle
impeding compliance with a limitations period.

Civil Procedure > Appeals > Standards of
Review > De Novo Review

Governments > Legislation > Statute of
Limitations > Pleadings & Proof

Civil Procedure > ... > Defenses, Demurrers &
Objections > Motions to Dismiss > Failure to State
Claim

Governments > Legislation > Statute of
Limitations > Time Limitations

HN3[%] Standards of Review, De Novo Review

Although the statute of limitations is an affirmative
defense that a plaintiff ordinarily need not plead to state
a claim, dismissal of the plaintiffs claim is appropriate
when the allegations in the complaint affirmatively show
that the claim is time-barred. An appellate court reviews
the issue of whether a limitations period has expired de
novo.

Governments > Legislation > Statute of
Limitations > Time Limitations

HN4(x] Statute of Limitations, Time Limitations

The FTCA requires plaintiffs to file administrative claims
with the government within two years after the claims
accrued and to commence any legal action within six
months after the government denies these
administrative claims. 28 U.S.C.S. § 2401/(b).

Civil Procedure > ... > Affirmative
Defenses > Statute of Limitations > Borrowing
Statutes

Torts > Procedural Matters > Statute of
Limitations > Borrowing Statutes

Civil Rights Law > Protection of Rights > Procedural
Matters > Statute of Limitations

Governments > Legislation > Statute of
Limitations > Time Limitations

HN5|x&] Statute of Limitations, Borrowing Statutes

42 U.S.C.S. § 1983 and claims lack express statutes of
limitations, and instead borrow the personal-injury
statute of limitations from the state in which the claim
arose.

Civil Procedure > Appeals > Standards of
Review > Abuse of Discretion

Governments > Legislation > Statute of
Limitations > Tolling

Civil Procedure > Appeals > Standards of
Review > De Novo Review

HNG6[S} Standards of Review, Abuse of Discretion

An appellate court reviews a denial of equitable tolling
de novo when the underlying facts are undisputed and
for abuse of discretion when there is a factual dispute.

Governments > Legislation > Statute of
Limitations > Time Limitations

Governments > Legislation > Statute of
Limitations > Tolling

HN7|%] Statute of Limitations, Time Limitations

An equitable tolling analysis generally proceeds in two
steps. A court must first determine whether it has
authority to equitably toll a particular statute of
limitations. When interpreting federal limitations periods,
the authority to equitably toll typically exists if the
limitations period is not jurisdictional.
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Governments > Legislation > Statute of
Limitations > Tolling

HNg[%] Statute of Limitations, Tolling

The Sixth Circuit has traditionally considered five factors
to determine whether equitable tolling of an FTCA claim
is warranted: whether the plaintiff (1) lacked notice of
the filing requirement, (2) lacked constructive knowledge
of the filing requirement, (3) diligently pursued his rights,
(4) would prejudice the defendant in pursuing the claim,
and (5) reasonably ignored the filing requirement.
Although these factors are not exhaustive, and not all
the factors may be applicable in every case, they serve
as useful guideposts for our analysis.

Governments > Legislation > Statute of
Limitations > Tolling

HNg[x&] Statute of Limitations, Tolling

The first and second equitable tolling factors look to
whether plaintiff had (1) actual notice or (2) constructive
knowledge of the filing deadlines. The existence of a
publicly available statute setting forth a filing deadline at
the very least establishes constructive knowledge.
Likewise, a plaintiff has constructive knowledge when
his attorney should have known of the filing deadlines.

Governments > Legislation > Statute of
Limitations > Time Limitations

HN10[%] Statute of Limitations, Time Limitations
The FTCA contains an express statute of limitations

provision, which plainly provides notice of the Act's
limitations period. 28 U.S.C.S. § 2401/b).

Governments > Legislation > Statute of
Limitations > Tolling

Torts > Malpractice & Professional
Liability > Attorneys

HN11[%] Statute of Limitations, Tolling

An attorney's mistake is typically not grounds for

equitable tolling. That is because the lawyer acts as the
agent of his client, and the client therefore must bear the
risk of attorney error. And the proper remedy for
attorney error is generally a legal malpractice suit or an
ineffective assistance of counse! claim, not equitable
tolling.

Governments > Legislation > Statute of
Limitations > Tolling

HN12[%] Statute of Limitations, Tolling

Courts have recognized an exception to the general rule
that an attorney error does not warrant equitable tolling.
When attorney misconduct is extraordinary, as opposed
to merely a form of garden variety negligence, equitable
tolling may be warranted. For example, a plaintiff might
qualify for equitable tolling when his attorney repeatedly
ignores his communications, refuses the plaintiffs
instructions to submit filings, or never speaks or meets
with the plaintiff. Instead, an attorney's being unaware of
the date on which the limitations period expired
suggests simple negligence.

Governments > Legislation > Statute of
Limitations > Tolling

HN13{%] Statute of Limitations, Tolling

A plaintiff must have diligently pursued the instant
claims during the entire period over which he seeks
equitable tolling. That means the plaintiff must have
pursued his claims with some regularity during that
period, as permitted by his circumstances.

Civil Procedure > ... > Jury Trials > Right to Jury
Trial > Actions in Equity

Governments > Legislation > Statute of
Limitations > Tolling

Civil Procedure > Appeals > Standards of
Review > Questions of Fact & Law

HN14[2&] Right to Jury Trial, Actions in Equity

The decision to invoke equitable tolling is a question of
law for a court to answer, rather than for a jury.
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Civil Procedure > ... > Affirmative
Defenses > Statute of Limitations > Borrowing
Statutes

Torts > Procedural Matters > Statute of
Limitations > Borrowing Statutes

Civil Rights Law > Protection of Rights > Procedural
Matters > Statute of Limitations

Governments > Legislation > Statute of
Limitations > Time Limitations

Governments > Legislation > Statute of
Limitations > Tolling

HN15[%] Statute of Limitations, Borrowing Statutes

42 U.S.C.S. § 1983 and claims borrow their statutes of
limitations from state law. And ordinarily, when the
statute of limitations is borrowed from state law, so too
are the state's tolling provisions, except when they are
inconsistent with the federal policy underlying the cause
of action under consideration.

Civil Procedure > ... > Affirmative
Defenses > Statute of Limitations > Federal
Preemption

Torts > Procedural Matters > Statute of
Limitations > Borrowing Statutes

Civil Rights Law > Protection of Rights > Procedural
Matters > Statute of Limitations

Governments > Legislation > Statute of
Limitations > Time Limitations

Governments > Legislation > Statute of
Limitations > Tolling

HN16[%] Statute of Limitations, Federal Preemption

Because claims, like 42 U.S.C.S. § 1983 claims, borrow
state statutes of limitations, the rationale for applying
state equitable tolling principles to § 1983 claims applies
to claims as well.

Governments > Legislation > Statute of

Limitations > Time Limitations

Governments > Legislation > Statute of
Limitations > Tolling

HN1 71%] Statute of Limitations, Time Limitations

Under Michigan law, an express statute of limitations
ordinarily cannot be equitably tolled.

Civil Procedure > Appeals > Standards of
Review > Abuse of Discretion

Civil Procedure > Appeals > Standards of
Review > De Novo Review

Civil Procedure > ... > Voluntary Dismissals > Court
Order > Dismissal With Prejudice

Civil Procedure > Dismissal > Voluntary
Dismissals > Appellate Review

HN1 g(t] Standards of Review, Abuse of Discretion

Dismissal with prejudice is appropriate when the
complaint could not be saved by an amendment. An
appellate court reviews the dismissal of a complaint with
prejudice for an abuse of discretion but apply de novo
review to the determination that an amendment would
be futile.

Civil Procedure > Appeals > Standards of
Review > Abuse of Discretion

Civil Procedure > ... > Defenses, Demurrers &
Objections > Motions to Dismiss > Failure to State
Claim

HN19[%] Standards of Review, Abuse of Discretion

If a district court considers materials outside the
pleadings at the motion to dismiss stage, it must
ordinarily convert the motion to dismiss into a motion for
summary judgment. However, the district court may
consider exhibits attached to the complaint, exhibits
attached to the motion to dismiss briefing, items in the
record, or public records without converting the motion
to dismiss when these items are referred to in the
complaint and are central to the claims contained
therein. The appellate court reviews the district court's
treatment of materials outside the pleadings for an
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abuse of discretion, which occurs when the district court
relies on clearly erroneous findings of fact, applies the
law improperly, or uses an erroneous legal standard.

Counsel: ARGUED: Nabih H. Ayad, AYAD LAW, PLLC,
Detroit, Michigan, for Appellant.

John G. Adam, LAW OFFICE OF JOHN G. ADAM,
PLLC, Berkley, Michigan, for Appellees Dixon, Groman,
Helland, and King.

Cheryl L. Ronk, CITY OF DETROIT LAW
DEPARTMENT, Detroit, Michigan, for Appellees Jasper,
Green, and City of Detroit.

ON BRIEF: Nabih H. Ayad, AYAD LAW, PLLC, Detroit,
Michigan, for Appellant.

John G. Adam, LAW OFFICE OF JOHN G. ADAM,
PLLC, Berkley, Michigan, Stuart M. Israel, STUART M.
ISRAEL, PLLC, Farmington Hills, Michigan, for
Appellees Dixon, Groman, Helland, and King.

Cheryl L. Ronk, Gregory B. Paddison, CITY OF
DETROIT LAW DEPARTMENT, Detroit, Michigan, for
Appellees Jasper, Green, and City of Detroit.

ARGUED: Nabih H. Ayad, AYAD LAW, PLLC, Detroit,
Michigan, for Appellant.

Jennifer L. Newby, UNITED STATES ATTORNEY'S
OFFICE, Detroit, Michigan, for Appellee.

ON BRIEF: Nabih H. Ayad, AYAD LAW, PLLC, Detroit,
Michigan, for Appellant.

Jennifer L. Newby, UNITED STATES ATTORNEY'S
OFFICE, Detroit, Michigan, for Appellee.

Judges: Before: CLAY, McKEAGUE, [**2] and
READLER, Circuit Judges.

Opinion by: CLAY

Opinion

[*361] [***2] CLAY, Circuit Judge. Plaintiff Richard
Wershe, Jr., appeals the district court's dismissal of his
complaints in two lawsuits pursuant to Federal Rule of
Civil Procedure 12(b)(6). On July 20, 2021, Wershe
sued the City of Detroit and federal and state law
enforcement officials for violations of his constitutional
rights under 42 U.S.C. § 1983 and Bivens v. Six
Unknown Named Agents of Fed. Bureau _of Narcotics,
403 U.S. 388, 91 S. Ct. 1999, 29 L. Ed. 2d 619 (1971).
Based on the same underlying facts, on October 28,

2022, Wershe also sued the United States for violations
of the Federal Tort Claims Act, 28 U.S.C. § 2671 et seq.
In a consolidated order, the district court dismissed
Wershe's complaints with prejudice because Wershe's
claims were time-barred. For the reasons set forth
below, we AFFIRM the district court's order.

[*362] [***3] Il. BACKGROUND

A. Factual Background

We draw the following facts from Wershe's complaints
and take them to be true at the motion to dismiss stage.
See Marvaso v. Sanchez, 971 F.3d 599, 605 (6th Cir.

2020).

In 1984, when Wershe was fourteen years old, his
father contacted the Federal Bureau of Investigation
("FBI") about a known drug dealer who had begun
dating Wershe's sister. FBI Agent James Dixon met with
Wershe's father about the dealer, and Wershe's father
brought Wershe along. At the meeting, Dixon showed
Wershe and his father photographs of neighborhood
individuals who were of interest to [**3] the FBI, and
Wershe was able to identify most of them.

Based on Wershe's ability to identify neighborhood
individuals of interest to the FBI, Dixon began using
fourteen-year-old Wershe as a drug informant for a joint
task force between the FBI and the Detroit Police
Department. To solicit information from Wershe, FBI
agents would show up unannounced while Wershe
walked to school, to his home, and to other locations,
sometimes several times a week or daily. Because
Wershe was a juvenile and afraid of law enforcement,
he felt he could not refuse. Over the following year,
Wershe's involvement with the task force deepened.
Federal and state officers, including Defendants
Groman, Jasper, and Greene, instructed Wershe to buy
and sell drugs, at one point sending him to another state
with thousands of dollars to do so.

Wershe's work as a juvenile drug informant placed him
in very dangerous situations. As a fourteen- and fifteen-
year-old, Wershe was put in proximity to drug trafficking
gangs and, by the age of seventeen, experienced
multiple attempted shootings. In November 1984,
someone shot and nearly killed Wershe, requiring him to
be hospitalized and causing injuries to his large
intestine. [**4] After using Wershe as an informant for a
couple of years, Defendants Groman, Jasper, and

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Greene then cut off contact with him. By 1987, Wershe
no longer worked as an informant.

On May 22, 1987, Wershe was arrested after officers
received a tip connecting Wershe to a large box of
cocaine. Subsequently, Wershe was convicted by a jury
of possession with intent [***4] to distribute 650 grams
or more of cocaine, in violation of Michigan Compiled
Laws § 333.7401(2)(a}(i) (amended 2002). See People
v. Wershe, No. 107785, at 1 (Mich. Ct. App. Apr. 30,
1990). For this conviction, Wershe—then seventeen
years old—received the statutorily mandated sentence
of life imprisonment without parole, see Mich. Comp.
Laws § 333.7401 (1978), although he later became
parole eligible based on changes to state law, see Act to
Amend 1953 PA 232, Pub. L. No, 314, Mich. Comp.
Laws § 791.234 (1998) (amending Michigan's drug laws
to establish parole eligibility for individuals who had
been sentenced to life imprisonment without parole).

While Wershe was incarcerated, law enforcement
approached him multiple times about cooperating with
ongoing investigations. In 1991, Defendants Groman
and Helland approached Wershe to participate in
"Operation Backbone," an investigation into corruption
within the Detroit Police Department and among Detroit
politicians. Because Defendant Helland stated that he
and Defendant Groman would [**5] do everything in
their power to get Wershe released if he cooperated,
Wershe agreed to participate. After Operation Backbone
resulted in the arrest of multiple Detroit police officers
and public officials, Defendant Helland arranged for
Wershe to be placed in a witness protection program
[*363] while incarcerated. Through this program,
Wershe was relocated within the state prison system
and received a fake identity.

In 1992, Wershe was again approached by law
enforcement officials, including Defendant King, this
time to testify before a grand jury against the "Best
Friends" gang. Wershe ultimately agreed to participate
based on King's promises that Wershe's grand jury
testimony would remain sealed and on the condition that
King would do everything in his power to get Wershe's
sentence commuted.

Wershe became eligible for parole in 2002, and his
parole hearing was scheduled for March 2003. Ahead of
Wershe's parole hearing, Defendant Helland informed
Wershe that neither he nor Defendant King could
advocate for Wershe's parole because their office did
not support Wershe's release. Wershe was denied
parole at the 2003 hearing. At the hearing, Wershe

observed law enforcement officers reading from [**6]
his grand jury testimony regarding the Best Friends
gang, contrary to his belief that his testimony would
remain sealed.

[***5] In 2017, Wershe was ultimately granted parole
by the Michigan Parole Board. Thereafter, Wershe was
immediately transferred to a Florida prison to serve a
sentence for an unrelated racketeering charge. Wershe
was released from prison on July 20, 2020.

B. Procedural History

Based on the above facts, Wershe brought two lawsuits.
On July 20, 2021, Wershe brought his first lawsuit, in
which he sued: (1) the City of Detroit, (2) two former
Detroit police officers (William Jasper and Kevin
Greene), (3) two former FBI agents (Herman Groman
and the Estate of James Dixon, via its representative
Carol Dixon), and (4) several former assistant U.S.
attorneys (Lynn Helland, Edward James King, and
Unknown Former Assistant U.S. Attorney). Wershe
sued the City of Detroit and the former municipal
officials (the "City Defendants") under 42 U.S.C. § 1983,
and he sued the former federal officials (the "individual
federal Defendants") under Bivens v. Six Unknown
Named Agents of Federal Bureau of Narcotics, which
recognizes a cause of action for damages against
federal officials. See 403 U.S. at 389.

Wershe alleged that [**7] while he was a juvenile
informant in the 1980s, the former police officers and
FBI agents violated his Fifth Amendment substantive
due process rights, his Fourth Amendment right to be
free from government seizures, and his First
Amendment right to family integrity." He also asserted
that the former assistant U.S. attorneys had violated and
conspired to violate his Fifth Amendment due process
rights by allegedly circulating his sealed grand jury
testimony ahead of his 2003 parole hearing. Wershe
additionally claimed that several Defendants breached a
promise to advocate for him at his 2003 parole hearing,
in violation of his Fifth Amendment due process rights.
Finally, Wershe alleged that the City of Detroit was
liable for its police department's conduct based on

1 Although Wershe's complaint alleges violations of his due
process rights under the Fifth Amendment, his claims against
the City Defendants fall under the Fourteenth Amendment's
Due Process Clause. See Scott v. Clay County, 205 F.3d 867,
873 n.8 (6th Cir. 2000).

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Monell liability. See Monell v. Dep't of Soc. Servs., 436
U.S. 658, 694, 98 S. Ct. 2018, 56 L. Ed. 2d 611 (1978).

[***6] On October 28, 2022, Wershe brought a second
lawsuit, in which he sued the United States under the
Federal Tort Claims Act ("FTCA"), 28 U.S.C. § 2671 et
seg. Wershe alleged that the United States was liable
for the conduct of the individual [*364] federal
Defendants named in the first lawsuit, which he claimed
had resulted in the torts of negligence or wanton
misconduct, intentional infliction of emotional distress,
fraud or negligent misrepresentation, and civil
conspiracy.

Defendants in both lawsuits moved to dismiss.
Thereafter, the district [**8] court issued a consolidated
order in which it granted Defendants’ motions to dismiss
in both lawsuits and dismissed Wershe's claims with
prejudice. The district court reasoned that dismissal was
appropriate pursuant to Federal Rule of Civil Procedure
12(b)(6) because Wershe's claims plainly fell outside of
the applicable statutes of limitations and Wershe was
not entitled to equitable tolling.. Wershe then timely
appealed the district court's order.

Il. DISCUSSION

HN1[#] Our legal system recognizes time limits on a
party's ability to bring claims. These time limits, reflected
in statutes of limitations, serve a number of purposes.
They prevent parties from bringing claims long after the
“evidence has been lost, memories have faded, and
witnesses have disappeared." CTS Corp. _ v.
Waldburger, 573 U.S. 1, 8, 134 S. Ct. 2175, 189 L. Ed.
2d 62 (2014) (quoting Ord. of R.R. Telegraphers v. Ry.
Express Agency, Inc., 321 U.S. 342, 349, 64S. Ct. 582,
88 L. Ed. 788 (1944)). They bring "security and stability
to human affairs” by disallowing the revival of claims in
perpetuity. Gabelli v. SEC, 568 U.S. 442, 448-49, 133 S.
Ct. 1216, 185 L. Ed. 2d 297 (2013) (quoting Wood v.
Carpenter, 101 U.S. 135, 139, 25 L. Ed. 807 (1879)).
Whether a plaintiff has a just claim or not, in light of the
above considerations, "the right to be free of stale
claims in time comes to prevail over the right to
prosecute them." Ord. of R.R. Telegraphers, 321 U.S. at
349.

HN2[#] Despite their value, the time limits imposed by
statutes of limitations may on occasion be too
mechanical and unforgiving. See Holland v. Florida, 560
U.S. 631, 650, 130 S. Ct. 2549, 177_L. Ed. 2d 130

tolling permits a court to pause the statute of limitations
when some significant impediment beyond the plaintiffs
control prevented the plaintiff from filing a timely action.
See Waldburger, 573 U.S. at 9. In other words, much of
the focus of equitable [***7] tolling is the impediment to
filing. Thus, the equitable tolling inquiry turns “not on the
uniqueness of a party's circumstances or the
outrageousness of what they endured," but instead on
"the severity of the obstacle impeding compliance with a
limitations period." Doe v. United States, 76 F.4th 64, 72
(2d _Cir._2023) (internal quotation marks and citation
omitted).

These principles are implicated in the case before us
today. The district court dismissed Wershe's claims as
time-barred. In response, Wershe argues that his
limitations periods should have been equitably tolled. He
also takes issue with the district court's dismissal of his
claims with prejudice, rather than without prejudice, and
with the district court's treatment of materials outside the
pleadings. Without reaching the merits of Wershe's
case, we conclude that the district court correctly
disposed of Wershe's claims.

A. Statute of Limitations

Defendants argue that Wershe's claims are barred by
the statutes of limitations. HN3[¥] Although the [**10]
statute of limitations is an affirmative defense that a
plaintiff ordinarily need not plead to state a claim,
dismissal of the plaintiffs claim is appropriate when "the
allegations in the complaint affirmatively show that the
claim is time-barred." Baltrusaitis v. Int'l Union, [°365]
United Auto., Aerospace & Agric. Implement Workers,
86 F.4th 1168, 1178 (6th Cir. 2023) (citation omitted).
We review the issue of whether a limitations period has
expired de novo. Durand v. Hanover Ins. Grp., Inc., 806
F.3d 367, 374 (6th Cir. 2015).

Wershe's complaints make clear that both his lawsuit
under the FTCA and his lawsuit under § 1983 and
Bivens were untimely. HN4F] The FTCA requires
plaintiffs to file administrative claims with the
government "within two years" after the claims accrued
and to commence any legal action “within six months"
after the government denies these administrative
claims. See 28 U.S.C. § 2401(b). Wershe's most recent
FTCA claims accrued when he was denied parole
shortly after his March 2003 parole hearing, at which
Defendants allegedly committed torts. See Heriz_v.
United States, 560 F.3d 616, 618 (6th Cir. 2009) (stating

(2010). For that reason, the doctrine of [**9] equitable

that tort claims under the FTCA generally accrue when

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the plaintiff is injured). With respect to his most recent
FTCA claims, Wershe was therefore required to bring
administrative claims shortly after March 2005. See 28
U.S.C. § 2401(b). However, Wershe did not file his
administrative claims until July [***8] 2021, long after
the expiration of the FTCA's [**11] two-year limitations
period. And many of Wershe's FTCA claims date even
further back because they relate to torts allegedly
committed while Wershe was a juvenile informant from
1984 to 1986.

Likewise, the limitations period for Wershe's § 1983 and
Bivens claims expired before Wershe sued the City
Defendants and individual federal Defendants. HNS5{*]
Section 1983 and Bivens claims lack express statutes of
limitations, and instead "borrow the personal-injury
statute of limitations from the state in which the claim
arose." Zappone v. United States, 870 F.3d 551, 559

denial of equitable tolling de novo when the underlying
facts are undisputed and for abuse of discretion when
there is a factual dispute. Robertson v. Simpson, [***9]
624 F.3d 781, 784 (6th Cir. 2010). Because we [*366]
assume Wershe's facts to be true at the motion to
dismiss stage, "there are no factual disputes" and de
novo review applies to the issue of equitable tolling in
this case. Amini v. Oberlin Coll., 259 F.3d 493, 498 (6th

Cir, 2001}.

HN7[*] An equitable tolling analysis generally proceeds
in two steps. A court must first determine whether it has
authority to equitably toll a particular statute of
limitations. When interpreting federal limitations periods,
the authority to equitably toll typically exists if the
limitations period is not jurisdictional. See Boechler,
P.C. v. Comm'r, 596 U.S. 199, 203, 209, 142 S. Ct.
1493, 212 L. Ed. 2d 524 (2022): see also Irwin v. Dep't

(6th Cir. 2017). Because Wershe's § 1983 and Bivens

of Veterans Affs., 498 U.S. 89, 95-96, 111 S. Ct. 453,

claims arose in Michigan, they are subject to Michigan's
three-year statute of limitations for personal-injury

claims. See Garza v. Lansing Sch. Dist., 972 F.3d 853.

867 _n.8 (6th Cir. 2020) (citing Mich. Comp. Laws §
600.5805(2)). Wershe's most recent § 7983 and Bivens

112 L. Ed. 2d 435 (1990). Wershe's limitations [**13]
period with respect to his FTCA claims does not
implicate this Court's jurisdiction and is therefore subject

to equitable tolling. See United States v. Wong, 575
U.S. 402, 420, 135 S. Ct. 1625, 191 L. Ed. 2d 533

claims are due process claims related to his March 2003
parole hearing. These claims accrued at the time of the
parole hearing or at the latest when Wershe was denied
parole. See Bannister v. Knox Cnty. Bd. of Educ., 49
F.4th 1000, 1010-11 (6th Cir. 2022) (observing that the
accrual date for due process claims turns on several
considerations and that some due process claims
accrue before any adverse consequences flow from the
due process violation); see also Johnson _v. Memphis
Light Gas & Water Div., 777 F.3d 838, 843 (6th Cir.
2015) (noting that § 1983 claims accrue when a plaintiff
knew or should have known of an injury); Friedman _v.
Est. of Presser, 929 F.2d 1151, 1159 (6th Cir. 1997)
(same for Bivens). Wershe was therefore required to
bring [**12] his most recent § 1983 and Bivens claims
in March 2006 or shortly thereafter, three years from the
date of the March 2003 parole hearing or the denial of
his parole, but he filed his lawsuit under § 1983 and
Bivens on July 20, 2021. His earlier claims date back to
the 1980s, and those claims are therefore even more
untimely.

B. Equitable Tolling

Wershe does not dispute that his claims fall outside of
the applicable statutes of limitations. However, he
argues that the district court erred by not equitably
tolling his limitations periods. HN6[#] We review a

(2015). State law presumptively governs the tolling of
Wershe's § 1983 claims against the City Defendants
and his Bivens claims against the individual federal
Defendants, so the availability of tolling for those claims
will ordinarily depend on the contours of state law. See
Bishop _v. Child.'s Ctr. for Developmental Enrichment,
618 F.3d 533, 537 (6th Cir. 2010). If equitable tolling is
available, the court must next decide whether equitable
tolling is warranted based on the governing tolling rules
for each claim, as discussed in greater detail for
Wershe's claims below.

1. FTCA Claims

HN8[*#| This Circuit has traditionally considered five
factors to determine whether equitable tolling of an
FTCA claim is warranted: whether the plaintiff (1) lacked
notice of the filing requirement, (2) lacked constructive
knowledge of the filing requirement, (3) diligently
pursued his rights, (4) would prejudice the defendant in
pursuing the claim, and (5) reasonably ignored the filing
requirement.2 Zappone, 870 F.3d _at 556. Although

2As the district court observed, the Supreme Court has
applied a different, two-element equitable tolling test to habeas
cases. See Holland, 560 U.S, at 649. That test equitably tolls a

habeas petitioner's claims when the petitioner shows "(1) that

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these factors are not exhaustive, [***10] and not all the
factors may be applicable in every case, they serve as
useful guideposts for our analysis. See Graham-

1993). Even assuming that Michigan law is relevant to
the tolling of Wershe's FTCA claims, but see Zappone,
870 F.3d at 556-57 (applying federal law to the tolling of

Humphreys _v. Memphis Brooks Museum of Art, Inc.,
209 F.3d 552. 561 (6th Cir. 2000). We therefore
consider each [**14] factor in turn.

a. Actual Notice and Constructive Knowledge

HNO[#| The first and second equitable tolling factors
look to whether Wershe had (1) actual notice or (2)
constructive knowledge of the filing deadlines. Zappone,

FTCA claims), Michigan law abolished incarceration as
a ground for tolling in 1993, effective April 1, 1994, and
impacted individuals were directed to bring suit by April
1, 1995. See Mich. Comp. Laws § 600.5851/9) (1993).
At best, the legal advice Wershe received would have
been mistaken after April 1, 1995.

(***11] HN11[¥] However, an attorney's mistake is
typically not grounds for equitable tolling. See Jurado v.
Burt, 337 F.3d 638, 644-45 (6th Cir. 2003); see also

870 F.3d at 556. The existence of a publicly available
statute setting forth a filing deadline at the very least
establishes constructive knowledge. See Athens
Cellular, Inc. v. Oconee County, 886 F.3d 1094, 1101
(11th Cir. 2018); [*367] see also Atkins v. Parker, 472

Lawrence v. Florida, 549 U.S. 327, 336, 127 _S. Ct.
1079, 166 L. Ed. 2d 924 (2007). That is because the
lawyer acts as "the agent of his client," and the client
therefore "must bear the risk of attorney error." United
States _v. Wright, 945 F.3d 677, 684 (2d Cir. 2079)

U.S. 115, 130, 105 S. Ct. 2520, 86 L. Ed. 2d 81 (1985).
Likewise, a plaintiff has constructive knowledge when
his attorney should have known of the filing deadlines.
See Rose v. Dole, 945 F.2d 1331, 1335 (6th Cir. 1991).

HN10(#| These factors weigh against Wershe. The
FTCA contains an express statute of limitations
provision, which plainly provides notice of the Act's
limitations period. See 28 U.S.C. § 2401(b). Because
the limitations period for an FTCA claim is publicly
available, and Wershe's attorneys should have known of
it, Wershe was at the very least on constructive notice of
his FTCA filing deadlines.

Wershe argues that two attorneys he retained—William
Bufalino and Ralph Musilli—mistakenly believed that he
would have one year after his release from prison to file
claims. According to Wershe, that advice was based on
a former Michigan law that tolled a plaintiffs limitations
period while the plaintiff was incarcerated. See Mich.
Comp. Laws § 600.5851(1) (1961) [**15] (amended

he has been pursuing his rights diligently, and (2) that some
extraordinary circumstance stood in his way’ and prevented
timely filing." Id. (quoting Pace v. DiGuglielmo, 544 U.S. 408.
418, 125 S. Ct. 1807, 161 L. Ed, 2d 669 (2005)). However, our
Circuit continues to apply the above five-factor equitable tolling
test to FTCA claims and other civil claims “[bJecause the
Supreme Court has never expressly adopted the Holland test
outside of the habeas context." Zappone, 870 F.3d at 557; see
also Menominee Indian Tribe v. United States, 577 U.S. 250,
257 n.2, 136 S. Ct..750, 193 L. Ed. 2d 652 (2016) ("[Wle have
never held that [Hollang's] equitable-tolling test necessarily
applies outside the habeas context."). Regardless, applying
the Holland test to Wershe's claims would not change the
outcome of his case.

(citation omitted); accord Damren v. Florida, 776 F.3d
816, 821 (11th Cir. 2015) (per curiam). And the proper
remedy for attorney error “is generally a_ legal
malpractice suit or an ineffective assistance of counsel
claim," not equitable tolling. Jurado, 337 F.3d at 644-45
(citations omitted).

HN12[#] Courts have recognized an exception to the
genera! rule that an attorney error does not warrant
equitable tolling, but that exception does not apply here.
When attorney misconduct is extraordinary, as opposed
to merely a form of “garden variety" negligence,
equitable tolling may be warranted. Holland, 560 U.S. at
651-52. For example, a plaintiff might qualify [**16] for
equitable tolling when his attorney repeatedly ignores
his communications, id. at 652, refuses the plaintiffs
instructions to submit filings, or never speaks or meets
with the plaintiff, Balidayaque v. United States, 338 F.3d
145, 152 (2d Cir. 2003). However, Wershe does not
plausibly allege any such extraordinary attorney conduct
here. Instead, an attorney's "be[ing] unaware of the date
on which the limitations period expired . . . suggest[s]
simple negligence." Holland, 560 U.S. at 652. While it is
possible that Wershe's attorneys were negligent, any
such attorney negligence is not grounds for equitable
tolling. See id. Because Wershe's attorneys should have
known of his limitations periods, he had at least
constructive knowledge of his filing deadlines. See
Rose, 945 F.2d at 1339.

b. Diligence

The next factor looks to whether Wershe diligently
pursued the claims he now brings. Zappone, 870 F.3d

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at 556. HN13(#] A plaintiff must have diligently pursued
the instant claims during the entire [*368] period over
which he seeks equitable tolling. See, e.g., Medina v.
Whitaker, 913 F.3d 263, 267 (1st Cir. 2019); Rashid v.
Mukasey, 533 F.3d 127, 132 (2d Cir. 2008); Alzaarir v.

However, while Wershe alleges he feared retaliation by
other parties for other conduct, he does not allege facts
that plausibly suggest that Defendants ever threatened
to retaliate as a result of him bringing suit. See Doe, 76
F.4th at 72. For example, Wershe asserts that while

Att'y Gen. of U.S., 639 F.3d 86, 90 (3d Cir. 2011) (per
curiam). That means the plaintiff must have pursued
[***12] his claims with "some regularity” during that
period, “as permitted by his circumstances." Smith _v.
Davis, 953 F.3d 582, 601 (9th Cir. 2020) (en banc).

Consulting with legal professionals about bringing
claims can certainly contribute to a plaintiffs diligence.
See Gordillo_v. Holder, 640 F.3d 700, 705 (6th Cir.
2011) (concluding [**17] that litigants diligently pursued
their claims when three lawyers, a fourth legal
professional, and an immigration judge told the litigants
that they lacked available relief). However, the mere fact
that Wershe consulted with two attorneys about his
claims does not establish his diligence over the multiple
decades during which he failed to bring suit.

First, Wershe admits that in 2004 he asked his then-
attorney about pursuing legal action against
Defendants. However, he chose not to bring suit
because "there was a real possibility of him being
released on parole." No. 4:22-cv-12596, Compl., R. 1,
Page ID #22. Wershe therefore discussed his potential
claims with an attorney and made a decision to await his
parole determination. His decision to delay his lawsuits
based on the possibility of parole is not the type of
extraordinary circumstance that ordinarily warrants
equitable tolling. See Waldburger, 573 U.S. at 9.

Wershe also argues that while he was in prison, he
feared Defendants would retaliate against him for
bringing claims, and that this excuses his delay. Some
courts have recognized that a defendant's "specific and
credible" threats of retaliation against a prisoner can
support equitable tolling. See, [**18] e.g., Doe, 76 F.4th
at 72. As applied to our Circuit's equitable tolling test, a
defendant's threats of retaliation sensibly bear on
whether a plaintiff was diligent "as permitted by his
circumstances," because a plaintiffs circumstances may
be affected by such threats. See Smith, 953 F.3d_at
601. And our Circuit has already acknowledged that
retaliation and intimidation can excuse the failure to
satisfy other requirements, such as the exhaustion
requirement under the Prison Litigation Reform Act, 42
U.S.C. § 1997e et seg. See Himmelreich v. Fed. Bureau
of Prisons, 766 F.3d 576, 577 (6th Cir, 2014) (per

curiam).

[***13] incarcerated, he participated in the “Operation
Backbone" investigation into political corruption and
police corruption in Detroit, As a result of his
participation, Wershe was placed in a witness protection
program, through which he was given a fake identity
and was relocated. While Wershe may have feared
retaliation from individuals targeted by Operation
Backbone, these allegations do not establish any
threats of retaliation by Defendants at all, let alone
threats targeted at Wershe [**19] bringing suit. In fact, it
was Defendant Helland, a former assistant U.S.
attorney, who arranged for Wershe's placement in the
witness protection program, ostensibly to protect
Wershe from any retaliation. Wershe also claims that
after he testified before a grand jury against the Best
Friends gang, unknown officers circulated his grand jury
testimony ahead of his parole hearing. But Wershe fails
to demonstrate how this example points to Defendants
or is connected to Wershe bringing claims.

[*369] Many of Wershe's other allegations amount to a
sweeping fear that someone in the justice system would
retaliate against him for bringing any legal action.
However, such a generalized fear of retaliation is
insufficient to warrant equitable tolling. See id.; Huff v.
Neal, 555 F. App'x 289, 296 (5th Cir. 2014) (per curiam);
Davis _v. Jackson, No. 15-CV-5359, 2016 U.S. Dist.
LEXIS 136034, 2016 WL 5720817, at *17 (S.D.N_Y.
Sept. 30, 2016). Otherwise, any untimely plaintiff who
asserted that he was generally fearful of bringing claims
would be entitled to equitable tolling. For example,
Wershe states that he "was terrified of his captors," No.
4:22-cv-12596, Compl., R. 1, Page ID #15, but such a
conclusory allegation "will not suffice" at the motion to
dismiss stage, see Mezibov v. Allen, 417 F.3d 712, 716
(6th Cir. 2005). He adds that two of his attorneys
advised him to forego all legal action for fear of
retaliation. [**20] However, this does little to establish
specific threats of retaliation by Defendants and to turn
Wershe's generalized fear of retaliation into a more
concrete one.

Furthermore, Wershe's fear of retaliation is made less
plausible by the fact that he pursued other legal actions
while he was incarcerated, including a suit against
members of his parole board. See Wershe v. Combs,
No, 1:12-CV-1375, 2016 U.S. Dist, LEXIS 43150, 2016
WL 1253036, at *1 (W.D. Mich. Mar. 31, 2016). He also

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appealed his conviction and sentence and thereafter
sought post-conviction relief multiple times. People v.
Wershe, No. 107785 (Mich. Ct. App. Apr. 30, 1990)
(direct appeal); People v. Wershe, No. 87-04902 (Mich.
Cir. Ct. Apr. 1, 2003) (motion for relief [***14] from
judgment); People v. Wershe, No. 329110 (Mich. Ct.
App. Sept. 29, 2015) (motion for relief from judgment).
Insofar as Wershe feared retaliation by anyone in the
justice system, it did not prevent him from pursuing
these actions, and such actions demonstrate that
Wershe had some access to the legal system.

Lastly, Wershe claims that he was diligent because he
filed his claims the day before his probation ended. Yet,
by this point, Wershe had been released from prison for
a year. More importantly, Wershe was required to
diligently pursue the instant claims during the full period
that he seeks to equitably toll. See, e.g., Medina, 913
F.3d at 267. The fact that Wershe brought his claims a
year after his release cannot establish his diligence
during the multiple decades [**21] for which he seeks
equitable tolling. Cf. Capiz-Fabian v. Barr, 933 F.3d
1015, 1018 (8th Cir. 2079) ("Large time lapses are a
significant obstacle to establishing one has diligently
pursued his rights.").

c. Prejudice to Defendants

The fourth equitable tolling factor considers whether
Defendants would be prejudiced by equitable tolling.
Zappone, 870 F.3d at 556. This factor weighs strongly
against Wershe. Wershe asks this Court to equitably toll
his claims not for some small period of time but for
decades. Defendants would be prejudiced by such a
result. Defendants note that many of the relevant
documents would be nearly impossible to locate, that
events would be difficult to recall, and that a significant
number of would-be witnesses are now dead. See
Cleveland Newspaper Guild, Loc. 1 v. Plain Dealer
Publi'g Co., 839 F.2d 1147, 1154 (6th Cir. 1988) (en
banc) (observing that a delay in filing a claim may
prejudice a defendant if the delay results in the loss of
potential witnesses and evidence). For example, they
observe that all of the following have passed away: (1)
FBI Agent James Dixon, whom Wershe sues through a
representative of Dixon's estate, (2) the two attorneys
who allegedly advised Wershe of his statute of
limitations, [*370] (3) a Detroit police commander who
allegedly ordered someone to kill Wershe, and (4)
former Detroit mayor Coleman Young, who
Wershe’s [**22] appellate briefing claims endangered
Wershe.

In fact, Wershe concedes that virtually all relevant
documents would be unavailable. He observes that "no
direct documentary evidence" exists in this case, that
any trial "would be [***15] almost purely testimonial,"
and that the witnesses would be "Plaintiff and
Defendants." See No. 23-1903, Appellant's Br. at 47.
Nonetheless, because he has the burden of proof, he
argues that this would prejudice him more than it would
prejudice Defendants. Even assuming that is true, the
fact that all the parties would face nearly insurmountable
litigation obstacles is of little help to Wershe. The
potential prejudice to Defendants is that they might be
forced to litigate on Wershe's terms without the help of
any documentary evidence that could call his testimony
into question. And the extremely limited ability to litigate
this case only illustrates that, after so many years, his
lawsuits may not be a suitable vehicle for the legal
system's function of discerning the truth.

d. Reasonableness

The final factor asks whether Wershe's ignorance of his
filing deadlines was reasonable. Zappone, 870 F.3d_at
556. This factor, which overlaps with some of the prior
factors, weighs against Wershe. [**23] Insofar as
Wershe ignored the filing deadlines because of attorney
error, attorney error typically is not grounds for equitable
tolling. Jurado, 337 _F.3d_at_ 644-45. And insofar as
Wershe ignored the filing deadlines because of threats
of retaliation, as discussed above, his allegations do not
plausibly demonstrate that Defendants threatened to
retaliate or would have retaliated against him. While
Wershe's circumstances are undoubtedly unique, and
he alleges a number of concerning facts, his ignorance
of the filing deadlines for nearly twenty years for some
claims and thirty to forty years for others was not
reasonable.

Wershe argues that a jury, not the district court, should
have decided whether his ignorance of the filing
deadlines was reasonable. At the least, Wershe adds,
he was entitled to an evidentiary hearing. HN14/#}
However, “[t]he decision to invoke equitable tolling is a
question of law for a court to answer," rather than for a
jury. Zappone, 870 F.3d_at_ 562. And Wershe never
sought an evidentiary hearing below. The district court
properly addressed the fifth factor of this Circuit's
equitable tolling analysis. As the above five factors
show, equitable tolling is not warranted for Wershe's
FTCA claims.

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(***16] 2. Section 1983 and Bivens Claims

Michigan [**24] law presumptively governs the tolling of
Wershe's § 1983 and Bivens claims. See Bishop, 618
F.3d at 537. Just as with our Circuit's five-factor test,
however, Wershe is not entitled to equitable tolling
under Michigan law.

HN15,#] Section 1983 and Bivens claims borrow their
statutes of limitations from state law. Zappone, 870 F.3d
at 559. And ordinarily, "[w]hen the statute of limitations
is borrowed from state law, so too are the state's tolling
provisions, except when they are ‘inconsistent with the
federal policy underlying the cause of action under
consideration.” Bishop, 618 F.3d_at 537 (quoting Bd. of
Regents v. Tomanio, 446 U.S. 478, 485, 100 _S. Ct.
1790, 64 L. Ed. 2d 440 (1980)). Although past cases
have typically applied this principle to other state
grounds for tolling, see id. at 537-38 (involving a state
statute's tolling of a limitations period while the plaintiff
was a minor); Tomanio, 446 U.S. at 485-87 (looking to
state tolling provisions [*371] to determine whether a
limitations period could be tolled while the plaintiff
pursued a related cause of action), our Circuit has held
in multiple unpublished cases that a state's equitable
tolling principles likewise govern § 1983 claims. See,
e.g., Roberson v. Macnicol, 698 F. App'x 248, 250 (6th
Cir. 2017) (considering the possibility of applying
Michigan equitable tolling rules); Helm v. Ratlerman,
778 F. App'x 359, 369 (6th Cir. 2019) (applying
Kentucky's equitable tolling statute). But cf. Martin v.
Somerset County, 86 F.4th 938, 944-45 (1st Cir. 2023)
(identifying as an open question in the First Circuit
whether state or federal law governs [**25] the
equitable tolling of § 1983 claims). HN16[¥] Because
Bivens claims, like § 1983 claims, borrow state statutes
of limitations, the rationale for applying state equitable
tolling principles to § 1983 claims applies to Bivens
claims as well.

Turning to Michigan's tolling rules, Wershe has not
satisfied his burden of pointing to any Michigan law that
persuades us to toll his § 7983 and Bivens claims; nor is
such law apparent. See Robertson, 624 F.3d_at 784.
Wershe does not argue, nor does he appear to qualify,
for any of Michigan's statutory grounds for tolling.? See,

3 Wershe previously would have qualified for two of Michigan's
statutory grounds for tolling, but neither applies now. First,
Michigan law formerly would have tolled Wershe's claims while
he was incarcerated, but that ground was repealed in 1993,
effective April 1, 1994. See Mich. Comp. Laws § 600,5851(1)

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e.g., Mich. Comp. Laws § 600.5855 [***17] (tolling the

limitations period where the defendant fraudulently
conceals a claim); id. § 600.5854 (tolling the limitations
period where the plaintiff is unable to bring suit due to
war); id. § 600.5856/a) (tolling the limitations period
where the complaint is filed but not yet served). HN17[
¥) And under Michigan law, an express statute of
limitations ordinarily cannot be equitably tolled. See
Secura Ins. Co. v. Auto-Owners Ins. Co., 461 Mich, 382,
605 N.W.2d 308, 317 (Mich. 2000) (per curiam).
Because Wershe's § 71983 and Bivens claims are
governed by Michigan's express three-year statute of
limitations for personal-injury claims, Mich. Comp. Laws

§ 600.5805/2), equitable tolling appears to be
unavailable under Michigan law.

We need not decide if Michigan's tolling rules are
“inconsistent with the federal policy underlying [§ 7983
and [**26] Bivens]" and thus require the application of
federal equitable tolling rules. See Bishop, 618 F.3d _at
537 (quoting Tomanio, 446 U.S. at 485); see, e.g.,
Battle v. Ledford, 912 F.3d 708, 715 (4th Cir. 2019).
Wershe has not made that argument on appeal. And
even if federal equitable tolling principles governed
Wershe's § 1983 and Bivens claims, we have already
concluded that Wershe is not entitled to equitable tolling
under federal law. See supra Section II.B.1.

Under both this Circuit's five-factor test and under
Michigan law, Wershe cannot avail himself of equitable
tolling, and his claims are therefore time-barred. We
thus need not consider several additional arguments
made by Defendants, such as that Wershe's “unclean
hands" preclude equitable tolling. Without reaching the
merits of Wershe'’s claims, we conclude that it was
proper for the district court to dismiss Wershe's
complaints.

[*372] C. Dismissal with Prejudice

Wershe argues that even if his claims are time-barred,
the district court erred by dismissing his complaints with
prejudice and, therefore, without leave to amend.
Rather, he claims the district court should have
permitted him to amend his complaints to add

(1961) (amended 1993). Second, when a limitations period
expires while the plaintiff is a minor, Michigan law affords the
minor a one-year grace period to file claims after the minor
turns eighteen years old. See id. § 600.5851/1). However, to
the extent that any of Wershe's limitations periods expired
while he was a minor, his one-year grace period has long
passed because he turned eighteen years old in 1988. See id.
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allegations that Defendants directly threatened him with
retaliation. HN18(#| Dismissal with prejudice is
appropriate [***18] when "the complaint could [**27]
not be saved by an amendment." Stewart v. /JHT Ins.
Agency Grp., LLC, 990 F.3d 455, 457 n.7 (6th Cir.
2021). We review the dismissal of a complaint with
prejudice for an abuse of discretion but apply de novo
review to the determination that an amendment would
be futile. See id.

The district court did not err by dismissing Wershe's
complaints with prejudice. Wershe never moved to
amend his complaints for the purpose of curing his
statute of limitations deficiencies before the district
court. Cf. Printup v. Dir, Ohio Dep't of Job & Fam.
Servs., 654 F. App'x 781, 791 (6th Cir. 2016) (affirming
the dismissal with prejudice of a plaintiffs timebarred
complaint where the plaintiff never moved to amend the
complaint and an amendment would have been futile).
Furthermore, Wershe does not point to any specific
allegations he could add that would change the statute
of limitations or equitable tolling inquiries. See Indep. Tr.
Corp. v. Stewart Info. Servs. Corp., 665 F.3d 930, 943
(7th Cir. 2012} (affirming dismissal with prejudice where
a plaintiff "did not offer any meaningful indication of haw
it would plead differently"). In fact, Wershe does not
contest that the applicable statutes of limitations have
expired. His claims clearly fall far outside of the
applicable statutes of limitations, and any amendments
to cure the statute of limitations deficiencies would
plainly be futile.

Similarly, Wershe does not identify any particular [**28]
allegations that could save his equitable tolling
arguments. Of course, it is always possible that a
plaintiff may allege some new fact, unknown to this
Court now, that makes equitable tolling more
compelling. But no such facts are apparent in Wershe's
case, given his decades-old claims and the lack of
available evidence to litigate his suits.

Wershe argues that he was caught off guard by the
district court's focus on whether Defendants issued any
specific threats of retaliation. Accordingly, he claims that
he should be permitted to add such allegations to his
complaint. However, it was Wershe's complaints that
introduced the idea that equitable tolling could be based
on threats of retaliation. Even on appeal, Wershe does
not make any new allegations that plausibly identify
specific threats of retaliation by Defendants. He only
generally remarks that he "could have obtained more
affidavits and/or facts." No. 23-1902, Appellant's Br. at
59; No. 23-1903, Appellant's Br. at 58. [***19] Because

no amendments appear able to save Wershe's time-
barred claims, dismissal with prejudice of Wershe's
complaints was proper.

D. Materials Outside the Pleadings

Lastly, Wershe challenges the district court's [**29]
handling of materials outside the pleadings. HN19[#] If
a district court considers materials outside the pleadings
at the motion to dismiss stage, it must ordinarily convert
the motion to dismiss into a motion for summary
judgment. Mediacom Se. LLC v. BellSouth Telecomms..,
Inc., 672 F.3d 396, 399 (6th Cir. 2012). However, the
district court may consider exhibits attached to the
complaint, exhibits attached to the motion to dismiss
briefing, items in the record, or public records without
converting the motion to dismiss when these items "are
referred to in the [complaint [*373] and are central to
the claims contained therein." Bassett v. NCAA, 528
F.3d_426, 430 (6th Cir. 2008). We review the district
court's treatment of materials outside the pleadings for
an abuse of discretion, see Wysocki v. Int'l Bus. Mach.
Corp., 607 F.3d 1102, 1104 (6th Cir. 2010), which
occurs when the district court “relies on clearly
erroneous findings of fact, applies the law improperly, or
uses an erroneous legal standard," United States v.
Pembrook, 609 F.3d 381, 383 (6th Cir. 2010).

Wershe first takes issue with the district court's failure to
consider three affidavits attached to his complaints that
allegedly established his fear of retaliation, as well as
other evidence attached to his motion to dismiss
briefing. However, while this Circuit's case law permits
the district court to consider such evidence at the motion
to dismiss stage if it is central to the plaintiffs
claims, [**30] nothing requires the district court to do
so. See Bassett, 528 F.3d_at 430. In this case, the
district court reasonably concluded that "many of the
submitted exhibits“—both those submitted by
Defendants and by Wershe—fell "well outside of the
complaint's central claims." No. 4:21-cv-11686, Consol.
Order, R. 73, Page ID #1418; No. 4:22-cv-12596,
Consol. Order, R. 20, Page ID #213. It was not an
abuse of discretion for the district court to do so. In any
case, these affidavits do not allege any specific threats
of retaliation, and seemingly do not change the
equitable tolling analysis given the strength of the
factors weighing against equitable tolling.

(***20] Wershe next argues that the district court
improperly considered Defendants’ evidence but refused
to consider Wershe's evidence. Specifically, the district
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court took notice that Wershe had sued his parole board
and the prison warden, and had also challenged his
conviction. However, unlike the affidavits and other
evidentiary materials that Wershe and Defendants
incorporated by reference into the pleadings, here the
district court simply took notice of other judicial
proceedings. And it took notice of these lawsuits "not for
the truth of the facts recited therein, [**31] but for the
existence of the [suits]." Winget v. JP_ Morgan Chase
Bank, N.A., 537 F.3d 565, 576 (6th Cir. 2008) (citation
omitted). It is "well-settled" that courts may do just that,
see Lyons v. Stovall, 188 F.3d 327, 332 n.3 (6th Cir.
1999), including at the motion to dismiss stage, see
Winget, 537 F.3d at 576, see also Fed. R. Evid. 201(d).
The district court did not err in doing so.

Ili. CONCLUSION

A number of Wershe's allegations, if true, are deeply
troubling. That said, we cannot move forward with
adjudicating Wershe's claims because his statutes of
limitations have long expired. For the reasons set forth
above, we AFFIRM the district court's dismissal of
Wershe's complaints.

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Case 5:24-cv-12647-JEL-KGA ECF No. 64-1, PagelD.1438 Filed 12/19/24 Page 14 of 100

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Wershe v. City of Detroit

United States District Court for the Eastern District of Michigan, Southern Division
August 1, 2024, Decided; August 1, 2024, Filed
Case No, 21-11686

Reporter
2024 U.S. Dist. LEXIS 136543 *; 2024 WL 3625312

RICHARD WERSHE, JR., Plaintiff, v. THE CITY OF
DETROIT, et al., Defendants.

Prior History: Wershe v. City of Detroit, 2022 U.S. Dist.
LEXIS 39200, 2022 WL 612390 ( E.D. Mich.. Mar. 2,

2022)

Core Terms

sanctions, Defendants’, motion for sanctions, equitable
tolling, proceedings, attorney's fees, vexatiously,
assertions, safe harbor provision, multiplied, frivolous,
expenses, opposing party, existing law, circumstances,
limitations, retaliation, untimely, argues, cases, advisory
committee note, unwarranted, grounded, lawsuit,
Courts, counts, parole, prison, rights, costs

Counsel: [*1] For Richard Wershe, Jr, Plaintiff: Nabih
H. Ayad, Ayad Law, P.L.L.C., Detroit, MI.

For City of Detroit, William Jasper, Kevin Greene,
Defendants: Gregory B. Paddison, City of Detroit, Law
Department, Coleman A. Young Municipal Center,
Detroit, MI.

For Herman Groman, Carol Dixon, as Represenative of
the Estate of James Dixon, Edward James King, Lynn
A. Helland, Defendants: John G. Adam, Law Office of
John G. Adam, PLLC, Royal Oak, MI; Stuart M. Israel,
Stuart M. Israel PLLC, Farmington Hills, MI.

Judges: F. Kay Behm, United States District Judge.

Opinion by: F. Kay Behm

Opinion

ORDER DENYING BIVENS DEFENDANTS' MOTION
FOR SANCTIONS (ECF No. 77) AND DENYING
PLAINTIFF'S COUNTER-REQUEST FOR SANCTIONS

(ECF No. 80)

I. INTRODUCTION

This case is before the court on Defendants Carol
Dixon, Herman Groman, Lynn Helland, and E. James
King's (the "Bivens Defendants") motion for sanctions.
(ECF No. 77). This motion follows a lengthy civil rights
litigation involving two related cases: Wershe v. City of
Detroit, Case No. 21-11686 ("Wershe I), the present
matter, and Wershe v. United States, Case No. 22-
12596 ("Wershe II"). Both cases, Wershe | and Wershe
ll were dismissed by this court on September 18, 2023
in a consolidated Opinion [*2] and Order finding that
Plaintiff's claims were barred by the relevant statutes of
limitations. (ECF No. 73, PagelD.1412). Following the
dismissal of Plaintiffs claims, the Bivens Defendants
moved for sanctions against Plaintiff Wershe and his
attorneys pursuant to Federal Rule of Civil Procedure
11, 28 U.S.C. § 1927, Federal Rule of Civil Procedure
54(d)(2), and Eastern District of Michigan Local Rule
54.1.2. (ECF No. 77, PagelD.1444). Specifically, they
ask for sanctions "in the form of a fee award for legal
work done by the Bivens defendants’ attorneys in
defending against Wershe's untimely and unwarranted
claims." Id., PagelD.1444; 1446 ("we ask for an award
of fees at market rates, jointly and severally payable to
the Bivens defendants' attorneys by Wershe and his
attorneys."). Wershe filed a response on October 27,
2023, arguing not only that the motion should be denied,
but also that the Bivens Defendants and/or their counsel
should be sanctioned under Fed. R. Civ. P. 17 for the
filing of this motion for sanctions. (ECF No. 80,
PagelD.1597). The Bivens Defendants filed a reply on
October 30, 2023. (ECF No. 81). Pursuant to E.D. Mich.
LR 7.1(f(1), the court finds that oral argument would not
aid in the resolution of this motion, and now decides it
on the parties' briefs alone. For the reasons stated
below, the court denies both the Bivens
Defendants’ [*3] motion and Plaintiffs request for
sanctions.

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il. BACKGROUND

The court will not recount the extensive factual history of
this case in full, but incorporates by reference the
factual background section from the court's consolidated
Order issued on September 18, 2023. (ECF No. 73). In
short, Plaintiffs claims stem from allegations that he
was “indoctrinated into criminal society" as a child by
officers from the Federal Bureau of Investigation (FBI)
and the Detroit Police Department (DPD), who allegedly
recruited him to serve as a confidential drug informant
for a joint FBI/DPD "taskforce." (See ECF No. 4,
PagelD.88, 125). Plaintiff was eventually arrested,
convicted of possessing 7,933.8 grams of cocaine, and
sentenced to life in prison without the possibility of
parole under Michigan's "650-lifer law." Id., Page!D.95.
Following reforms to the "650-lifer law," Plaintiff became
eligible for parole in 2002, and was granted parole in
2017. Id., PagelD.98, 105. Upon his release from prison
in Michigan, he was immediately transferred to a Florida
prison, where he served five years on a separate
racketeering conviction. /d., PagelD.104. In total,
Plaintiff served 32 years and seven months in [*4]
prison before he was released on July 20, 2020. /d.,
PagelD.105.

On July 20, 2021, Plaintiff filed the present matter,
Wershe |, against the City of Detroit, William Jasper,
Kevin Greene, the four Bivens Defendants (Carol Dixon,
Herman Groman, Lynn Helland, and E. James King),
and an unknown Assistant United States Attorney." Id.,
PagelD.82; see also ECF No. 1. Plaintiff's first amended
complaint, filed on September 44, 2021, brought a
number of claims under 42 U.S.C. § 1983 and Bivens v.
Six Unknown Named Agents of Fed. Bureau of
Narcotics, 403 U.S. 388, 91 S. Ct. 1999, 29 L. Ed. 2d
619 (1971), for alleged violations of his constitutional
rights. (ECF No. 4). Plaintiff filed his second case,
Wershe II, on October 28, 2022, against the United
States of America. (Wershe II, ECF No. 1). Wershe Il
brought seven tort claims under Michigan law pursuant
to the Federal Tort Claims Act (FTCA), 28 U.S.C. §

1Wershe | was originally before District Judge Laurie J.
Michelson, but was reassigned to District Judge Shalina D.
Kumar on February 15, 2022, and subsequently to the
undersigned on February 6, 2023.

2Wershe II was originally before District Judge Denise Page
Hood, but was reassigned to District Judge Shalina D, Kumar
on November 8, 2022, and subsequently to the undersigned
on February 6, 2023.

1346(b). Id. Defendants in both cases filed motions to
dismiss the relevant counts. (See Wershe |, ECF Nos.
8, 34; Wershe Il, ECF No. 6).

On July 19, 2023, the court held a hearing in both
cases, Wershe | and Wershe II, which was “limited in
scope to the statutes of limitations applicable to
Plaintiff's claims." (See ECF No. 58). The court issued a
consolidated Opinion and Order on September 18,
2023, finding “Plaintiffs claims [*5] in both Wershe |
and Wershe |! were untimely under the relevant statutes
of fimitations" and Plaintiffs “generalized fear of
retaliation” did not entitle him to equitable tolling. (ECF
No. 73, PagelD.1433). As such, the court dismissed all
of Plaintiffs claims in both cases. /d., PagelD.1438.
Approximately one month later, on October 11, 2023,
the Bivens Defendants filed the present motion for
sanctions against “Ayad Law PLLC, Nabih H. Ayad, and
William D. Savage — who signed and advocated
Wershe's ‘verified' complaints and later papers," and
Verifier’ Wershe." (ECF No. 77, PagelD.1444).

il, RELEVANT LEGAL STANDARDS

The Bivens Defendants’ motion argues that sanctions
are warranted under Fed. R. Civ. P. 17, 28 U.S.C. §
1927, Fed. R. Civ. P. 54/0)(2), and E.D. Mich. LR
54.1.2. Id.

Fed. R. Civ. P. 11 requires an attorney filing a pleading
in federal court to certify, to the best of their "knowledge,
information, and belief, formed after an inquiry
reasonable under the circumstances,” that:
(1) it is not being presented for any improper
purpose, such as to harass, cause unnecessary
delay, or needlessly increase the cost of litigation;

(2) the claims, defenses, and other legal
contentions are warranted by existing law or by a
nonfrivolous argument for extending, modifying, or
reversing existing [*6] law or for establishing new
law;

(3) the factual contentions have evidentiary support
or, if specifically so identified, will likely have
evidentiary support after a reasonable opportunity
for further investigation or discovery; and

(4) the denials of factual contentions are warranted
on the evidence or, if specifically so identified, are
reasonably based on a belief or a lack of
information.

Fed. R. Civ. P..11(b). The Advisory Committee Notes to

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Rule 11 set forth the following factors a court may

consider in deciding a motion for sanctions:
Whether the improper conduct was willful, or
negligent; whether it was part of a pattern of
activity, or an isolated event, whether it infected the
entire pleading, or only one particular count or
defense; whether that person has engaged in
similar conduct in other litigation; whether it was
intended to injure; what effect it had on the litigation
process in time or expense, whether the
responsible person is trained in the law; what
amount, given the financial resources of the
responsible person, is needed to deter that person
from repetition in the same case; what amount is
needed to deter similar activity by other litigants.

Fed. R. Civ. P. 11, Advisory Committee Notes (1993
amend.). The Sixth [*7] Circuit's test for Rule 11
sanctions asks “whether the individual's conduct was
reasonable under the circumstances." Union Planters
Bank v. L_& J Dev. Co., 115 F.3d 378, 384 (6th Cir.
1997) (citing Lemaster v. United States, 891 F.2d 115,
118 (6th Cir. 1989)). Courts must use an objective
standard and must determine what was reasonable
under the circumstances at the time the pleading was
filed. Salkil v. Mount Sterling Twp. Police Dep't, 458
F.3d 520, 530 (6th Cir. 2006) (citing INVST Fin. Group,
Inc. v. Chem-Nuclear Sys., Inc., 815 F.2d 391, 401 (6th
Cir. 1987)) (“Although a district court is given wide
discretion in deciding whether counsel have acted
reasonably under the circumstances, {t]he court is
expected to avoid using the wisdom of hindsight and
should test [counsel]'s conduct by inquiring what was
reasonable to believe at the time [counsel acted.]'").

28 U.S.C. § 1927 similarly provides a basis for

sanctions. Specifically, it states:

’ Any attorney or other person admitted to conduct
cases in any court of the United States or any
Territory thereof who so multiplies the proceedings
in any case unreasonably and vexatiously may be
required by the court to satisfy personally the
excess costs, expenses, and attorneys’ fees
reasonably incurred because of such conduct.

28 U.S.C. § 1927. Under this section, “sanctions are
warranted when an attorney objectively ‘falls short of the
obligations owed by a member of the bar to the court
and which, as a result, causes additional expense to the
opposing party.” Red Carpet Studios Div. of Source
Advantage, Ltd. v. Sater, 465 F.3d 642, 646 (6th Cir.
2006) (citing [*8] Ruben v. Warren City Sch., 825 F.2d
977, 984 (6th Cir. 1987)). “The purpose is to deter

dilatory litigation practices and to punish aggressive
tactics that far exceed zealous advocacy." Id. (citing
Jones v. Continental Corp., 789 F.2d 1225, 1230-31

(6th Cir. 1986)).

Fed. R. Civ. P. 54(d)(2) governs the filing of motions for
attorney's fees, stating: "fal claim for attorney's fees and
related nontaxable expenses must be made by motion
unless the substantive law requires those fees to be
proved at trial as an element of damages." Fed. R. Civ.
P. 54(d)(2)(A). Under this rule, “[uJnless a statute or a
court order provides otherwise, the motion must: (i) be
filed no later than 14 days after the entry of judgment;
(ii) specify the judgment and the statute, rule, or other
grounds entitling the movant to the award; (iii) state the
amount sought or provide a fair estimate of it; and (iv)
disclose, if the court so orders, the terms of any
agreement about fees for the services for which the
claim is made." /d. In this district, pursuant fo E.D. Mich.
LR 54.1.2, “[a] motion for attorneys’ fees and related
non-taxable expenses pursuant to Fed. R. Civ._P.
54(d)(2) must be filed no later than 28 days after entry
of judgment." E.D. Mich. LR 54.1.2(a). This motion must
also be supported by “a memorandum brief as to the
authority of the Court to make such an award" and "an
affidavit of counsel setting out in detail the number of
hours spent [*9] on each aspect of the case, the rate
customarily charged by counsel for such work, the
prevailing rate charged in the community for similar
services, and any other factors which the Court should
consider in making the award.” E.D. Mich. LR 54.1.2(b).

IV. ANALYSIS

A. Bivens Defendants‘ Motion for Rule 11 Sanctions

To bring a motion for sanctions under Fed. R. Civ. P.
11, a party must first comply with the Rule's “safe harbor
provision." See Penn, LLC v. Prosper Bus. Dev. Corp.,
773 F.3d 764, 766-67 (6th Cir. 2014). This provision,
intended to "allow the nonmovant a reasonable period to
reconsider the legal and factual basis for his contentions
and, if necessary, to withdraw the offending document,”
requires a party to serve their proposed motion for
sanctions on the opposing party at least 21 days before
filing the motion with the court. Fed. R. Civ. P. 11(c)(2)
("The motion must be served under Rule 5, but it must
not be filed or be presented to the court if the
challenged paper, claim, defense, contention, or denial
is withdrawn or appropriately corrected within 21 days
after service or within another time the court sets.").
"Failure to comply with the safe-harbor provision

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precludes imposing sanctions on the party's motion."
Penn, LLC, 773 F.3d at 767.

Plaintiff argues in opposition to the Bivens Defendants’
motion that he was not served properly under Rule 11's
safe harbor (*10] provision, which requires "the moving
party to have provided the nonmovant with the exact

SortiumUSA, LLC v. Hunger, No, 3:11-GV-1656-M,

2014 U.S. Dist_ LEXIS 35920, 2014 WL 1080765, at *3
({N.D. Tex. Mar. 18, 2014) ("Big Time's failure to serve
the Plaintiff during the safe-harbor period with the same
motion for sanctions that it later filed with the Court
indicates that it has not strictly complied with Fed. R.
Civ. P. Rule 11(c)(2).") (citing Roth v. Green. 466 F.3d

motion requesting sanctions, prior to their filing of the
motion.” (ECF No. 80, PagelD.1623) (emphasis in
original). The Sixth Circuit has not directly commented
on whether a motion filed under Rule 71 must be the
same motion sent to the opposing party under the safe
harbor provision. However, the Sixth Circuit has been
clear that only service of a motion for sanctions, not a
"warning letter," satisfies this rule, stating: "[wJe have no
doubt that the word ‘motion’ definitionally excludes
warning letters."? Penn, LLC, 773 F.3d at 764, Further,
courts across the country who have addressed this
question have held that, to comply with Rule 11's safe
harbor provision, the motion filed with the court must be
the exact same motion sent to the opposing party. See

3The Bivens Defendants point to a recent Sixth Circuit
decision, King v. Whitmer, which found that defendant
complied with Rule 11's safe harbor provision when they “sent
plaintiffs a detailed letter specifying the allegedly sanctionable
material" more than 21 days prior to the filing of their motion
for sanctions. King v. Whitmer, 77 F.4th 511, 529 (6th Cir.
2023) (emphasis added). The Sixth Circuit, however, does not
fully explain what was in this “detailed letter” and does not fully
analyze its sufficiency under the rule. /d. Looking to the lower
court filings, the defendant's relevant "motion for sanctions, for
disciplinary action, for disbarment referral and for referral to
state bar disciplinary bodies," filed on January 5, 2021, states:

The City also served Plaintiffs with a Motion for Sanctions
under Fed. R. Civ. P. 11 on December 45, 2020. Plaintiffs
did not withdraw or correct any of the false factual
allegations and frivolous legal theories in their pleadings
during the 21 days “safe harbor" period. Thus, this motion
is timely.

(King v. Whitmer, Eastern District of Michigan Case No. 20-
43134, ECF No. 78, PagelD.3617). Additionally, Eastern

District of Michigan Judge Linda V. Parker's earlier Order in

King v. Whitmer discussed the "Safe Harbor Motion the City
served on Plaintiffs‘ counsel on December 15, 2020." King v.
Whitmer, 556 F. Supp. 3d 680, 704 (E.D. Mich. 2027). These
two points suggest that the defendant did serve the plaintiffs
with an actual motion, not just a letter. As such, the court does
not interpret the Sixth Circuit's decision in King v. Whitmer as
overruling their prior precedent. See Penn, LLC, 773 F.3d at
767 ("[flirst and most important, the rule specifically requires
formal service of a motion.").

1179, 1192 (10th Cir. 2006) {tlhe _ plain
language...requires a copy of the actual motion for
sanctions to be served on the person(s) accused of
sanctionable behavior at least twenty-one days prior to
the [*14] filing of that motion."); Robinson v. Alutiiq-
Mele, LLC, 643 F. Supp. 2d 1342, 1350-51 (S.D. Fla.
2009) ("By its plain language, Rule 11 requires a
movant to file and serve the same sanctions motion.");
O'Connell v. Smith, No. CV 07-0198-PHX-SMM, 2008
U.S. Dist. LEXIS 121812, 2008 WL 477875, at *2 (D.
Ariz. Feb. 19, 2008) (rejecting the contention that
service of a "draft" motion for sanctions satisfies the
safe harbor provision of Rule 11); Wells Fargo Home
Morta.. Inc. v. Taylor, Nos. 04-825 & 04-841, 2004 U.S.
Dist, LEXIS 15502, 2004 WL 1771607, at *4 (E.D, La.
Aug. 5, 2004) (a draft of a different motion for sanctions
"is not sufficient to fulfill the Rule 11 requirements”)).

The Bivens Defendants sent Plaintiffs counsel, Mr.
Ayad and Mr. Savage, a copy of their “prospective
sanctions motion" on May 6, 20224 via email at 5:53 pm,
which they argue is sufficient to meet Rule 1's
requirements. (ECF No. 77-10). This prospective
motion, labeled “Bivens Defendants’ [Prospective]
Sanctions Motion" makes the following key arguments,
among others:

Wershe's Bivens claims are unwarranted by fact
and law, have no- proper purpose, in material
respects lack evidentiary support and are grounded
on allegations inconsistent [*12] with Wershe's
previous sworn testimony, admissions, and
representations in state and federal court
proceedings, and are based on false assertions and
misrepresentations.

0

Wershe's Bivens action is devoid of legal merit and
factual basis. It is premised on misrepresentations
— direct and by omission, half-truths, and untruths
— presented in this Court and in the media for no
proper purposes. Wershe uses this action to

4Notably, this prospective motion was served on Plaintiff and
his counsel 17 months before the motion was actually filed
with this court on October 11, 2023.

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promote his "brand," foster his "victim" persona,
and enhance his commercial interests.

Id., PagelD.1563, 1570. There are a number of key
differences between the motion served on Plaintiff's
counsel and the motion eventually filed with the court.
Notably, the Bivens Defendants’ current motion argues
"he and his attorneys failed to plead facts that, even if
true, would prove that Wershe's convictions and prison
sentences were ‘reversed on direct appeal’ or
‘invalidated,’ an essential element of his Bivens claims."
(ECF No. 77, PagelD.1445). The current motion also
focuses on the court's dismissal of Plaintiff's claims for
being untimely, arguing that "Wershe and his attorneys
asserted ‘equitable tolling’ to avoid the time-bar but, as
the Court held fj, relied [sic] on Wershe's supposed
subjective [*13] ‘fears’ factually-unconnected to the
Bivens defendants and failed to plead facts that, even if
true, could satisfy any of the equitable tolling doctrine's
‘required elements.” /d. Neither of these arguments are
mentioned in the “prospective” motion, outside of a
general note that the motion “incorporates the Bivens
defendants’ dismissal motion, brief, and exhibits," which
makes similar arguments about the validity of the Bivens
claims and the case's timeliness. (See ECF No. 34).
Because the current motion was not the same motion
sent to Plaintiff and his counsel, and adds several new
arguments following the court's dismissal of Plaintiff's
claims, it fails to comply with Rule 11's safe harbor
provision, and the Bivens Defendants are not entitled to
Rule 11 sanctions.

B. Bivens Defendants’ Motion for Sanctions under 28

U.S.C. § 1927

Even though the Bivens Defendants are not entitled to
sanctions under Rule 11, they may still seek excess
costs and attorney fees under 28 U.S.C. § 1927. “Unlike
Rule 11 sanctions, a motion for excess costs and
attorney fees under § 1927 is not predicated upon a
'safe harbor period, ‘nor is the motion untimely if made
after the final judgment in a case." Ridder _v. City of

conduct on the part of the subject attorney that trial
judges, applying the collective wisdom of their
experience on the bench, could agree falls short of the
obligations owed by a member of the bar to the court
and which, as a result, causes additional expense to the
opposing party." Ridder, 109 F.3d_at_ 298 (citations
omitted). "[T]he mere finding that an attorney failed to
undertake a reasonable inquiry into the basis for a claim
does not automatically imply that the proceedings were
intentionally or unreasonably multiplied.” Id.

The Bivens Defendants now seek a fee award from
Plaintiffs attorneys, “Ayad Law PLLC, Nabih H. Ayad,
and William D. Savage,” arguing they "iqnored defense
dismissal requests and complicated, multiplied, and
prolonged their unwarranted claims unreasonably and
vexatiously." (ECF No. 77, PagelD.1460). Specifically,
the Bivens Defendants argue fees are warranted for
three [*15] key reasons: (1) because Plaintiffs Bivens
claims were inexcusably untimely; (2) because Plaintiff's
Bivens claims were legally and factually meritless; and
(3) because Plaintiffs pleadings "made false assertions
of fact, disregarded the law, and filed this lawsuit with an
ulterior purpose." /d., PagelD.1448. The court will
address each of these arguments in turn.

i. Timeliness of Bivens claims

The Bivens Defendants first argue they are entitled to
fees because Plaintiff knowingly brought untimely claims
and the equitable tolling doctrine “never applied to
Wershe's self-claimed circumstances.” /d., PagelD.1461
(emphasis in original). Plaintiff's first amended complaint
admits his claims were filed outside of the relevant
statutes of limitations, but he argues they fall under an
“emerging doctrine" which finds that, "when a prisoner
has a legitimate fear of retaliation for exercising their
rights, equitable tolling must be considered." (ECF No.
4, PagelD.83); see also Davis v. Jackson, No. 15-CV-
5359 (KMK), 2016 U.S. Dist. LEXIS 136034, 2016 WL
5720811, at *11.(S.D.N.Y. September 30, 2016} ("Thus,

Sprinafield_ 109 F.3d 288, 297 (6th Cir. 1997) (citing In
re Ruben, 825 F.2d 977. 981-82) (6th Cir. 1987)). As
stated above, 28 U.S.C. § 1927 provides that any
attorney "who so multiples the proceedings in any [*14]
case unreasonably and vexatiously may be required by
the court to satisfy personally the excess costs,
expenses, and attorneys' fees reasonably incurred
because of such conduct." 28 U.S.C. § 1927; see also
Ridder, 109 F.3d at 298. Sanctions under § 1927 cannot
be based on "simple inadvertence or negligence that
frustrates the trial judge," rather “[t]here must be some

the Court concludes that in the prison context,
reasonable fear of retaliation may be sufficient to
constitute extraordinary circumstances warranting
equitable tolling, particularly if the person threatening
retaliation is a defendant [*16] or another official who
could be or was influenced by a defendant.”). The court
analyzed Plaintiffs arguments about the applicability of
equitable tolling to his unique situation and found that he
failed to allege "specific facts showing that a reasonable
fear of retaliation prevented [him] from filing a timely
complaint." (ECF No. 73, Page!D.1437) (citing Davis,
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2016 U.S. Dist. LEXIS 136034, 2016 WL 572018, at
*11; Stone #1 v. Annucci, No. 20-CV-1326 (RA), 2021
U.S. Dist. LEXIS 186195, 2021 WL 4463033, at *12
(S.D.N.Y. Sept, 28, 2021)).

The Bivens Defendants now argue that "from the start,
Wershe did not satisfy the Davis principles or Iqbal
standards and he failed to state a cognizable or timely
claim.". (ECF No. 77, PagelD.1465). Plaintiff's
arguments for equitable tolling relied heavily on Davis v.
Jackson, “an unpublished case from the Southern
District of New York [which] is not binding on this court."
(ECF No. 73, PagelD.1431). The court noted that
"neither the Sixth Circuit nor the Michigan courts have
directly addressed the issue of equitable tolling due to a
fear of retaliation" and, therefore, whether Davis was
applicable to the unique facts of this case presented a
relatively novel question of law. Id., PagelD.1432.
Courts are generally hesitant to award sanctions to a
prevailing party based on the court's dismissal of a
novel, albeit unsuccessful, argument. [*17] See In re
John Richards Homes Bldg. Co., L.L.C., No. 02-54689,
2009 U.S. Dist. LEXIS 117913, 2009 WL 5166199, at *2
(E.D. Mich. Dec. 17, 2009) ("Simply because JRH's
interpretation of the Michigan statute was novel did not
make it frivolous. JRH simply lost on the interpretation
issue; the conduct of JRH and its attorneys in arguing
that position does not now warrant sanctions simply
because they lost and their argument was not
persuasive."); see also B_& H Med., L.L.C., v. ABP
Admin.._Inc., 526 F.3d 257, 2714 (6th Cir. 2008)
("Sanctions are not appropriate simply because an
appellant's case 'may indeed be quite weak."); Gaiardo
v. Ethyl Corp., 835 F.2d 479, 483 (3d_Cir. 1987)
("Nothing in the language of the Rule or the Advisory
Committee Notes supports the view that ‘the Rule
empowers the district court to impose sanctions on
lawyers simply because a particular argument or ground
for relief contained in a non-frivolous motion is found by
the district court to be unjustified.”). This is based on a
fear of restricting or “inhibit[ing] imaginative legal or
factual approaches to the applicable law." Gaiardo, 835
F.2d at 483.

As stated above, fees may be awarded pursuant to 28
U.S.C, § 1927 only if "the attorney ‘multiples the
proceedings’ in the case ‘unreasonably and
vexatiously.” 28 U.S.C. § 1927. While the court did not
adopt Plaintiffs theory and rule in his favor on the
equitable tolling issue, this decision was made only after
the court independently analyzed the unique facts of this
case under [*18] both the Holland v. Florida two-factor
test and the Sixth Circuit's five-factor test. (See ECF No.

73, PagelD.1437). Given the novelty of Plaintiffs
argument and the unique facts of this case, the court
does not find that Plaintiffs counsel acted recklessly or
made frivolous claims by arguing that equitable tolling
applied. See Red Carpet Studios Div. of Source
Advantage. Ltd, 465 F.3d at 646 (holding that § 1927
sanctions require “something more than negligence or
incompetence"); Riddle v. Egensperger, 266 F.3d 542,
553 (6th Cir. 2001) (holding that § 1927 sanctions are
appropriate if an attorney "knows or reasonably should
know that a claim pursued is frivolous."). As such, the
Bivens Defendants are not entitled to recover fees
under this argument.

ii. Merit of Bivens claims

The Bivens Defendants next argue they are entitled to
recover fees from Plaintiff's counsel because “Wershe
and his attorneys presented and advocated Bivens
claims that were legally and factually unwarranted and
that depended on deliberate falsehoods and willful
misrepresentation by omission." (ECF No. 77,
PagelD.1460). Specifically, they argue "Wershe's
Bivens claims were barred by causation principles and
were ‘not cognizable’ under Heck v. Humphrey []," and .
“Damages' claims _ like Wershe's — asserting
‘unconstitutional conviction or imprisonment’ - ‘must be
dismissed’ [*19] if, as here, the ‘conviction or sentence’
was not ‘reversed on direct appeal’ or otherwise legally
‘invalidated. /d., PagelD.1466. The court's September
18, 2023 Order specifically clarified that it was limited to
dismissing Plaintiffs claims based on the statutes of
limitations and “should not be taken as a ruling on the
merits of any of the other substantive claims included in
these motions." (ECF No. 73, PagelD.1438 n. 8). The
relief the Bivens Defendants now ask for would require

the court to undertake an analysis and make a ruling on
whether Plaintiffs substantive claims failed on the merits
iii. Alleged false assertions of fact, disregard for the law,
and ulterior purpose

Finally,

to a degree that would make them frivolous. The court
the Bivens Defendants argue Plaintiff and his

attorneys violated Rule 11's "duty of candor" to the court

and other parties by “presenting falsehoods in ‘verified’

papers and affidavits offered ‘under penalty of perjury,"

as well as “omitt{ing] pertinent facts, disregard[ing]

entitled to recover fees under this argument.

declines to do so. The Bivens Defendants are not
pertinent law, and_ irresponsibly complicat[ing] and
Case 5:24-cv-12647-JEL-KGA ECF No. 64-1, PagelD.1444 Filed 12/19/24 Page 20 of 100

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prolong[ing}] the unwarranted Bivens claims." (ECF No.
77, [*20] PagelD.1468). As discussed above, the
Bivens Defendants are not entitled to Rule 14 sanctions
because they failed to comply with the safe harbor
provision. Therefore, the court may only impose
sanctions for their "false assertions of fact, disregard[]
[for] the law" and “ulterior purpose" if this conduct is
found to have “unreasonably and vexatiously" multiplied
the proceedings, pursuant to 28 U.S.C. § 1927. "Since
the plain language of the statute only penalizes
attorneys who vexatiously and unreasonably ‘multiply’
proceedings, Courts generally do not impose sanctions
under 28 U.S.C. § 1927 based on the filing of an initial
complaint that turns out to be meritless..." El-Khalil_v.
Tedeschi, No. 18-12759, 2023 U.S. Dist. LEXIS 159610,
2023 WL 5827666, at *8 (E.D. Mich. Sept. 8, 2023).

The Bivens Defendants’ motion bases their argument
about “false fact assertions and willful
misrepresentation" on two categories of claims: (1)
Plaintiffs assertions in Counts 7 and 9 about the
"unwritten promises” made by Groman, Helland, and
King to support his state parole, which were allegedly
“breached in 2003 when — supposedly — they
‘refused’ support, opposed parole, and ‘advocated for’
Wershe's ‘permanent incarceration," and (2) Plaintiff's
assertions in Counts 6, 10, and 11 about the cause of
his criminality and incarceration, which were allegedly
contradicted [*21] by his own testimony at various
hearings in 1999-2002 and 2017. (ECF No. 77,
PagelD.1469-72). The Bivens Defendants' motion also
argues generally that Plaintiff and his attorneys’
"complaint and advocacy omitted facts which debunked
their ‘equitable tolling’ plea and the causation and
‘breached promises’ assertions on which their Bivens

United States" but, even after Defendants [*22] agreed,
"Wershe’s attorneys multiplied proceedings by
vexatiously: (1) moving to add the United States and
keep the Bivens defendants, and (2) filing untenable
“companion” claims against the United States (in E.D.
Mich. no. 22-cv-12596) based on assertions virtually-
identical to their false and legally-deficient assertions in
this case." (ECF No. 77, PagelD.1475-76). They also
argue Wershe intended to use this lawsuit to “expand
and profit from his ‘notoriety," pointing to media
statements made on the steps of the federal courthouse
“about this lawsuit and his new ‘cannabis brand’ - called
‘the 8th by White Boy Rick." /d., PagelD.1476. The
court does not find that these actions "unreasonably or
vexatiously" multiplied the proceedings in this case to
the degree required by § 1927. While the filing of a
separate lawsuit against the United States of America
(Wershe Il) added a layer of complication to the
proceedings, Plaintiff has repeatedly asserted that this
was done "to help preserve Plaintiffs rights owing to
statute of limitations concerns," after the court failed to
act. (ECF No. 80, PagelD.1606). This alone does not
merit sanctions. See El-Khalil, 2023 U.S. Dist. LEXIS
459610, 2023 WL 5827666, at *9 ("Gronek's act of filing
an amended complaint did [*23] not unreasonably or
vexatiously multiply the proceedings of the case" where
his amended complaint was “word-for-word identical to
Khalil's argument already presented in his first motion.").
Additionally, whatever Plaintiffs "motive" was for filing
this lawsuit, it did not alone unreasonably lengthen or
delay the proceedings. As such, the Bivens Defendants
are also not entitled to recover fees under this
argument.

C. Bivens Defendants’ Motion for Attorney's Fees under

claims depended." /Id., PagelD.1472. They also note
that, although "Wershe's ‘equitable tolling’ plea
depended on Davis...his attorneys cited only Davis 7 (1,
not Davis 2," in further violation of their duty of candor.
Id., PagelD.1474. These arguments are limited to the
facts alleged in Plaintiffs original complaint and,
therefore, they cannot form the basis of an award of
sanctions under § 1927. El-Khalil, 2023 U.S. Dist.
LEXIS. 159610, 2023 WL 5827666, at *9 ("this Court
finds that Gonek's act of filing a complaint asserting
FCA claims that turned out to be unmeritorious does not
amount to a vexatious or unreasonable multiplication of
proceedings worthy of sanctions under § 1927.").

Finally, the Bivens Defendants argue Plaintiffs "true
goal" was to sue the United States, and they "offered in
June 2022 to dismiss their placeholder claims against
Dixon, Groman, Helland, and King and ‘substitute’ the

Fed. R. Civ. P. 54(d)(2) and E.D. Mich. LR 54.1.2(a)

In addition to their claims under Fed. R. Civ. P. 11 and
28 U.S.C. § 1927, the Bivens Defendants cite Fed. R.
Civ. P. 54(d)(2) and E.D. Mich. LR 54.1.2 as a basis for
their requested relief. (ECF No. 77, PagelD.1444). As
stated above, Fed. R. Civ. P. 54(d)(2) creates a
provision for the recovery of "attorney's fees and related
nontaxable expenses." Fed. R. Civ. P. 54(d)(2)(A). Such
a motion must: "(i) be filed no later than 14 days after
the entry of judgment,” “(ii) specify the judgment and the
statute, rule, or other grounds entitling the movant to the
award;" "(iii) state the amount sought or provide a fair
estimate of it" and "(iv) disclose, if the court so orders,
the terms of any agreement about fees for the services
for which the claim is made.” Fed. R. Civ. P. 54(d)(2)(B).
This rule is supplemented by E.D. Mich. LR 54.1.2,

which gives a party seeking costs 28 days from the

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entry of judgment, [*24] rather than 14 days, to file their
motion. E.D. Mich. LR. 54.1.2.

The Bivens Defendants’ motion does not specifically
detail their entitlement to relief under Fed. R. Civ. P.

8350812, at *6.n. 23 (N.D. Ohio Oct. 16, 2013), report
and recommendation adopted, No. 5:11CV1755, 2014
U.S. Dist. LEXIS 51936, 2014 149315 (N.D. Ohio Apr.
15, 2014) (emphasis in original); see also Rich _v.
TASER Int'l_Inc., No. 2:09-CV-02450-ECR, 2012 U.S.

54(d)(2) outside of their general request for sanctions
under Fed. R. Civ. P. 11 and 28 U.S.C. § 1927. (ECF
No. 77, PagelD.1444) ("The Bivens defendants ask for a
fee award (1) against Wershe's attorneys...under Rule
11(b)(1), (2), and (3) and 28 U.S.C. 1927, and (2)
against “verifier” Wershe, under Rule _11{b)(1) and
(3).") (emphasis added). Fed. R. Civ, P. 54{d)(2)

Dist. LEXIS 107927, 2012 WL 3155137, at *4 (D. Nev.
Aug. 2; 2012) ("To the extent that Plaintiffs seek
additional sanctions, Plaintiffs’ request must be denied
as procedurally improper.").

Here, Plaintiff seeks sanctions “as {] allowed pursuant ta
Rule 11." (ECF No. 80, PagelD.1597). [*26]

explicitly "dofes] not apply to claims for fees and
expenses as sanctions for violating these rules or as
sanctions under 28 U.S.C. § 1927. Fed. R. Civ. P.
54(d)(2\(E). The Bivens Defendants have cited no other
authority to support their entitlement to attorney's fees
under this subsection and, therefore, the court denies
their request.

D. Plaintiffs Response and Request for Sanctions

Plaintiffs response not only requests the Bivens
Defendants’ motion be denied, but also requests
"Defendants and/or their counsel, John G. Adam and
Stuart M. Israel, be sanctioned for filing the pending
motion, as is allowed pursuant to Rule 11." (ECF No.
80, PagelD.1597). As discussed above, before moving
for sanctions under Rule 11, a party typically must serve
their proposed motion on the opposing party at least 21
days before filing it with the court. Fed, R. Civ. P.
11(c)(2) ("The motion must be served under Rule 5, but
it [*25] must not be filed or be presented to the court if
the challenged paper, claim, defense, contention, or
denial is withdrawn or appropriately corrected within 21
days after service or within another time the court
sets."). "Failure to comply with the safe-harbor provision
precludes imposing sanctions on the party's motion."
Penn, LLC, 773 F.3d at 767. The advisory committee
notes to Rule 17 state, however, that "service of a cross
motion under Rule_11 should rarely be needed since
under the revision the court may award to the person
who prevails on a motion under Rule 11 - whether the
movant or the target of the motion — reasonable
expenses, including attorney's fees, incurred in
presenting or opposing the motion." Fed. R. Civ. P. 11,
advisory committee notes to 1993 amend (emphasis
added). However, to the extent a party's cross-motion
seeks additional sanctions "in addition to fees and
expenses incurred in opposing" the sanctions motion,
the safe harbor provision does apply. Universal
Surveillance Corp. v. Checkpoint Sys., Inc. No. 5:11-
CV-1755. 2013 U.S. Dist. LEXIS 187040, 2013 WL

Specifically, he argues the Bivens Defendants' conduct
is sanctionable for ten independent reasons:
- (1) For "having the gall to accuse him of bringing
suit solely for ‘commercial purposes."
- (2) For speculating that "Plaintiff's ‘true goal’ was
to sue the United States" when, had the litigation
continued, the United States would have been
substituted regardless.

- (3) For arguing that his failure to cite only Davis 7,
not Davis 2, was sanctionable, as "Davis 2 did not
abrogate the holding in Davis 7 in any way, shape,
or form.”

- (4) For making the "nonsense" argument that
Plaintiff violated his duty of candor.

- (5) Because their “accusations of ‘false causation
assertion’ for counts 6, 10, [and] 11 are frivolous."

- (6) Because their "accusations of ‘false breached
promises assertions’ behind counts 7 and 9 are
frivolous."

- (7) Because no claims were filed against Carol
Dixon.

~ (8) Because they “impermissibly relitigate, post-
judgment that Plaintiffs claims were barred by
immunity Jaw, Bivens, Heck  v. Humphreys
principles, and Iqbal pleading standards."

- (9) For "Defendants' attempted retrospective re-
litigation of their ‘reasonable diligence’ and
‘reasonable fear’ arguments."

- (10) "[Als [*27] their motion is not ‘warranted by
existing law where they filed a completely different
motion than the one which they originally sent
Plaintiff, pre-judgment."

Id., PagelD.1604-1622. Many of Plaintiffs arguments
appear to be responding to what he views as personal
attacks made by the Bivens Defendants in their motion.
See id., PagelD.1610 (Defendants' attempt to hold
Plaintiff to statements made by him or his agents while
Plaintiff was clearly under duress is wrong of

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Defendants technically and morally; And it is indecent
and unbecoming of members of the bar."); PagelD.1627
("The undersigned has been awarded by almost every
major civil rights organization, including receiving
special recognition from the Department of Justice, co-
chairing civil and law enforcement organizations, being
appointed Civil Rights Commissioner by two Governors
of this state (and so vetted by the Michigan Senate)...He
would never consider bringing a case that was
anywhere near frivolous."). The remainder of Plaintiff's
arguments counter the points made in the Bivens
Defendants’ motion including, in part, that “there simply
was no requirement of any kind on Plaintiff to cite (Davis
2]," it was facially false to argue [*28] that Plaintiff sued
Carol Dixon, “where Plaintiff has only ever sued the
estate of James Dixon," Defendants’ arguments as to
Plaintiffs Bivens claims "have already been considered
by this Court had were not found meritorious," and
Defendants failed to comply with Rule 11, where they
filed “a substantially different motion (one that
incorporates, references, and heavily relies on this
Court's final order) than the ‘motion’ which they sent to
Plaintiffs counsel.” /d., PagelD.1607, 1615, 1617, 1625.

Again, under Rule 117 sanctions may be imposed if "a
reasonable inquiry discloses the pleading, motion or
paper is (1) not well grounded in fact, (2) not warranted
by existing law or a good faith argument for the
extension, modification or reversal of existing law, or (3)
interposed for any improper purpose such as
harassment or delay.” Merritt v. Int'l] Ass'n of Machinists
& Aerospace Workers, 613 F.3d 609, 626 (6th Cir.
2010) (citing Herron v. Jupiter Transp. Co., 858 F.2d
332, 335 (6th Cir. 1988)). The purpose of Rule 11
sanctions is to deter the abuse of the legal process.
Gibson v. Solideal USA, Inc., 489 F. App'x 24, 29 (6th
Cir. 2012). Here, Plaintiff has not sufficiently shown that
the Bivens Defendants' motion was not well grounded,
not warranted by existing law, or filed to harass or
create an improper delay. Id. Although the court did not
find Plaintiffs conduct to be sanctionable, the Bivens
Defendants' motion for sanctions itself [*29] was not
inherently frivolous. As such, the court also denies
Plaintiffs request for sanctions.

V. CONCLUSION

For the reasons stated above, the court declines to
award sanctions against Plaintiff or his attorneys and
the Bivens Defendants' motion for sanctions is DENIED.
Additionally, the court DENIES Plaintiffs counter-
request for sanctions included in their response to the

Bivens Defendants’ motion.
SO ORDERED.

Date: August 1, 2024

isi F. Kay Behm

F. Kay Behm

United States District Judge

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Case 5:24-cv-12647-JEL-KGA ECF No. 64-1, PagelD.1447 Filed 12/19/24 Page 23 of 100

GF Questioned
As of: November 20, 2024 4:56 PM Z

Bivens v. Six Unknown Named Agents of Fed. Bureau of Narcotics

‘ Supreme Court of the United States
January 12, 1971, Argued ; June 21, 1971, Decided
No. 301

Reporter

403 U.S. 388 *; 91 S. Ct. 1999 **; 29 L. Ed. 2d 619 #4. 4971 U.S. LEXIS 23 ****

BIVENS v. SIX UNKNOWN NAMED AGENTS OF
FEDERAL BUREAU OF NARCOTICS

Subsequent History: On remand at Bivens v. Six
Unknown Named Agents of Federal Bureau of
Narcotics, 456 F.2d 1339, 1972 U.S. App. LEXIS 10860
(2d Cir. N.Y., 1972)

Prior History: [****1] CERTIORARI TO THE UNITED
STATES COURT OF APPEALS FOR THE SECOND
CIRCUIT.

Bivens v. Six Unknown Named Agents of Federal
Bureau of Narcotics, 409 F.2d 718, 1969 U.S. App.
LEXIS 12867 (2d Cir. N.Y.. 1969)

Disposition: 409 F.2d 718, reversed and remanded.

Core Terms

damages, federal court, exclusionary rule, cases, state
law, rights, suppression doctrine, federal official, arrest,
authorization, courts, search and seizure, suppress,
cause of action, violations, invasion, remedies,
equitable, seizure, seized, deter, damages remedy,
district court, federal agent, federal law, vindication,
effective, resources, federal cause of action, law
enforcement officer

Case Summary

Procedural! Posture

Petitioner appealed a judgment of the United States
Court of Appeals for the Second Circuit, which affirmed
the dismissal of petitioner's suit for damages against
respondents, agents of the Federal Bureau of Narcotics,
who were alleged to have conducted an unlawful search
and arrest in violation of U.S. Const. amend. IV.

Overview

The federal agents argued that petitioner's right to
damages for an invasion of the state-created right to
privacy was available only in a state court applying state
law. Thus, respondents asserted, they would stand
before state law as private citizens if a constitutional
violation was found. The court disagreed, saying that
the relationship between federal agents, acting
unconstitutionally, and a private citizen differed from that
between private citizens. Because agents had a far
greater capacity for harm, the Court reasoned, the
Fourth Amendment limited the exercise of federal
power. The Court explained that the Amendment did not
proscribe only those acts engaged in by private citizens
that were condemned by state law, that the interests of
state laws regulating invasion of privacy and the
Amendment's guarantee against unreasonable
searches could be inconsistent, and that the awarding of
damages to petitioner following a violation of the
Amendment by federal agents was a remedy normally
available in the federal courts.

Outcome

The judgment affirming the dismissal of petitioner's suit
for damages against the federal agents in federal court
was reversed and remanded, because a federal remedy
for an unlawful search and arrest allegedly in violation of
the Fourth Amendment was not limited to conduct
condemned by state law.

LexisNexis® Headnotes

Constitutional Law > ... > Fundamental
Rights > Search & Seizure > Scope of Protection
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403 U.S. 388, *388; 91 S. Ct. 4999, **1999; 29 L. Ed. 2d 619, ***619; 1971 U.S. LEXIS 23, ****1

HN1(%] Search & Seizure, Scope of Protection

See U.S. Const, amend. IV.

Constitutional Law > ... 7 Fundamental
Rights > Search & Seizure > Scope of Protection

Governments > Federal Government > Claims By &
Against

Constitutional Law > ... > Fundamental
Rights > Search & Seizure > General Overview

Governments > Federal Government > Employees
& Officials

HN2[%] Search & Seizure, Scope of Protection

A violation of the Fourth Amendment protection against
unreasonable searches and seizures by a federal agent
acting under color of his authority gives rise to a cause
of action for damages consequent upon his
unconstitutional conduct.

Criminal Law & Procedure > Search &
Seizure > Governmental Action Requirement

Torts > ... > Duty On
Premises > Trespassers > General Overview

Constitutional Law > ... > Fundamental
Rights > Search & Seizure > Scope of Protection

Criminal Law & Procedure > Search &
Seizure > General Overview

Criminal Law & Procedure > Search &
Seizure > Warrantless Searches > Private Searches

HN3[x] Search & Seizure, Governmental Action
Requirement

U.S. Const. amend. IV operates as a limitation upon the
exercise of federal power regardless of whether the
state in whose jurisdiction that power is exercised would
prohibit or penalize the identical act if engaged in by a
private citizen. It guarantees to citizens of the United
States the absolute right to be free from unreasonable
searches and seizures carried out by virtue of federal
authority. And where federally protected rights have
been invaded, it has been the rule from the beginning

that courts will be alert to adjust their remedies so as to
grant the necessary relief.

Governments > Legislation > Statutory Remedies &
Rights

HN4(x%| Legislation, Statutory Remedies & Rights
Where legal rights have been invaded, and a federal
statute provides for a general right to sue for such

invasion, federal courts may use any available remedy
to make good the wrong done.

Lawyers’ Edition Display

Summary

An action for damages was instituted in the United
States District Court for the Eastern District of New York
against federal narcotics agents, the plaintiff seeking
recovery for humiliation and mental suffering resulting
from the agents’ conduct, under claim of federal
authority, in connection with an arrest and search
relating to alleged narcotics violations by the plaintiff.
The plaintiff alleged that the agents, acting without a
warrant and without probable cause, had entered the
plaintiff's apartment, had used unreasonable force in
effecting the arrest, had searched the apartment, and
had later interrogated the plaintiff and subjected him to a
visual strip search. The District Court dismissed the
complaint on the ground, inter alia, that it failed to state
a cause of action (276 F Supp 12), and the Court of
Appeals for the Second Circuit affirmed on that basis.
(409 Fad 718.)

On certiorari, the United States Supreme Court reversed
and remanded. In an opinion by Brennan, J., expressing
the view of five members of the court, it was held that a
violation of the Fourth Amendment's command against
unreasonable searches and seizures, by a federal agent
acting under color of federal authority, gave rise to a
federal cause of action for damages consequent upon
the agent's unconstitutional conduct.

Harlan, J., concurred in the judgment, stating that
federal courts had the power to award damages for
violation of constitutionally protected interests, and that
the traditional judicial remedy of damages was
appropriate to vindicate the personal interests protected
by the Fourth Amendment.

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647-JEL-KGA ECF No. 64-1, PagelD.1449 Filed 12/19/24 Page 25 of 100

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403 U.S. 388, *388; 91 S. Ct. 4999, **1999; 29 L. Ed. 2d 619, ***619; 1971 U.S. LEXIS 23, ****4

Burger, Ch. J., dissented, expressing the views that the
doctrine of separation of powers would be better
preserved by recommending a solution to the problem
of damages caused by a federal agent's failure to obey
the strictures of the Fourth Amendment to the Congress
as the branch of government in which the Constitution
has vested the legislative power, that with regard to
deterring law enforcement officials from attempting to
obtain evidence through illegal searches and seizures,
the suppression doctrine, calling for the exclusion of
iNegally obtained evidence which would otherwise be
admissible, was unsatisfactory, and that the problem
could be solved by Congress’ enacting legislation which
would (1) waive sovereign immunity as to illegal acts of
law enforcement officials committed in the performance
of assigned duties, (2) create a cause of action for
damages resulting from such illegal acts, (3) create a
quasi-judicial tribunal to adjudicate the claims for such
damages, (4) provide that this statutory remedy would
be in lieu of the exclusion of evidence secured for use in
criminal cases in violation of the Fourth Amendment,
and (5) provide that no evidence otherwise admissible
would be excluded from any criminal proceeding
because of violation of the Fourth Amendment.

Black, J., dissented on the ground that while Congress
could create a federal cause of action for damages for
an unreasonable search by federal officers in violation
of the Fourth Amendment, it had not done so, and the
creation of such a cause of action by the court was an
exercise of power not given to it by the Constitution.

Blackmun, J., dissenting, stated that the judicial
legislation creating the cause of action opened the door
for another avalanche of new federal cases, tending to
stultify proper law enforcement, and that if a truly
aggrieved person had no adequate remedy, then it was
for Congress and not the court to act.

Headnotes

SEARCH AND SEIZURE §32 > federal agent's
unconstitutional conduct -- action for damages —- 7 Headnote:

LEdHN/1AT =) [A]LEGHN/1B 7%] [18]

Violation of the Fourth Amendment's command against
unreasonable searches and seizures, by a federal agent
acting under color of federal authority, gives rise to a
federal cause of action against the agent for money
damages consequent upon the agent's unconstitutional

conduct.

PLEADING §179 > unlawful search and seizure -- allegation
of lack of probable cause -- > Headnote:

LEdHNI2I%) (21

Fairly read, a complaint in an action to recover damages
for federal officers’ alleged violation of the plaintiff's
Fourth Amendment right against unreasonable search
and seizure, sufficiently alleges that the arrest of the
plaintiff was made without probable cause where it
alleges that the arrest was “done unlawfully,
unreasonably and contrary to law," notwithstanding that
the complaint does not explicitly state that the agents
had no probable cause for the plaintiff's arrest.

SEARCH AND SEIZURE §4 > operation of Fourth
Amendment -- > Headnote:

LEdHNI3I%) [3]

The Fourth Amendment operates as a limitation upon
the exercise of federal power regardless of whether a
state in whose jurisdiction that power is exercised would
prohibit or penalize the identical act if engaged in by a
private citizen.

SEARCH AND SEIZURE §4 > Fourth Amendment guaranty
-- > Headnote:

LEdHNI4]%] [4]

The Fourth Amendment guarantees fo citizens of the
United States the absolute right to be free from
unreasonable searches and seizures carried out by
virtue of federal authority.

COURTS §255 > violation of federal right -- remedy —
> Headnote:

LEGHN/S]\%) (51

Where federally protected rights have been invaded, the
courts will be alert to adjust their remedies so as to
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403 U.S. 388, *388; 91 S. Ct. 1999, **1999; 29 L. Ed. 2d 619, ***619; 1971 U.S. LEXIS 23, weed

The Fourth Amendment confines an officer executing a
search warrant strictly within the bounds set by the

warrant.

grant the necessary relief.

SEARCH AND SEIZURE §4 > Fourth Amendment --
conduct proscribed -- > Headnote:

LEdHN{6][%) [6]

The Fourth Amendment does not proscribe only such
conduct as would, if engaged in by private persons, be
condemned by state law.

TRESPASS §5 > liability — invitation to home -- > Headnote:

LEdHN{11][=«] [11]

A private individual lawfully in the home of another will
not normally be liable for trespass beyond the bounds of
his invitation absent clear notice to that effect.

SEARCH AND SEIZURE §4 > Fourth Amendment -- local

trespass laws -- > Headnote: SEARCH AND SEIZURE §4 > Fourth Amendment -- state

law — > Headnote:

LEdHNI7I(%4) (7)
LEdHN[120%) [12]

The Fourth Amendment is not tied to the niceties of
local trespass laws.

State law may neither authorize federal agents to violate
the Fourth Amendment nor undertake to limit the extent
to which federal authority can be exercised.

SEARCH AND SEIZURE §4> SEARCH AND SEIZURE
§32 > Fourth Amendment — state-law tort claim —
> Headnote:

LEdHN/8]*%] [8] > Headnote:
LEGHN/[1311% [13]

Where legal rights have been invaded, and a federal

statute provides for a general right to sue for such

invasion, federal courts may use any available remedy

to make good the wrong done.

COURTS §255 > federal right -- remedy for violation --

The Fourth Amendment does not serve only as a
limitation on federal defenses to a state-law tort claim
against federal agents, but is an independent limitation
upon the exercise of federal power.

TRESPASS §5 > admission to house — > Headnote:
ACTION OR SUIT §2 > civil liberty — protection of laws —

LEdHNI9](%] [9]
> Headnote:

A private citizen, asserting no authority other than his LEdHN/1411%] [14] \

own, will not normally be liable in trespass if he

demands, and is granted, admission to another's house. The essence of civil liberty consists in the right of every

individual to claim the protection of the laws whenever
he receives an injury.

SEARCH AND SEIZURE §29 > warrant - execution —-
> Headnote:

LEdHN/10][%] (10]

ERROR §1681 > reversal -- question not decided below --

> Headnote:
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403 U.S. 388, *388; 91 S. Ct. 1999, **1999; 29 L. Ed. 2d 619, ***619; 1971 U.S. LEXIS 23, ****1

LEdHN/15][%] [15]

Upon reversing a Federal Court of Appeals’ judgment
which had affirmed a District Court's dismissal-for
failure to state a cause of action--of a complaint to
recover damages for federal agents’ alleged violation of
the Fourth Amendment, the United States Supreme
Court will not consider the question whether the agents
are immune from liability by virtue of their official
position, where such question was not passed upon by
the Court of Appeals.

Syllabus

Petitioner's complaint alleged that respondent agents of

the Federal Bureau of Narcotics, acting under color of
federal authority, made a warrantless entry of his
apartment, searched the apartment, and arrested him
on narcotics charges. All of the acts were alleged to
have been done without probable cause. Petitioner's
suit to recover damages from the agents was dismissed
by the District Court on the alternative grounds (1) that it
failed to state a federal cause of action and (2) that
respondents were immune from suit by virtue of their
official position. The Court of Appeals affirmed on the
first ground alone. Held:

4. Petitioner's complaint states a federal cause of action
under the Fourth Amendment for which damages are
recoverable upon proof of injuries resulting from the
federal agents’ violation of that Amendment. Pp. 390-
397.

2. The Court does not reach the immunity question,
which was not passed on by the Court of Appeals.
[****2] Pp. 397-398.

Counsel: Stephen A. Grant argued the cause and filed
a brief for petitioner.

Jerome Feit argued the cause for respondents. On the
brief were Solicitor General Griswold, Assistant Attorney
General Ruckelshaus, and Robert V. Zener.

Melvin L. Wulf filed a brief for the American Civil
Liberties Union as amicus curiae urging reversal.

Judges: Brennan, J., delivered the opinion of the Court,
in which Douglas, Stewart, White, and Marshall, JJ,
joined. Harlan, J., filed an opinion concurring in the
judgment, post, p. 398. Burger, C. J., post, p. 411,
Black, J., post, p. 427, and Blackmun, J., post, p. 430,
filed dissenting opinions.

Opinion by: BRENNAN

Opinion

[*389] [***622] [**2001] MR. JUSTICE BRENNAN
delivered the opinion of the Court.

LEdHN/MAN#) [1A]The Fourth Amendment provides
that:

HN1[#] "The right of the people to be secure in their
persons, houses, papers, and effects, against
unreasonable searches and seizures, shall not be
violated... ."

In Bell v. Hood, 327 U.S. 678 (1946), [****3] we
reserved the question HN2¥] whether violation of that
command by a federal agent acting under color of his
authority gives rise to a cause of action for damages
consequent upon his unconstitutional conduct. Today
we hold that it does.

This case has its origin in an arrest and search carried
out on the morning of November 26, 1965. Petitioner's
complaint alleged that on that day respondents, agents
of the Federal Bureau of Narcotics acting under claim of
federal authority, entered his apartment and arrested
him for alleged narcotics violations. The agents
manacled petitioner in front of his wife and children, and
threatened to arrest the entire family. They searched
the apartment from stem to stern. Thereafter, petitioner
was taken to the federal courthouse in Brooklyn, where
he was interrogated, booked, and subjected to a visual
strip search.

LEdHN/2I*| [2]On July 7, 1967, petitioner brought
suit in Federal District Court. In addition to the
allegations above, his complaint asserted that the arrest
and search were effected without a warrant, and that
unreasonable force was employed in making the arrest;
fairly [****4] read, it alleges as well that the arrest was
made without probable cause. 1 Petitioner [***623]
claimed to have suffered great humiliation, [*390]
embarrassment, and mental suffering as a result of the

‘ Petitioner's complaint does not explicitly state that the agents
had no probable cause for his arrest, but it does allege that the
arrest was "done unlawfully, unreasonably and contrary to
law." App. 2. Petitioner's affidavit in support of his motion for
summary judgment swears that the search was “without
cause, consent or warrant," and that the arrest was "without
cause, reason or warrant." App. 28.
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403 U.S. 388, *390; 91 S. Ct. 1999, #9001; 29 L. Ed. 2d 619, ***623; 4971 U.S. LEXIS 23, ****4

agents’ unlawful conduct, and sought $ 15,000 damages
from each of them. The District Court, on respondents’
motion, dismissed the complaint on the ground, infer
alia, that it failed to state a cause of action. 2 [****5] 276
F.Supp. 12 (EDNY 1967}. The Court of Appeals, one
judge concurring specially, 3 affirmed on that basis. 409
F.2d 718 (CA2 1969). We granted certiorari. 399 U.S.
905 (1970). We reverse.

Respondents do not argue that petitioner should be
entirely without remedy for an unconstitutional invasion
of his rights by federal agents. In respondents’ view,
however, the rights that petitioner asserts -- primarily
[**2002] rights of privacy -- are creations of state and
not of federal law. Accordingly, they argue, petitioner
may obtain money damages to redress invasion of
these rights only by an action in tort, under state law, in
the state courts. In this scheme the Fourth Amendment
would serve merely to limit the extent to which the
agents [****6] could defend [*391] the state law tort
suit by asserting that their actions were a valid exercise
of federal power: if the agents were shown to have
violated the Fourth Amendment, such a defense would
be lost to them and they would stand before the state
law merely as private individuals. Candidly admitting
that it is the policy of the Department of Justice to
remove all such suits from the state to the federal courts
for decision, * respondents nevertheless urge that we

2The agents were not named in petitioner's complaint, and the
District Court ordered that the complaint be served upon
"those federal agents who it is indicated by the records of the
United States Attorney participated in the November 25, 1965,
arrest of the [petitioner].” App. 3. Five agents were ultimately
served.

3 Judge Waterman, concurring, expressed the thought that
“he federal courts can... entertain this cause of action
irrespective of whether a statute exists specifically authorizing
a federal suit against federal officers for damages” for acts
such as those alleged. In his view, however, the critical point
was recognition that some cause of action existed, albeit a
state-created one, and in consequence he was willing “as of
now’ to concur in the holding of the Court of Appeals. 409
F.2d, at 726 (emphasis in original).

4*Since it is the present policy of the Department of Justice to
remove to the federal courts all suits in state courts against
federal officers for trespass or false imprisonment, a claim for
relief, whether based on state common law or directly on the
Fourth Amendment, will ultimately be heard in a federal court."
Brief for Respondents 13 (citations omitted); see 28 U.S. C. §

uphold dismissal of petitioner's complaint in federal
court, and remit him to filing an action in the state courts
in order that the case may properly be removed to the
federal court for decision on the basis of state law.

[(****7] LEdHN/3I*) (3] LEdHN[4I(* | [4] LEdHN/ST|
¥) [5]We think that respondents’ thesis rests upon an
unduly restrictive [**624] view of the Fourth
Amendment's protection against unreasonable searches
and seizures by federal agents, a view that has
consistently been rejected by this Court. Respondents
seek to treat the relationship between a citizen and a
federal agent unconstitutionally exercising his authority
as no different from the relationship [*392] between
two private citizens. In so doing, they ignore the fact
that power, once granted, does not disappear like a
magic gift when it is wrongfully used. An agent acting --
albeit unconstitutionally -- in the name of the United
States possesses a far greater capacity for harm than
an individual trespasser exercising no authority other
than his own. Cf. Amos v. United States, 255 U.S. 313,
317 (1921); United States v. Classic, 313 U.S. 299, 326
(1941). Accordingly, as our cases make clear, [****8]
HN3#] the Fourth Amendment operates as a limitation
upon the exercise of federal power regardless of
whether the State in whose jurisdiction that power is
exercised would prohibit or penalize the identical act if
engaged in by a private citizen. It guarantees to citizens
of the United States the absolute right to be free from
unreasonable searches and seizures carried out by
virtue of federal authority. And “where federally
protected rights have been invaded, it has been the rule
from the beginning that courts will be alert to adjust their
remedies so as to grant the necessary relief.” Bell v.
Hood, 327 _U.S., at 684 (footnote omitted); see Bemis
Bros, Bag Co. v. United States, 289 U.S. 28, 36 (1933)
(Cardozo, J.), The Western Maid, 257 U.S. 419, 433

(1922) (Holmes, J).

1442 (a); Willingham v. Morgan, 395 U.S. 402 (1969). In light
of this, it is difficult to understand our Brother BLACKMUN's
complaint that our holding today “opens the door for another
avalanche of new federal cases." Post, at 430. In estimating
the magnitude of any such “avalanche,” it is worth noting that
a survey of comparable actions against state officers under 42
U.S. C. § 1983 found only 53 reported cases in 17 years
(1951-1967) that survived a motion to dismiss. Ginger & Bell,
Police Misconduct Litigation —- Plaintiffs Remedies, 15 Am.
Jur. Trials 555, 580-590 (1968). Increasing this figure by
900% to allow for increases in rate and unreported cases,
every federal district judge could expect to try one such case
every 13 years.

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403 U.S. 388, *392; 91 S. Ct. 1999, **9002; 29 L. Ed. 2d 619, ***624: 1971 U.S. LEXIS 23, *FEEB

wre

LEdHN{6]|*] [6] LEdHN(7I*) [7] LEdHN/8I¥]
[8]First. Our cases have long since rejected the nation
that the Fourth Amendment [****9] proscribes only such
conduct as would, if engaged in by private persons, be

peradventure that the Fourth Amendment is not tied to
the [*394] niceties of local trespass laws. Katz_v.
United States, 389 U.S. 347 (1967); Berger _V. New
York, 388 U.S. 41 (1967); Silverman V. United States,

condemned by state law. Thus in Gambino v. United
States, 275 U.S. 310 (1927), petitioners [**2003] were
convicted of conspiracy to violate the National
Prohibition Act on the basis of evidence seized by state
police officers incident to petitioners’ arrest by those
officers solely for the purpose of enforcing federal law.
Id., at 314, Notwithstanding the lack of probable cause
for the arrest, id., at 313, it would have been permissible
under state law if effected [*393] by private individuals.
5 [***41] [t appears, moreover, that the officers were
under direction from the Governor to aid ins the
enforcement of federal law. /d., af 315-317. Accordingly,
if the Fourth Amendment reached only to conduct
impermissible under the law of the State, the
Amendment would have had no application to the case.
Yet this Court held the Fourth Amendment applicable
and reversed petitioners’ convictions as having been
based upon evidence obtained through an
unconstitutional search and seizure. Similarly, in Byars
v. United States, 273 U.S. 28 ye*625] (1927), [****10]
the petitioner was convicted on the basis of evidence
seized under a warrant issued, without probable cause
under the Fourth Amendment, by a state court judge for
a state law offense. At the invitation of state law
enforcement officers, a federal prohibition agent
participated in the search. This Court explicitly refused
to inquire whether the warrant was "good under the
state law... since in no event could it constitute the
basis for a federal search and seizure.” /d.,

(emphasis added). © And our recent decisions regarding
electronic surveillance have made it clear beyond

5New York at that time followed the common-law rule that a
private person may arrest another if the latter has in fact
committed a felony, and that if such is the case the presence
or absence of probable cause is irrelevant to the legality of the
arrest. See McLoughlin v. New York Edison Co., 252 N. Y.
202, 169 N. E. 277 (1929): cf. N. Y. Code Crim. Proc. § 183
(1958) for codification of the rule. Conspiracy to commit a
federal crime was at the time a felony. Act of March 4, 1909, §
37, 35 Stat. 1096.

6 Conversely, we have in some instances rejected Fourth
Amendment claims despite facts demonstrating that federal
agents were acting in violation of local law. McGuire v. United
States, 273 U.S. 95 (1927) (trespass ab initio), Hester _v.
United States, 265 U.S. 57 (1924) ("open fields" doctrine); cf.
Burdeau_v. McDowell, 256 U.S. 465 (1921) (possession of
stolen property).

Id.._at 29

365 U.S. 505, 511 (1961). In light of these cases,
respondents’ argument that the Fourth Amendment
serves only as a limitation on federal defenses to a state
law claim, and not as an independent limitation upon the
exercise of federal power, must be rejected.

LEdHN/OI*) (91 LEdHN/10*) [10] LEdHN/111 81
[14] LEdHN([121%] [12]Second. The interests
protected by state laws regulating trespass and the
invasion of privacy, and those protected by the Fourth
Amendment's guarantee against unreasonable
searches and seizures, may be inconsistent or even
hostile. Thus, we may bar the door against an
unwelcome private intruder, or call the police if he
persists in seeking (****12] entrance. The availability of
such alternative means for the protection of privacy may
lead the State to restrict imposition of liability for any
consequent trespass. A private citizen, asserting no
authority other than his own, will not normally be liable
in trespass if he demands, and is granted, admission ta
another's house. See W. Prosser, The Law of Torts §
48, pp. 109-110 (3d ed. 4964); 1 F. Harper & F. James,
The Law of Torts § 1.11 (1956). But one who demands
admission under a claim of federal authority stands in a
far different [**2004] position. Cf. Amos _ v. United
States, 255 U.S. 313, 317 (1921). The mere invocation
of federal power by a federal law enforcement official
will normally render futile any attempt to resist an
unlawful entry or arrest by resort to the local police; and
a claim of authority to enter is likely to unlock the door
as well. See Weeks v. United States, 232 U.S. 383, 386
(1914); Amos v. United States, supra. 7 [eeeq ay "in
such cases there [***626] is no safety for the citizen,
[*395] except in the protection of the judicial tribunals,
for rights which have been invaded by [****13] the
officers of the government, professing to act in its name.
There remains to him but the alternative of resistance,
which may amount to crime." United States v. Lee, 106

7 Similarly, although the Fourth Amendment confines an officer
executing a search warrant strictly within the bounds set by
the warrant, Marron _v. United States, 275 U.S. 192, 196
(1927); see Stanley v. Georgia, 394 U.S. 557, 570-572 (1969)
(STEWART, J., concurring in result), a private individual
lawfully in the home of another will not normally be liable for
trespass beyond the bounds of his invitation absent clear
notice to that effect. See 1 F. Harper & F. James, The Law of
Torts § 1.11 (1956).

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403 U.S. 388, *395; 91 S. Ct. 1999, **2004; 29 L.

U.S. 196, 219 (1882). ® Nor is it adequate to answer that
state law may take into account the different status of
one clothed with the authority of the Federal
Government. For just as state law may not authorize
federal agents to violate the Fourth Amendment, Byars
v. United States, supra; Weeks v. United States, supra,
In re Ayers, 123 U.S. 443, 507 (1887), neither may state
law undertake to limit the extent fo which federal
authority can be exercised. In re Neagle, 135 U.S. 1
(1890). The inevitable consequence of this dual
limitation on state power is that the federal question
becomes not merely a possible defense to the state law
action, but an independent claim both necessary and
sufficient to make out the plaintiffs cause of action. Cf.
Boilermakers v. Hardeman, 401 U.S. 233, 241 (1971).

LEdHN/1BI¥ | (4B)  LEdHNsA3TF] [13]
LEdHN/14*] [14]Third. That damages may be
obtained for injuries consequent upon a violation of the
Fourth Amendment by federal officials should hardly
seem a surprising proposition. Historically, damages
have been regarded as the ordinary remedy for an
invasion of personal interests in liberty. See Nixon v.

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action by [****16] Congress. We are not dealing with a
question of "federal fiscal policy," as in United States v.
Standard Oil Co., 332 U.S. 301, 311 (1947). In that case
we refused to infer from the Government-soldier
relationship that [***627] the United States could
recover damages from one who negligently injured a
soldier and thereby caused the Government to pay his
medical expenses and lose his services during the
course of his hospitalization. Noting that Congress was
normally quite solicitous where the federal purse was
involved, we pointed out that "the United States [was]
the party plaintiff to the suit. And the United States has
power at any time fo create the liability." /d., af 3176, see
United States v. Gilman, 347 U.S. 507 (1954). Nor are
we asked in this case to impose liability upon a
congressional employee for actions contrary to no
constitutional [*397] prohibition, but merely said to be
in excess of the authority delegated to him by the

Congress. Wheeldin v. Wheeler, 373 U.S. 647 (1963).
Finally, we cannot accept respondents’ formulation of

the question as whether the availability of (***17]
money damages is necessary to enforce the Fourth
Amendment. For we have here no explicit congressional

Condon, 286 U.S. 73 (1932); [*396] Nixon v. Herndon,
273 U.S, 536, 540 (1927); Swafford v. Templeton, 185
U.S. 487 (1902); [****15] Wiley v. Sinkler 179 U.S. 58
(1900); J. Landynski, Search and Seizure and the
Supreme Court 28 ef seq. (1966); N. Lasson, History
and Development of the Fourth Amendment to_the
United States Constitution 43 et seq. (1937); Katz, The
Jurisprudence of Remedies: Constitutional Legality and
the Law of Torts in Bell v. Hood, 417 U. Pa. L. Rev. 1, 8-
33 (1968); cf. West v. Cabell, 153 U.S, 78 (1894);
Lammon v. Feusier, 111 U.S. 17 (1884). Of course, the
Fourth Amendment does not in so many words provide
for its enforcement by an award of money damages for
the consequences of its violation. But “itis... well
settled that HN4[*] where legal rights have been
invaded, and a federal statute provides for a general
right to sue for such invasion, federal courts may use
any available remedy to make good the wrong done."
Bell v. Hood, 327 U.S., at 684 (footnote omitted). The
present [**2005] case involves no special factors
counselling hesitation in the absence of affirmative

8 Although no State has undertaken to limit the common-law
doctrine that one may use reasonable force to resist an
unlawful arrest by a private person, at Jeast two States have
outlawed resistance to an unlawful arrest sought to be made
by a person known to be an officer of the law. R. I. Gen. Laws
§ 12-7-10 (1969); State v. Koonce, 89 N. J. Super. 169, 180-
484, 214A. 2d 428, 433-436 (1965).

declaration that persons injured by a federal officer's
violation of the Fourth Amendment may not recover
money damages from the agents, but must instead be
remitted to another remedy, equally effective in the view
of Congress. The question is merely whether petitioner,
if he can demonstrate an injury consequent upon the
violation by federal agents of his Fourth Amendment
rights, is entitled to redress his injury through a
particular remedial mechanism normally available in the
federal courts. Cf. J. /. Case Co. V. Borak, 377 U.S.
426, 433 (1964); Jacobs Vv. United States, 290 U.S. 13,
16 (1933). "The very essence of civil liberty certainly
consists in the right of every individual to claim the
protection of the laws, whenever he receives an injury.”
Marbury v. Madison, 1 Cranch 137, 163 (1803). Having
concluded that petitioner's complaint states a cause of
action under the Fourth Amendment, supra, at 390-395,
we hold that petitioner is entitled to recover money
damages for any injuries he has suffered as a

result [****18] of the agents’ violation of the
Amendment.

ll

LEdHN[1SI'*] [15]In addition to holding that

petitioner's complaint had failed to state facts making
out a cause of action, the District Court ruled that in any
event respondents were immune from liability by virtue
of their official position. 276 F.Supp. at 15. This
question was not passed upon by the Court of Appeals,

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403 U.S. 388, *397; 91 S. Ct. 1999, **2005; 29 L.

and accordingly we do not consider [*398] it here. The
judgment of the Court of Appeals is reversed and the
case is remanded for further proceedings consistent
with this opinion.

So ordered.

Concur by: HARLAN

Concur

MR. JUSTICE HARLAN, concurring in the judgment.

My initial view of this case was that the Court of Appeals
was correct in dismissing the complaint, but for reasons
stated in this opinion | am now persuaded to the
contrary. Accordingly, | join in the judgment of reversal.

Petitioner alleged, in his suit in the District Court for the
Eastern District of New York, that the defendants,
[***628] federal agents acting under color of federal
law, subjected him to a search and seizure contravening
the requirements of the [****19] Fourth Amendment, He
sought damages in the amount of $ 15,000 from each of
the agents. Federal jurisdiction [**2006] was claimed,
inter alia, ! under 28 U. S. C. § 4331 (a) which provides:

"The district courts shall have original jurisdiction of all
civil actions wherein the matter in controversy exceeds
the sum or value of $ 10,000 exclusive of interest and
costs, and arises under the Constitution, laws, oF
treaties of the United States."

The District Court dismissed the complaint for lack of
federal jurisdiction under 28 U.S. C. § 1331 (a) and
failure to state a claim for which relief may be granted.
276 F.Supp 12 (EDNY 1967). On appeal, the Court of
Appeals concluded, on the basis of this Court's decision
in Bell v. Hood, 327 U.S. 678 (1946), that petitioner's
claim for damages did “[arise] under the Constitution”
[*399] within the meaning of 28 U. S.C. § 1331 (a}; but
the District Court's judgment was affirmed on the ground
that the complaint failed to state a claim for which relief
can be granted. 409 F.2d 718 (CA2 1969).

(****20] In so concluding, Chief Judge Lumbard's

1 Petitioner also asserted federal jurisdiction under 42 U.S.C.
§ 1983 and 28 U.S. ©. § 4343 (3), and 28 U.S. C.§ 1343 (4).
Neither will support federal jurisdiction over the claim. See
Bivens v. Six Unknown Named Agents, 409 F.2d 718, 720 n. 1

(CA2 1969).

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‘opinion reasoned, in essence, that: (1) the framers of

the Fourth Amendment did not appear to contemplate a
"wholly new federal cause of action founded directly on
the Fourth Amendment," id., at 721, and (2) while the
federal courts had power under a general grant of
jurisdiction to imply a_ federal remedy for the
enforcement of a constitutional right, they should do so
only when the absence of alternative remedies renders
the constitutional command a "mere ‘form of words.” /d.,
at 723. The Government takes essentially the same
position here. Brief for Respondents 4-5. And two
members of the Court add the contention that we lack
the constitutional power to accord Bivens a remedy for
damages in the absence of congressional action
creating “a federal cause of action for damages for an
unreasonable search in violation of the Fourth
Amendment." Opinion of MR. JUSTICE BLACK, post, at
427; see also opinion of THE CHIEF JUSTICE, post, at
418, 422.

For the reasons set forth below, {am of the opinion that
federal courts do have the power to award damages for
violation of “constitutionally protected interests"
[****21] and | agree with the Court that a traditional
judicial remedy such as damages is appropriate to the
vindication of the personal interests protected by the
Fourth Amendment.

| turn first to the contention that the constitutional power
of federal courts to accord Bivens damages for his claim
depends on the passage of a statute creating a "federal
cause of action." Although the point is not [*400}
entirely free of ambiguity, 2 | do not understand either
the Government or my dissenting Brothers to maintain
that Bivens' contention that he is entitled to be free from
the type of official conduct prohibited [***629] by the
Fourth Amendment depends on a decision by the State
in which he resides to accord him a remedy. Such a
position would be incompatible with the presumed
availability of federal equitable relief, if a proper showing
can be made in terms of the ordinary principles
governing equitable remedies. See Bell v. Hood, 327
U.S. 678, 684 (1946}. However broad a federal court's
discretion concerning equitable remedies, it is
absolutely clear -- at least after Erie R. Co. v. Tompkins,
304 U.S. 64 (1938) -- that ina nondiversity [****22] suit
a federal court's power to grant even equitable relief
depends on the presence of a substantive right derived

2See n. 3, infra.
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from federal law. Compare Guaranty Trust Co. v. York,
326 U.S. 99, 105-107 (1945), [**2007] with Holmberg
v. Armbrecht, 327 U.S. 392, 395 (1946). See also H.
Hart & H. Wechsler, The Federal Courts and the
Federal System 818-819 (1953).

Thus the interest which Bivens claims -- to be free from
official conduct in contravention of the Fourth
Amendment -- is a federally protected interest. See
generally Katz, The Jurisprudence of Remedies:
Constitutional Legality and the Law of Torts in Bell v.
Hood, 117 U, Pa. L. Rev. 1, 33-34 (1968). 3 Therefore,

3The Government appears not quite ready to concede this
point. Certain points in the Government's argument seem to
suggest that the "state-created right -- federal defense" model
reaches not only the question of the power to accord a federal
damages remedy, but also the claim to any judicial remedy in
any court. Thus, we are pointed to Lasson's observation
concerning Madison's version of the Fourth Amendment as
introduced into the House:

"The observation may be made that the language of the
proposal did not purport to create the right to be secure from
unreasonable search and seizures but merely stated it as a
right which already existed.”

N. Lasson, History and Development of the Fourth
Amendment _to the United States Constitution 100 n. 77
(1937), quoted in Brief for Respondents 11 n. 7. And, on the
problem of federal equitable vindication of constitutional rights
without regard to the presence of a "state-created right," see
Hart, The Relations Between State and Federal Law, 54 Col.
L. Rev. 489, 523-524 (1954), quoted in Brief for Respondents
17.

On this point, the choice of phraseology in the Fourth
Amendment itself is singularly unpersuasive. The leading
argument against a “Bill of Rights" was the fear that individual
liberties not specified expressly would be taken as excluded.
See generally, Lasson, supra, at 79-105. This circumstance
alone might well explain why the authors of the Bill of Rights
would opt for language which presumes the existence of a
fundamental interest in liberty, albeit originally derived from the
common law. See Entick v. Carrington, 19 How. St. Tr. 1029,
95 Eng. Rep. 807 (1765).

In truth, the legislative record as a whole behind the Bill of
Rights is silent on the rather refined doctrinal question whether
the framers considered the rights therein enumerated as
dependent in the first instance on the decision of a State to
accord legal status to the personal interests at stake. That is
understandable since the Government itself points out that
general federal-question jurisdiction was not extended to the
federal district courts until 1875. Act of March 3, 1875, § 1, 18

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[***630] the question [*401] of judicial power to grant
Bivens damages is not a problem of the “source” of the
"right"; instead, the question is whether the power to
authorize damages as a judicial [*402] remedy for the
vindication of a federal [****23] constitutional right is
placed by the Constitution itself exclusively in Congress'
hands.

[24] II

[**2008] The contention that the federal courts are
powerless to accord a litigant damages for a claimed
invasion of his federal constitutional rights until
Congress explicitly authorizes the remedy cannot rest
on the notion that the decision to grant compensatory
relief involves a resolution of policy considerations not
susceptible of judicial discernment. Thus, in suits for
damages based on violations of federal statutes lacking
any express authorization of a damage remedy, this
Court has authorized such relief where, in its view,
damages are necessary to effectuate the congressional
policy underpinning the substantive provisions of the
statute. J. 1. Case Co. v. Borak, 377 U.S. 426 (1964);

Stat. 470. The most that can be drawn from this historical fact
is that the authors of the Bill of Rights assumed the adequacy
af common-law remedies to vindicate the federally protected
interest. One must first combine this assumption with
contemporary modes of jurisprudential thought which
appeared to link "tights" and “remedies" in a 1:1 correlation, cf.
Marbury_v. Madison. 1 Cranch 137, 163 (1803), before
reaching the conclusion that the framers are to be understood
today as having created no federally protected interests. And,
of course, that would simply require the conclusion that federal
equitable relief would not lie to protect those interests guarded
by the Fourth Amendment,

Professor Hart's observations concerning the "imperceptible
steps” between /n re Ayers, 123 U.S. 443 (1 887}, and Ex parte
Young, 209 U.S. 123 (1908), see Hart, supra, fail to persuade
me that the source of the legal interest asserted here is other
than the Federal Constitution itself. In re Ayers concerned the
precise question whether the Eleventh Amendment barred suit
in a federal court for an injunction compelling a state officer to
perform a contract to which the State was a party. Having
concluded that the suit was inescapably a suit against the
State under the Eleventh Amendment, the Court spoke of the
presence of state-created rights as a distinguishing factor
supporting the exercise of federal jurisdiction in other contract
clause cases. The absence of a state-created right in In re
Ayers served to distinguish that case from the perspective of
the State's immunity to suit; Ayers simply does not speak to
the analytically distinct question whether the Constitution is in
the relevant sense a source of legal protection for the "rights"
enumerated therein.

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Tunstall_v._Brotherhood_of Locomotive Firemen &
Enginemen, 323 U.S. 210, 213 (1944). Cf. Wyandotte
Transportation Co. Vv. United States, 389 U.S. 191, 201-
204 (1967). 4

[***25] [*403] If it is not the nature of the remedy
which is thought to render a judgment as to the
appropriateness of damages inherently “legislative,”
then it must be the nature of the [***631] legal interest
offered as an occasion for invoking otherwise
appropriate judicial relief. But | do not think that the fact
that the interest is protected by the Constitution rather
than statute or common law justifies the assertion that
federal courts are powerless to grant damages in the
absence of explicit congressional action authorizing the
remedy. Initially, 1 note that it would be at least
anomalous to conclude that the federal judiciary -- while
competent to choose among the range of traditional
judicial remedies to implement statutory and
commonlaw policies, and even to generate substantive
rules governing primary behavior in furtherance of
broadly formulated policies articulated by statute or
Constitution, see Textile Workers v. Lincoin_Mills, 353

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Government as an instrument of the popular will.

More importantly, the presumed availability of federal
equitable relief against threatened invasions of
constitutional interests appears entirely to negate the
contention that the status of an interest as
constitutionally protected divests federal courts of the
power to grant damages absent express congressional
authorization. Congress provided specially for the
exercise of equitable remedial powers by federal courts,
see Act of May [**2009] 8, 1792, § 2, 1 Stat. 276; C.
Wright, Law of Federal Courts 257 (2d ed., 4970), in
part because of the limited availability of equitable
remedies in state courts in the early days of the
Republic. See Guaranty Trust Co. v. York, 326 U.S. 99,
104-105 (1945). And this Court's decisions make clear
that, at least absent congressional restrictions, the
scope of equitable remedial discretion is to be
determined according to the distinctive _ historical
traditions of equity as an institution, Holmberg _v.
Armbrecht,_ 327 U.S. 392. 395-396 (1946); [****27]
Spraque v. Ticonic National Bank, 307 U.S. 1614, 165-
166 (1939). The reach of a federal district court's

U.S. 448 (1957); United States v. Standard Oil Co., 332
U.S. 301, 304-311 (1947); Clearfield Trust Co. v. United

“inherent equitable powers," Textile Workers v. Lincoln
Mills, 353 U.S. 448, 460 (Burton, J., concurring in

States, 318 U.S. 363 (1943) -- is powerless to
accord [****26] a. damages [*404] remedy to vindicate
social policies which, by virtue of their inclusion in the
Constitution, are aimed predominantly at restraining the

4The Borak case is an especially clear example of the
exercise of federal judicial power to accord damages as an
appropriate remedy in the absence of any express statutory
authorization of a federal cause of action. There we “implied” -
- from what can only be characterized as an “exclusively
procedural provision" affording access to a federal forum, cf.
Textile Workers v. Lincoin Mills, 353 U.S. 448, 462-463 (1957)
(Frankfurter, J., dissenting) —- a private cause of action for
damages for violation of § 14 (a) of the Securities Exchange
Act of 1934, 48 Stat. 895, 15 U. S. C. § 78n (a). See § 27, 48
Stat. 902, 15 U. S.C. § 78aa. We did so in an area where
federal regulation has been singularly comprehensive and
elaborate administrative enforcement machinery had been
provided. The exercise of judicial power involved in Borak
simply cannot be justified in terms of statutory construction,
see Hill, Constitutional Remedies, 69 Col. L. Rev. 4109, 1120-
441214 (1969); nor did the Borak Court purport to do so. See
Borak, supra, at 432-434. The notion of “implying” a remedy,
therefore, as applied to cases like Borak, can only refer to a
process whereby the federal judiciary exercises a choice
among traditionally available judicial remedies according to
reasons related to the substantive social policy embodied in
an act of positive law. See ibid., and Bell v. Hood, supra, at
684.

result), is broad indeed, e. g., Swann V. Chariotte-
Mecklenburg Board of Education, 401 U.S. 1 (1971);
nonetheless, the federal judiciary, is not empowered to
grant equitable relief in the absence of congressional
action extending jurisdiction over the subject matter of
the suit. See Textile Workers Vv. Lincoln Mills, supra, at
460 (Burton, J., concurring in result); Katz, 117 U. Pa. L.
Rev., at 43.5

i****28]  [*405] lf [***632] explicit congressional
authorization is an absolute prerequisite to the power of
a federal court to accord compensatory relief regardless
of the necessity or appropriateness of damages as a
remedy simply because of the status of a legal interest
as constitutionally protected, then it seems to me that
explicit congressional authorization is @rilarly

5With regard to a court's authority to grant an equitable
remedy, the line between “subject matter" jurisdiction and
remedial powers has undoubtedly been obscured by the fact
that historically the “system of equity ‘derived its doctrines, as
well as its powers, from its mode of giving relief." See
Guaranty Trust Co. v. York, supra. at 105, quoting C. Langdell,
Summary of Equity Pleading yovil (1877). Perhaps this fact
alone accounts for the suggestion sometimes made that a
court's power to enjoin invasion of constitutionally protected
interests derives directly from the Constitution. See Bell v.
Hood, 71 F.Supp. 813, 819 (SD Cal. 1947).

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prerequisite to the exercise of equitable remedial
discretion in favor of constitutionally protected interests.
Conversely, if a general grant of jurisdiction to the
federal courts by Congress is thought adequate to
empower a federal court to grant equitable relief for all
areas of subject-matter jurisdiction enumerated therein,
see 28 U.S. C. § 1331 (a), then it seems to me that the
same statute is sufficient to empower a federal court to
grant a traditional remedy at law. 5 Of course, the
special historical traditions governing the federal equity
system, see Spraque V. Ticonic National Bank. 307 U.S.
161 [*406] (1939), might still bear on the comparative
appropriateness of granting equitable relief as opposed
to money damages. That possibility, however, [****29]
relates, not to whether the federal courts have the
power to afford one type of remedy as opposed to the
other, but rather to the criteria which should govern the
exercise of our power. To that question, | now pass.

(****30] Il!

[**2010] The major thrust of the Government's position
is that, where Congress has not expressly authorized a
particular remedy, a federal court should exercise its
power to accord a traditional form of judicial relief at the
behest of a litigant, who claims a constitutionally
protected interest has been invaded, only where the
remedy is “essential,” or “indispensable for vindicating
constitutional rights." Brief for Respondents 19, 24.
While this “essentiality" test is most clearly articulated
with respect to damages remedies, apparently the
Government believes the same test explains the
exercise of equitable remedial powers. Id,, at 17-18. It
is argued that historically the Court has rarely exercised
the power to accord such relief in the absence of an

6 Chief Judge Lumbard's opinion for the Court of Appeals in
the instant case is, as | have noted, in accord with this
conclusion:

"Thus, even if the Constitution itself does not give tise to an
inherent injunctive power to prevent its violation by
governmental officials there are strong reasons for inferring
the existence of this power under any general grant of
jurisdiction to the federal courts by Congress." 409 F.2d, at
723.

The description of the remedy as "inferred" cannot, of course,
be intended to assimilate the judicial decision to accord such a
remedy to any process of statutory construction. Rather, as
with the cases concerning remedies, implied from statutory
schemes, see n. 4, supra, the description of the remedy as
"inferred" can only bear on the reasons offered to explain a
judicial decision to accord or not to accord a particular remedy.

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express congressional authorization and that “if
Congress had thought that federal officers should be
subject to a law different than state law, it would have
had no difficulty in saying so, as it did with respect to
state officers ...."/d., at 20-21; see 42 U.S. C. § 1983.
Although conceding that the standard of determining
whether a damage remedy should be utilized to
effectuate [****31] statutory policies is one of
"necessity" or “appropriateness,” see J. |. Case Co. v.
Borak, 377 U.S. 426, 432 (1964); United _[***633].
States v. Standard Oil Co., 332 U.S. 301, 307 (1947),
the Government contends that questions concerning
congressional discretion to modify judicial remedies
relating to constitutionally protected interests warrant a
more stringent constraint on [*407] the exercise of
judicial power with respect to this class of legally
protected interests. Brief for Respondents 21-22.

These arguments for a more stringent test to govern the
grant of damages in constitutional cases 7 seem to be
adequately answered by the point that the judiciary has
a particular responsibility to assure the vindication of
constitutional interests such as those embraced by the
Fourth Amendment. To be sure, "it must be
remembered that legislatures are ultimate guardians of
the liberties and welfare of the people in quite as greata
degree as the courts." Missouri, Kansas & Texas R. Co.
v, May, 194 U.S. 267, 270 (1904). But it must also be
recognized that the Bill of Rights is particularly intended
to vindicate [****32] the interests of the individual in the
face of the popular will as expressed in legislative
majorities; at the very least, it strikes me as no more
appropriate _—to await express congressional
authorization of traditional judicial relief with regard to
these legal interests than with respect to interests
protected by federal statutes.

The question then, is, as | see it, whether compensatory
relief is "necessary" or "appropriate" to the vindication of
the interest asserted. Cf. J. |. Case Co. v. Borak, supra,
at 432; United States v. Standard Oil Co., supra, at 307,
Hill, Constitutional Remedies, 69 Col. L. Rev. 1109,
4155 (1969); Katz, 117 U. Pa. L. Rev., at 72. In
resolving that question, it [****33] seems to me that the
range of policy considerations we may take into account
is at least as broad as the range of those a legislature
would consider with respect to an express statutory

7) express no view on the Government's suggestion that
congressional authority to simply discard the remedy the Court
today authorizes might be in doubt; nor do | understand the
Court's opinion today to express any view on that particular
question.

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authorization of a traditional remedy. In this regard |
agree with the Court that the appropriateness of
according Bivens [*408] compensatory relief does not
turn simply on the deterrent effect liability will have on
federal official conduct. 8 Damages as a traditional form
[**2011] of compensation for invasion [***634] of a
legally protected interest may be entirely appropriate
even if no substantial deterrent effects on future official
lawlessness might be thought to result. Bivens, after all,
has invoked judicial processes claiming entitlement to
compensation for injuries resulting from allegedly
lawless official behavior, if those injuries are properly
compensable in money damages. | do not think a court
of law -- vested with the power to accord a remedy --
should deny him his relief simply because he cannot
show that future lawless conduct will thereby be
deterred.

[****34] And | think it is clear that Bivens advances a
claim of the sort that, if proved, would be properly
compensable in damages. The personal interests
protected by the Fourth Amendment are those we
attempt to capture by the notion of “privacy”; while the
Court today properly points out that the type of harm
which officials can inflict when they invade protected
zones of an individual's life [*409] are different from the
types of harm private citizens inflict on one another, the
experience of judges in dealing with private trespass
and false imprisonment claims supports the conclusion
that courts of law are capable of making the types of
judgment concerning causation and magnitude of injury
necessary to accord meaningful compensation for

8 And | think it follows from this point that today's decision has
little, if indeed any, bearing on the question whether a federal
court may properly devise remedies -- other than traditionally
available forms of judicial relief -- for the purpose of enforcing
substantive social policies embodied in constitutional or
statutory policies. Compare today's decision with Mapp _v.
Ohio, 367 U.S. 643 (1961), and Weeks V. United States, 232
U.S. 383 (1914). The Court today simply recognizes what has
long been implicit in our decisions concerning equitable relief
and remedies implied from statutory schemes; i. e., that a
court of law vested with jurisdiction over the subject matter of
a suit has the power - and therefore the duty -- to make
principled choices among traditional judicial remedies.
Whether ' special prophylactic measures — which at least
arguably the exclusionary rule exemplifies, see Hill, The Bill of
Rights and the Supervisory Power, 69 Col. L. Rev. 181, 182-
485 (1969) -- are supportable on grounds other than a court's
competence to select among traditional judicial remedies to
make good the wrong done, cf. Bell v. Hood, supra, at 684, is
a separate question.

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invasion of Fourth Amendment rights. 9

[****35] On the other hand, the limitations on state
remedies for violation of common-law rights by private
citizens argue in favor of a federal damages remedy.
The injuries inflicted by officials acting under color of
law, while no less compensable in damages than those
inflicted by private parties, are substantially different in
kind, as the Court's opinion today discusses in detail.
See Monroe _v. Pape, 365 U.S. 167, 195 (1961)
(HARLAN, J., concurring). It seems fo me entirely
proper that these injuries be compensable according to
uniform rules of federal law, especially in light of the
very large element of federal law which must in any
event control the scope of official defenses to liability.
See Wheeldin v. Wheeler, 373 U.S. 647, 652 (1963);
Monroe _v._Pape, supra, at 194-195 (HARLAN, J.,
concurring); Howard _v. Lyons, 360 U.S. 593 (1959).
Certainly, there is very little to be gained from the
standpoint of federalism by preserving different rules of
liability for federal officers dependent on the State where
the injury occurs. Cf. United States v. Standard Oil Co.,
332 U.S. 301, 305-311 (1947). [****36]

Putting aside the desirability of leaving the problem of
federal official liability to the vagaries of common-law
actions, it is apparent that some form of damages is the
only possible remedy for someone in Bivens’ alleged
[*410] position. It will be a rare case indeed in which
an individual in Bivens’ position will be able to obviate
the harm by securing injunctive [**2012] relief from any
court. However desirable a direct remedy against the
Government might be as a substitute for individual
official liability, the sovereign still remains immune to
suit. Finally, assuming [***635] Bivens’ innocence of
the crime charged, the “exclusionary rule" is simply
irrelevant. For people in Bivens' shoes, it is damages or
nothing.

The only substantial policy consideration advanced
against recognition of a federal cause of action for
violation of Fourth Amendment rights by federal officials
is the incremental expenditure of judicial resources that
will be necessitated by this class of litigation. There is,
however, something ultimately self-defeating about this
argument. © For if, as the Government contends,
damages will rarely be realized by plaintiffs in these

8The same, of course, may not be true with respect to other
types of constitutionally protected interests, and therefore the
appropriateness of money damages may well vary with the
nature of the personal interest asserted. See Monroe v. Pape.
365 U.S. 167, 196.n. 5 (HARLAN, J., concurring).

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cases because [****37] of jury hostility, the limited
resources of the official concerned, etc., then | am not
ready to assume that there will be a significant increase
in the expenditure of judicial resources ‘on these claims.
Few responsible lawyers and plaintiffs are likely to
choose the course of litigation if the statistical chances
of success are truly de minimis. And | simply cannot
agree with my Brother BLACK that the possibility of
“frivolous” claims -- if defined simply as claims with no
legal merit -- warrants closing the courthouse doors to
people in Bivens’ situation. There are other ways, short
of that, of coping with frivolous lawsuits.

On the other hand, if -- as | believe is the case with
respect, at least, to the most flagrant abuses of official
power -- damages to some degree will be available
when the option of litigation is chosen, then the question
appears to be how Fourth Amendment interests rank on
a scale of social values compared with, for example, the
interests of stockholders defrauded by misleading
proxies. [*411] See J. I. Case Co. v. Borak, supra.
Judicial resources, | am well aware, are increasingly
scarce these days. Nonetheless, when we [****38]
automatically close the courthouse door solely on this
basis, we implicitly express a value judgment on the
comparative importance of classes of legally protected
interests. And current limitations upon the effective
functioning of the courts arising from budgetary
inadequacies should not be permitted to stand in the
way of the recognition of otherwise sound constitutional
principles.

Of course, for a variety of reasons, the remedy may not
often be sought. See generally Foote, Tort Remedies
for Police Violations of Individual Rights, 39 Minn. L.
Rev. 493 (1955). And the countervailing interests in
efficient law enforcement of course argue for a
protective zone with respect to many types of Fourth
Amendment violations. Cf. Barr v. Matteo, 360_U.S.
564 (1959) (opinion of HARLAN, J.). But, while |
express no view on the immunity defense offered in the
instant case, | deem it proper to venture the thought that
at the very least such a remedy would be available for
the most flagrant and patently unjustified sorts of police
conduct. Although litigants may not often choose to
seek relief, it is important, in a civilized society, that the
judicial [****39] branch of the Nation's government
stand ready to afford a remedy in these circumstances.
It goes without saying that | intimate no view on the
merits of petitioner's underlying claim.

For these reasons, | concur in the judgment of the

Court.

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Dissent by: BURGER; BLACK; BLACKMUN

Dissent

MR. CHIEF JUSTICE BURGER, dissenting.

| dissent from today's holding which judicially creates a
damage [***636] remedy not provided for by the
Constitution and not enacted by Congress. We would
more surely preserve the important values of the
doctrine of separation [*412] of powers -- and perhaps
get a better result -- by recommending a solution to the
Congress as the branch of government in which the
Constitution has vested the legislative power.
Legislation is the business of the Congress, and it has
the facilities and competence for that task -- as we do
(**2013] not. Professor Thayer, speaking of the limits
on judicial power, albeit in another context, had this to
say: |

"And if it be true that the holders of legislative power are
careless or evil, yet the constitutional duty of the court
remains untouched; it cannot rightly attempt to protect
the people, by undertaking a function [****40] not its
own. On the other hand, by adhering rigidly to its own
duty, the court will help, as nothing else can, to fix the
spot where responsibility lies, and to bring down on that
precise _ locality the thunderbolt of popular
condemnation. ... For that course -- the true course of
judicial duty always - will powerfully help to bring the
people and their representatives to a sense of their own
responsibility.”

This case has significance far beyond its facts and its
holding. For more than 55 years this Court has
enforced a rule under which evidence of undoubted
reliability and probative value has been suppressed and
excluded from criminal cases whenever it was obtained
in violation of the Fourth Amendment. Weeks v. United
States, 232 U.S. 383 (1914); Boyd v. United States, 116
U.S. 616, 633 (1886) (dictum). This rule was extended
to the States in Mapp v. Ohio, 367 U.S. 643
(1961). [****41] 2 [*413] The rule has rested on a
theory that suppression of evidence in these
circumstances was imperative to deter law enforcement
authorities from using improper methods to obtain
evidence.

1J. Thayer, O. Holmes, & F. Frankfurter, John Marshall 88
(Phoenix ed. 1967).

2The Court reached the issue of applying the Weeks doctrine
to the States sua sponte.
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The deterrence theory underlying the suppression
doctrine, or exclusionary rule, has a certain appeal in
spite of the high price society pays for such a drastic
remedy. Notwithstanding its plausibility, many judges
and lawyers and some of our most distinguished legal
scholars have never quite been able to escape the force
of Cardozo's statement of the doctrine's anomalous
result:

"The criminal is to go free because the constable has
blundered.... A room is searched against the law, and
the body of a murdered man is found. ... The privacy
of the home has been infringed, and the murderer goes
free." People v. Defore. 242 N. Y. 13, 21, 23-24, 150 N.
E, 585, 587, 588 (1926). *

The [****42] plurality opinion in Irvine v. California, 347

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Amendment by allowing illegally seized evidence to be
introduced against a defendant if an effective remedy is
provided against the government. ,

The exclusionary rule has also been justified on the
theory that the relationship between the Self-
Incrimination Clause of the Fifth Amendment and the
Fourth Amendment requires the suppression of
evidence seized in violation of the latter. Boyd v. United
States, supra, at 633 (dictum); Wolf v. Colorado, 338
US. 25, 47, 48 (1949) [***44] (Rutledge, J.,
dissenting); Mapp v. Ohio, supra, at 661-666 (BLACK,
J., concurring).

Even ignoring, however, the decisions of this Court that
have held that the Fifth Amendment applies only to
“tastimonial" disclosures, United States v. Wade, 388
U.S. 218, 221-223 (1967); Schmerber v. California, 384
U.S. 757, 764 and n. 8 (1966), it seems clear that the

U.S. 128, 136 (1954), catalogued the doctrine's defects:

"Rejection of the evidence does nothing to punish the
wrong-doing official, while it may, and likely will, release
the wrong-doing defendant. It deprives society of its
remedy [***637] against one lawbreaker because he
has been pursued by another. It protects one against
whom incriminating evidence is discovered, but does
nothing to protect innocent persons who are the victims
of illegal but fruitless searches."

From time to time members of the Court, recognizing
the validity of these protests, have articulated varying
[*414] alternative justifications for the suppression of
important evidence in a criminal trial. Under one of
these alternative [****43] theories the rule's foundation
is shifted to the "sporting contest" thesis that the
government must “play the game fairly" and cannot be
allowed to profit from its own iNegal acts. Olmstead v.
United States, 277 U.S. 438, 469, 471 (1928)
(dissenting opinions); see Terry Vv. Ohio, 392 U.S. 1, 13
(1968). But the exclusionary rule does not ineluctably
flow from a desire to ensure that government plays the
"game" [**2014] according to the rules. If an effective
alternative remedy is available, concern for official
observance of the law does not require adherence to
the exclusionary rule. Nor is it easy to understand how a
court can be thought to endorse a violation of the Fourth

3What Cardozo suggested as an example of the potentially
far-reaching consequences of the suppression doctrine was
almost realized in Killough v. United States, 114 U. S. App. D.
C. 305, 315 F.2d 241 (1962).

Self-Incrimination Clause does not protect a person
from the seizure of evidence that is incriminating. It
protects a person only from being the conduit by which
the police acquire evidence. Mr. Justice Holmes once
put it succinctly, "A party is privileged from producing
the [*415] evidence but not from its production.”
Johnson v. United States, 228 U.S. 457, 458 (1913).

It is clear, however, that neither of these theories
undergirds the decided cases in this Court. Rather the
exclusionary rule has rested on the deterrent rationale --
the hope that law enforcement officials would be
deterred from unlawful searches and seizures if the
illegally seized, albeit trustworthy, evidence was
suppressed _ often enough and the courts
persistently [****45] enough deprived them of any
benefits they might have gained from their illegal
conduct.

This evidentiary rule is unique to American
jurisprudence. Although the English and Canadian legal
systems are highly regarded, neither has adopted our
rule. See Martin, The Exclusionary Rule Under Foreign
Law -- Canada, 52 J. Crim. L. C. & [***638] P.S. 271,
272 (1961); Williams, The Exclusionary Rule Under
Foreign Law -- England, 52 J. Crim. L. C. & P. S. 272
(1961).

| do not question the need for some remedy to give
meaning and teeth to the constitutional guarantees
against unlawful conduct by government officials.
Without some effective sanction, these protections
would constitute little more than rhetoric. Beyond doubt
the conduct of some officials requires sanctions as

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cases like Inine indicate. But the hope that this
objective could be accomplished by the exclusion of
reliable evidence from criminal trials was hardly more
than a wistful dream. Although | would hesitate to
abandon it until some meaningful substitute is
developed, the history of the suppression doctrine
demonstrates that it is both conceptually sterile and
practically ineffective (***46] in accomplishing _ its
stated objective. This is illustrated by the paradox that
an unlawful act against a totally innocent person -- such
as petitioner claims to be -- has been left without an
effective remedy, and hence the Court finds [*416] it
necessary now -- 55 years later -- to construct a remedy
of its own.

Some clear demonstration of the benefits and
effectiveness of the exclusionary rule is required to
justify it in view of the high price it extracts from society -
- the release of countless guilty criminals. See Alien,
Federalism and the Fourth Amendment. A Requiem for
Wolf, 1961 Sup. Ct. Rev. 1, 33 n. 472. But there is no
empirical evidence to support the claim that the rule
actually deters illegal conduct of law enforcement
officials. Oaks, Studying the Exclusionary Rule in
Search and Seizure, 37 U. Chi. L. Rev. 665, 667 (1970).

[**2015] There are several reasons for this failure.
The rule does not apply any direct sanction to the
individual official whose illegal conduct results in the
exclusion of evidence in a criminal trial. With rare
exceptions law enforcement agencies do not impose
direct sanctions on the individual officer [****47]
responsible for a particular judicial application of the
suppression doctrine. Id., at 710. Thus there is virtually
nothing done to bring about a change in his practices.
The immediate sanction triggered by the application of
the rule is visited upon the prosecutor whose case
against a criminal is either weakened or destroyed. The
doctrine deprives the police in no real sense; except that
apprehending wrongdoers is their business, police have
no more stake in successful prosecutions than
prosecutors or the public.

The suppression doctrine vaguely assumes that law
enforcement is a monolithic governmental enterprise.
For example, the dissenters in Wolf v. Colorado, supra,
at 44, argued that:

"Only by exclusion can we impress upon the zealous
prosecutor that violation of the Constitution will do him
no good. And only when that point is driven home can
the prosecutor be expected to emphasize [*417] the
importance of observing the constitutional demands in

his instructions to the police." (Emphasis added.)

But the prosecutor who loses his case because of police
misconduct is not an official in the police department,
[****48] he can rarely set in motion any corrective
action or administrative penalties. Moreover, he does
not have control or direction over police procedures or
police actions that lead to the exclusion of evidence. It
is the rare exception when [***639] a prosecutor takes
part in arrests, searches, or seizures so that he can
quide police action.

Whatever educational effect the rule conceivably might
have in theory is greatly diminished in fact by the
realities of law enforcement work. Policemen do not
have the time, inclination, or training to read and grasp
the nuances of the appellate opinions that ultimately
define the standards of conduct they are to follow. The
issues that these decisions resolve often admit of
neither easy nor obvious answers, as sharply divided
courts on what is or is not "reasonable" amply
demonstrate. 4 Nor can judges, in all candor, forget that
opinions sometimes lack helpful clarity.

[****49] The presumed educational effect of judicial
opinions is also reduced by the long time lapse - often
several years -- between the original police action and
its final judicial evaluation. Given a policeman's
pressing responsibilities, it would be surprising if he ever
becomes aware of the final result after such a delay.
Finally, the exclusionary [*418] rule's deterrent impact
is diluted by the fact that there are large areas of police
activity that do not result in criminal prosecutions --
hence the rule has virtually no applicability and no effect
in such situations. Oaks, supra, at 720-724.

Today's holding seeks to fill one of the gaps of the
suppression doctrine -- at the price of impinging on the
legislative and policy functions that the Constitution
vests in Congress. Nevertheless, the holding serves the
useful purpose of exposing the fundamental
weaknesses of the suppression doctrine. Suppressing
unchallenged truth has set guilty criminals free but
demonstrably has neither deterred deliberate violations

4For example, in a case arising under Mapp, supra, state
judges at every level of the state judiciary may find the police
conduct proper. On federal habeas corpus a district judge and
a court of appeals might agree. Yet, in these circumstances,
this Court, reviewing the case as much as 10 years later,
might reverse by a narrow margin. In these circumstances it is
difficult to conclude that the policeman has violated some rule
that he should have known was a restriction on his authority.

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of the Fourth Amendment nor decreased those errors in
judgment that will inevitably occur [**2016] given the
pressures inherent in police work having to [****50] do
with serious crimes.

Although unfortunately ineffective, the exclusionary rule
has increasingly been characterized by a_ single,
monolithic, and drastic judicial response to all official
violations of legal norms. Inadvertent errors of judgment
that do not work any grave injustice will inevitably occur
under the pressure of police work, These honest
mistakes have been treated in the same way as
deliberate and flagrant Irvine-type violations of the
Fourth Amendment. For example, in Miller_v. United
States, 357 U.S. 301, 309-310 (1958), reliable evidence
was suppressed because of a police officer's failure to
say a “few more words" during the arrest and search of
a known narcotics peddler.

This Court's decision announced today in Coolidge v.
New Hampshire, post, p. 443, dramatically illustrates the
extent to which the doctrine represents a mechanically
inflexible response to widely varying degrees of police
error and the resulting high price that society pays. |
dissented in Coolidge primarily because { do not
[***640] believe the Fourth Amendment had been
violated. Even on the Court's contrary premise,
however, whatever violation [*419] [****51] occurred
was surely insufficient in nature and extent to justify the
drastic result dictated by the suppression doctrine. A
fair trial by jury has resolved doubts as to Coolidge’s
guilt. But now his conviction on retrial is placed in
serious question by the remand for a new trial -- years
after the crime - in which evidence that the New
Hampshire courts found relevant and reliable will be
withheld from the jury's consideration. It is hardly
surprising that such results are viewed with
incomprehension by nonlawyers in this country and
lawyers, judges, and legal scholars the world over.

Freeing either a tiger or a mouse in a schoolroom is an
illegal act, but no rational person would suggest that
these two acts should be punished in the same way.
From time to time judges have occasion to pass on
regulations governing police procedures. | wonder what
would be the judicial response to a police order
authorizing “shoot to kill" with respect to every fugitive.
It is easy to predict our collective wrath and outrage.
We, in common with all rational minds, would say that
the police response must relate to the gravity and need;
that a "shoot" order might conceivably be tolerable to
prevent [****52] the escape of a convicted killer but
surely not for a car thief, a pickpocket or a shoplifter.

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| submit that society has at least as much right to expect
rationally graded responses from judges in place of the
universal “capital punishment" we inflict on all evidence
when police error is shown in its acquisition. See ALI,
Model Code of Pre-Arraignment Procedure § SS 8.02
(2), p. 23 (Tent. Draft No. 4, 1971), reprinted in the
Appendix to this opinion. Yet for over 55 years, and
with increasing scope and intensity as today's Coolidge
holding shows, our legal system has treated vastly
dissimilar cases as if they were the same. Our
adherence to the exclusionary rule, our resistance to
change, and our refusal even to acknowledge the need
[*420] for effective enforcement mechanisms bring to
mind Holmes’ well-known statement:

"It is revolting fo have no better reason for a rule of law
than that so it was laid down in the time of Henry lV. It
is still more revolting if the grounds upon which it was
laid down have vanished long since, and the rule simply
persists from blind imitation of the past." Holmes, The
Path of the Law, 10 Harv. L. Rev. 457, 469
(1897). [****53]

In characterizing the suppression doctrine as an
anomalous and ineffective mechanism with which to
regulate law enforcement, | intend no reflection on the
motivation of those members of this Court who hoped it
would be a means of enforcing the Fourth Amendment.
Judges cannot be faulted for being offended by arrests,
searches, and seizures [**2017] that violate the Bill of
Rights or statutes intended to regulate public officials.
But we can and should be faulted for clinging to an
unworkable and irrational concept of law. My criticism is
that we have taken so long to find better ways to
accomplish these desired objectives. And there are
better ways.

Instead of continuing to enforce the suppression
doctrine inflexibly, rigidly, and mechanically, we should
view it as one of the experimental steps in the great
tradition of the [***641] common law and acknowledge
its shortcomings. But in the same spirit we should be
prepared to discontinue what the experience of over half
a century has shown neither deters errant officers nor
affords a remedy to the totally innocent victims of official
misconduct.

1 do not propose, however, that we abandon the
suppression doctrine until some [****54] meaningful
alternative can be developed. In a sense our legal
system has become the captive of its own creation. To
overrule Weeks and Mapp, even assuming the Court

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was now prepared to [*421] take that step, could raise
yet new problems. Obviously the public interest would
be poorly served if law enforcement officials were
suddenly to gain the impression, however erroneous,
that all constitutional restraints on police had somehow
been removed -- that an open season on “criminals” had
been declared. | am concerned lest some such
mistaken impression might be fostered by a flat
overruling of the suppression doctrine cases. For years
we have relied upon it as the exclusive remedy for
unlawful official conduct; in a sense we are in a situation
akin to the narcotics addict whose dependence on drugs
precludes any drastic or immediate withdrawal of the
supposed prop, regardless of how futile its continued
use may be. .

Reasonable and effective substitutes can be formulated
if Congress would take the lead, as it did for example in
4946 in the Federal Tort Claims Act. | see no
insuperable obstacle to the elimination of the
suppression doctrine if Congress would _ provide
some [****55] meaningful and effective remedy against
unlawful conduct by government officials.

The problems of both error and deliberate misconduct
by law enforcement officials call for a workable remedy.
Private damage actions against individual police officers
concededly have not adequately met this requirement,
and it would be fallacious to assume today's work of the
Court in creating a remedy will really accomplish its
stated objective. There is some validity to the claims
that juries will not return verdicts against individual
officers except in those unusual cases where the
violation has been flagrant or where the error has been
complete, as in the arrest of the wrong person or the
search of the wrong house. There is surely serious
doubt, for example, that a drug peddler caught
packaging his wares will be able to arouse much
sympathy in a jury on the ground that the police officer
did not announce his identity and [*422] purpose fully
or because he failed to utter a "few more words." See
Miller v, United States, supra. Jurors may well refuse to
penalize a police officer at the behest of a person they
believe to be a “criminal” and probably will not punish
an [****56] officer for honest errors of judgment. In any
event an actual recovery depends on finding nonexempt
assets of the police officer from which a judgment can
be satisfied.

| conclude, therefore, that an entirely different remedy is
necessary but it is one that in my view is as much
beyond judicial power as the step the Court takes today.
Congress should develop an administrative or quasi-

judicial remedy against the government itself to afford
compensation and restitution for persons whose Fourth
Amendment rights have been violated. The venerable
doctrine of respondeat superior in our tort law provides
an entirely [***642] appropriate conceptual basis for
this remedy. If, for example, a security guard privately
employed by a department store commits an assault or
other tort on a customer such as an improper search,
the victim [**2018] has a simple and obvious remedy --
an action for money damages against the guard's
employer, the department store. W. Prosser, The Law
of Torts § 68, pp. 470-480 (3d ed. 1964). 5 Such a
statutory scheme would have the added advantage of
providing some remedy to the completely innocent
persons who are sometimes the victims of illegal
police [****57] conduct -- something that the
suppression doctrine, of course, can never accomplish.

A simple structure would suffice. ® For example,
Congress could enact a statute along the following lines:

(a) a waiver of sovereign immunity as to the illegal
[*423] acts of law enforcement officials committed in
the performance of assigned duties;

(b) the creation of a cause of action for damages
sustained by any person aggrieved by conduct of
governmental agents in violation of the Fourth
Amendment or statutes regulating official conduct;

(c) the creation of a tribunal, quasi-judicial [****58] in
nature or perhaps patterned after the United States
Court of Claims, to adjudicate all claims under the
statute;

(d) a provision that this statutory remedy is in lieu of the
exclusion of evidence secured for use in criminal cases
in violation of the Fourth Amendment; and

(e) a provision directing that no evidence, otherwise
admissible, shall be excluded from any criminal
proceeding because of violation of the Fourth
Amendment.

| doubt that lawyers serving on such a tribunal would be
swayed either by undue sympathy for officers or by the
prejudice against "criminals" that has sometimes moved

5 Damage verdicts for such acts are often sufficient in size to
provide an effective deterrent and stimulate employers to
corrective action.

6 Electronic eavesdropping presents special problems. See 18
U.S. GC. 8§ 2510-2520 (1964 ed., Supp. V).

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lay jurors to deny claims. In addition to awarding
damages, the record of the police conduct that is
condemned would undoubtedly become a relevant part
of an officer's personnel file so that the need for
additional training or disciplinary action could be
identified or his future usefulness as a public official
evaluated. Finally, appellate judicial review could be
made available on much the same basis that it is now
provided as to district courts and regulatory agencies.
This would leave to the courts the ultimate responsibility
for determining and articulating standards.

Once the constitutional [****59] validity of such a
statute is established, ” it can reasonably be assumed
that the States [*424] would develop their own
remedial systems on the federal model. Indeed there is
nothing to prevent a State from enacting a comparable
statutory scheme without waiting for the Congress.
Steps along these lines would move our system toward
more responsible law enforcement [***643] on the one
hand and away from the irrational and drastic results of
the suppression doctrine on the other. Independent of
the alternative embraced in this dissenting opinion, |
believe the time has come to re-examine the scope of
the exclusionary rule and consider at least some
narrowing of its thrust so as to eliminate the anomalies it
has produced.

[****60] In a country that prides itself on innovation,
inventive genius, and willingness to experiment, it is a
paradox that we should cling for more than a half
century to a legal mechanism that was poorly designed
and never really worked. | can only hope now that the
Congress will manifest a willingness to view realistically
the hard evidence of the half-century history of the
suppression doctrine revealing [**2019] thousands of
cases in which the criminal was set free because the
constable blundered and virtually no evidence that
innocent victims of police error -- such as petitioner
claims to be -- have been afforded meaningful redress.

APPENDIX TO OPINION OF BURGER, C. J.,
DISSENTING

it is interesting to note that studies over a period of
years led the American Law Institute to propose the
following in its tentative draft of a model pre-arraignment

7 Any such legislation should emphasize the interdependence
between the waiver of sovereign immunity and the elimination
of the judicially created exclusionary rule so that if the
legislative determination to repudiate the exclusionary rule
falls, the entire statutory scheme would fall.

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code:

"(2) Determination. Unless otherwise required by the
Constitution of the United States or of this State, a
motion to suppress evidence based upon a (*425]
violation of any of the provisions of this code shall be
granted only if the court finds that such violation was
substantial. \n determining whether a violation [****61]
is substantial the court shall consider all the
circumstances, including:

"(a) the importance of the particular interest violated;
"(b) the extent of deviation from fawful conduct;

"(c) the extent to which the violation was willful;

"(d) the extent to which privacy was invaded;

"(e) the extent to which exclusion will tend to prevent
violations of this Code;

"(f} whether, but for the violation, the things seized
would have been discovered; and

"(g) the extent to which the violation prejudiced the
moving party's ability to support his motion, or to defend
himself in the proceeding in which the things seized are
sought to be offered in evidence against him.

"(3) Fruits of Prior Unlawful Search. if a search or
seizure is carried out in such a manner that things
seized in the course of the search would be subject to a
motion to suppress under subsection (1), and if as a
result of such search or seizure other evidence is
discovered subsequently and offered against a
defendant, such evidence shall be subject to a motion to
suppress unless the prosecution establishes that such
evidence would probably have been discovered by law
enforcement authorities irrespective of such
search [****62] or seizure, and the court finds that
exclusion of such evidence is not necessary to deter
violations of this Code."

ALI, Model Code of Pre-Arraignment Procedure §§ SS
8.02 (2), (3), pp. 23-24 (Tent. Draft No. 4, 1971)
(emphasis supplied).

[*426] The Reporters' views on the exclusionary rule
are also reflected in their comment on the proposed
section:

[(***644] "The Reporters wish to emphasize that they
are not, as a matter of policy, wedded to the
exclusionary rule as the sole or best means of enforcing
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403 U.S. 388, *426; 91 S. Ct. 1999, **2019; 29 L.

the Fourth Amendment. See Oaks, Studying the
Exclusionary Rule in Search and Seizure, 37 U. of Chi.
L. Rev. 665 (1970). Paragraph (2) embodies what the
Reporters hope is a more flexible approach to the
problem, subject of course to constitutional
requirements." fd., comment, at 26-27.

This is but one of many expressions of disenchantment
with the exclusionary rule; see also:

1, Barrett, Exclusion of Evidence Obtained by Illegal
Searches -- A Comment on People vs. Cahan, 43 Calif.
L. Rev. 565 (1955).

2. Burns, Mapp v. Ohio: An All-American Mistake, 19
DePaul L. Rev. 80 (1969).

3. Friendly, The Bill of Rights as a Code of [****63]
Criminal Procedure, 53 Calif. L. Rev. 929, 951-354
(1965).

4. F. Inbau, J. Thompson, & C. Sowle, Cases and
Comments on Criminal Justice: Criminal Law
Administration 1-84 (3d ed. 1968).

5. LaFave, Improving Police Performance Through the
Exclusionary Rule [**2020] (pts. 1 & 2), 30 Mo. L. Rev.
391, 566 (1965).

6. LaFave & Remington, Controlling the Police: The
Judge's Role in Making and Reviewing Law
Enforcement Decisions, 63 Mich. L. Rev. 987 (1965).

7. N. Morris & G. Hawkins, The Honest Politician's
Guide to Crime Control 101 (1970).

8. Oaks, Studying the Exclusionary Rule in Search and
Seizure, 37 U. Chi. L. Rev. 665 (1970).

[*427] 9. Plumb, Illegal Enforcement of the Law, 24
Cornell L. Q. 337 (1939).

40. Schaefer, The Fourteenth Amendment and Sanctity
of the Person, 64 Nw. U. L. Rev. 1 (1969).

11. Waite, Judges and the Crime Burden, 54 Mich. L.
Rev. 169 (1955).

12. Waite, Evidence -- Police Regulation by Rules of
Evidence, 42 Mich. L. Rev. 679 (1944).

43. Wigmore, Using Evidence Obtained by Illegal
Search and Seizure, 8 A. B. A. J. 479 (1922). [****64]

14. 8 J. Wigmore, Evidence § 2184a (McNaughton rev.
1961).

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MR. JUSTICE BLACK, dissenting.

In my opinion for the Court in Bell v. Hood, 327 U.S. 678
(1946), we did as the Court states, reserve the question
whether an unreasonable search made by a federal
officer in violation of the Fourth Amendment gives the
subject of the search a federal cause of action for
damages against the officers making the search. There
can be no doubt that Congress could create a federal
cause of action for damages for an unreasonable
search in violation of the Fourth Amendment. Although
Congress has created such a federal cause of action
against state officials acting under color of state law, “it
[***645] has never created such a cause of action
against federal officials. If it wanted to do so, Congress
could, of course, create a remedy against [*428]
federal officials who violate the Fourth Amendment in
the performance of their duties. But the point of this
case and the fatal weakness in the Court's judgment is
that neither Congress nor the State of New York has
enacted legislation creating such a right of action. For
us to do so is, in my judgment, an exercise [****65] of
power that the Constitution does not give us.

Even if we had the legislative power to create a remedy,
there are many reasons why we should decline to
create a cause of action where none has existed since
the formation of our Government. The courts of the
United States as well as those of the States are choked
with lawsuits. The number of cases on the docket of
this Court have reached an unprecedented volume in
recent years. A majority of these cases are brought by
citizens with substantial complaints [****66] -- persons
who are physically or economically injured by torts or
frauds or governmental infringement of their rights;
persons who have been unjustly deprived of their liberty
or their property; and persons who have not yet
received the equal opportunity in education,
employment, and pursuit of happiness that was the
dream of our forefathers. Unfortunately, there have also
been a growing number of frivolous lawsuits, particularly
actions for damages against law enforcement officers
whose conduct has been judicially sanctioned by state
trial and appellate courts and in many instances even by

*"Every person who, under color of any statute, ordinance,
regulation, custom, or usage, of any State or Territory,
subjects, or causes to be subjected, any citizen of the United
States or other person within the jurisdiction thereof to the
deprivation of any rights, privileges, or immunities secured by
the Constitution and laws, shall be liable to the party injured in
an action at law, suit in equity, or other proper proceeding for
redress." Rev. Stat. § 1979, 42 U_S. C. § 1983.
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this Court. My fellow Justices on this Court and our
brethren throughout the federal judiciary know only too
well the time-consuming task of conscientiously poring
over hundreds of thousands of pages of factual
allegations [**2021] of misconduct by police, judicial,
and corrections officials. Of course, there are instances
of legitimate grievances, but legislators might well desire
to devote judicial resources to other problems of a more
serious nature.

[*429] We sit at the top of a judicial system accused by
some of nearing the point of collapse. Many criminal
defendants do not receive [****67] speedy trials and
neither society nor the accused are assured of justice
when inordinate delays occur. Citizens must wait years
to litigate their private civil suits. Substantial changes in
correctional and parole systems demand the attention of
the lawmakers and the judiciary. If | were a legislator |
might well find these and other needs so pressing as to
make me believe that the resources of lawyers and
judges should be devoted to them rather than to civil
damage actions against officers who generally strive to
perform within constitutional bounds. There is also a
real danger that such suits might deter officials from the
proper and honest performance of their duties.

All of these considerations make imperative careful
study and weighing of the arguments both for and
against the creation of such a remedy under the Fourth
Amendment. | would have great difficulty for myself in
resolving the competing policies, goals, and priorities in
the use of resources, if | thought it were my job to
resolve those questions. But that is not my task. The
task of evaluating the pros and cons of creating judicial
remedies for particular wrongs is a matter for Congress
and the legislatures [****68] of the States. Congress
has not provided that any federal court can entertain
[***646] a suit against a federal officer for violations of
Fourth Amendment rights occurring in the performance
of his duties. A strong inference can be drawn from
creation of such actions against state officials that
Congress does not desire to permit such suits against
federal officials. Should the time come when Congress
desires such lawsuits, it has before it a model of valid
legislation, 42 U. S.C. § 1983, to create a damage
remedy against federal officers. Cases could be cited to
support the legal proposition which [*430] | assert, but
it seems to me to be a matter of common understanding
that the business of the judiciary is to interpret the laws
and not to make them.

| dissent.

MR. JUSTICE BLACKMUN, dissenting.

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|, too, dissent. | do so largely for the reasons expressed
in Chief Judge Lumbard’s thoughtful and scholarly
opinion for the Court of Appeals. But | also feel that the
judicial legislation, which the Court by its opinion today
concededly is effectuating, opens the door for another
avalanche of new federal cases. Whenever a suspect
imagines, or chooses [****69] to assert, that a Fourth’
Amendment right has been violated, he will now
immediately sue the federal officer in federal court. This
will tend to stultify proper law enforcement and to make
the day's labor for the honest and conscientious officer
even more onerous and more critical. Why the Court
moves in this direction at this time of our history, | do not
know. The Fourth Amendment was adopted in 1791,
and in all the intervening years neither the Congress nor
the Court has seen fit to take this step. | had thought
that for the truly aggrieved person other quite adequate
remedies have always been available. If not, it is the
Congress and not this Court that should act.

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Unconstitutional conduct by state [****70] or federal

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Michigan Compiled Laws Service Chapter 750 Michigan Penal Code (§§_750.1 — 750.568), Act 328 of 1931 (§§
750.1 — 750.568) Chapter XLV Homicide (§§ 750.316 — 750.329a)

§ 750.316. First degree murder; incarceration order upon conviction; penalty;
definitions.

Sec. 316.

(1) Except as provided in sections 25 and 25a of chapter IX of the code of criminal procedure, 1927 PA 175, MCL 769.25 and
769.25a, a person who commits any of the following is guilty of first degree murder and shall be punished by imprisonment for
life without eligibility for parole:

(a) Murder perpetrated by means of poison, lying In wait, or any other willful, deliberate, and premeditated killing.

(b) Murder committed in the perpetration of, or attempt to perpetrate, arson, criminal sexual conduct in the first, second, or third
degree, child abuse in the first degree, a major controlled substance offense, robbery, carjacking, breaking and entering of a
dwelling, home invasion in the first or second degree, larceny of any kind, extortion, kidnapping, vulnerable adult abuse in the
first or second degree under section 145n, torture under section 85, aggravated stalking under section 411i, or unlawful
imprisonment under section 349b.

(c) A murder of a peace officer or a corrections officer committed while the peace officer ar corrections officer is lawfully engaged
in the performance of any of his or her dutles as a peace officer or corrections officer, knowing that the peace officer or
corrections officer is a peace officer or corrections officer engaged In the performance of his or her duty as a peace officer or
corrections officer.

(2) Immediately following a conviction under this section, a court shall enter an order committing the convicted person to the
jurisdiction of the department of corrections for incarceration in a state correctional facility pending sentencing using a form
created by the state court administrative office for this purpose. This order becomes effective if both of the following apply:

(a) The sheriff agrees to transport for final sentencing the person from the state correctional facility to the county and from the
county back to the state correctional facility.

(b) The convicted person was not less than 18 years of age at the time he or she committed the offense for which he or she was
convicted under this section.

(3) A court shall hold the sentencing hearing not more than 45 days after a person is committed to the department of corrections
under subsection (2).

(4) As used In this section:

(a) “Arson” means a felony violation under chapter X.

(b) “Corrections officer” means any of the following:

(/) A prison or jail guard or other prison or jail personnel.

(ii) Any of the personnel of a boot camp, special! alternative incarceration unit, or other minimum security correctional facllity.
(iii) A parole or probation officer.

(c) “Major controlled substance offense” means any of the following:

(i) A violation of section 7401(2)(a)(/) to (iif) of the public health code, 1978 PA 368, MCL 333.7401.

(ii) A violation of section 7403(2)(a)()) to (if) of the public health code, 1978 PA 368, MCL 333.7403.

(ii7) A conspiracy to commit an offense listed in subparagraph (i) or (i).

(d) “Peace officer” means any of the following:

(i) A police or conservation officer of this state or a political subdivision of this state.

(ii) A police or conservation officer of the United States.

(iii) A police or conservation officer of another state or a political subdivision of another state.
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History

Pub Acts 1931, No. 328, Ch. XLV, § 316, eff September 18, 1931; amended by Pub Acts 1969, No. 331, eff March 20, 1970;
1980, No. 28, imd eff March 7, 1980; 1994, No. 267, imd eff July 6, 1994, by § 2 eff October 1, 1994; 1996, No. 20, imd eff
February 15, 1996, by § 2 eff April 1, 1996; 1996, No. 21, imd eff February 15, 1996, by § 2 eff April 1, 1996; 1999, No. 189, by
enacting § 1 eff April 1, 2000; 2004, No. 58, imd eff April 12, 2004, by enacting § 1 eff June 11, 2004; 2006, No, 415, imd eff
September 29, 2006, by enacting § 1 eff December 1, 2006; Pub Acts 2013, No. 39, effective June 4, 2013; Pub Acts 2014, No,
23, effective March 4, 2014; Pub Acts 2014, No, 158, effective July 1, 2014; Pub Acts 2022, No. 149, effective July 19, 2022.

w Annotations

Notes

Prior codification:

RS 1846, Ch. 153,§ 1; CL 1857, § 5711; CL 1871, § 7510; How § 9075; CL 1897, § 11470; CL 1915, § 15192; CL 1929, §
16708.

MSA § 28.548
Amendment Notes
The 1994 amendment rewrote this section.

The first 1996 amendment (Pub Act 20) in subsection (1), paragraph (b), inserted “, second” and “home invasion in the
first or second deqree,”; added a new subsection (2), paragraph (a); and redesignated former subsection (2), paragraphs

(a)-(c) as paragraphs (b)-(d).

The second 1996 amendment (Pub Act 21) in subsection (1), paragraph (b), inserted “, second” and “home invasion in
the first or second degree,”; added a new subsection (2), paragraph (a); and redesignated and revised former subsection
(2), paragraphs (a)-(c) as paragraphs (b)-(d); substituted “chapter X” for “section 72, 73, 74, or 75” in (2)(a); and
substituted “A” for “Any” throughout (2).

The 1999 amendment in subsection (2), paragraph (b), subparagraph (il), substituted “Any of the” for “A”, added“,
special alternative incarceration unit,” after “camp”; and updated statutory references and made grammatical changes.

The 2004 amendment in subsection (1), paragraph (b), deleted “or” preceding “kidnapping” and inserted *, or vulnerable
adult abuse in the first and second degree under section 145n” following “kidnapping”.

The 2006 amendment revised subsection (1), paragraph (6) from one which read: "Murder committed in the perpetration
of, or attempt to perpetrate, arson, criminal sexual conduct in the first, second, or third degree, child abuse in the first
degree, a major controlled substance offense, robbery, carjacking, breaking and entering of a dwelling, home invasion in the
first or second degree, larceny of any kind, extortion, kidnapping, or vulnerable adult abuse in the first and second degree
under section 145n.”. :

The 2013 amendment by PA 39 substituted “or” for “and” preceding “second degree” in (1)(b).

The 2014 amendment by PA 23 in the introductory language of (1), added “Except as provided in sections 25 and 25a of
chapter IX of the code of criminal procedure, 1927 PA 175, MCL 769.25 and 769.25a” at the beginning and “without
eligibility for parole” at the end,

The 2014 amendment by PA 158 added “unlawful imprisonment under section 349b” at the end of (1)(b) and made
related changes.

The 2022 amendment by PA 149 added (2) and (3); redesignated former (2) as (4); and substituted “under chapter” for
“of chapter” in (4)(a).

NOTES TO DECISIONS

% 1. Constitutionality.

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& 9. —Killing committed in perpetration of other crimes.
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& 28. —Defense of others.
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& 30. —Obligation to retreat.
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& 32. —Threats, uncontrollable passion or mistake of law.
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& 34. —Insanity.
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3% 48. —Degree of crime.
& 49. —Felony-murder.
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&© 51. Admissibility of evidence.
& 52. —Cause of death and corpus delicti.
& 53. —Surrounding circumstances.
& 54. —Real or demonstrative evidence.
%&55.~—Admissions, confessions and declarations; hearsay.
%& 56. —Acts and conduct of or threats by accused.
57. —Acts or conduct of or threats by victim.
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& 62. —Mental condition of accused.
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&% 67. —Res gestae statements.
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& 69. — —Depicting corpus delicti or cause of death.
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& 72. —Quarrelsome character and violence.
& 73. —Self-defense.

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&% 75. —Guilt of accused.

& 76. —Degree of crime.

477. —Felony-murder.

& 78. —Circumstantial evidence.

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& 80. —Identity of accused.

&%& 81. —Corpus delicti.

& 82. —Poisoning.

% 83. —Malice.

% 84. —Mental condition of accused.

& 85. —Deliberation and premeditation. !
& 86. — —Inferences from evidence.

& 87. —Self-defense.

& 88. —Aiding or abetting.

& 89. —Specific cases.

+ 90. Witnesses.

& 91. Instructions to jury; nature and scope.
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% 93. —Lesser included offenses.

& 94, —Felony-murder.

&%& 95. —Second-degree murder.

& 96. —Manslaughter.

& 97. —Instructions read as whole.

& 99. —Premeditation and deliberation.

&% 100. —Malice.

%& 101. — —Use of deadly weapon.

& 102. —Motive and intent.

%& 103. —Cause of death.

& 104. —Aiding and abetting.

&. 105. —Relating to self-defense.

%& 106. — —In general.

& 107. — —Dputy to retreat or avoid encounter.

x& 109. —Insanity.

% 110. —Intoxication.

%& 111. —Standard of proof.

& 112. —Burden of proof.

& 113. —Failure or refusal to instruct.

114. —Necessity for request.

% 115. —Failure to object.

% 116. —Nonreversible error.

& 117. —Erroneous instructions.

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%& 120. —Identification of defendant.

%& 121. —Premeditation and deliberation.

& 122. —Malice.

%& 123. —Dying declaration.

%& 124. —Weight and credibility of testimony.
& 125. —Dangerous weapon.

& 98, —Emphasizing, restricting or singling out facts and theories.

%& 108. — —Belief in or apprehension of danger or great bodily harm.

%& 119. Questions for jury; degree of crime and guilt of accused.

%& 126. —Justification, mitigation and excuse of taking decedent's life.

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%& 127. —Specific cases.

% 128. Verdict, findings and judgment.
&% 129. Sentence.

& 130. Eligibility for parole.

%& 131. Appeal and error.

¥ 1. Constitutionality.

statute, because no such definition is required as there is nothing vague about what conduct Is prohibited by the statute.

MCL 750.316, Michigan's first-degree murder statute, is constitutional, even though the term “murder” is not defined by
People v. Mesik, 285 Mich. App. 535, 775 N.W.2d 857,.2009 Mich, App. LEXIS 1844 (Mich, Ct. App. 2009).

performance of official duties does not unconstitutionally create a strict liability crime, because a conviction under the
statute requires proof beyond a reasonable doubt of all the elements of one of the three forms of murder (intent to kill,
intent to do great bodily harm, or knowingly creating a very high risk of death or great bodily harm knowing that death or
such harm was the likely result of the actions), and does not depend solely upon the status of the victim. People v. Herndon,
246 Mich. App, 371, 633 N.W.2d 376, 2001 Mich. App, LEXIS 124 (Mich. Ct. App. 2001), app. denied, 465 Mich, 970, 642
N.W.2d 678, 2002 Mich. LEXIS 471 (Mich. 2002).

The statute classifying the murder of a peace officer as first-degree murder does not violate constitutional equa! protection
guarantees because the statute is rationally related to the legitimate governmental interest of protecting peace officers in
the performance of their duties. People v. Clark, 243 Mich. App. 424, 622 N.W.2d 344, 2000 Mich, App. LEXIS 261 (Mich. Ct.
App. 2000), app. denied, 465 Mich. 864, 634 N.W.2d 353, 2001 Mich. LEXIS 1695 (Mich. 2001).

First-degree murder statute authorizing conviction for felony murder as separate offense from premeditated murder upon
proof of intent to kill or wanton act and that death resulted from commission of one of specified felonies, as well as proof of
malice beyond reasonable doubt inferable from nature of underlying felony and circumstances surrounding its commission,
would be held not to be violative of due process either as reducing prosecutions burden of proof or as shifting such burden
impermissibly to defendant, but merely providing for proof of different elements in order to elevate second-degree murder
to first-degree murder. People v. Martin, 75 Mich. App. 6, 254 N,W.2d 628, 1977 Mich. App, LEXIS 1071 (Mich. Ct. App.
1977).

Challenge to constitutionality of felony-murder provision of this section would not be considered on review where it was not
raised at trial in felony-murder prosecution. People v. Oliver, 63 Mich. App. 509, 234 N.W.2d 679, 1975 Mich. App. LEXIS
1196 (Mich. Ct. App. 1975).

2. Construction, operation and effect.

A murder that occurs during the uninterrupted chain of events surrounding the commission of the predicate felony is
committed in the “perpetration of” that felony for felony-murder purposes under MCL § 750,316(1)(b). Accordingly, the

term “perpetration” encompasses acts beyond the definitional elements of the predicate felony, to include those acts
committed within the res gestae of that felony. People v. Gillis, 474 Mich, 105, 712. N.W.2d 419, 2006 Mich, LEXIS 624

(Mich. 2006).

Abrogation of the common-law year and a day rule that the death of a person which occurred more than a year and a day
after an assault was not caused by the assault does not relieve the prasecution of the duty to prove all the elements of a
homicide, including proximate cause, beyond a reasonable doubt. People v. Stevenson, 416 Mich, 383, 331 N.W.2d 143,
1982 Mich. LEXIS 635 (Mich. 1982).

At time first-degree murder statute was recodified in 1931, conduct historically known as rape was prohibited by carnal
knowledge statute, and as it exists in first-degree murder statute, term “rape” was intended to encompass course of
conduct originally proscribed at common law and altered by various statutes through years. People v, McDonald, 409 Mich.

110, 293 N.W.2d 588, 1980 Mich. LEXIS 232 (Mich. 1980).

This section enumerates felonies solely for purpose of elevating degree of murder committed in perpetration or attempted
perpetration of those felonies and nowhere indicates intention to enumerate felonies for purpose of defining malice. People
v. Aaron, 409 Mich. 672, 299 N.W.2d 304, 1980 Mich. LEXIS 254 (Mich. 1980).

The homicide statute making it first-degree murder to kill a peace officer or corrections officer while lawfully engaged in the

Use of term “murder” in this section does not codify common-law felony murder rule, but requires that murder must first be
established before section is applied to elevate degree. People v. Aaron, 409 Mich. 672, 299 N.W.2d 304, 1980 Mich. LEXIS
254 (Mich. 1980).

Purpose of this section is to graduate punishment. People v. Aaron, 409 Mich. 672, 299 N,W.2d 304, 1980 Mich, LEXIS 254
(Mich, 1980).

In Michigan, homicide Is not a crime; it is murder and manslaughter that are crimes. People v. Allen, 390 Mich. 383, 212
N.W.2d 21, 1973 Mich, LEXIS 150 (Mich, 1973).

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Neither murder nor manslaughter is defined in statutes concerning such offenses. People v. Carter, 387 Mich, 397, 197
N.W.2d 57, 1972 Mich. LEXIS 172 (Mich. 1972).

This section does not define murder but simply classifies murder perpetrated in a particular manner as murder in the first
degree and has no application until a murder has been established. People v. Austin, 221 Mich. 635, 192 N.W, 590 1923
Mich, LEXIS 512 (Mich, 1923).

The doctrine of ejusdem generis had no application to this provision so as to limit the words “or any other kind of wilful,
deliberate and premeditated killing,” ta acts of the same general nature or class as those enumerated, i.e., killing by means
of poison or lying in wait. People v, Vinunzo, 212 Mich. 472, 180 N.W. 502, 1920 Mich. LEXIS 541 (Mich. 1920).

A defendant's convictions of first-degree premeditated murder and first-degree felony murder arising from the death of a
single victim violates double jeopardy; the defendant's conviction should be modified to one count of first-degree murder
supported by two theories: premeditated murder and felony murder. People v. Bigelow, 229 Mich. App. 218,581 N.W.2d
744, 1998 Mich, App. LEXIS 112 (Mich. Ct. App. 1998), app. denied, 1998 Mich. LEXIS 2895 (Mich. Nov. 6, 1998), app.
denied, 459 Mich. 898, 589 N.W.2d 278, 1998 Mich. LEXIS 2903 (Mich. 1998).

A defendant's convictions of and sentences for both felony murder and the predicate offense violated the defendant's right
against double jeopardy and, accordingly, the conviction of and sentence for breaking and entering was vacated. People v.
Bigelow, 229 Mich. App. 218, 581 N.W.2d 744, 1998 Mich, App. LEXIS 112 (Mich. Ct. App, 1998), app. denied, 1998 Mich.
LEXIS 2895 (Mich. Nov. 6, 1998), app. denied, 459 Mich, 898, 589 N.W.2d 278, 1998 Mich, LEXIS 2903 (Mich. 1998).

The policy under which the Department of Corrections denies approval of a transfer of a foreign inmate from a Michigan
prison to a prison in the foreigner’s home country if the foreigner is serving a sentence of life imprisonment for a conviction
of first-degree murder does not violate the Treaty Between the United States and Canada on the Execution of Penal
Sentences. Walton v, Dep't of Corrections, 212 Mich. App. 455, 538 N.W.2d 66, 1995 Mich. App. LEXIS 351 (Mich. Ct. App.
1995), app. denied, 451 Mich. 878, 549 N.W.2d 571, 1996 Mich. LEXIS 884 (Mich. 1996).

Felony murder consists of the killing of a human being with the intent to kill, to do great bodily harm, or to create a high risk
of death or great bodily harm with knowledge that death or great bodily harm was the probable result while committing,
attempting to commit, or assisting in the commission of any of the felonies specifically enumerated In § 750.316. People v.
Lee, 212 Mich. App. 228, 537 N.W.2d 233, 1995 Mich. App. LEXIS 331 (Mich. Ct. App. 1995), app. denied, 453 Mich. 884,
554 N.W.2d 12, 1996 Mich, LEXIS 2199 (Mich. 1996).

Homicide is the killing of one human being by another; homicide is not a crime in Michigan; however, murder and
manslaughter are crimes. People v. Campbell, 124 Mich. App. 333,335 N.W.2d 27, 1983 Mich. App. LEXIS 2885 (Mich. Ct.
App. 1983), app. denied, 418 Mich. 905, 342 N.W.2d 519, 1984 Mich. LEXIS 1245 (Mich. 1984).

The term “suicide” excludes by definition a homicide. People v. Campbell, 124 Mich. App. 333, 335 N.W.2d 27, 1983 Mich.
App. LEXIS 2885 (Mich. Ct. App. 1983), app. denied, 418 Mich. 905, 342 N.W.2d 519, 1984 Mich, LEXIS 1245 (Mich. 1984).

Attempted suicide has not been held to be attempted murder at common law; it is extremely doubtful that incitement to
suicide Is a crime under the common law. People v. Campbell, 124 Mich, App. 333,335 N.W,2d 27, 1983 Mich. App. LEXIS
2885 (Mich. Ct. App, 1983), app. denied, 418 Mich, 905, 342 N.W.2d 519, 1984 Mich. LEXIS 1245 (Mich. 1984).

It is unfair to convict a person of felony murder where the death involved was purely accidental. People v. Woods,, 124 Mich.
App. 645, 335. N.W.2d 112, 1983 Mich. App. LEXIS 2850 (Mich. Ct. App. 1983), app. denied, 419 Mich. 859,362 N.W.2d
216, 1984 Mich. LEXIS 1337 (Mich. 1984).

The statute on felony murder requires the prosecution to establish that a homicide occurred, that the homicide Is murder,
and that the murder occurred in the perpetration or attempt to perpetrate one of the enumerated felonies; it is essential to
show that there was in fact a murder and, once that has been proved beyond a reasonable doubt, the statute frees the
prosecution from the burden of showing premeditation, deliberation, and wilfulness; premeditation is not an element of
felony murder. People y. Small, 120 Mich. App. 442, 327 N.W.2d 504, 1982 Mich. App. LEXIS 3556 (Mich. Ct. App. 1982).

The term “burglary” as used in the felony-murder statute prior to the 1980 amendment to that statute referred to the
common-law crime of burglary which was a breaking and entering of a dwelling house in the nighttime; accordingly, prior to
the 1980 amendment of the felony-murder statute, a conviction for felony murder could not be sustained upon proofs of a
breaking and entering in the daytime. People v, Whetstone. 119 Mich. App. 546, 326 N.W.2d 552, 1982 Mich. App, LEXIS
3482 (Mich. Ct. App. 1982).

The supreme court decision abrogating the common-law felony-murder rule as of the date of that decision, November 24,
1980, does not apply retroactively to trials occurring prior to that date. People v. Hartford, 117 Mich. App. 413, 324 N.W.2d
31, 1982 Mich. App. LEXIS 3287 (Mich. Ct, App. 1982), app. denied, 419 Mich, 859, 346 N.W.2d 843, 1984 Mich. LEXIS
1087 (Mich, 1984).

The decision abrogating the felony-murder doctrine which allowed the element of malice required for murder to be satisfied
by the intent to commit the underlying felony was not given retroactive effect and applied only to trials in progress on, and

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those commencing after, November 24, 1980. People v. Till, 115 Mich. App. 788 323 N.W.2d 14,1982 Mich. App. LEXIS
3149 (Mich, Ct. App. 1982).

The legislature failed to express a clear intent in the statute on first-degree felony murder to authorize multiple convictions
and cumulative punishment for both the crime of murder and the underlying enumerated felony on the face of the statute.
People v, Alexander, 104 Mich. App. 545, 305 N.W.2d 262, 1981 Mich, App. LEXIS 2816 (Mich, Ct, App. 1981).

Year and day rule applies to all prosecutions for statutory first-degree felony murder. People v, Stevenson, 101 Mich, Apa,
61, 300 N.W,2d 449, 1980 Mich. App. LEXIS 3011 (Mich, Ct, App. 1980), aff'd, 416 Mich, 383,331 N.W.2d 143, 1982 Mich.
LEXIS 635 (Mich. 1982).

Enactment of criminal sexual conduct statute did not manifest fegistative intent to repeal or modify felony murder statute
and would not preclude prosecution under latter statute grounded on underlying felony of common-law rape. People v. Terry,
86 Mich. App. 64, 272 N.W.2d 198, 1978 Mich. App. LEXIS 2560 (Mich. Ct. App. 1978).

Prosecutor in murder prosecution was not required to elect between theories of premeditated murder and felony murder
where distinct offenses were charged in different counts, both were committed by means of same acts at same time, and
same testimony was required for conviction. People v. Hall, 83 Mich. App. 632,269 N.W.2d 476, 1978 Mich. App. LEXIS
2355 (Mich, Ct. App. 1978).

Legislative purpose underlying felony murder rule is to discourage persons who would commit or attempt to commit felonies
inherently dangerous to human fife by imposing greater penalty than would otherwise obtain for deaths attributable to their
acts in furtherance of felonious purpose. People v. Till, 80 Mich. App. 16,263 N.W.2d 586, 1977 Mich. App. LEXIS 1253
(Mich, Ct. App. 1977), rev'd, 406 Mich. 641, 281 N.W.2d 297,_1979 Mich, LEXIS 386 (Mich. 1979), rev'd in part, 441 Mich.
982, 308 N.W.2d 110, 1981 Mich. LEXIS 452 (Mich, 1981).

Argument as to wisdom of felony murder rule would be required to be addressed to legislature, not court on review of
conviction under felony murder statute. People v. Martin, 75 Mich. App. 6, 254 N.W.2d 628, 1977 Mich. App. LEXIS 1071

(Mich, Ct. App. 1977).

This section, specifically declaring degree of murder when crime is committed by certain means and under certain
circumstances would be held to control over general statutory provision of § 750,318 that jury shall, by their verdict,
determine degree of murder. People y. Craig, 66 Mich. App. 406, 239 N.W.2d 390, 1976 Mich. App. LEXIS 1202 (Mich. Ct.
App..1976).

This section includes common-law offenses of murder and felony murder. People v. Buresh,.63 Mich. App. 629, 234 N.W.2d
736, 1975 Mich, App. LEXIS 1208 (Mich. Ct. App. 1975).

Deceased’s civil cause of action for injuries or death does not eliminate defendant’s criminal responsibility for injury which
placed deceased in position of peril. People v. Flenon, 42 Mich. App. 457,202 N.W.2d 471, 1972 Mich. App. LEXIS 953
(Mich, Ct, App. 1972).

Where the district court held that Miller v. Alabama operated retroactively to invalidate MCLS 791.234(6), which imposed a
sentence of mandatory life without parole for persons younger than 18 at the time they committed first-degree murder, and

issued an injunctive order requiring state officials to comply with Miller, in view of intervening legal changes, including the
enactment of Michigan statutes requiring sentencing courts to follow Miller, the orders were vacated and the case was
remanded so the parties could amend the pleadings and supplement the record. Hill v. Snyder, 821 F.3d 763, 2016 FED App.
0112P, 2016 U.S. App. LEXIS 8632 (6th Cir, Mich. 2016).

Unpublished decision: Where an arrestee was arrested for the death of a nine-day-old daughter, a detective was properly
denied summary judgment based on qualified immunity and governmental immunity as to the arrestee's federal and state
false arrest claims because, inter alia, the arrestee presented evidence that the detective intentionally misrepresented the
arrestee’s statements to the state judge. Richardson v. Nasser,_421 Fed. Appx. 611, 2011 FED App. 0295N, 2011 U.S, App.
LEXIS 9354 (6th Cir, Mich. 2011).

F 2.5. Double jeopardy.

Under Mich, Const. art. 1,.§ 15, defendant could be punished for both felony murder under MCL 750.316(1)(b) and first-
degree criminal sexual conduct under MCL 750,520b(1), because each offense contained an element that the other did not;
first-degree criminal sexual conduct required sexual penetration, which was not required with first-degree felony murder,

and first-degree felony murder required the killing of another human being, which was not required for first-degree criminal
sexual conduct. People v. Ream, 481 Mich. 223, 750_N.W.2d 536,2008 Mich, LEXIS 1163 (Mich. 2008).

€ 3. Degrees of murder.

Malice aforethought is “grand criterion” which elevates homicide, which may be innocent or criminal, to murder. People v.
Aaron, 409 Mich. 672, 299 N.W.2d 304, 1980 Mich. LEXIS 254 (Mich. 1980).

Term murder as used in this section includes all types of murder at comman law. People v. Aaron, 409 Mich, 672, 299
N.W.2d 304, 1980 Mich. LEXIS 254 (Mich, 1980).

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To constitute murder, even though malice may be Implied from felonious act, killing must be attributable to accused and not
to cofelons. People v. Aaron, 409 Mich. 672, 299 N.W.2d 304, 1980 Mich, LEXIS 254 (Mich. 1980).

Murder is where a persan of sound memory and discretion unlawfully kills any reasonable creature in being, in the peace of
the state, with malice prepense or aforethought, either express or implied. People v. Aaron, 409 Mich. 672, 299 N.W.2d 304,
1980 Mich. LEXIS 254 (Mich. 1980).

Homicide is the killing of one human being by another; it is not necessarily a crime but may be innocent or criminal. People
v. Allen, 390 Mich. 383, 212 N.W.2d 21, 1973 Mich. LEXIS 150 (Mich. 1973).

Murder is criminal homicide committed with malice aforethought; manslaughter is criminal homicide committed without
malice aforethought. People v. Allen, 390 Mich. 383, 212 N.W.2d 21, 1973 Mich. LEXIS 150 (Mich. 1973).

Murder is an unlawful, malicious killing. People v. Carter,_387 Mich. 397, 197 N.W.2d 57, 1972 Mich. LEXIS 172 (Mich.
1972),

To constitute murder, even though malice may be implied from felonious acts, the killing must be attributable to accused.
People v, Carter, 387 Mich. 397, 197 N.W.2d 57, 1972 Mich, LEXIS 172 (Mich, 1972).

Term “homicide” has reference to the unlawful killing of one human being by another. Wozniak v. John Hancock Mut, Life
Ins. Co,, 288 Mich, 612, 286 N.W. 99, 1939 Mich, LEXIS 558 (Mich. 1939).

Homicide is the killing of a human being by a human being and may or may not be felonious and, if felonious, it Is either
murder or manslaughter, dependent upon the facts and circumstances surrounding the killing. People v. Austin, 221 Mich.
635, 192 N.W. 590, 1923 Mich. LEXIS 512 (Mich, 1923).

Murder Is killing by person of sound memory and discretion unlawfully of any reasonable creature in being, in peace of state,
with malice prepense or aforethought. People v. Martin, 75 Mich. App. 6, 254 N.W.2d 628, 1977 Mich. App, LEXIS 1071
(Mich. Ct. App. 1977).

Victim of a felony need not be one who Is murdered in order to obtain conviction in felony-murder prosecution, so long as
murder occurs as natural result of either commission of crime or escape from it. People v, Graves, 52 Mich. App. 326, 217
N.W.2d 78, 1974 Mich, App. LEXIS 1032 (Mich. Ct. App, 1974).

A criminal intent, coupled with accidental occurrence, cannot constitute either first or second-degree murder, People v,
Schafer, 36 Mich. App, 316, 193 N.W.2d 925, 1971 Mich. App. LEXIS 1318 (Mich. Ct. App. 1971),

Where two or more persons combine to commit a felony and a murder Is committed in furtherance thereof, all parties to
agreement to commit felony are liable for murder even though a homicide was not planned. People v. Smith, 33 Mich. App.
336, 189 N.W.2d 833, 1971 Mich. App. LEXIS 1763 (Mich. Ct. App. 1971).

®% 4. First-degree murder.

First-degree murder is second-degree murder plus element of premeditation of perpetration or attempt to perpetrate
enumerated felony. People v. Carter, 395 Mich. 434, 236 N.W.2d 500, 1975 Mich. LEXIS 173 (Mich. 1975).

Second-degree murder is first-degree murder minus element of premeditation or enumerated felony and, as such, Is lesser-
included offense of first-degree murder or first-degree felony-murder. People v. Carter, 395 Mich. 434,236 N.W.2d 500,
1975 Mich, LEXIS 173 (Mich. 1975).

Second-degree murder is always lesser included offense of first-degree murder. People v, Carter, 395 Mich. 434,236 N.W.2d
500, 1975 Mich. LEXIS 173 (Mich. 1975).

First-degree murder statute includes common-law offense of murder and felony-murder, People v, Dupie, 395 Mich. 483,
236 N.W.2d 494, 1975 Mich. LEXIS 179 (Mich. 1975).

Murder in first degree requires proof of premeditation, deliberation, and malice. People v. Younger, 380 Mich. 678, 158
N.W.24 493, 1968 Mich. LEXIS 172 (Mich, 1968).

Trial court did not err in convicting him of first-degree premeditated murder under MCL § 750.316, for the double murder
of two of his co-workers because the evidence concerning any relationship between defendant and the victims did not give

rise to adequate provocation, because although defendant claimed he was enraged when he saw the victims kissing,
defendant did not have any romantic relationship with one of the victims, he did not know the other victim, and defendant
had to drive more than three hours to get his rifle and ammunition. People v. Tierney, 266 Mich. App. 687,703 N.W.2d 204,
2005 Mich. App. LEXIS 1430 (Mich, Ct. App. 2005), app. denied, 474 Mich, 1068, 711 N,.W.2d 303, 2006 Mich. LEXIS 295
(Mich, 2006).

Mere conscious indifference to likelihood of death as result of accused’s intentional act is insufficient to support first-degree
charge, since defendant must have acted with purpose of causing death. People v. Milton, 81 Mich. App. 515,265 N.W.2d
397, 1978 Mich. App. LEXIS 2157 (Mich, Ct. App.), modified, 403 Mich. 821, 282 N.W.2d 926, 1978 Mich, LEXIS 1136 (Mich,
1978).

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First-degree murder is murder in second-degree plus element of perpetration of statutorily enumerated forcible felony, and
accordingly, since law may not impute essential element of malice to second-degree murder, it may not impute malice
requisite to first-degree murder. People v. Wright, 80 Mich. App. 172, 262 N.W.2d 917, 1977 Mich. App. LEXIS 1265 (Mich.
Ct. App. 1977), aff'd, 409 Mich. 672, 299 N.W.2d 304, 1980 Mich. LEXIS 254 (Mich. 1980).

First-degree murder consists of common-law offense of murder committed under any of circumstances enumerated by
statute. People v. Meadows, 80 Mich. App. 680, 263 N.W.2d 903, 1977 Mich, App, LEXIS 1298 (Mich. Ct. App. 1977).

First-degree murder is murder committed with malice aforethought and deliberation or premeditation. People v. Vertin, 56
Mich. App. 669, 224 N.W,2d 705, 1974 Mich. App. LEXIS 772 (Mich. Ct. App. 1974).

Charge of “murder languishing” charged murder in first degree. People v. Hoerle, 3 Mich. App. 693,143 N.W.2d 593, 1966
Mich. App. LEXIS 714 (Mich. Ct. App. 1966).

Sufficient evidence supported petitioner’s conviction for the first degree premeditated murder of a 19-year-old woman; the
evidence showed that shortly after petitioner picked up the victim at a bar, he took her to his home and forced her to
perform sexual acts upon him. He and a third party took her to another location where the victim was killed; after she was
dead, petitioner doused her body with gasoline and burned it. Alder v. Burt, 240 F, Supp. 2d 651, 2003 U.S. Dist. LEXIS 982
(E.D. Mich. 2003),

€ 5. —Essential requisites.

Common law felony murder doctrine, which defined malice as intent to commit an underlying felony is abolished. If the jury
determines malice existed when the killing occurs, and that it occurred In the perpetration or attempted perpetration of an
enumerated felony, by statute the murder would become first degree murder. People v. Aaron, 409 Mich, 672, 299 N.W.2d
304, 1980 Mich, LEXIS 254 (Mich, 1980).

Kicking a man to death may constitute first-degree murder, if the clear intent to kill is present. People v, Van Camp, 356
Mich. 593, 97 N.W.2d 726, 1959 Mich. LEXIS 409 (Mich. 1959).

First-degree premeditated murder differs from crime of first-degree felony murder In that in former it is act of premeditation
and deliberation that elevates crime to first degree, whereas in latter it is act of committing murder during perpetration of
felony that aggravates nature of offense. People v, Wright, 80 Mich. App. 172, 262 N.W,2d 917, 1977 Mich. App. LEXIS 1265
(Mich. Ct. App. 1977), aff'd, 409 Mich. 672, 299 N.W.2d 304, 1980 Mich, LEXIS 254 (Mich, 1980).

Premeditated and felony murder are separate crimes within first-degree murder statute and differ in that former requires act
of premeditation and deliberation, while latter requires act of murder committed during perpetration of a felony, all other
murders being murder in second degree. People v. Martin, 75 Mich. App. 6, 254 N.W.2d 628, 1977 Mich. App. LEXIS 1071
(Mich. Ct, App. 1977).

Prerequisites to establishing felony murder offense are homicide constituting murder in perpetration or attempt to
perpetrate one of statutorily enumerated felonies. People v. Bryant, 70 Mich. App, 279, 245 N,W.2d 716, 1976 Mich. App.
LEXIS 843 (Mich. Ct. App. 1976).

Murder committed while attempting to escape from felony scene constitutes felony-murder if it is immediately connected

with underlying felony. People v. Jones, 66 Mich. App. 223, 238 N.W.2d 813, 1975 Mich. App. LEXIS 916 (Mich. Ct. App.
1975).

Theory of felony murder had no application to prosecution for first-degree murder of victim fatally strangled by defendant
after struggle In victim’s home. People v. Charles, 58 Mich. Apo. 374, 227 N.W.2d 348, 1975 Mich. App. LEXIS 1709 (Mich.

Ct. App. 1975).

Essential requirement in first-degree murder prosecution brought under felony-murder statute Is proof of one of
independent felonies listed in statute. People v, Olsson, 56 Mich, App, 500, 224 N.W.2d 691, 1974 Mich, App, LEXIS 751
(Mich. Ct. App. 1974).

A homicide committed immediately after robbery, apparently for purpose of preventing detection, constitutes statutory
felony-murder. People v. Smith, 55 Mich. App. 184, 222 N.W.2d 172, 1974 Mich, App. LEXIS 804 (Mich. Ct. App. 1974).

Even If a manslaughter should occur during perpetration, or attempt to perpetrate, one of felonies enumerated in this
section, there would be no felony murder since it is essential to show that there was in fact a murder. People v, Wimbush, 45
Mich. App. 42, 205 N.W.2d B90, 1973 Mich. App. LEXIS 1054 (Mich. Ct. App. 1973).

To convict defendant on a charge of felony murder, prosecution must establish (1) a homicide, (2) that the homicide is
murder, and (3) that the murder occurred in perpetration or attempt to perpetrate one of the enumerated felonies; thus,
more must be shown than that one of the named felonies occurred, during course of which a human being died. People v,
Wimbush, 45 Mich. App. 42, 205 N.W.2d 890, 1973 Mich. App. LEXIS 1054 (Mich, Ct. App. 1973).

Felony-murder rule supports a conviction of first-degree murder against an accomplice of murderer, if accomplice entered
into felony with contemplation, actual or implied, that resistance from citizens or police could be expected. People v. Bowen,,

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12 Mich, App. 438, 162 N.W.2d 911, 1968 Mich. Apo. LEXIS 1211 (Mich. Ct. App. 1968).

Record in murder prosecution under Michigan law provided sufficient evidence for charge of first-degree murder, and thus,
petitioner’s Fourteenth Amendment right to due process was not violated by submission to jury of that charge, despite the
possibility that conviction for second-degree murder may have been compromise verdict because the petitioner pursued the
victim with a gun and shot him, then followed him, engaged him in mortal combat, stabbed him several times, allegedly
declaring his intent to kill victim and, therefore, jury instructions could not have deprived petitioner a fair trial. Danlels v.
Burke, 83 F.3d 760, 1996 FED App, 0135P, 1996 U.S. App. LEXIS 10466 (6th Cir, Mich.), cert. denied, 519 U.S. 942,117S.
Ct. 327, 136 L. Ed. 2d 241, 1996 U.S. LEXIS 6356 (U.S. 1996).

¥ 6. —Poisoning or furnishing poison.

Common law definition of murder does not encompass act of intentionally providing means by which a person commits
suicide. People v. Kevorkian, 447 Mich. 436, 527 N.W.2d 714, 1994 Mich. LEXIS 3033 (Mich. 1994), cert. denied, 514. U.S.
1083, 115 §. Ct, 1795, 131 L. Ed. 2d 723, 1995 U.S. LEXIS 2903 (U.S. 1995).

Where a defendant merely is involved in events leading up to the death, such as providing the means to commit sulcide, the
proper charge is assisting in a suicide, not murder. People v. Kevorkian, 447 Mich. 436, 527 N.W.2d 714, 1994 Mich, LEXIS
3033 (Mich. 1994), cert. denied, 514 U.S. 1083, 115 S, Ct. 1795, 131 L. Ed. 2d 723, 1995 U.S. LEXIS 2903 (U.S. 1995).

First-degree murder is common-law crime of murder with added element of perpetration by means of paison, tying in wait,
or any other kind of willful, deliberate and premeditated killing. People v. Nadeau, 75 Mich. App. 369,254 N.W.2d 893,1977
Mich. App, LEXIS 1111 (Mich. Ct. App. 1977).

Poison would be held to include narcotics such as morphine, which was administered to deceased by accused. People v.
Brown, 37 Mich. App. 192, 194 N.W.2d 560, 1971 Mich. App. LEXIS 1175 (Mich. Ct. App. 1971).

¥ 7. —Killing committed in perpetration of robbery.

Defendant's out-of-court statement that he had seen the victim with money prior to the stabbing fell under the admission by
a party opponent exception to the hearsay rule; defendant's inconsistent statement helped prove the underlying larceny in
that defendant or his girlfriend knew that the victim had money and decided to seize the moment to rob and murder the
victim. People v. Lundy, 467 Mich, 254, 650 N.W 2d 332, 2002 Mich, LEXIS 1599 (Mich. 2002).

The enumeration of burglary in the former first-degree murder statute as aggravating conduct which would support a
conviction of first-degree murder where a homicide occurred during a burglary required proof of all the elements of
common-law burglary including the breaking and entering of a dwelling in the nighttime with the intent to commit a felony.
People v. Young,_418 Mich, 1, 340 N.W.2d 805, 1983 Mich. LEXIS 259 (Mich. 1983).

Malice, the intention to kill, do great bodily harm or the wanton and willful disregard of the likelihood that the tendency of
defendant's behavior Is to cause death or great bodily harm, is an essential element of murder, whether murder occurs In
the course of a felony or otherwise. People v, Aaron, 409 Mich. 672, 299 N.W.2d 304, 1980 Mich, LEXIS 254 (Mich 1980).

Shooting and killing of one of three robbers by intended victim during robbery attempt, did not make defendants, as two
remaining felons, guilty of murder in first degree, within meaning of this section, since to construe it in that way would be a
policy decision which would be properly prerogative of legislature. People v. Austin, 370 Mich. 12,120 N.W.2d 766, 1963
Mich, LEXIS 353 (Mich. 1963).

When a felon’s attempt to commit robbery sets in motion a chain of events which were or should have been within his
contemplation when motion was initiated, he should be held responsible for any death which by direct and inevitable
sequence results from initial criminal act. People v. Podolski,_332 Mich. 508, 52. N.W,2d 201, 1952 Mich. LEXIS 589 (Mich.),
cert, denied, 344 U.S. 845, 73 S. Ct, 62,97 L. Ed. 657,.1952 U.S. LEXIS 1923 (U.S. 1952).

Homicide in commission of robbery would not constitute murder In first degree unless defendant was at scene of crime
either with intent to rob or in actual act of robbing. People v. Wright, 315 Mich, 81, 315 Mich. 82,23 N.W.2d 213, 1946
Mich, LEXIS 305 (Mich, 1946).

Under this section, the killing of another during an attempt to rob constitutes murder of the first degree. People v. Crandell,
270 Mich. 124, 258 N.W. 224, 1935 Mich. LEXIS 662 (Mich. 1935).

The fact that the confession of defendant who killed another during an attempted robbery stated that the firing of the
revolver was unintentional did not reduce the degree of murder. People v. Crandell, 270 Mich. 124, 258 N.W. 224, 1935
Mich, LEXIS 662 (Mich, 1935).

Under this section, providing a penalty for murder while committing robbery, the robbery and the murder are a single
criminal act so that acquittal of either robbery or murder is a bar to conviction for the other. People v, Miccichi, 264 Mich.
581, 250 N.W. 316, 1933 Mich. LEXIS 1067 (Mich. 1933).

In a prosecution for robbery of a store while armed, where, during the attempt to rob the proprietor of the store, a customer
who entered while the robbery was in progress was killed, and, in a prosecution for common-law murder of such customer
dnfandant wae acnuitted. the killina and robbery were not a single criminal act under this section, and a plea of former

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acquittal was not a sufficient answer to the charge of robbery. People v. Miccichi, 264 Mich, 581, 250 N.W. 316, 1933 Mich.
LEXIS 1067 (Mich. 1933).

One who, knowing that his companions were about to commit a robbery, loaned them his loaded revolver and drove them in
his automobile to a point near the scene of the crime and waited there for them, was guilty as a principal of a first-degree
murder resulting from the attempted robbery. People v. Peranio, 225 Mich. 125, 195 N.W. 670, 1923 Mich, LEXIS 547 (Mich.
1923).

All murder committed in the perpetration or attempt to perpetrate any robbery is murder in the first degree and all parties
knowingly aiding, abetting or participating in the robbery are equally guilty. People v, Peranio, 225 Mich, 125, 195 N.W. 670,
1923 Mich. LEXIS 547 (Mich, 1923).

There is no statutory distinction between armed or unarmed robbery as one of enumerated felonies forming basis for felany
murder charge. People v. Bryant,_70 Mich. App. 279, 245 N.W.2d 716, 1976 Mich. App. LEXIS 843 (Mich. Ct. App. 1976).

A hamicide committed immediately after a robbery for purpose of attempting escape or preventing detection constitutes
felony-murder. People v. Oliver, 63 Mich. App. 509, 234 N.W.2d 679, 1975 Mich. App. LEXIS 1196 (Mich. Ct. App. 1975).

Defendant who fatally shot state trooper and sped away after latter approached his automobile with gun drawn few miles
away from scene and within half hour of commission of armed robbery by defendant could not successfully contend that
felony of armed robbery was complete at time of shooting as would preclude conviction under felony-murder doctrine.
People v. Oliver, 63 Mich. App. 509, 234 N.W.2d 679, 1975 Mich, App. LEXIS 1196 (Mich. Ct. App. 1975).

For purposes of felony-murder statute, robber Is engaged in perpetration of crime while he is endeavoring to escape and
make away with goods taken. Pegple v. Smith, 55 Mich. App. 184,222 N.W.2d 172, 1974 Mich. App. LEXIS 804 (Mich. Ct.
App. 1974).

In felony-murder prosecution resulting from accomplice’s fatal shooting of robbery victim's husband in grocery store within
half-hour or less of robbery, defendant’s conviction of first-degree murder was proper even though deceased was not person
robbed, where presence of someone other than victim, at 11:30 a.m. time of robbery, could be said to have been naturally
expected by robbers. People v. Graves, 52 Mich, App. 326, 217 N.W.2d 78,1974 Mich. App. LEXIS 1032 (Mich. Ct. App.
1974).

Felony-murder rule was properly applicable so as to warrant conviction for first-degree murder as against defendant who

fatally shot hls cofelon during latter's struggle with intended victim of armed robbery. People v. Warren, 44 Mich, App. 567,
205 N.W.2d 599, 1973 Mich, App. LEXIS 1031 (Mich, Ct. App. 1973).

Provisions of § 750.529, superseding common-law offense of armed robbery, would be held not to have precluded
prosecution based for felony murder laid under common-law offense of robbery so as to justify finding of first-degree
murder for killing perpetrated during commission of armed robbery, thereby obviating necessity of proving malice. People v.
Gavin, 37 Mich, App. 335, 194 N.W.2d 498, 1971 Mich, App. LEXIS 1230 (Mich, Ct. App. 1971).

Where during “perpetration” of an armed robbery a killing occurs at hands of felon or someone acting in concert with him in
furtherance of common objective or purpose, all codefendants are guilty of first-degree murder. People v, Goree,_30 Mich,
App. 490, 186 N.W.2d 872, 1971 Mich. App. LEXIS 2252 (Mich. Ct. App. 1971).

Defendant wha was convicted of first-degree murder under felony-murder rule for accomplice’s fatal shooting of police
officer during bank robbery could not successfully contend that shooting was separate and independent act of accomplice
because of agreement not to injure anyone during robbery, since defendant by undertaking robbery thereby intended to
commit felony and, in view of his own use of weapon to wound another officer and his urging of accomplice to shoot, it could
not be said that he had not contemplated violent reaction by him to any resistance during robbery. People v. Bowen,_12
Mich, App. 438,162 N.W.2d 911, 1968 Mich, App, LEXIS 1211 (Mich. Ct, App, 1968).

In first-degree murder prosecution resulting from fatal shooting of police officer by defendant's accomplice while both were
attempting to escape from bank they had robbed, defendant's contention that robbery was fully consummated at time of
shooting and was being “perpetrated” within meaning of felony-murder rule was without merit, where at time of shooting
defendant was still in bank and could not be said to have carried through entire contemplated robbery, including escape.
People v. Bowen, 12 Mich. Anp. 438, 162 N.W.2d 911, 1968 Mich. App. LEXIS 1241 (Mich, Ct. App. 1968).

Inmate's habeas petition was denied where the evidence was suffictent to support the guilty verdict of the inmate for felony
murder where the inmate’s attempt to escape after committing a robbery resulted in two deaths from a car accident. Terry
vy. Bock, 208 F Supp. 2d 780,_2002 U.S. Dist. LEXIS 12068 (E.D. Mich. 2002), aff'd, 79 Fed. Appx. 128, 2003 U.S. App.
LEXIS 21841 (6th Cir, Mich. 2003).

In prosecution for murder committed while perpetrating or attempting to perpetrate robbery, where defendant admitted
everything essential to proof of offense except his intent to rob and claimed that death was accidental, and where
prosecution did not and could not know that case would take on that aspect until after defendant had testified, it was proper
for prosecution in rebuttal ta show intent by crass-examination or any other competent testimony, including defendant's

confession if lawfully obtained, even though state from inception of trial had burden of proving that defendant had

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committed rabbery or had intent to rob. People v. Wright, 315 Mich. 81,315 Mich. 82, 23 N.W.2d 213, 1946 Mich. LEXIS
305 (Mich. 1946).

Unpublished decision: Following unsuccessful appeals from his convictions for first degree murder, armed robbery, and
felony firearm, a prisoner's petition for a writ of habeas corpus under 28 USCS § 2254 was granted where the prisoner
demonstrated that his trial counsel was deficient for failing to interview an accomplice witness before making a
determination as to whether to call him as a witness because the prisoner’s trial counsel had a duty under U.S. Const.
amend. 6 to investigate all potential relevant witnesses, which he recognized but refused to fallow, and only after the
prisoner's counsel talked to the accomplice witness could he have made an informed decision about whether to call him, and
the prisoner demonstrated prejudice from his counsel's failure to interview the accomplice witness because his counsel's
failure to talk to the accomplice witness deprived the prisoner of an opportunity to present a critical component of his
defense and, had the accomplice witness testified as expected that the prisoner was not involved in the robbery and murder,
it could not be said that the result of the trial would have been the same. Towns v. Smith, 2003 U.S. Dist. LEXIS 10772
(E.D, Mich, June 25,2003), aff'd, 395 F.3d 251, 2005 FED App. 0009P, 2005 U.S, App. LEXIS 240 (6th Cir. Mich. 2005).

¥ 38. —Killing committed in perpetration of rape.

Passage of present criminal sexual conduct statute and repeal of former carnal knowledge statute did not effect concept of
rape in first-degree murder statute, thus crime of first-degree murder based on rape could properly be charged in
information, and no error occurred In prosecution of case for murder committed during perpetration or attempted
perpetration of rape, since rape as formerty defined under carnal knowledge faw survived for purposes of prosecution.
People v, McDonald, 409 Mich. 110, 293 N.W.2d 588, 1980 Mich. LEXIS 232 (Mich, 1980).

Killing In an attempt to rape involves an intent to have sexual intercourse by force and against the will, and is murder in the
first degree under the statute. People v. Best, 218 Mich. 141, 187 N.W. 393, 1922 Mich, LEXIS 548 (Mich. 1922).

Evidence from which jury could find rape was sufficient to support jury's finding of guilt against two defendants on two
counts of premeditated murder and felony murder arising out of killing of single victim in perpetration of rape. People v.
Ramsey,_89 Mich. App. 260, 280 N.W.2d 840, 1979 Mich. App. LEXIS 2068 (Mich, Ct. App. 1979).

Felony murder statute Incorporating rape as one of enumerated felonies while excluding other forms of felonious criminal
sexual conduct involving forcible sexual penetration, thereby subjecting anly males as principals to prosecution for felony
murder-rape in accord with definition of rape as carnal knowledge af woman by farce and against her will, would be held to
comply with equal protection of laws as bearing fair and reasonable relation to legislative determination that rape is more
inherently dangerous to human fife than other forms of sexual assault. People v. McDonald, 86 Mich, App. 5,272 N.W.2d
179, 1978 Mich, App. LEXIS 2552 (Mich. Ct. App. 1978), aff'd, 409 Mich. 110, 293 N.W.2d 988, 1980 Mich, LEXIS 232

(Mich. 1980).

Offense of felony murder-rape was not abolished by enactment of criminal sexual conduct statute under which offense
formerly known as rape became punishable as criminal sexual conduct either in first or third degree. People v. McDonald, 86
Mich. App, 5,272 N.W,2d 179, 1978 Mich. App. LEXIS 2552 (Mich, Ct. App. 1978), aff'd, 409 Mich. 110, 293 N,W.2d $88,
1980 Mich. LEXIS 232 (Mich. 1980).

Circumstantial evidence was sufficient to justify reasonable person in concluding that all elements of rape or attempted rape
were established beyond reasonable doubt so as to support conviction in prosecution for murder in perpetration or attempt
to perpetrate rape. People v. McDonald, 86 Mich, App. 5, 272 N.W.2d 179, 1978 Mich, App, LEXIS 2552 (Mich. Ct. App.
1978), aff'd, 409 Mich. 110, 293 N.W 2d 588, 1980 Mich. LEXIS 232 (Mich. 1980).

¥ 9. —Killing committed in perpetration of other crimes.

If there has been a killing during commission of one of felonies enumerated under first-degree murder statute, this
establishes the degree; if the killing occurs during commission of some other felony, malice may be implied but nature of
felonious act must be considered, since many felonies are not inherently dangerous to human life and to hold that in all
cases it is murder if a killing occurs in commission of any felony would take from jury the essential question of malice.
People v. Carter, 387 Mich, 397,197 N.W.2d 57, 1972 Mich. LEXIS 172 (Mich. 1972).

While the statute constitutes murder committed in the perpetration of burglary as in the first degree it does not exclude all
lesser degrees if the evidence warrants. People v. Treichel, 229 Mich. 303, 200 N.W. 950, 1924 Mich. LEXIS 892 (Mich.
1924).

Home invasion was properly considered an underlying felony to support a conviction of first-degree felony murder. People vy.
Warren, 228 Mich. App. 336,578 N.W,2d 692, 1998 Mich. App. LEXIS 56 (Mich, Ct. App. 1998), aff'd in part and rev'd in
part, 462 Mich. 415, 615 N.W.2d 691, 2000 Mich, LEXIS 1421 (Mich, 2000).

Arson is predicate felony in felony murder statute and shares no comman elements with homicide as would justify merger
based on lesser Included or cognate offense analysis in prosecution for felony-murder and premeditated first-degree murder
by means of arson. People v. Densmore,, 87 Mich. App. 434,274 N.W.2d 811, 1978 Mich, App. LEXIS 2691 (Mich. Ct. App.
1978).

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Felony murder is second-degree murder with additional element of perpetration or attempt to perpetrate enumerated felony.
People v. Crown, 75 Mich. App, 206, 254 N.W.2d 843, 1977 Mich. App. LEXIS 1092 (Mich. Ct. App. 1977).

Offense of unlawfully driving away automobile does not require proof of intent to permanently deprive owner of his property
and, accordingly, does not constitute larceny within meaning of felany murder statute designating felony murder as murders
committed in perpetration of larceny of any kind. People v. Goodchild, 68 Mich, App. 226, 242 N.W.2d 465, 1976 Mich. App.
LEXIS 696 (Mich. Ct. App. 1976).

Jury in felany-murder prosecution could not be properly charged in supplemental instruction that they could find defendant
guilty of second-degree murder rather than first-degree murder if they also found that defendant was involved in
perpetration of underlying felony, such charge being contrary to law mandating verdict of first-degree murder if jury found
that murder was perpetrated in commission of felony. People v. Craig, 66 Mich. App. 406, 239 N.W.2d 390, 1976 Mich. App.
LEXIS 1202 (Mich. Ct. App. 1976).

For a defendant to be found guilty under felony-murder provision of this section, he must have committed murder during
perpetration of crime. People v. Aaron, 63 Mich. App. 230, 234. N.W.2d 462, 1975 Mich. App. LEXIS 1156 (Mich. Ct. App.
1975).

First-degree murder includes that perpetrated by means of poison, lying in wait or committed during perpetration or attempt
to perpetrate any arson, rape, robbery, burglary, larceny of any kind, extortion or kidnapping. People v. Vertin, 56 Mich,
App. 669, 224 N.W.2d 705, 1974 Mich. App. LEXIS 772 (Mich. Ct. App. 1974).

A killing committed while attempting to escape from or prevent detection of felony is felony-murder provided it is committed
as part of continuous transaction with or is otherwise immediately connected with underlying felony. People v. Smith, 55
Mich. App. 184, 222 N.W.2d 172, 1974 Mich. App. LEXIS 804 (Mich. Ct. App. 1974).

Felony-murder statute applicable to crimes of arson, rape, robbery and burglary was not applicable to alleged murder
cammitted during commission of felony of attempted jail escape, and accordingly, affirmative proof that killing was
deliberate and premeditated would be required to be shown in prosecution for such crime. People v, Macklin, 46 Mich. App.
297, 208 N.W.2d 62, 1973 Mich. App. LEXIS 1204 (Mich. Ct. App. 1973).

¥ 10. First and second-degree murder distinctions.

Second-degree and first-degree murder are separate offenses, and offenders are subject to significantly different penalties.
People v, Allen, 390 Mich, 383, 212 N.W.2d 21, 1973 Mich. LEXIS 150 (Mich. 1973).

Murder, called second-degree murder in Michigan, Is a common-law crime and first-degree is a statutory crime; it is the
common-law crime of murder with an added element. People v. Allen, 390 Mich, 383, 212 N.W.2d 21, 1973 Mich. LEXIS 150
(Mich. 1973).

A defendant's conviction of first-degree, premeditated murder was vacated and changed to second-degree murder where
premeditation and deliberation were not established beyond a reasonable doubt; defendant did not have the ability to
engage In the “cool and orderly reflection” necessary to elevate his crime to first-degree murder where the defendant shot
the victim during a brawl during a “heated situation,” and the defendant had a blood alcohol level of approximately 0.10
percent during the shooting. People v, Plummer, 229 Mich. App, 293, 581 N.W.2d 753, 1998 Mich. App. LEXIS 113 (Mich. Ct.
App, 1998), app. denied, 457 Mich. 864, 581 N,W.2d 730, 1998 Mich, LEXIS 937 (Mich. 1998), app. denied, 459 Mich. 900,,
590 N.W.2d 58, 1998 Mich. LEXIS 2910 (Mich, 1998), cert. denied, 568 U.S. 1131, 133 S. Ct. 949, 184 L. Ed. 2d 738, 2013
U.S, LEXIS 762 (U.S. 2013).

A conviction for felony murder based upon a felony other than one of the felonies enumerated in the felony-murder statute
should be reduced to a conviction for second-degree murder, since the trier of fact under such circumstances necessarily
found that the defendant had committed all the elements necessary to sustain a conviction for second-degree murder.
People v, Whetstone, 119 Mich, App. 546,326 N.W.2d 552, 1982 Mich. App, LEXIS 3482 (Mich, Ct, App. 1982).

First-degree murder Is distinguished from second-degree murder in that the prosecution must prove that the death was the
result of a premeditated, deliberate intent to kill before a defendant can be convicted of first-degree murder. People v.
Brown, 119 Mich. App. 656, 326 N.W.2d 834, 1982 Mich, App. LEXIS 3492 (Mich, Ct. App. 1982).

First-degree murder is distinguished from second-degree murder in that for a conviction for first-degree murder the
prosecution must prove that the death was the willful result of the defendant's premeditated and deliberate intent to kill.
People v, Boose, 109 Mich. App. 455, 311 N.W.2d 390, 1981 Mich. App, LEXIS 3287 (Mich. Ct, App. 1981).

First-degree murder consists of killing of human being with malice aforethought and premeditation or deliberation, and
without certain mitigating circumstances. People v. Folkes, 71 Mich. App. 95,246 N.W.2d 403, 1976 Mich. App. LEXIS 924

(Mich. Ct. App. 1976).

First-degree and second-degree murder are consistently treated as two divisions of same crime, not as distinctly separate
crimes. People v, Spells, 42 Mich, App. 243, 201 N.W,2d 361, 1972 Mich. App. LEXIS 922 (Mich, Ct, App. 1972).

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Michigan Compiled Laws Service Chapter 750 Michigan Penal Code (§§ 750.1 — 750.568) Act 328 of 1931 (§§
750.1 — 750.568) Chapter XXIV Conspiracy (§§ 750.151 — 750.157c)

§ 750.157. Providing incriminating testimony or evidence; use of truthful testimony,
evidence, or other information against witness in criminal case.

Sec, 157.

A person shall not be excused from attending and testifying or producing any books, papers, or other documents before a court
or magistrate upon an investigation, proceeding, or trial for a violation of this chapter on the ground that the testimony or
evidence may tend to degrade or incriminate the person. Truthful testimony, evidence, or other truthful information compelled
under this section and any information derived directly or indirectly from that truthful testimony, evidence, or other truthful
information shall not be used against the witness in a criminal case, except for impeachment purposes or in a prosecution for
perjury or otherwise failing to testify or produce evidence as required.

History

Pub Acts 1931, No. 328, Ch. XXIV, § 157, eff September 18, 1931; amended by Pub Acts 1999, No. 251, imd eff December 28,
1999,

wv Annotations

Notes

Prior codification:
MSA § 28.354
Amendment Notes

The 1999 amendment substituted “A” for “No”; inserted “not” following “shall”; substituted “a” for “any” following
“before”; substituted “an” for “any” following “upon”; deleted “of any of the provisions” following “violations”; substituted
“on” for“, upon”; deleted “or for the reason” following “ground”; deleted “, documentary or otherwise, required of him”
following “evidence”; substituted “the person. Truthful testimony, evidence, or other truthful information compelled under

__ this section and any information derived directly or indirectly from that truthful testimony, evidence, or other truthful
information shall not be used against the witness in a criminal case, except for impeachment purposes or ina prosecution
for perjury or otherwise failing to testify or produce evidence as required” for “him; but no person shall be prosecuted or
subjected to any penalty or forfeiture for or on account of any transaction, matter or thing concerning which he may so
testify or produce evidence, documentary or otherwise, and no testimony so given or produced shall be received against him

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upon any criminal investigation, proceeding or trial: Provided, That no person so testifying shall be exempt from prosecution
and punishment for perjury committed in so testifying”; and made changes in punctuation.

NOTES TO DECISIONS

Court of appeals erred when it reversed a first degree murder conviction and conspiracy to commit murder because the
prosecution elicited testimony from its "key witness” that he had taken and passed polygraph test where, although the
introduction of that testimony was error, the Michigan Supreme Court found that, given the substantial evidence
corroborating the witness’ testimony and establishing defendant's guilt and defense counsel's prior, improper atternpt to
create a false inference that the witness had failed a polygraph test, the additional improper bolstering created by the
testimony that the witness had taken and passed a polygraph test was not outcome-determinative, and the unpreserved,
nonconstitutional error had not affected defendant's substantial rights. Peaple v. Jones, 468 Mich. 345, 662 N.W.2d 376,
2003 Mich, LEXIS 1193 (Mich. 2003).

Research References & Practice Aids

LexisNexis® Michigan analytical references:

Michigan Law and Practice, Criminal Law and Procedure §§.68, 719

Michigan Digest references:
Criminal Law and Procedure §§ 739.30, 755

Hierarchy Notes:

MCLS Ch. 750, Act 328

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MCLS § 750.317

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Michigan Compiled Laws Service Chapter 750 Michigan Penal Code (§§ 750.1 — 750.568), Act 328 of 1931 (§§
750.1 — 750.568) Chapter XLV Homicide (§§ 750.316 — 750.329a)

§ 750.317. Second degree murder; penalty.

Sec. 317.
Second degree murder—All other kinds of murder shall be murder of the second degree, and shall be punished by imprisonment
in the state prison for life, or any term of years, in the discretion of the court trying the same.

History

Pub Acts 1931, No. 328, Ch. XLV, § 317, eff September 18, 1931.

yw Annotations

Notes

Prior codification:

RS 1846, Ch. 153, § 1; CL 1857, § 5712; CL 1871, § 7511; How § 9076; CL 1897, § 11471; CL 1915, § 15193; CL 1929, §
16709.

MSA § 28.549

NOTES TO DECISIONS

%& 1. Second-deqree murder generally.

& 2. Second-degree murder distinguished.
& 3. Elements of offense.

& 4, —Malice.

% 5. —Intent.

& 6. Presumptions and inferences.

7. Justification and excuse.

% 8. —Intoxication.

& 9. Admissibility and sufficiency of evidence.
10. —Corpus delicti and cause of death.
11. —Admissions.

% 12. —Self-defense.

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%& 12.5 —Duress.

%&13.—Identification of defendant.

3% 14. —Res gestate or excited utterance.
%& 15.—Prior actions and canduct of accused.
& 16. —Mental condition of defendant.
& 17. —Malice and intent.

18. —Circumstantial evidence.

£19. —Rebuttal testimony.

& 20, Habeas corpus proceedings.

%, 21. Conduct of prosecutor.

& 22. Double jeopardy.

& 23. Instructions to jury.

4% 24. —Lesser-included offense.

& 25. —Manslaughter.

& 26. —Cause of death.

& 27. —Presumption of innocence and burden of proof.
& 28. —Aiding and abetting.

%& 29, —Self-defense.

% 30. —Intoxication.

& 31. —Malice.

& 32. Unanimity.

& 33. Questions for jury.

4% 34, Verdict.

%& 35. Sentence.

3% 36. —Guidelines.

& 37. Probation.

3%, 38. Appeal and error.

& 39. Sufficient evidence.

% 1. Second-degree murder generally.

Assault with intent to do great bodily harm less than murder is cognate lesser included offense of second degree murder.
People v. Bailey, 451 Mich. 657, 549 N.W.2d 325, 1996 Mich, LEXIS 1423 (Mich.), amended, 453 Mich. 1204, 551 N.W.2d
163, 1996 Mich, LEXIS 1939 (Mich, 1996).

In resisting arrest for intoxication a party was guilty of a felony, under a former Act, and where, in the course of such
resistance, a revolver in his hands inflicted a fatal wound on the officer, he was guilty of murder In the second degree.
People v. Arnett, 239 Mich. 123, 214 N.W. 231, 1927 Mich. LEXIS 731 (Mich. 1927).

MCL 750.317 was not unconstitutionally vague where It was not the element of justification or excuse that was optional,
but the need to read that portion of the jury instruction if no justification or excuse defense was presented. Moreover, the
defenses of justification and excuse were well-established In the common law, as well as the subject of innumerable court
decisions and legal treatises. People v. Schurr, 2024 Mich. App, LEXIS 662 (Mich. Ct. App. Jan, 25,2024).

Defendant's conviction for second-degree murder was proper where the evidence proved beyond a reasonable doubt the
necessary element of malice and his intent to commit second-degree murder; there was ample evidence that cast doubt on
defendant's claim that he gently shook the victim two or three times by the shoulders and medical evidence established that
the victim was severely shaken and died from a fatal head injury. People v. Bulmer, 256 Mich, App. 33, 662 N.W.2d 117,
2003 Mich. App. LEXIS 190 (Mich. Ct. App. 2003).

A conviction of second-degree murder requires 3 showing of the killing of a person by another with malice and without
justification or excuse. People v, Simmons, 134 Mich, App, 779, 352 N.W 2d 275, 1984 Mich. App. LEXIS 2675 (Mich, Ct,
App. 1984).

The prosecution in a trial for second-degree murder must prove that the death was caused by an act of the defendant and
there must be a finding that the defendant intended to kill, or that he intended to do great bodily harm, or that he
committed a wanton and wilful act the natural tendency of which is to cause death or great bodily harm; there must be a
strong, plain likelihood that death or serious bodily harm will result and the defendant must have wilfully and wantonly
disregarded the knowledge of the possible consequence of death or serlous injury, if the third of the alternative mental
states is to be proved (CJI 16:3:01). People v. Klave, 130 Mich. App. 388, 343 N.W.2d 565, 1983 Mich. App. LEXIS 3430
(Mich. Ct. App. 1983),

It Is improper to charge a jury as to conspiracy ta commit second-degree murder because such a crime cannot logically
exist, it being anomalous to speak in terms of planning a crime which by definition is committed without premeditation and
deliberation. People v. Perry, 115 Mich. App. 533, 321 N.W.2d 719,_1982 Mich. App. LEXIS 3131 (Mich. Ct, App. 1982).

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Second-degree murder conviction can be sustained if there is proof of defendant's intent to cause the very harm which
results or some harm of same general nature or act done in wanton or willful disregard of plain and strong likelihood that
some harm will result. People v. Clayton, 97 Mich. App. 915, 296 N.W.2d 177, 1980 Mich. App. LEXIS 2716 (Mich. Ct. App.
1980).

Second-degree murder is not specific intent crime. People v. Barnard, 93 Mich. App. 590, 286 N.W.2d 870, 1979 Mich. App.
LEXIS 2463 (Mich. Ct. App. 1979).

All murder, other than premeditated or felony murder, is murder in second degree. People v. Martin, 75 Mich. App. 6, 254
N.W.2d 628, 1977 Mich, App. LEXIS 1071 (Mich. Ct. App. 1977).

Proof of premeditation and proof of felony serve same purpose in a murder prosecution of elevating otherwise second-
degree murder to crime of murder in first-degree. People v. Embree, 68 Mich. App. 40,.241 N.W.2d 753,1976 Mich. App.
LEXIS 675 (Mich. Ct. App. 1976).

Second-degree murder is always lesser included offense of first-degree murder. People v. Goodchild, 68 Mich. App. 226, 242
N.W.2d 465, 1976 Mich. App. LEXIS 696 (Mich. Ct. App..1976). ‘

A wilful and voluntary act which directly tends ta destroy a person's life may be said to have been intended to destroy such
person’s life consistent with intent required for second-degree murder. People v. Carl, 11 Mich. App. 226, 160 NL.W.2d 801,
1968 Mich, App. LEXIS 1277 (Mich. Ct. App. 1968).

Michigan's second-degree-murder statute fell within the generic definition of murder since: (1) the malice required to prove
murder required the wanton and willful disregard that the natural tendency of the defendant's behavior was to cause death
or great bodily harm; (2) Model Penal Code § 210.2 stated that criminal homicide constituted murder when it was
committed recklessly under circumstances manifesting extreme Indifference to the value of human life; and (3) a law
dictionary defined murder as the killing of a human being with malice aforethought, and depraved-heart murder as a murder
resulting from an act so reckless and careless of the safety of others that it demonstrated the perpetrator's complete lack of
regard for human life. United States v. Hopskin, 702 Fed, Appx. 335, 2017 FED App. 0439N, 2017 U.S. App. LEXIS 13740
(6th Cir, Mich. 2017).

'§ 2. Second-degree murder distinguished.

Second-degree murder is first-degree murder minus element of premeditation or enumerated felony and, as such, is lesser-
Included offense of first-degree murder or first-degree felony murder. People v. Carter, 395 Mich, 434, 236 N.W.2d 500,
1975 Mich, LEXIS 173 (Mich. 1975).

A defendant's conviction of first-degree, premeditated murder was vacated and changed to second-degree murder where
premeditation and deliberation were not established beyond a reasonable doubt; defendant did not have the ability to
engage in the “cool and orderly reflection” necessary to elevate his crime to first-degree murder where the defendant shot
the victim during a brawi during a “heated situation,” and the defendant had a blood alcohol level of approximately 0.10
percent during the shooting. People v. Plummer, 229 Mich. App. 293, 581 N.W.2d 753, 1998 Mich. App. LEXIS 113 (Mich. Ct.
App. 1998), app. denied, 457 Mich. 864, 581 N.W.2d 730, 1998 Mich. LEXIS 937 (Mich. 1998), app. denied, 459 Mich. 900,
590 N.W.2d 58, 1998 Mich, LEXIS 2910 (Mich. 1998), cert, denled, 568 U.S. 1131, 133 S. Ct, 949, 184 L. Ed. 2d 738, 2013
U.S, LEXIS 762 (U.S. 2013).

premeditated and felony murder are separate crimes within first-degree murder statute and differ in that former requires act
of premeditation and deliberation, while latter requires act of murder committed during perpetration of a felony, all other
murders being murder in second degree. People v. Martin, 75 Mich. App. 6, 254 N.W.2d 628, 1977 Mich, App. LEXIS 1071
(Mich. Ct. App. 1977).

To justify submission of second-degree murder charge to trier of fact, there must be evidence that there was killing, that
accused killed with malice aforethought but without premeditation and deliberation, that accused formed Intent to kill upon
sudden provocation prior to and accompanying act, and that such provocation did not foreclose exercise of reason and
thereby reduce crime fram murder to manslaughter. People v. Stanek, 61 Mich, App, 573,233 N.W.2d 89, 1975 Mich, App,
LEXIS 1570 (Mich. Ct. App. 1975).

Offense of second-degree murder requires unlawful killing and purpose to kill formed suddenly, preceding and accompanying
act, without such deliberation and premeditation distinguishing murder in first degree but not with such sudden provocatian
and stirring of passions which precludes exercise of reason as would exclude, in legal sense, Idea of malice aforethought and
thereby reduce offense to manslaughter. People v. Stinson, 58 Mich. App. 243, 227 N.W.2d 303,1975 Mich. App. LEXIS
1698 (Mich. Ct. App. 1975).

Second-degree murder involves purpose to kill without that deliberation and premeditation requisite to murder In first
degree, but without such provocation and stirring of blood which preludes exercise of reason as would in legal sense exclude
idea of malice aforethought and thereby reduce killing to mansfaughter. Peopie v. Bryant, 43 Mich. App. 659, 204 N.W.2d
746, 1972 Mich, App. LEXIS 1076 (Mich. Ct. App 1972).

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To constitute murder in second degree there must be an unlawful killing and purpose to kill, formed suddenly, preceding and
accompanying act, without that deliberation and premeditation which distinguishes murder In first degree, but not such
sudden provocation and stirring of passions which precludes exercise of reason as would, in a legal sense, exclude idea of
malice aforethought, and thereby reduce homicide to manslaughter. People v. Dawson, 29 Mich. App. 488, 185 N.W.2d 581,
4971 Mich. Apn. LEXIS 1987 (Mich. Ct. Apo. 1971).

¥ 3. Elements of offense.

Often-recited fourth element of second-degree murder, without justification or excuse, actually is part of the cluster of Ideas
of second-degree murder; it is not an element of the offense. Because without justification or excuse is not an element of
the offense, the trial court was not required to establish a factual basis in that regard under Mich, Ct. R. 6.302(D)(1), and
the trial court did not violate Mich. Ct. R. 6.302(B) when accepting defendant’s guilty plea. People v. Spears, 2023 Mich.
App. LEXIS 2817 (Mich. Ct. App. Apr. 20,2023),

The evidence was sufficient for a rational trier of fact to find that the essential elements of second-degree murder, including
malice, were proved beyond a reasonable doubt where the defendants intentionally committed an act, drag racing at very
high speeds into an intersection while intoxicated, that was in disregard of life-endangering consequences and that was in
wanton and wilful disregard of the likelihood that the natural tendency of such behavior was to cause death or great bodily
harm; defendants’ motians for directed verdict properly denied. People v. Aldrich, 246 Mich, App. 101, 631 N.W.2d 67, 2004
Mich. App. LEXIS 107 (Mich. Ct. App. 2001), app. denied, 465 Mich. 952, 640 N.W.2d 872, 2002 Mich, LEXIS 101 (Mich.
2002).

The elements of second-degree murder are: (1) thata death occurred, (2) that it was caused by the defendant, (3) that the
killing was done with malice, and (4) without justification or excuse. People v. Smith, 148 Mich. App. 16, 384 N.W.2d 68,
1985 Mich. App. LEXIS 3140 (Mich. Ct. App. 1985).

It Is Incumbent upon the people to establish each and every element of the offense of second-degree murder beyond a
reasonable doubt in a trial for second-degree murder. People v. Klave, 130 Mich. App. 388, 343 N.W.2d 565, 1983 Mich.
App. LEXIS 3430 (Mich, Ct. App, 1983).

Michigan second-degree murder was “violent felony” under Armed Career Criminal Act (ACCA) as it required level of
culpability almost indistinguishable from purposeful or knowing and necessarily involved use of force, and because second-
degree murder was element of defendant's juvenile felony-flrearm conviction, that conviction, which necessarily involved
possession of firearm, qualified as ACCA predicate offense; thus, defendant had three qualifying offenses and properly
received enhanced sentence under ACCA. United States v. Jamison, 85 F.4th 796, 2023 FED App. 236P, 2023 U.S. App.
LEXIS 28462 (6th Cir, Mich. 2023), cert. denled, 144 5. Ct. 613, 217 L. Ed. 2d 327, 2024 U.S. LEXIS 238 (U.S. 2024).

Because provocation Is not an element of second degree murder under Michigan law, the prosecution was not required to
prove it beyond a reasonable doubt. Cook v. Stegall, 56 F. Supp. 2d 788, 1999 US. Dist. LEXIS 8784 (E.D, Mich. 1999).

'¥ 4. —Malice.

Defendant's motion to quash a charge of second-degree murder was properly denied where there was sufficlent evidence of
malice to support the charge; there was evidence that the defendant committed an act that was In disregard of life-
endangering consequences and that was in wanton and wilful disregard of the likelihood that the natural tendency of such
behavior was to cause death or great bodily harm in that the defendant drove at excessive speeds while weaving through
traffic and cutting off other drivers within hours after belng warned about the dangers of a loose sway bar on his car. People
v, Mayhew, 236 Mich, App. 112, 600 N.W.2d 370, 1999 Mich. App. LEXIS 150 (Mich. Ct, App. 1999), app. denied, 461 Mich.
962, 607 N.W.2d 728, 2000 Mich. LEXIS 421 (Mich. 2000).

The absence of provocation [s not an actual element of the crime of second-degree murder that the prosecutor must prove
beyond a reasonable doubt; the mental state or malice that the prosecutor must prove is the Intent to Kill, an Intent to inflict
great bodily harm, or the wanton and wilful disregard of the likelihood that the natural tendency of the defendant's behavior
Is to cause death or great bodily harm. People v. Hopson, 178 Mich. App. 406, 444 N.W.2d 167, 1989 Mich. App. LEXIS 325
(Mich, Ct. App..1989), app. denied, 1990 Mich, LEXIS 558 (Mich, Mar, 30,1990).

Malice is the intent to kill, actual or implied, under circumstances which do not constitute excuse or justification or mitigate
the degree of the killing to manslaughter. People v. Watts,149 Mich. App. 502, 386.N.W.2d 565, 1986 Mich. App. LEXIS
2497 (Mich, Ct. App. 1986).

Malice may be inferred from the defendant’s use of a deadly weapon for purposes of determining whether sufficient evidence
Is presented to bind a defendant over on a charge of second-degree murder. People v. Smith, 148 Mich. Apo. 16, 384
N.W.2d 68, 1985 Mich. App. LEXIS 3140 (Mich, Ct. App. 1985).

The states of mind encompassed by the term “malice aforethought” which satisfy the intent element of second-degree
murder are the specific intent to kill, the intent to do great bodily harm, and wanton and wilful disregard of the natural
tendency of behavior to cause death or great bodily harm. People v. Gjidoda, 140 Mich, App. 294, 364 N.W.2d 698,, 1985
Mich, App. LEXIS 2435 (Mich. Ct. App. 1985).

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One of the elements of second-degree murder is malice, a mental state consisting of the intent to kill, cause great bodily
harm, or do an act in wanton and wilful disregard of the tikelihood that the natural tendency of such behavior is to cause
death or great bodily harm. People v. Vasquez, 129 Mich. App. 691, 341 N.W.2d 873, 1983 Mich. Anp. LEXIS 3274 (Mich, Ct.

App. 1983).

after nightfall, on a main

The driving of an automobile at a grossly excessive speed, in summary disregard of traffic signals,
Ived citizen

traffic artery of general access may be such conduct as to imperil the life and limb of any police officer or uninve
in the Immediate vicinity and could constitute the element of malice for purposes of a criminal! charge of second-degree
murder. People v, Vasquez, 129 Mich. App. 691, 341 N.W.2d 873, 1983 Mich. App. LEXIS 3274 (Mich. Ct. App. 1983).

In second-degree murder prosecution against defendant training school supervisor who administered fatal beating to school
resident by striking him with rubber hose 30 to 100 times during 45 to 60 minute period after removing resident’s pants and
binding his hands behind him with rope looped over tree limb, element of malice necessary to finding of second-degree
murder was manifested by circumstances of beating and natural tendency thereof to cause great bodily harm. People v.
Thomas, 85 Mich, App. 618, 272 N.W.2d 157, 1978 Mich. App. LEXIS 2444 (Mich. Ct. App. 1978).

Offense of second-degree murder, essential element for which is malice, is necessarily included offense of first-degree felony
murder. People v, Wright, 80 Mich. App. 172, 262 N.W.2d 917, 1977 Mich. App. LEXIS 1265 (Mich. Ct. App. 1977), aff'd, 409

Mich, 672, 299 N.W.2d 304, 1980 Mich, LEXIS 254 (Mich. 1980).

Malice Is essential element to crime of second-degree murder and may be present without actual intent to kill where actual
intent is to inflict great bodily harm or to engage in behavior naturally tending to cause death or great bodily harm. People
v. Davis, 76 Mich. App. 187,256 N.W.2d 576, 1977 Mich. App. LEXIS 901 (Mich. Ct. App. 1977).

Malice aforethought, as element of second-degree murder, requires either intent to cause specific harm that resulted or
some harm of same general nature, or acts done in wanton or wilful disregard of plain and strong likelihood that some such
harm will result. People v. Stinson, 58 Mich. App. 243, 227 N.W.2d 303, 1975 Mich. App, LEXIS 1698 (Mich. Ct. App. 1975).

Unplanned or impulsive homicides or those committed In sudden heat of passion, but which are intentional and committed

with malice aforethought, are murder in second-degree. People v. Stinson, 58 Mich. App. 243, 227 _N,W.2d 303, 1975 Mich.
App. LEXIS 1698 (Mich. Ct. App. 1975).

Second-degree murder Is unlawful, malicious killIng requiring malice aforethought as essential element thereof. People v.
Stinson, 58 Mich. App. 243,227 N.W.2d 303,.1975 Mich, App. LEXIS 1698 (Mich, Ct, App. 1975).
‘5. —Intent.

Second-degree murder Is not a specific-intent crime. In re Robinson, 180 Mich. App. 454, 447 N.W.2d 765, 1989 Mich. App.
LEXIS 582 (Mich, Ct. App. 1989).

The absence of provocation Is not an actual element of the crime of second-degree murder that the prosecutor must prove
beyond a reasonable doubt; the mental state or malice that the prosecutor must prove is the intent to kill, an Intent to inflict
great bodily harm, or the wanton and wilful disregard of the likelihood that the natural tendency of the defendant's behavior
is to cause death or great bodily harm. People v. Hopson, 178 Mich. App. 406, 444 N.W.2d 167, 1989 Mich. App. LEXIS 325

(Mich. Ct, App. 1989), app. denied, 1990 Mich. LEXIS 558 (Mich. Mar, 30, 1990).

The intent to kill may be implied where the actor actually intends to inflict great bodily harm or the natural tendency of his
behavior is to cause death or great bodily harm. People v. Watts, 149 Mich. App. 502, 386 N.W.2d 565, 1986 Mich. App.

LEXIS 2497 (Mich. Ct. App. 1986).

A defendant, convicted of the second-degree murder of his child, could have been found beyond a reasonable doubt to have
violently hit and struck the child in such a manner that he must have known he was endangering the child's life where the
evidence regarding the defendant's beatings of the child, the duration and the severity of the beatings, and the way they

e doubt that the beatings were recklessly and wrongfully

130 Mich. App. 388, 343 N.W.2d 565,

were carried out convinced the court beyond a reasonabl
administered while the defendant was conscious of the risk Involved. People v. Klave,.

4983 Mich. App. LEXIS 3430 (Mich. Ct. App. 1983).

A criminal defendant, to be convicted of murder, must be shown ta have acted with an intent to kill or to inflict great bodily
harm or with a wanton and willful disregard of the likelihood that the natural tendency of his behavior was to cause death or
great bodily harm. People v. Major, 112 Mich, App, 354, 315 N.W.2d 542, 1981 Mich. App. LEXIS 3496 (Mich. Ct. App,

1984).

Intent to kill, as element of second-degree murder, may be implied where defendant actually intends to inflict great bodily
harm on victim or natural tendency of his behavior is to cause death or great bodily harm. People v. Thomas, 85 Mich. App.
618, 272 N.W.2d 157, 1978 Mich, App. LEXIS 2444 (Mich. Ct. App. 1978).

r, People v. Davis, 76 Mich. App. 187, 256

Actual Intent to kill is not essentlal element of crime of second-degree murde'
N.W.2d 576, 1977 Mich. App. LEXIS 901 (Mich, Ct. App. 1977).

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Conviction for second-degree murder grounded on intent to produce bodily injury requires that defendant knew or intended
that his acts created strong probability of death or great bodily harm. People v. McFee, 35 Mich. App. 227, 192 N.W.2d 355,
1971 Mich. App. LEXIS 1434 (Mich. Ct. App. 1971).

* 6. Presumptions and inferences.

A killing may be murder even though the actor harbored no ill will against the victim and even though he acted on the spur
of the moment. People v. Watts, 149 Mich. App. 502, 386 N.W.2d 565, 1986 Mich. App. LEXIS 2497 (Mich, Ct. App. 1986).

Since inference that it was accused wha shot police officer quarding prisoner in hospital with fellaw officer's gun was based
directly on eyewitness testimony, and not on any speculative or uncertain facts, such inference is therefore permissible.
People v. Clay, 95 Mich. App. 152, 289 N.W.2d 888, 1980 Mich. App. LEXIS 2443 (Mich. Ct. App. 1980).

In determining whether a defendant had opportunity to subject his actions to second look for purpose of establishing
premeditation in murder prosecution, consideration ts properly given to parties’ previous relationship, acts prior to actual
killing, circumstances of killing itself and defendant's conduct thereafter. People v. Walker, 93 Mich. App. 189, 285 N.W,2d
812, 1979 Mich. App. LEXIS 2413 (Mich. Ct. App. 1979).

Malice or intent to kill, as element of second-degree murder, may be inferred from acts of defendant. People v. Thomas, 85
Mich. Aop. 618, 272. N.W.2d 157, 1978 Mich. App. LEXIS 2444 (Mich. Ct. App. 1978).

Malice aforethought as element of second-degree murder may be shown by inference drawn from evidence, Including use of
lethal weapon. People v. Turner, 62 Mich. App. 467, 233 N.W.2d 617, 1975 Mich. App. LEXIS 1080 (Mich. Ct. App. 1975).

Element of malice required for second-degree murder conviction may be Inferred from type of weapon used and manner in
which crime was committed. People v. Stanek, 61 Mich. App. 573,233 N.W.2d 89,1975 Mich. App. LEXIS 1570 (Mich. Ct,
App. 1975).

Assault by blows without weapon may, under certain circumstances, permit jury inference of intent to kill so as to support
charge of second-degree murder. People v. Stinson, 58 Mich. App. 243,227 N.W.2d 303, 1975 Mich, App. LEXIS 1698 (Mich.
Ct, App. 1975).

Malice and felonious intent required for second-degree murder can be inferred from totality of circumstances as disclosed by
testimony. Peaple v. McBride, 30 Mich. App. 201, 186 N.W.2d 70, 1971 Mich. App. LEXIS 2195 (Mich. Ct. App. 1971).

¥ 7. Justification and excuse.

In a prosecution for second degree murder, where, as a matter of law, no reasonable jury could find that claimed
provocation was adequate to mitigate the homicide to voluntary manslaughter, the court may exclude evidence of the
provocation and decline to instruct the jury regarding voluntary manslaughter. People v. Pouncey, 437 Mich. 382, 471
N.W.2d 346, 1991 Mich. LEXIS 1505 (Mich. 1991).

One charged with murder because of the shooting of a sheriff who was attempting to arrest him for Intoxication did not
excuse himself at all in claiming that he was attempting to cast the revolver away so it would not be found on his person
and that the officer selzed the revolver and was trying to take it when it was discharged. People v. Arnett, 239 Mich. 123,
214 N.W. 231, 1927 Mich, LEXIS 731 (Mich. 1927).

In nonjury prosecution grounded on fatal stabbing of victim by defendant during fight in street, proofs, although sufficient to
support manslaughter conviction, failed to manifest measure of malice and absence of excuse or justification necessary to
support conviction for second-degree murder. People v. Bryant, 43 Mich. App. 659, 204 N,W.2d 746, 1972 Mich. App. LEXIS
1076 (Mich. Ct. App. 1972).

In a prosecution for defendant's open murder of her husband, defendant was not prejudiced by counsel's recommendation
that she accept a plea to second-degree murder because a reasonable defendant would have accepted the second-degree
murder plea in light of the prosecutor's stance that, even with expert testimony on battered spouse syndrome, he would not
have further reduced the charge to manslaughter. Shimel v. Warren, 838 F.3d 685, 2016 FED App. 0239P, 2016 U.S. App.
LEXIS 17320 (6th Cir, Mich. 2016), cert. denied, 581 U.S. 939, 137 S. Ct, 1821, 197 L, Ed, 2d 759, 2017 U.S. LEXIS 2636
(U.S. 2017).

In a prosecution for defendant's murder of her husband, counsel was not rendered Ineffective by advising her to plead guilty
rather than presenting a battered spouse/self-defense theory at trial because expert testimony on battered spouse
syndrome would not have Improved her result, given the evidence that the husband suffered nine gunshot wounds, seven in
the back, that the shooting was precipitated by defendant's gambling problem, and that defendant reloaded the gun and
then continued to shoot her husband. Shimel v. Warren, 838 F.3d 685, 2016 FED App. 0239P, 2016 U.S, App. LEXIS 17320
(6th Cir. Mich. 2016), cert. denied, 581 U.S. 939, 137 S. Ct. 1821, 197. L. Ed. 2d 759, 2017 U.S. LEXIS 2636 (U.S. 2017).

¥ 8. —Intoxication.

'
The defense of voluntary intoxication is not available to a charge of second-degree murder because it is a crime of general
intent. People v, Langworthy, 416 Mich. 630, 331 N.W.2d 171, 1982 Mich, LEXIS 631 (Mich. 1982).

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Voluntary intoxication does not negate the element of malice in a second-degree murder charge because such a crime isa
crime of general intent. People v. Vasquez, 129 Mich. App. 691, 341 N.W.2d 873, 1983 Mich. App. LEXIS 3274 (Mich. Ct.

App. 1983).

Voluntary drug Intoxication is not a defense ta charge of second-degree murder or manslaughter. People v. Coffey, 42 Mich.
App. 683, 202 N.W.2d 456, 1972 Mich. App. LEXIS 983 (Mich. Ct. App. 1972).
¥ 9. Admissibility and sufficiency of evidence.

There was sufficient evidence adduced at the preliminary examination to bind the defendant over on charges of second-
degree murder under either a subjective or objective standard; evidence supported findings that defendant was drunk and
speeding in the middle of a city, that his lack of self-control caused him to narrowly miss striking a vehicle, and that he
thereafter ran through a stoplight, struck another vehicle, and killed its occupant. People v. Goecke, 457 Mich. 442,579
N.W.2d B68, 1998 Mich, LEXIS 1293 (Mich. 1998).

' Causing the death of another while operating a motor vehicle in an intoxicated state, by itself and without other aggravating
circumstances, may establish that a defendant acted with malice sufficient to support a charge of second-degree murder.
People v. Goecke, 454 Mich, 853,558 N.W.2d 726, 1997 Mich. LEXIS 32 (Mich. 1997).

On conviction of defendant of second-degree murder, it was held that there was testimony to justify verdict of guilty beyond
a reasonable doubt. Peaple v, Collins, 303 Mich. 34, 5 N.W.2d 556, 1942 Mich, LEXIS 352 (Mich. 1942).

Sufficient evidence supported defendant's convictions for MCLS 750.136b(2), first-degree child abuse and MCLS 750.317
second-degree murder. Under the evidence presented, a reasonable juror could have concluded that defendant intentionally
smothered defendant's newborn child, so that defendant's mother who would have been angry knowing that defendant was
pregnant, would not hear the baby cry. People v. Portellos, 298 Mich. Aop. 434, 827 N.W.2d 725, 2012 Mich. App, LEXIS
2233 (Mich, Ct. App. 2012), overruled in part, People v. Calloway, 500 Mich, 180, 895 N.W.2d 165, 2017 Mich. LEXIS 941
(Mich. 2017),

Victim's testimony that defendant was one of men who attacked him and fired 50 rounds of ammunition into the vehicle in
which the victim and two other men were sitting, along with data showing defendant's cell phone was in the vicinity of the
shooting and the description matching defendant's vehicle, provided sufficient evidence for a factfinder to conclude that
defendant was one of the perpetrators of second-degree murder, People v. Jones, 2013 Mich. App. LEXIS 2061 (Mich. Ct.
App. Dec. 17, 2013).

Defendant's conviction for second-degree murder was upheld as defendant was serlously Intoxicated when he got into his
car and knew from a recent experience that he might blackout while driving. People v, Werner, 254 Mich. App. 528, 659
N.W.2d 688, 2002 Mich. App. LEXIS 2269 (Mich. Ct. App. 2002), app. denied, 468 Mich. 926, 664 N.W.2d 214, 2003 Mich.

LEXIS 1280 (Mich. 2003).

Evidence of motive ts always relevant In a murder prosecution. People v. Sutherland, 149 Mich. App. 161, 385 N.W.2d 637,
4985 Mich. App. LEXIS 3171 (Mich. Ct. App. 1986).

In prosecution for second-degree murder, test of whether evidence of accused’s criminal responsibility and malice
aforethought was sufficient was whether evidence presented by prosecution would have justified reasonable person in
concluding that all elements of charged offense had been established beyond reasonable doubt, and jurors were entitled to
draw reasonable Inferences from circumstantial evidence. People y. Barnard, 93 Mich. App. 590, 286 N.W.2d 870, 1979

Mich. App. LEXIS 2463 (Mich. Ct. App. 1979).

Evidence In murder prosecution established elements necessary to support finding of gullt of second-degree murder. People
v, Robertson, 87 Mich. App. 109, 273 N.W.2d 501, 1978 Mich. App. LEXIS 2655 (Mich, Ct. App, 1978).

Evidence Is legally insufficient for conviction where it cannot support finding of guilt beyond doubt. People v. Turner, 62 Mich.
App, 467,233 N.W.2d 617, 1975 Mich, App, LEXIS 1080 (Mich, Ct. App. 1975).

Evidence supported jury’s finding defendant guilty of murder In second degree. People v. Wallace, 33 Mich, App. 182, 189
N.W.2d 861, 1971 Mich. App. LEXIS 1716 (Mich, Ct. App. 1971).

Evidence was sufficient from which jury could conclude beyond reasonable doubt that defendant was gullty of second-degree
murder. Peaple v. Dawson, 32 Mich. App. 336, 188 N.W.2d 676, 1971 Mich. App. LEXIS 1901 (Mich. Ct. App. 1971).

Evidence was sufficient to establish elements of crime in prosecution for second-degree murder. People v. Bryant, 24 Mich.
App. 296, 180 N.W.2d 198, 1970 Mich. App. LEXIS 1701 (Mich. Ct. App. 1970).

Testimony of witnesses for prosecution supported trial court’s finding that defendant, who pleaded guilty to open charge of
murder, was guilty of second-degree murder, as against contention that defendant was guilty at most of manslaughter.
People v. Middleton, 22 Mich, App. 694, 177. N.W.2d 652, 1970 Mich, App. LEXIS 2034 (Mich. Ct. App. 1970).

There was sufficient evidence for a rational trier of fact to conclude that the inmate committed the crime of second-degree
murder, either as the principal, or as an aider and abettor; a witness testifled that she witnessed the co-defendant pull the

decedent out of the apartment with the inmate's help and while the two men were dragging the decedent outside, the co—

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defendant was repeatedly hitting or punching the decedent hard to his face, chest, and upper part of the body. Another
witness testified that he witnessed the inmate pull the decedent off of a female and start hitting and kicking the decedent
repeatedly and that the Inmate and another man started hitting the decedent; such testimony, if believed, would be
sufficient to establish that the inmate was gullty of second-degree murder, either as a principal or as an alder and abettor.
Couch v. Booker, 650.F Supp. 2d 683, 2009 U.S. Dist. LEXIS 85291 (E.D. Mich. 2009), aff'd, 632 F.3d 241, 2011 FED App.
0031P, 2011 U.S. App. LEXIS 2105 (6th Cir, Mich. 2011).

¥ 10, —Corpus delicti and cause of death.

Evidence of malice need not be shown to establish the corpus delicti of second-degree murder. People v. Watts, 149 Mich,
Apo, 502, 386 N.W.2d 565, 1986 Mich. App. LEXIS 2497 (Mich. Ct. App. 1986).

In prosecution for second-degree murder of 12-year-old child who, after being beaten with bed slat, cord, and belts by
defendant foster parent, suffered cardiac arrest when undigested particles of food struck vocal cord and activated normal
coughing reflex, evidence that beating started chain reaction which resulted in child’s death, coupled with evidence of type
of beating inflicted, its duration and severity, and systematic nature in which It was carried out, warranted jury inference
that defendant knowingly committed act with murderous intent necessary to sustain conviction, notwithstanding fact that
final cause of death was cardiac arrest. People v. McFee, 35 Mich. App. 227,192 N.W.2d 355, 1971 Mich. App. LEXIS 1434
(Mich, Ct, App. 1971).

In prosecution for second-degree murder of 12-year-old child who, after being beaten with bed slat, cord, and belts by
defendant foster parent, suffered cardiac arrest when undigested particles of food struck vocal cord and activated normal
coughing reflex, medical testimony that child’s great fear at time of beating slowed his digestion so that food particles
became lodged in his throat and triggered automatic coughing reflex which in turn caused cardiac arrest constituted
sufficient evidence from which jury could find causal relationship between child’s death and beating inflicted by defendant.
People v. McFee, 35 Mich. App. 227,192 N.W.2d 355, 1971 Mich. App. LEXIS 1434 (Mich. Ct. Apn. 1971).

Although the inmate contended that there was insufficient evidence to establish the cause of death in this case, the medical
examiner testified that the decedent's death was a homicide caused by the complainant aspirating and choking on his own
blood as a result of the beating. Such evidence, if believed, would be sufficient to establish the cause of decedent's death so
as to defeat the inmate's sufficiency of evidence claim. Couch v. Booker, 650 F, Supp, 2d 683, 2009 U.S. Dist. LEXIS 85291
(E.D. Mich. 2009), aff'd, 632 F.3d 241, 2011 FED App. 0031P, 2011 U.S. App. LEXIS 2105 (6th Cir. Mich. 2011).

€ 11. —Admisslions.

Where It Is shown, without reference to a defendant's confession, that a common-law or statutory second-degree murder
was committed by the defendant, no injustice results In admitting a defendant's confession which shows that the murder, in
addition, was deliberate and premeditated and thereby results in proving the statutorily heightened crime of first-degree
murder. People v. Williams, 422 Mich. 381, 373 N.W.2d 567,, 1985 Mich. LEXIS 947 (Mich, 1985).

On conviction of defendant of second-degree murder, it was held that statement made by defendant at police station after
his arrest was admissible, notwithstanding that he was permitted to have a small drink of whiskey at his home, where there
was no claim that statement was not voluntarily made, the whiskey had no intoxicating effect an defendant, and defendant,
an attorney, was warned of his rights and declared he was willing to make a voluntary statement. Peo lev. Collins, 303
Mich. 34, 5 N.W.2d 556, 1942 Mich. LEXIS 352 (Mich. 1942).

Where defendant admitted shooting deceased with his revolver when they were in her automobile at night in a cemetery to
which she had driven, her conviction of second-degree murder was not disturbed though her claim of self-defense was
supported by evidence that she was heard to scream before the shots were fired, where the evidence showed that they
were sweethearts; that she was jealous of defendant and had threatened to kill him; that she at times had his revolver and
had purchased cartridges for it and recelved Instructions in loading and shooting it; and that deceased was a large and
powerful man, so that her claim that he produced the revolver and threatened to kill her and that she wrested it from him
and shot while trying to get away, was improbable. People v. Morgan, 264 Mich. 350, 249 N.W. 885, 1933 Mich, LEXIS 1013
(Mich, 1933).

Evidence admitted prior to defendant's allegedly erroneously introduced confession was sufficient to warrant submission of
first-degree murder charge to jury In prosecution resulting in defendant's conviction for second-degree murder. People v.
Nadeau, 75 Mich. App, 369, 254 N.W.2d 893, 1977 Mich. App, LEXIS 1111 (Mich, Ct. App. 1977).

Trial court did not err in accepting defendant's guilty plea to second-degree murder after learning that defendant had
entered an unfamillar house, did not know where he was or why he was there, and had no Intention of committing crime
therein, where court, upon extensive interrogation, elicited from defendant admission that while stabbing victim in hame he
knew that death would result, thereby establishing Intent to kill. People v. Carl, 11 Mich. App, 226, 160 N.W.2d 801,1968
Mich, App. LEXIS 1277 (Mich. Ct. App. 1968).

'¥ 12. —Self-defense.

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In a trial for second-degree murder under MCL 750.317 there was sufficient evidence to find that defendant did not in fact
fear for his \ife or fear great bodily injury at the victim's hands and therefore to rebut a claim of self-defense under MCL

780.972. There was evidence that the victim was not armed and that the victim's actions, although confrontational and
physical, were not particularly violent. People v. Roper, 286 Mich. App. 77, 777 N.W.2d 483, 2009 Mich, App. LEXIS 2213
(Mich, Ct. App. 2009).

Evidence in nonjury murder prosecution supported trial court’s finding that defendant did not act in self-defense and that he
was guilty of murder in second degree beyond reasonable doubt. People v. Hood, 28 Mich. App. 553,184 N.W.2d 527, 1970
Mich. App. LEXIS 1227 (Mich. Ct. App. 1970).

Although testimony of witnesses varied as to details and some witnesses did not observe entire serles of events, testimony
of eight res gestae witnesses that defendant removed gun from his pocket and shot decedent during argument over
outcome of wager on pool game was sufficient, if believed by jury, to justify verdict finding defendant guilty of.secand-
degree murder, as against clalm of self-defense. People v. Lewis, 26 Mich. App. 290,182 N.W.2d 86,, 1970 Mich, App. LEXIS
1442 (Mich. Ct. App. 1970).

On appeal from conviction of defendant of second-degree murder, contention of defendant that evidence clearly established
that he acted in self-defense and was in fear of his life when he shot deceased, and that jury's verdict was against welght of
evidence, was held to be without merit, where testimony was sufficient to establish that decedent was shot In the back while
15-20 feet from defendant and that decedent was leaving defendant's home. People v. Jefferson,18 Mich. App. 9, 170
N.W.2d 476, 1969 Mich, App. LEXIS 1024 (Mich. Ct. App. 1969).

¥ 12.5 —Duress.

Trial court's order preventing defendant from raising a duress defense to a second-degree murder charge that relied on a
depraved-heart theory of malice was error, and it was not harmless. The denial of the defense, coupled with the trial court’s
exclusion of any evidence that a passenger in the car threatened defendant, effectively left defendant with no defense at all.
People v. Gafken, 510 Mich. 503, 990 N.W.2d 826, 2022 Mich. LEXIS 2264 (Mich. 2022).

F 13. —Identification of defendant.

Evidence which included Identification of defendant rather than his companion as person who fired lethal shot supported
jury’s finding of guilt beyond reasonable doubt In prosecution for second-degree murder. People v. McKee, 28 Mich. App.
610, 184 N.W.2d 750, 1970 Mich. App. LEXIS 1250 (Mich. Ct. App. 1970).

‘¥ 14. —Res gestate or excited utterance.

In nonjury second-degree murder prosecution against defendant who allegedly inflicted fatal beating upon wife, wife's
statement to nelghbor that defendant “did this to her” at time she was swollen, bleeding, shaking and nervous, was properly
admitted within discretion of trial court as res gestae or excited utterance exception to hearsay rule on record from which
trial court could infer that there had been startling event resulting in nervous excitement from wife’s physical condition, that
such event was recent, and that wife’s statement related to accurrence. People v. Mosley, 74 Mich. App. 145, 254 N.W.2d
33, 1977 Mich. App. LEXIS 709 (Mich. Ct. App. 1977).

‘€ 15. —Prior actions and conduct of accused.

Trial court did not abuse its discretian during defendant's trial on charges af second-degree murder and possession of a
firearm during the commission of a felony by allowing the State to introduce evidence that defendant possessed a weapon
similar to one that was used to commit the murder, three days before the murder was occurred. People v. Houston, 261
Mich. App. 463, 683 N.W.2d 192, 2004 Mich. App. LEXIS 860 (Mich. Ct. App. 2004), aff'd, 473 Mich, 399, 702 N.W.2d 530,
2005 Mich, LEXIS 1189 (Mich. 2005).

In prosecution for second-degree murder of victim whose death was caused by blows of blunt Instrument, evidence as to
prior actions and conduct of accused in relation to victim was sufficient to show that accused killed upon sudden provocation
prior to and accompanying act, and that such provocation did not foreclose exercise of reason as would reduce crime from
second-degree murder to manslaughter. People v, Stanek, 61 Mich. App. 573,233 N.W.2d 89, 1975 Mich. App, LEXIS 1570
(Mich. Ct. App. 1975).

In second-degree murder prosecution In which claim of self-defense was raised, trial court did not err in permitting as
evidence of prior altercation testimony by decedent's wife that nine months before incident In question defendant in her
presence asked decedent to fight him and displayed switchblade knife. People v. Godsey, 54 Mich. App. 316, 220 N.W.2d
801,1974 Mich, App. LEXIS 1240 (Mich. Ct. App 1974).

Testimony of one eyewitness that he observed defendant draw and fire pistol at victim and of two other eyewitnesses that,
while they did not actually see defendant shoot victim, they saw defendant with weapon in his hand immediately before and
after they heard report of a shot was sufficient to sustain jury's verdict finding defendant guilty of second-degree murder.
People v. Smith, 30 Mich. App. 242, 185 N.W.2d 912, 1971 Mich. App. LEXIS 2208 (Mich. Ct. App. 1971).

In prosecution against defendant who allegedly strangled victim after argument with her, evidence, including testimony of
witness who heard argument and crying of victim, testimony as to threats uttered by defendant in regard to victim, and

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medical examiner's testimony that death was caused by strangulation, supported jury’s finding of quilt of murder in second
degree. People v. Dawson, 29 Mich, App. 488, 185 N.W.2d 581, 1971 Mich. App. LEXIS 1987 (Mich. Ct. App. 1971).
'¥ 16, —Mental condition of defendant.

In nonjury trial for second-degree murder, evidence presented was sufficient to support finding of trial judge that defendant
was sane when he murdered his father-in-law. People v, Dubois, 9 Mich. App. 30, 155 N.W.2d 692, 1967 Mich. App. LEXIS
392 (Mich, Ct, App. 1967).

¥ 17. —Malice and intent.

The evidence was sufficient to sustain a conviction for second-degree murder in that a reasonable jury could infer malice
under either a subjective or objective standard; evidence established that the defendant tived within one mile of the scene
of the accident, had a blood-alcohol content of 0.18 percent, drove well in excess of the speed limit, ran a red stoplight,
drover through an Intersection at a time when he could have seen at least three vehicles properly traveling through the
intersection, narrowly missed hitting two cars before hitting the victims’ car, and killed two people. People v. Goecke, 457
Mich. 442,579 N.W.2d 868, 1998 Mich. LEXIS 1293 (Mich. 1998).

The evidence was sufficient to sustain a conviction for second-degree murder in that a reasonable jury could infer malice
under either a subjective or objective standard; evidence established that the defendant was highly intoxicated when he left
a bar, that he twice backed into a parked vehicle when trying to leave the bar, drove at a high rate of speed through a
residential subdivision, swerved to avoid hitting a car stopped at a stop sign, ran through the stop sign, nearly hit a car
driving in the opposite direction, ignored advice from his passengers to slow down, and after colliding with a vehicle parked
on the side of the road, traveled across lane, over a curb, across some grass, and struck and killed the victim. People v.
Goecke, 457 Mich. 442, 579 N.W.2d 868, 1998 Mich. LEXIS 1293 (Mich, 1998).

Evidence was insufficient to warrant second-degree murder conviction of defendant who fatally injured unknown intruder by
shots aimed at intruder’s legs, while defendant was excited and afraid, in view of absence of evidence from which malice
could be inferred, People v. Hansen, 368 Mich, 344, 118 N.W.2d 422, 1962 Mich. LEXIS 335 (Mich. 1962).

Sufficient evidence supported defendant's conviction for aiding and abetting second-degree murder because he passed a
gun to the shooter during a group confrontation that had already become violence, either intending or knowing that the
shooter intended to discharge the gun. People v. Blevins, 314 Mich. App, 339, 886 N.W.2d 456, 2016 Mich. App. LEXIS 280
(Mich. Ct. App. 2016).

Evidence was sufficient to establish the requisite malice for second-degree murder under MCL 750.317 because defendant
admitted he grabbed a knife and stabbed the victim. Defendant's intent could also be Inferred from the fact that, after he
stabbed the victim, defendant followed him out of the home and began ta kick and stomp on him while taunting him. People
v. Roper, 286 Mich, App. 77, 777 N.W.2d 483, 2009 Mich. App. LEXIS 2213 (Mich, Ct. App. 2009).

Evidence that defendant acted with malice in wilful and wanton disregard that death or great bodily harm would be the
natural consequences of her actions supporting jury verdict of second-degree murder in smothering of two year-old child.
People v. Biggs, 202 Mich. App. 450, 509 N.W.2d 803, 1993 Mich. App. LEXIS 440 (Mich. Ct. App. 1993), app. denied, 453,
Mich, 934, 557 N.W.2d 307, 1996 Mich, LEXIS 2809 (Mich, 1996).

Sufficient evidence of malice existed to support the conviction of accused for second-degree murder even absent
erroneously-admitted testimony of police detective on powder burns and contact wounds. People v. Jones, 95 Mich. App.
390, 290 N.W.2d 154, 1980 Mich. App. LEXIS 2472 (Mich. Ct. App. 1980).

Second-degree murder conviction does not require proof of defendant's specific intent to kill, but rather “malice
aforethought” is proved if it is established that defendant intended to inflict great bodily harm or to engage in act with
wanton or willful disregard of likelihood that such harm would result. People v, Hill, 94 Mich. App. 777, 288 N.W.2d 408,
1979 Mich. Apo, LEXIS 2559 (Mich, Ct, App. 1979).

Malice may be implied for purpose of conviction of second-degree murder In felony murder prosecution upon proof of
commission of felony other than those enumerated in felony murder statute. People v. Butts, 85 Mich. App, 435, 271 N.W.2d

265, 1978 Mich, App, LEXIS 2419 (Mich. Ct. App. 1978), reinstated In part, vacated, 411 Mich. 1041, 309 N.W.2d 187, 1981
Mich. LEXIS 1629 (Mich. 1981).

In nonjury prosecution for second-degree murder resulting from fatal shooting in bar, element of intent to kill was properly
established by inferences flowing from circumstances surrounding crime, including defendant's use of lethal weapon and fact
that he thrice shot at victim, as well as judge's fact-finding that defendant acted with intent to do great bodily harm with
knowledge that his actions created strong probability of death or great bodily harm, which finding could not be said to be
clearly erroneous. People v. Turner, 62 Mich. App. 467, 233 N.W.2d 617, 1975 Mich. App. LEXIS 1080 (Mich, Ct, App. 1975).

In prosecution for murder of victim whose death was attributable to brain injury caused by blow or blows to head with blunt
instrument, totality of evidence including inferences drawn from type of weapon used and manner In which crime was
committed was sufficient to warrant finding of malice required for second-degree murder. People v. Stanek, 61 Mich. App.
573, 233 N.W.2d 89,1975 Mich, App. LEXIS 1570 (Mich. Ct. App. 1975).

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Neutral

As of: November 20, 2024 4:47 PM Z

Does v. Whitmer

United States District Court for the Eastern District of Michigan, Southern Division
September 27, 2024, Decided; September 27, 2024, Filed
Case No. 22-cv-10209

Reporter
2024 U.S. Dist. LEXIS 176146 *

JOHN DOES et al., Plaintiffs, v. GRETCHEN WHITMER
et al., Defendants.

Prior History: Does v. Whitmer, 2023 U.S. Dist. LEXIS

Opinion by: MARK A. GOLDSMITH

Opinion

68481, 2023 WL 3004101 ( E.D. Mich., Apr. 19, 2023)

Core Terms

registrants, Plaintiffs’, sex offender, registry, offenders,
convicted, sexual, internet, travel, Tier, identifiers,
modified, punctuation, offenses, registration
requirement, reporting requirements, regulation,
required to register, register, retroactively, recidivism,
sex, strict scrutiny, violates, parties, zones, subclass, ex
post facto, individualized, rights

Counsel: [*41] For John Doe A, John Doe B, John Doe
C, John Doe D, John Doe E, John Doe F, John Doe G,
John Doe H, Mary Doe, Mary Roe, Plaintiffs: Daniel S.
Korobkin, American Civil Liberties Union Fund of
Michigan, Detroit, M!; Dayja Sade Tillman, ACLU of
Michigan, Western Michigan Regional Office, Grand
Rapids, MI; Lauren Carbajal, Roshna B. Keen, Loevy &
Loevy, Chicago, IL; Paul D. Reingold, University of
Michigan, Ann Arbor, MI; Syeda F. Davidson, ACLU of
Michigan, ACLU of Michigan, Detroit, MI; Miriam J.
Aukerman, American Civil Liberties Union of Michigan,
West Michigan Regional Office, Grand Rapids, MI.

For Gretchen Whitmer, Governor of the State of
Michigan, Joseph Gasper, Defendants: Eric M. Jamison,
Michigan Department of Attorney General, State
Operations Division, Lansing, Ml; Scott L. Damich,
Department of Attorney General, Revenue & Collections
Division, Lansing, MI.

For Alyson Oliver, Interested Party: Alyson L. Oliver,
Oliver Law Group PC, Troy, MI.

Judges: HON. MARK A. GOLDSMITH, United States
District Judge.

OPINION AND ORDER (1) GRANTING IN PART
PLAINTIFFS’ MOTION FOR SUMMARY JUDGMENT
(Dkt. 123) and (2) GRANTING IN PART
DEFENDANTS' MOTION FOR SUMMARY

JUDGMENT (Dkt. 129)

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FAco to tablet

!. INTRODUCTION [*3]

Plaintiffs filed this class action challenging the
constitutionality of Michigan's Sex Offender Registration
Act, Mich. Comp. L. § 28.723, et seg, as it was
amended in 2021 (SORA 2021). Over the past decade,
prior versions of SORA have faced similar challenges,
and multiple courts within Michigan and the Sixth Circuit
have found that predecessor versions of SORA were
unconstitutional. This Court is not writing on a blank
slate, but rather, in the wake of a long history of case
law and legislative amendments.

Plaintiffs bring eleven claims, alleging that SORA 2021
violates constitutional protections regarding ex post
facto, due process, equal protection, privileges and
immunities, and the First Amendment. After extensive
discovery, both parties have moved for summary
judgment.’ Each side's motion is denied in part and

1The Court set a briefing schedule for the cross-motions for
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granted in part.

As explained in detail below, the Court sustains some of
the challenges and rejects others. Plaintiffs are correct
that making registrants subject to certain provisions that
were not adopted at the time they committed their
crimes violates the Constitution's protection against ex
post facto laws. The Court also agrees that individuals
who committed a crime that does not have a sexual
element or circumstance cannot be labeled as sex [*4]
offenders and saddled with registration requirements.
However, the Court rejects the claim that all sex
offenders are entitled to an individualized hearing, either
before being placed on the registry or periodically
thereafter, to determine if they are or remain dangerous.
A right to a hearing will be recognized (beyond the
limited circumstances currently allowed under the
statute) for individuals who have been convicted of an
offense without a sexual element that the state claims is
a registrable offense based on a sexual circumstance. A
right to a hearing will also be recognized where a non-
Michigan offense triggers registration in Michigan based
on the offense being substantially similar to a
registerable Michigan offense. Regarding Plaintiffs’ First
Amendment challenges, the Court finds that some of
SORA 2021's requirements violate free-speech rights,
while others do not. The challenge regarding plea
bargains is moot. The challenge based on various terms
being vague will require further proceedings.

li, BACKGROUND

A. History of SORA

summary judgment (Dkt. 121). Plaintiffs filed a motion for
summary judgment (Dkt. 123). Defendants filed a combined
motion for summary judgment and response in opposition to
Plaintiffs’ motion (Dkt. 129). Plaintiffs filed a combined reply in
support of their motion and response in opposition to
Defendants’ motion (Dkt. 131). Defendants filed a reply in
support of their motion (Dkt. 132). The parties also filed a joint
summary of arguments (Dkt. 133). The Court later directed
supplemental briefing on the applicability of two cases, Doe v.
Lee, 102 F.4th 330 (6th Cir. 2024) and People v. Lymon,
N.W.3d__, No. 164685, 2024 Mich, LEXIS 1439, 2024 WL
3573528 (Mich, July 29, 2024). Plaintiffs filed a Lee brief (Dit.
146) and a Lymon brief (Dkt. 155), Defendants filed a Lee brief
(Dkt. 145) and a Lymon brief (Dkt. 154).

Because oral argument will not aid the Court's decisional
process, the motions will be decided based on the parties’
briefing. See E.D. Mich. LR 7.1(f(2); Fed. R. Civ. P. 78(b).

Michigan passed its first SORA in 1994, creating a non-
public registry maintained solely for law enforcement
use. See Mich. Pub. Act 295 (1994). Since then, the
legislature has amended SORA [*5] multiple times,
most notably in 2006, 2011, and 2021. A brief history of
SORA provides context for Plaintiffs’ challenge to SORA
2021.

+ 1994 — Michigan created its first sex offender
registry, effective October 1, 1995. The registry
established a non-public law enforcement
database. No regular verification or reporting was
required; the only reporting obligation was to notify
law enforcement within 10 days of a change of
address, which did not need to be done in-person.
Registry information was maintained for 25 years
for people convicted of one offense and for life for
those with multiple offenses. See Mich. Pub. Act
295 (1994).

- 1997 — A paper copy of registry information was
made available to the public for inspection during
regular business hours at local law enforcement
agencies. See Mich. Pub. Act 494 (1996).

* 1999 — The registry became public on the
internet for the first time, with the names,
addresses, physical descriptions, and birth dates of
registered sex offenders available online.
Registrants started being required to report in
person quarterly or yearly, depending on their
offense. The list of registrable offenses and
categories of individuals required to register for life
expanded. See Mich. Pub. Act 85 (1999).

« 2002 [*6] — Required registrants to report in
person when they enrolled, disenrolled, worked, or
volunteered at an institution of higher education.
See Mich. Pub. Act. 542 (2002).

+ 2004 — Photographs of registered sex offenders
were published online; a fee was imposed on
registrants, with failure to pay a crime. See Mich.
Pub. Acts 237, 238 (2004).

+ 2006 — Created "exclusion zones" which
prohibited registrants from living, working, or
loitering within 1,000 feet of a school, with criminal
penalties for noncompliance; created a system
allowing subscribers to receive electronic

notifications when a person registers in or moves
into a particular zip code. See Mich. Pub. Acts 121,
127, 132 (2005).

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+ 2011 — Divided registrants into three tiers, based
on offense, that determine the length of registration
and reporting frequency; expanded the number of
registrants required to register for life; required all
registrants to appear in person within three
business days to update certain personal
information. See Mich. Pub. Acts 17, 18 (2011).

+ 2021 — Removed exclusion zones; created a new
option for the Michigan State Police (MSP) to
designate a method other than in-person reporting
for certain information; eliminated tier information
from the public SORA website. See Mich. Pub. Act
295 (2020).

The amendments most [*7] relevant to the present
case are those enacted in 2006, 2011, and 2021. The
2006 amendment introduced exclusion zones
(sometimes called "school zones" or "student-safety
zones"), which barred registrants from living, working, or
loitering within 1,000 feet of a school, with few
exceptions. Mich. Pub. Acts 121, 127 (2005).

The 2011 amendments introduced a three-tier system
that classifies registrants based on their offense.” Mich.

2The Court notes that the section of SORA that defines Tier |,
Tier |l, and Tier Ill offenses, Mich. Comp. Law § 28.722, is
difficult to follow. Section 28.722 cites to more than 20
sections of the Michigan penal code—many of which contain
numerous subsections themselves—and adds _ various
exclusions and limitations to those sections. Below is a non-
exhaustive list of offenses generally corresponding to each
tier. Plaintiffs submitted as an exhibit a chart listing crime
codes, crime descriptions, and tiers, that appears to be a
comprehensive list of registrable offenses. See Pls. SOMF ¥
103 (citing Crime Codes Chart (Dkt. 127-23)). Plaintiffs do not
describe, however, how this chart was created (whether by
Plaintiffs or the MSP) or for what purpose it is used.
Defendants did not voice any objections to the contents of the
chart.

Tier | offenses include possession of child sexually abusive
material; indecent exposure involving fondling; unlawful
imprisonment of a minor; criminal sexual conduct in the fourth
degree; surveillance or photography of an unclothed person if
the victim is a minor. Mich. Comp, L. § 28.722/r)(i)-(xi).

Tier I offenses include soliciting a minor under 16 years of
age for an immoral purpose; involving a child in sexually
abusive activities or materials, or producing or financing such
materials; using a computer to communicate with any person
for the purpose of committing other specified offenses against
minors; most crimes against nature or sodomy against a
minor; most crimes of gross indecency against a minor 13

Pub. Acts 17, 18 (2011). The parties agree that the
three-tier system remains largely unchanged in SORA
2021. Pls. Statement of Material Facts (SOMF) {| 139;
Defs. Resp. to Pls. SOMF § 139. A registrant's tier
determines their length of registration, reporting
requirements, inclusion in the public registry, and ability
to petition for removal from the registry, as shown in the
table below.

SORA 2021 Tier System?

Flco to table2

The parties agree that before the introduction of the
three-tier system in 2011, almost three-quarters of
Michigan's registrants [*8] were 25-year registrants.
Pls. SOMF { 103 (citing Answer to Am. Compl. 9] 179-
480) (Dkt. 111)).9 After the 2011 amendments, almost
three-quarters of registrants were assigned lifetime
registration terms. Id. Plaintiffs estimate that, after the
enactment of SORA 2011, almost 17,000 people
suddenly had to register for the rest of their lives,
without any individualized assessment. Id.

SORA 2011 also imposed additional reporting
requirements. In addition to requiring registrants to
report in person at specified intervals, SORA 2011
required registrants to report in person within three

years of age or older; recruiting or providing a minor for
commercial sexual activity; criminal sexual conduct in the
fourth degree; criminal sexual conduct in the second and
fourth degree committed against a minor between 13 and 18
years of age. Id. § 28.722/t)(i)-(xii). A Tier | offender who is
subsequently convicted of a Tier | offense is also considered a

Tier II offender. Id, § 28.722/s)(i).

Tier III offenses include gross indecency against a minor less
than 13 years of age; kidnapping of a minor; leading away of a
child under 14 years of age; criminal sexual conduct in the
first, second, or third degree against a minor less than 13
years of age; sexual contact with a dead human body; and
assault with intent to commit criminal sexual conduct. Id. §
28.722(vi(i)-(vil). A Tier offender who is subsequently
convicted of a Tier | or Tier II offense is also considered a Tier

It offender. Id, § 28.722(u) (i).
3 This table was created by the Court.

8Unless otherwise specified, if the Court cites to a party's
statement of material facts for a proposition that the Court is
accepting as an established fact, the Court does so because
the opposing party either admits or does not dispute the fact.
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business days!° whenever they changed their name,
address, employment, schooling, travel plans, vehicle
information, or internet identifiers."

Following rulings in an earlier federal case (discussed
further below), the legislature passed SORA 2021,
which removed the exclusion zones so that there are no
longer any restrictions on where a registrant can live or
work. But SORA 2021 left intact many of the
amendments introduced in SORA 2011, including the
three-tier system that retroactively increased the
registration length for many offenders. The only
significant change with respect to the tier system in
SORA 2021 [*9] is that a registrant's tier is no longer
published on the public website. Mich. Comp. L. §
28.728(3)(e).

The parties agree that SORA 2021 maintains the bulk of
the reporting requirements introduced in SORA 2011.
Pls. SOMF {| 144, 146; Defs. Resp. to Pls. SOMF If]
144, 146. Registrants are still required to report changes
in the personal information listed above to law
enforcement within three business days, although the
requirement to report internet identifiers no longer
applies to pre-2011 registrants. Id. SORA 2021 allows
for, but does not require, the MSP to establish methods
other than in-person reporting for certain required
updates. Mich. Comp. L. 28.725/1). In practice, the MSP
requires registrants to report in person within three
business days whenever they change their name,
address, employment, or schooling. See Pls. SOMF {
271 (citing Explanation of Duties Form at q1 6, 9 (Dkt.
126-17)); Defs. Resp. to Pls. SOMF {| 271. Only
changes in travel plans, vehicle information, internet
identifiers, and telephone numbers can be reported by
mail, and the MSP could, in theory, return to requiring
in-person updates at any time. MSP did not promulgate
rules or seek public comment on the required manner of
reporting, but Defendants note that the [*40] current
requirements mirror those of the federal Sex Offender

10As Plaintiffs point out, Am. Compl. {| 609, SORA 2011
required registrants to report this information "immediately,"
which was defined as three business days. Mich. Comp. L. §
28.722(q) (2020). SORA 2021 ceased using the word
“immediately” but maintains the same three business day
requirement. Mich. Comp. L. § 28.725(1) (2021). Plaintiffs
refer to this change as "cosmetic" rather than "substantive."
Am. Compl. J 609.

1t"Internet identifier’ means “all designations used for self-
identification or routing in internet communications or posting.”
Mich. Comp. L. § 28.722(q).

Registration and Notification Act (SORNA), 34 U.S.C. §
20901 et seq. Pls. SOMF { 270; Defs. Resp. to Pls.
SOMF 270-271.

Plaintiffs argue that "SORA 2021 makes minimal
changes to the structure, substance, and overall
requirements of [SORA 2011], and is, if anything, more
complex, vaguer, and harder to understand than the
version that preceded it." Am. Compl. J 213 (Dkt. 108).
They note that SORA 2021 “retains the identical tier
system, the identical lengthy/lifetime registration
periods, and the virtually identical onerous reporting
requirements and online public registry, all without any
individual assessment of risk . . “id, ¢ 214.
Defendants, on the other hand, argue that "[t]he new
SORA amended and repealed the provisions of the old
SORA that were found to be unconstitutional." Defs. Br.
Supp. Mot. for Summ. J. at 4.

Because SORA 2021 retains features of its predecessor
statutes, the Court begins by summarizing prior cases
that addressed constitutional challenges to prior
iterations of SORA.

B. Related Litigation

In an earlier action, six registered sex offenders
challenged the constitutionality of SORA 2011. See
John Doe 1-4 v. Snyder, 932 F. Supp. 2d 803 (E.D.
Mich, 2013), rev'd and remanded sub nom. Doe #1-5 v.
Snyder, 834 F.3d 696 (6th Cir. 2016) (Does 1).12 The
plaintiffs sued Michigan's Governor andthe
director [*11] of the MSP, alleging violations of: (i) the
Ey Post Facto Clause; (ii) the plaintiffs’ fundamental
rights to travel; (iii) the plaintiffs’ fundamental rights to
engage in common occupations of life; (iv) the plaintiffs’
rights to direct the education and upbringing of their
children; (v) the First Amendment; (vi) the Due Process
Clause because of the retroactive and oppressive
nature of the act; (vii) the Due Process Clause because
certain provisions were vague and impossible to comply
with; and (viii) the Headlee Amendment to the Michigan
Constitution. Does |, 932 F. Supp. 2d at 808.

In a series of three opinions, the district court rejected
most of the plaintiffs’ constitutional claims, including the
ex post facto challenge. See Does |, 932 F. Supp. 2d
803 (E.D. Mich. 2014); Does |, 101 F. Supp. 3d 672

12 The Court refers to all district and circuit court opinions from
the earlier case as Does |, with reporter information listed to
identify the specific opinion.

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(E.D. Mich 2015): Does I, 101 F. Supp. 3d_722 (E.D.
Mich. 2015). The court ruled in plaintiffs’ favor as to
some claims, finding that certain provisions of SORA
2011 were unconstitutionally vague; that imposing strict
liability for compliance violations violated due process;
and that the retroactive application of certain internet-
reporting requirements violated the First Amendment.

On appeal, the Sixth Circuit reversed. See Does | 834
F.3d at 706. The court addressed the plaintiffs’ ex post
facto challenge first and found that SORA 2011 imposed
punishment within the meaning of that doctrine. Id. at
699-705. Accordingly, the court held that the "retroactive
application of SORA's 2006 and 2011 amendments to
[plaintiffs is [*12] unconstitutional, and it must therefore
cease." Id. at 706, The court declined to opine on the
plaintiffs' other constitutional arguments because its ex
post facto decision meant that “none of the contested
provisions [could] be applied to the plaintiffs in [the]
lawsuit . . . ." Id. But the court did note that the
“[p]laintiffs' arguments on these other issues are far
from frivolous and involve matters of great public
importance." Id. The Sixth Circuit remanded to the
district court for entry of a judgment. Id.

In January 2018, the district court entered a stipulated
final judgment. See Stipulated Final Judgment, Does |,
No. 12-11194 (E.D. Mich. Jan. 26, 2018) (Dkt. 153).'3
Among other things, the judgment declared that
"retroactive application of [SORA's] 2006 and 2011
amendments violates the Ex Post Facto Clause of the
U.S. Constitution" and enjoined “defendants, their
officers, agents[,] servants, employees, and attorneys,
and other persons in active concert or participation with
them .. . from enforcing the 2006 and 2011 SORA
amendments against the plaintiffs." Id. at 2. The
judgment also ordered that “if the Michigan legislature
amends or replaces SORA to implement the Sixth
Circuit's holding in [Does 1], this injunction shall
terminate on the effective date of any such amendments
or new statute." Id. at [*13] 4.

A class action was filed just days after the Sixth Circuit's
decision in Does | in 2016, bringing largely the same
constitutional challenges to SORA 2011 as were
brought in Does |, but this time seeking relief on behalf
of all class members, not just the Does | plaintiffs. See
Doe v. Snyder, 449 F. Supp. 3d 719 (E.D. Mich. 2020)
(Does II), But after filing Does II, "the parties agreed to
focus their resources on legislative reform," and the

13 To the Court's knowledge, the stipulated final judgment does
not appear on Westlaw.

briefing schedule was repeatedly delayed. Does Il, 449
F. Supp. 3d at 726. In May 2019, the district court
entered a stipulated order in Does Il, granting
declaratory relief for the plaintiffs, holding that "the 2006
and 2011 amendments were unconstitutional as applied
to the ex post facto subclass." Id. Eventually, after
legislative relief failed to materialize, plaintiffs filed
renewed motions for partial summary judgment. Id.

In February 2020, the court in Does II granted plaintiffs’
motions for summary judgment, finding that “[flor
several years, registrants have been forced to comply
with unconstitutional provisions of SORA." Id. at 737.
The court entered permanent injunctive relief and stated
that, upon the entry of final judgment, Defendants would
be “permanently enjoined from enforcing any provision
of SORA against members of the [*14] ex post facto
subclasses" and would be permanently enjoined from
enforcing certain unconstitutional provisions against any
registrant. Id. The court gave the parties 60 days to
formulate a joint, proposed form of judgment. Jd. Before
those 60 days passed, however, the COVID-19
pandemic swept the nation, delaying the entry of the
final judgment for more than a year, until August 2021.
Am. Compl. ff] 203-205. During that time, the legislature
passed SORA 2021, which took effect on March 24,
2021. Mich. Pub. Act 295 (2020).

As Does | and Does II were being litigated, a criminal
case concerning the constitutionality of SORA was
proceeding through the Michigan state courts. See
People v. Betts, 507 Mich. 527, 968 N.W.2d 497 (Mich.
2021). In Betts, the defendant had pled guilty to second-
degree criminal sexual conduct in 1993, two years
before SORA took effect. /d. at 501. In 2012, after he
had successfully completed parole, Betts failed to report
his change of residence, e-mail address, and purchase
of a new vehicle within three business days, as required
by SORA 2011. Id. Charged with violating SORA 2011's
registration requirements, he sought dismissal of the
criminal proceeding, arguing that retroactive application
of SORA 2011 violated ex post facto protections. Id. at
501-502.

The Michigan Supreme [*15] Court ultimately agreed
with Betts, holding that SORA 2011, “when applied to
registrants whose criminal acts predated the enactment
of the 2011 SORA amendments, violates the
constitutional prohibition on ex post facto laws." /d. at
521. The court ordered that the defendant's conviction
of failure to register as a sex offender be vacated. Id.

In the wake of that decision, the Michigan Supreme
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Court held that SORA 2021 constitutes punishment and
violates the Michigan Constitution's prohibition of cruel
or unusual punishment insofar as it applies to non-
sexual offenders. See People v. Lymon, _N.W.3d_.
No. 164685, 2024 Mich. LEXIS 1439, 2024 WL 3573528
(Mich. July 29, 2024). In Lymon, the defendant was
convicted of torture, unlawful imprisonment, felonious
assault, and possession of a firearm during the
commission of a felony. 2024 Mich. LEXIS 1439, [WL] at
*3. These convictions stemmed from an incident where
the defendant held his wife and children at gunpoint
overnight and repeatedly threatened to kill them. 2024
Mich. LEXIS 1439, [WL] at *2-*3. Although Lymon's
offenses did not include a sexual component, he was
placed on the Michigan sex offender registry as a Tier |
offender because two of his three unlawful-
imprisonment convictions involved minors. 2024 Mich.
LEXIS 1439, [WL] at _*3. The court held that the
defendant was entitled to removal from the sex-offender
registry. 2024 Mich. LEXIS 1439, [WL] at *17.

C. The Present Case

The ten named [*16] Plaintiffs in this case—John Does
A, B, C, D, E, F, G, H, Mary Doe, and Mary Roe—filed
this action seeking declaratory and injunctive relief on
behalf of themselves and all others similarly situated. All
named Plaintiffs are or have been required to register as
sex offenders. The backgrounds of each named Plaintiff
are summarized below. ,

« John Doe A (John Doe #1 in Does |) — In 1990,
John Doe A committed an armed robbery, during
which he forced a mother and her teenage son into
a building. He pled guilty to armed robbery and
weapons charges and no contest to kidnapping. He
was sentenced to 20 to 40 years in prison. At the
time of John Doe A's arrest, Michigan did not have
a sex offender registry. When he was released from
prison, he was retroactively required to register as a
sex offender, because kidnapping of a minor
triggers registration. After the 2011 SORA
amendments, he was retroactively classified as a
Tier ill offender, and his registration period was
extended from 25 years to life. Pls. SOMF {If 3-8.

- John Doe B (John Doe #3 in Does I) — In 1998,
when John Doe B was 19 years old, he had a
sexual relationship with a 14-year-old girl. He pled
guilty to attempted criminal sexual [*17] conduct in
the third degree for having sex with a minor. He
was sentenced to four years of probation under the

Holmes Youthful Trainee Act (HYTA), a record
sealing statute for young offenders. His HYTA
status was later revoked because he missed a
reporting deadline. After the 2011 SORA
amendments, he was retroactively classified as a
Tier Ill offender, and his registration period was
extended from 25 years to life. Id. {J 9-17.

+ John Doe C (John Doe #4 in Does 1) — In 2005,
when John Doe C was 23 years old, he had a
sexual relationship with a 15-year-old girl. He pled
guilty to attempted criminal sexual conduct in the
third degree. John Doe C was required to register
for 25 years. After the 2011 SORA amendments, he
was retroactively classified as a Tier Ill offender,
and his registration period was extended from 25
years to life. Id. {J 18-23.

« John Doe D (John Doe #1 in Does Il) — In 2000,
when John Doe D was 19 years old, he had a
sexual relationship with a 14-year-old girl. He pled
guilty to attempted criminal sexual conduct in the
third degree under the HYTA. He served about a
month in jail and was sentenced to three years of
probation. After his release, his HYTA status was
revoked because [*18] he violated the terms of his
probation. After the 2011 SORA amendments, he
was retroactively classified as a Tier Ill offender,
and his registration period was extended from 25
years to life. Id. ff 41-48.

« John Doe E (John Doe #3 in Does II) — In 1994,
when John Doe E was 21 years old, he pled no
contest to three counts of criminal sexual conduct in
the second degree after being accused of engaging
in inappropriate touching of his six-year-old
nephew. At the time, Michigan did not have a sex
offender registry. He was sentenced to 90 days in
custody and five years of probation. When SORA
was first enacted in 1995, he was subject to
registration for 25 years. As a result of the 2011
amendments, he was retroactively reclassified as a
Tier Il! offender, and his registration period was
extended from 25 years to life. Id. §] 49-56.

« John Doe F (John Doe #4 in Does Il) — In 2013,
John Doe F pled guilty to a two-year misdemeanor
of sexual misconduct in the fourth degree. He was
classified as a Tier II registrant, which remains the
case under SORA 2021. Id. 11] 57-63."4

14 Plaintiffs filed a notice that John Doe F "has expunged his
conviction and has been removed from the sex offender

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» John Doe G (John Doe #5 in Does I!) — In 2006,
John Doe G was convicted of third-degree sexual
assault of a child in Nebraska. [*19] He was
required to register for 10 years. In 2010, he moved
to Michigan to be closer to his family. In Michigan,
he was required to register for 25 years. As a result
of the 2011 amendments, he was retroactively
reclassified as a Tier Ill offender, and his
registration period was extended from 25 years to
life. Id. TI] 64-68.

+ John Doe H (John Doe #6 in Does Il) — In 2015,
John Doe H pled no contest to criminal sexual
conduct in the fourth degree for sexually touching a
woman. He was sentenced to five years of
probation. He was classified as a Tier | offender
and required to register for 15 years. Under SORA
2021, this remains the same. Id. ff] 69-71.

- Mary Doe (Mary Doe in Does |) — In 2003, while
living in Ohio, Mary Doe pled no contest to unlawful
conduct with a minor for having a_ sexual
relationship with a 15-year-old male. She was
sentenced to three years in prison and required to
register for 10 years. After serving fewer than eight
months, Mary Doe was granted judicial release.
The terms of her probation required her to move to
Michigan to live with her parents. Under Michigan
law at the time, she was required to register for 25
years. As a result of the 2011 amendments, she
was retroactively [*20] reclassified as a Tier Hl
offender, and her registration period was extended
from 25 years to life. Id. ff] 24-32.

+ Mary Roe (Mary Roe in Does |) — In 2002, at the
age of 19, Mary Roe had sex with a 14-year-old
boy. She pled guilty to criminal sexual conduct in
the third degree. She served about 2.5 years in
prison. At the time of her conviction, Mary Roe was
required to register for 25 years. As a result of the
2011. amendments, she was retroactively
reclassified as a Tier Ill offender, and her
registration period was extended fram 25 years to
life. In 2016, she was threatened with prosecution
because her job was within 1,000 feet of a school,
as prohibited by the 2016 amendments to SORA.
She filed a suit challenging SORA's
constitutionality. See Roe v. Snyder. 240 F. Supp.
3d 697 (E.D. Mich. 2017). Pursuant to a settlement

in that case, her registration term was reduced fram
life to 25 years and she was removed from the
public registry. But under SORA 2021, she is
required to register and comply for life again. Id. 1
33-40.

Plaintiffs filed a motion for class certification, which the
Court granted in a stipulated order. See Mot. to Certify
Class (Dkt. 5); 5/18/22 Order (DKt. 35). The Court
certified a "primary class," defined [*21] as "people who
are or will be subject to registration under Michigan's
[SORA]," as well as seven subclasses. 5/18/22 Order;
5/9/23 Order (Dkt. 109). Plaintiffs John Does A, B, C, D,
E, F, G, H, Mary Doe, and Mary Roe are named as
representatives of the primary class. 5/18/22 Order at 1-
2. As of January 24, 2023, the primary class consisted
of 45,145 people subject to SORA. Pls. SOMF {| 72
(citing Class Data Report (7 1, 24, 127-128 (Dkt. 123-
6)). A description of the seven subclasses is below:

- Pre-2011 ex post facto subclass (31,249
people, 69% of the primary class) — Defined as
“members of the primary class who committed the
offense(s) requiring registration before July 1,
2011." Plaintiffs John Does A, B, C, D, E, F, G,
Mary Doe, and Mary Roe are class representatives.

- Retroactive extension of registration subclass
(16,723 people, 37% of the primary class) —
Defined as "members of the primary class who
were retroactively required to register for life as a
result of amendments to SORA." Plaintiffs John
Does A, B, C, D, E, G, Mary Doe, and Mary Roe
are class representatives.

+ Barred from petitioning subclass (size
unknown) — Defined as "members of the primary
class who are ineligible [*22] to petition for removal
from the registry and for whom ten or more years
will have elapsed since the date of their conviction
for the registrable offense(s) or from their release
from any period of confinement for that offense(s),
whichever occurred last, and who (a) have not been
convicted of any felony or any registrable offense
since; (b) have successfully completed their
assigned periods of supervised release, probation,
or parole without revocation at any time of that
supervised release, probation, or parole; and (c)
have successfully completed an appropriate sex

offender treatment program, _ if successful

registry.” See Pl's 8/6/24 Notice at 1 (Dkt. 156). “The class and completion of a sex offender treatment program
subclasses for which Mr. Doe F is a named representative all was a condition of the registrant's confinement,
are represented by other class and subclass representatives.” release, probation, or parole." Plaintiffs John Does

Id.
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A, C, E, F, G, Mary Doe, and Mary Roe are class
representatives.

- Non-sex-offense subclass (298 people, 0.7% of
the primary class) — Defined as "members of the
primary class who are or will be subject to
registration for an offense without a sexual
component including convictions for violating
M.C.L. _§ 750.349 (other than convictions for
violating M.C.L. § 750.349(1)(c) or M.C.L. §
750.349(1)(f), § 750.349b, § 750.350, or a
substantially similar offense in another jurisdiction."
Plaintiff John Doe A_ is’ the [*23] class
representative.

- Non-Michigan offense subclass (3,100 people,
7% of the primary class) — Defined as “members of
the primary class who are or will be subject to sex
offender registration under Mich. Comp. Laws
28.722(r)(x); (t(xili); ()(vili), or 28.723(1)(d), for a
conviction or adjudication from a jurisdiction other
than Michigan.” Plaintiffs John Doe G and Mary
Doe are class representatives.

+ Plea bargain subclass (size unknown) —
Defined as "members of the primary class who
gave up their right to trial and pled guilty to a
registrable offense in Michigan and who, as a result
of retroactive amendments to SORA, (a) were
retroactively subjected to SORA even though there
was no registration requirement at the time of their
plea; or (b) had their registration terms retroactively
extended beyond that in effect at the time of their
plea." Plaintiffs John Does A, B, C, D, E, and Mary
Roe are class representatives.

* Post-2011 subclass (13,848 people, 31% of the
primary class) — Defined as “members of the
primary class who committed the offense(s)
requiring registration on or after July 1, 2011."
Plaintiff John Doe H is the class representative.

5/18/22 Order; 5/9/23 Order; Pls. SOMF {ff 80-85 (citing
Class Data Report {J 24, 129-149); Defs. [*24] Resp.
to Pls. SOMF {{[ 80-85.

Plaintiffs previously filed a motion for a preliminary
injunction (Dkt. 7), which the Court denied without
prejudice. See 9/15/22 Order (Dkt. 54). In the same
order, the Court also denied Defendants' motion to
dismiss Plaintiffs’ complaint (Dkt. 41). Id. The Court
explained that it would be premature to consider either
motion before the parties had the opportunity to develop
a factual record. Id. Since then, the parties have

engaged in significant discovery, and a thorough factual
record is now before the Court. The Court will address
each of Plaintiffs’ claims in turn.

ill. ANALYSIS'5

A. Retroactive Application of SORA 2021

Plaintiffs bring two counts regarding the retroactive
application of SORA 2021 to registrants. In Count |,
Plaintiffs assert that retroactively applying SORA 2021
to John Does A, B, C, D, E, F, G, Mary Doe, Mary Roe,
and the pre-2011 ex post facto subclass violates the Ex
Post Facto clause of the Constitution. Am. Compl. 1]
727-736. In Count Il, Plaintiffs contend that retroactively
requiring lifetime registration for John Does A, B, C, D,
E, G, Mary Doe, Mary Roe, and the retroactive
extension subclass violates the Ex Post Facto Clause.
Id. 11] 737-745.'5 The Court awards summary judgment
to Plaintiffs [*25] on both counts. Specifically, the Court
finds that retroactively increasing reporting requirements
and extending registration terms violates the Ex Post
Facto Clause.

The Ex Post Facto Clause provides that "No State shall
... pass any... ex post facto Law." U.S. Const. art. 1 §
10, cl. 1. The clause proscribes retroactive punishment.

45The Court applies the traditional summary judgment
standard as articulated in Scott v. Harris, 550 U.S. 372, 380,
427 S. Ct. 1769, 167 L. Ed. 2d 686 (2007). The movant is
entitled to summary judgment if that party shows that there is
no genuine dispute as to any material fact and that the movant
is entitled to judgment as a matter of law. Fed. R. Giv. P.
56(a). If the movant makes an initial showing that there is an
absence of evidence to support the nonmoving party's case,
the nonmovant can only survive summary judgment by coming
forward with evidence showing there is a genuine issue for
trial. Celotex Corp. v. Catrett, 477 U.S. 317, 324-325, 106 S.
Ct. 2548, 91 L. Ed. 2d 265 (1986).

16 In Count Il, Plaintiffs also allege that retroactively requiring
lifetime registration violates due process. Am. Compl. If 742-
743. Because the Court finds that retroactive application of
SORA 2021 violates the Ex Post Facto Clause, the Court
declines to address Plaintiffs' alternate due process argument.
Granting Plaintiffs’ requested relief on more than one basis
would be "unnecessary and inefficient . . . especially [as to] the
resolution of any constitutional claims, which should be
avoided whenever possible ... ." Doe #1 v. Lee, 518 F. Supp.
3d 1157, 1206 (M.D. Tenn. 2021) (collecting cases).

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Does |, 834 F.3d at 699. "A law qualifies as ex post
facto if it changes the legal consequences of acts
committed before its effective date." Doe v. Lee, 102

court in 1993 of assault with intent to commit criminal
sexual conduct involving sexual penetration. Willman,
972 F.3d at 822, He was required to register under

F. 4th 330, 336 (6th Cir. 2024) (punctuation modified).

Plaintiffs offer two arguments in support of their ex post
facto claims. First, Plaintiffs argue that Does |—in which
the Sixth Circuit held that certain provisions from SORA
2011 violate the Ex Post Facto Clause—requires a
finding that SORA 2021 also violates the Ex Post Facto
Clause. Second, Plaintiffs argue that even if Does |
does not control, SORA 2021 constitutes punishment,
rendering it an ex post facto law. The Court addresses
both arguments in turn.

4. Controlling Precedent

The parties disagree about which case controls this
Court's decision. Plaintiffs argue that Does | controls.
Pls. Br. Supp. Mot. for Summ. J. at 5-9. Defendants, on
the other hand, argue that Willman v. Att'y Gen. of U.S...
972 F.3d 819 (6th Cir. 2020), a case addressing federal
SORNA, controls.1? Br. Supp. Def. Mot. Summ. J. at 3.
Neither party is fully correct.

Defendants argue that because SORA 2021 "is
almost [*26] identical to federal SORNA in all material
respects, the Willman decision binds this Court and
requires it to dismiss the Ex Post Facto challenge.” Id. at
3. Defendants err because the factual context and legal
issues in Willman differ from those present in the instant
case, and the terse discussion of the Ex Post Facto
Clause in that case offers no explanation as to how it
might be applicable here.

The plaintiff in Willman was convicted in a Michigan

17 Congress passed SORNA in 2006. Willman, 972 F.3d at 822
(citing Pub. L. No. 109-248; 120 Stat. 590; 34 U.S.C. § 20901
et seq). “The statute aimed to make more uniform what had
remained a patchwork of federal and 50 individual state
registration systems, with loopholes and deficiencies that had
resulted in an estimated 100,000 sex offenders becoming
missing or lost." Id. (punctuation modified). SORNA does not
create its own registration system; instead, SORNA states that
"[a] sex offender shall register, and keep the registration
current, in each jurisdiction where the offender resides, where
the offender is an employee, and where the offender is a
student." Id. (citing 34 U.S.C. § 20913/(a)). “Instead of
imposing requirements on states, SORNA conditions federal
funds on states’ voluntary compliance with a federal sex
offender registration regime." Id. af 824 n.2.

Michigan SORA when it became effective in 1995. Id.
More than two decades later, Congress passed federal
SORNA in 2006, which required him to register as a
matter of federal law. Id. In 2049, Willman filed a federal
court action challenging his registration requirements
under Michigan state law and federal SORNA. Id. The
district court entered a stipulated order regarding
Willman and the state defendants, declaring that
Willman no longer had to register under Michigan
SORA. Id. The U.S. Attorney General, the only
remaining defendant, filed a motion to dismiss, arguing
that the stipulated order had "no bearing on
Willman's [*27] obligations under federal law (ie.
SORNA)." Id. The district court granted the motion to
dismiss. Id.

On appeal, the Sixth Circuit described the “principal
issue" as “whether the registration and notification
obligations set forth in [federal SORNA] apply to sex
offenders who are convicted under state law but are not
subject to that state's sex offender registration and
notification requirements.” /d. at 821. The Sixth Circuit
held that "federal SORNA obligations are independent
of state-law sex offender duties," requiring Willman to
register with Michigan as a matter of federal law. /d. at
824.

In addition to his statutory claim that he was not
required to register, Willman brought several
constitutional challenges to SORNA, including an ex
post facto challenge, all of which were rejected. 18 But
Willman's analysis was terse, offering no guidance here.
The specific ex post facto argument was not even set
forth in the opinion. Without any description of the claim,
the court simply rejected it, citing a prior decision,
United States v. Felts, 674 F.3d 599, 605-606 (6th Cir.
2012). Id. at 824. By contrast, Felts engaged in a
broader discussion of that plaintiff's ex post facto claim.

48 Willman's constitutional challenges were brought on the
following grounds: (i) the Ex Post Facto Clause, (ii) the Fifth
Amendment Double Jeopardy Clause, (iii) the Eighth
Amendment prohibition of cruel and unusual punishment, (iv)
the First Amendment's right to privacy, (v) the Fourteenth
Amendment Privileges Or Immunities Clause, (vi) Article IV's
Privileges And Immunities Clause, (vii) the Fourth Amendment
prohibition of unreasonable seizures, (viii) the First
Amendment overbreadth doctrine, and (ix) the Fourteenth
Amendment Due Process Clause. Willman, 972 F.3d at 824-
827.

However, a review of the Felts opinion shows why the
case is not applicable here.

In Felts, the [*28] plaintiff was convicted in Tennessee
of rape of a child and aggravated sexual battery. Felts,
674 F.3d at 602. After his release from prison, Felts
moved to different states without notifying the
Tennessee registration authorities. Id. Felts was then
convicted of failing to register under federal SORNA,
even though Tennessee had _ not completely
implemented the act. Id. Felts argued that his new
conviction violated the Ex Post Facto Clause because it
increased the level of punishment for his crimes. /d. af
605-606. The Sixth Circuit rejected this argument,
explaining that “"SORNA provides for a conviction for
failing to register; it does not increase the punishment
for the past conviction. Felts's crime of failing to update
his sex offender registry after the enactment of SORNA
was entirely separate from his crime of rape of a child
and aggravated sexual battery." /d. at 606.

The context, issues, and holding in Felts are entirely
distinguishable from those present here. Plaintiffs here
argue that SORA 2021 imposes retroactive punishment
solely for their original convictions; Felts addressed
whether the later failure-to-register conviction was
vulnerable on ex post facto grounds. Neither Felts nor
Willman controls here.

Does |, on the other hand, is controlling, [*29] in part. In
Does |, the Sixth Circuit held that two provisions from
the 2006 and 2011 amendments to SORA violated the
Ex Post Facto Clause: (i) the exclusion zones
introduced in 2006 and (ii) the requirement that
registrants report in person within three business days
to update certain personal information introduced in
2011. Does |, 834 F.3d _at 706. SORA 2021 no longer
contains exclusion zones, but it does contain the same
onerous reporting requirements. ' Does |, therefore,
requires the finding that the in-person reporting
requirement violates the Ex Post Facto Clause.

Plaintiffs argue that Does _| went even further,
purportedly holding that all amendments introduced in
2006 and 2011 violate the Ex Post Facto Clause,
including the retroactive application of increased

19 As discussed previously, SORA 2021 allows for, but does
not require, the MSP to establish methods other than in-
person reporting for certain required updates. Because this is
optional, it does not provide meaningful relief to Plaintiffs. The
Court views the 2021 reporting requirement as substantially
similar to the 2011 requirement.

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registration length for certain offenders, which was
introduced along with the three-tier system in 2011 and
remains in SORA 2021. Pls. Br. Supp. Mot. for Summ.
J. at 6-9. Plaintiffs rely on the Sixth Circuit's
pronouncement that "[t]he retroactive application of
SORA's 2006 and 2011 amendments to [p]laintiffs is
unconstitutional, and it must therefore cease.” Id. at 6
(citing Does |, 834 F.3d at 706). But Does | focused only
on exclusion zones and reporting requirements; the
court did not even discuss the retroactive
extension [*30] of registration terms.

The Sixth Circuit's recent opinion in Lee, 102 F.4th 330,
a case challenging Tennessee's sex offender
registration act, confirms this interpretation. In
describing the court's holding in Does I, the court stated
that, "[iIn 2016, we enjoined enforcement of two
amendments to Michigan's sex offender registry law,
known as SORA n [Does lj, two sex offenders
challenged the 2006 and 2011 amendments to SORA
which prohibited registrants from living, working, or
loitering within 1,000 feet of a school and required all
registrants to appear in person immediately to update
information such as new vehicles or internet identifiers .
_. ." Lee, 102 F.4th at 337. This confirms that the
“amendments” referenced in the Does | holding were
the exclusion zones and_ in-person reporting
requirements specifically discussed by the court.

Does | is also controlling in that it describes the
framework used to analyze ex post facto challenges to
SORA. In the next section, the Court applies this
framework to SORA 2021 and finds that the retroactive
extension of registration terms also violates the Ex Post
Facto Clause.

2. SORA 2021 Constitutes Punishment

The Supreme Court has laid out a two-part framework

for determining whether a law _ constitutes
retroactive [*31] punishment:
The determinative question is whether the

legislature meant to establish civil proceedings. If
the intention was to impose punishment, that ends
the inquiry. If, however, the intention was to enact a
regulatory scheme that is civil and nonpunitive, the
[cJourt must further examine whether the statutory
scheme is so punitive either in purpose or effect as
to negate the State's intention to deem it civil.

Smith v. Doe, 538 U.S 84, 85, 123 S. Ct. 1140, 155 L.
Fd. 20 164 (2003). This framework was adopted by the

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Sixth Circuit in Does |. Does I, 834 F.3d at 700. Thus,
the Court's first question is whether the Michigan
legislature intended to impose punishment in passing
SORA 2021. Finding that the legislature did not intend
to impose punishment, the Court then asks whether
SORA 2021 is so punitive either in purpose or effect as
to negate the legislature's intention.2° The Count finds
that it is.

a. Legislative Intent

To determine legislative intent, “courts must first ask
whether the legislature, in establishing the penalizing
mechanism, indicated either expressly or impliedly a
preference for one label or the other.” /d, at 93. The
Supreme Court warned in Smith that "because the Court
ordinarily defers to the legislature's stated intent . . . only
the clearest proof will suffice to override legislative [*32]
intent and transform what has been denominated a civil
remedy into a criminal penalty." Id. (punctuation
modified).

The Michigan legislature included the following

statement of purpose in SORA 2021, unchanged from

SORA 2011:
The legislature declares that the sex offenders
registration act was enacted pursuant to the
legislature's exercise of the police power of the
state with the intent to better assist law
enforcement officers and the people of this state in
preventing and protecting against the commission
of future criminal sexual acts by convicted sex
offenders. The legislature has determined that a
person who has been convicted of committing an
offense covered by this act poses a potential
serious menace and danger to the health, safety,
morals, and welfare of the people, and particularly
the children, of this state. The registration
requirements of this act are intended to provide law
enforcement and the people of this state with an
appropriate, comprehensive, and effective means
to monitor those persons who pose such a potential
danger.

Mich. Comp. L. § 28.721a.

2The Court notes that there is an inherent contradiction
imbedded in this test, as the "intent" inquiry of the first prong
seems similar to the “purpose” inquiry of the second prong.
The Court's understanding is that the first prong focuses on
legislative intent, whereas the second prong focuses on the
effect of the statute in practice.

The Sixth Circuit analyzed this statement of purpose in
Does | and found that it “evinces no punitive intent."
Does |, 834 F.3d_at 700. The court admitted that the
plaintiffs [*33] pointed to "some features [of SORA
2011] that might suggest a punitive aim—e.a., SORA is
triggered solely by criminal offenses and the registration
requirement is recorded on the judgment; registration is
handled by criminal justice agencies like the police;
SORA imposes criminal sanctions; and it is codified in
Chapter 28 of the Michigan Code, a chapter that deals
with police-related laws " Id. But the court noted that
similar arguments had been previously raised and
rejected by the Supreme Court, id. (citing Smith, 538
U.S. at 95), so the court found “no warrant for
concluding that SORA's intent is punitive," id. at 701.

In the present case, Plaintiffs argue that new facts
warrant a finding that SORA 2021 is intended to punish.
Pls. Br. Supp. Mot. for Summ. J. at 9-10. Plaintiffs
highlight that the legislature chose to maintain some of
the 2011 amendments that Does 1 criticized and
adopted SORA 2021 “after being presented with
uncontroverted evidence that registries don't work." Id.
at 9. In sum, Plaintiffs argue that "[t]he facts in the
record on legislative animus coupled with the
legislature's decision to ignore both Does | and
evidence-based information support a finding that the
new law is intended to punish." Id. [*34] at 9-10.

In response, Defendants argue that “it is part of the
political process to disagree over how to address
contentious issues" and take issue with Plaintiffs’ claim
that the legislature was presented with “uncontroverted
evidence" that registries do not work. Defs. Br. Supp.
Mot. for Summ. J. at 5. Defendants emphasize that it is
difficult to measure the effect of a law designed to
prevent future potential crimes. Id. at 5-6.

The Court agrees with Defendants and finds insufficient
evidence to declare that the legislature's intent was
punitive. True, the legislature maintained one provision
that Does | criticized—the onerous in-person reporting
requirements. But it also removed the amendment Does
| criticized most strongly—the exclusionary zones. And
as discussed later in this opinion, Plaintiffs’ evidence
does not conclusively establish that registries like SORA
2021 do not work. Such evidence does not constitute
"the clearest proof that the legislature adopted SORA
2021 with a punitive intent.

The Michigan Supreme Court reached the same
conclusion regarding the legislature's non-punitive intent
in its recent analysis of SORA 2021. Lymon, 2024 Mich.

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LEXIS 1439, 2024 WL_3573528, at *5-*6. The court
noted that the legislature did not amend the
statement [*35] of intent in SORA 2021, “nor did it
amend the statute in any other way that would imply its
intent in enacting the statute had changed." 2024 Mich.
LEXIS 1439, [WL] at *6. "To the contrary, the
Legislature's choice to remove provisions [the Michigan
Supreme Court] identified in Betts as especially punitive
in effect supports a theory that the Legislature's recent
amendments were made to support a characterization
of SORA as civil." Id.

In harmony with these cases, the Court concludes that
the legislature's intent in adopting SORA 2021 was not
punitive.

b. SORA 2021's Actual Effects

The second step is to ask whether SORA 2021's actual
effects are punitive. The Supreme Court has identified
five factors that are particularly relevant in ex post facto
challenges to registration statutes. See Smith, 538 U.S.
at_97 (citing Kennedy v. Mendoza-Martinez, 372 U.S.
144, 168-169, 83S, Ct. 554, 9 L. Ed. 20 644 (1963)).
These include whether the challenged law: (i) has been
regarded in our history and traditions as a punishment,
(ii) imposes an affirmative disability or restraint, (iii)
promotes the traditional aims of punishment, (iv) has a
rational connection to a nonpunitive purpose, or (v) is
excessive with respect to this purpose. Id. These factors
are "neither exhaustive nor dispositive, . . . but useful
guideposts." Id. (punctuation modified). The Court [*36]
considers each factor in turn.

i. History and Tradition

As to the first factor, the relevant question is whether the
regulatory scheme has been regarded in the nation's
history and traditions as punishment. Id. Courts typically
consider whether a statute's restrictions resemble the
traditional punishments of banishment, shaming, and
parole/probation. See, e.g., Smith, 538 U.S. at 97-99;
Does |. 834 F.3d at 701-703; Lymon, 2024 Mich, LEXIS
1439, 2024 WL 3573528, at *7; Betts, 968 N.W. 2d at
508-510.

in Does I, the Sixth Circuit held that SORA 2011
resembled traditional punishment. Does |, 834 F.3d at
701-703. With respect to banishment, the court
particularly criticized exclusionary zones, explaining that
exclusion zones “resemble[s], in some respects at least,

the ancient punishment of banishment." Jd. at 701-702.
The court also found that SORA 2011's requirement for
public disclosure of information resembled traditional
shaming punishments. /d. at 702-703. The court noted
that SORA 2011 went beyond republishing information
that was already publicly available, like criminal history,
and published public “tier classifications corresponding
to the state's estimation of present dangerousness
without providing for any individualized assessment." /d.
at 702. In addition, the court noted that SORA 2011
sometimes disclosed “otherwise non-public information,"
such as sealed criminal records. /d. at_703. [*37]
Finding also that SORA 2011 resembled
parole/probation, the court referenced the statute's
exclusion zones, in-person reporting requirements, and
imposition of imprisonment for failure to comply. Id. For
all these reasons, the court held that the first factor
weighed in Plaintiffs' favor. Id.

Defendants argue that SORA 2021 does not resemble
banishment because it no longer contains exclusion
zones. Defs. Br. Supp. Mot. for Summ. J. at 6-7. In
Lymon, the Michigan Supreme Court came to the same
conclusion: "{A]lthough we conclude that [SORA 2021]
resembles shaming and parole, we conclude that
[SORA 2021] no longer resembles banishment because
its present iteration no longer includes a prohibition on
registrants living, working, or loitering within 1,000 feet
of school property." Lymon, 2024 Mich. LEXIS 1439,
2024 WL 3573528, at *7 n.11.

The Court agrees with Defendants that SORA 2021 no
longer resembles banishment. But as the Michigan
Supreme Court held, the Court still finds that SORA
2021 resembles shaming and parole/probation.

Plaintiffs criticize the registry's public website as "a
world-wide wall of shame where registrants are 'branded
[as] a potentially violent menace by the state.” Pls. Br.
Supp. Mot. for Summ. J. at 12 (citing Betts, 968 N.W. 2d
at 514). In response, Defendants argue [*38] that the
website does not expressly state that any registrant is
currently dangerous. Defs. Resp. to Pls. SOMF J 242.
Plaintiffs do not dispute this, but they contend that the
website implies that registrants are currently dangerous,
nonetheless. As explained by Plaintiffs, "[t]he initial
search page signals dangerousness, stating: ‘This
registry is made available through the Internet with the
intent to better assist the public in preventing and
protecting against the commission of future criminal
sexual acts by convicted sex offenders.” Pls. SOMF {]
242 (citing Lageson Report J] 32, 43 (Dkt. 123-14);
Registry Screenshots at 1-2 (Dkt. 127-24)). Dr. Sarah

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Lageson, an expert for Plaintiffs whose research
focuses on the impact of digital technologies on criminal
punishment, believes that "[t]his messaging signals a
highly dangerous type of criminal who requires constant
public monitoring and scrutiny." Lageson Report {ff 3,
43. The Court agrees. There is no disputing that the
public website implies that the registrants listed might be
dangerous.

Defendants also argue that the public website does not
constitute shaming because most of the information it
includes is already public. Defs. [*39] Br. Supp. Mot. for
Summ, J. at 7. But not all public information is made
equal; re-packaging information and providing it to the
public in a different form can in and of itself increase
shaming. The electronic notification system is
particularly troublesome. As the Michigan Supreme
Court explained in Betts, the notification system reduces
the effort required to obtain registry information, thereby
"increase[ing] the likelihood of social ostracism based
on registration." Betts, 968 N.W.2d at 501-502.

For these reasons, the Court finds that SORA 2021
resembles shaming.

Plaintiffs argue that "SORA 2021 resembles the
traditional punishment of parole/probation.” Pls. Br.
Supp. Mot. for Summ. J. at 10 (punctuation modified).
As Plaintiffs put it, “registrants are under significant state
supervision, and a failure to comply, like the failure to
comply with parole conditions, potentially subjects the
offender to imprisonment." Id. at 10-11 (punctuation
modified). Plaintiffs go so far as to contend that the
"range of affirmative requirements and adverse
consequences experienced as a result of registration
well exceed those associated with customary probation
and parole." Id. at 11 (citing Wayne Logan, Knowledge
as Power: Criminal Registration [*40]_ and Community
Notification Laws in America 138 (1st ed. 2009)).

In response, Defendants contend that SORA is less
severe than probation/parole because it is notification
based, not permission based. Defs. Br. Supp. Mot. for
Summ. J. at 9-12. The crux of Defendants’ argument is
that, under the probation/parole system, authorities can
dictate certain choices for probationers/parolees, such
as requiring individuals to work, dictating where a
person can or cannot be, and prohibiting association
with anyone under the age of 18. Id. at 10. They
contend that SORA, on the other hand, allows
registrants to make their own choices and merely
requires them to notify law enforcement of certain
changes. Id. According to Defendants,

Probation or parole dictates whom someone can
date, requires that they must work, mandates
disclosure of internet passwords, requires
installation and payment for monitoring systems,
dictates where a person can be or cannot be,
mandates agreement to warrantless searches,
prohibits possession of children's toys, and
prohibits association with anyone under the age of
18 Those types of conditions pale in comparison to
notifying police of changes to personal information
and [*41] periodic reporting.
Defs. Br. Supp. Mot. for Summ. J. at 10. Plaintiffs
disagree, arguing that "[sJome probationers/parolees will
have permission-based restrictions" but “[o]thers will
not." Pls. Reply at 11 (citing Sample Probation Order
(Dkt. 128-18)).

The Court finds that Plaintiffs have the better of the
argument. With its significant restraints on registrants,
including requiring regular in-person reporting and the
threat of imprisonment for failure to comply, SORA 2021
resembles the traditional punishments of
parole/probation.

In light of all these considerations, SORA 2021
resembles traditional forms of punishment.

ii. Affirmative Disability or Restraint

The second factor requires an inquiry into “how the
effects of the [act] are felt by those subject to it.” Smith,
538 U.S. at 99-100. "If the disability or restraint is minor
and indirect, its effects are unlikely to be punitive." Id.

The Sixth Circuit found that SORA 2011 imposed
significant restraints. Does |, 834 F.3d at 703-704. The
court called the exclusion zones the statute's "most
significant” restraint, but also cited in-person registration
and the threat of imprisonment for failure to comply as
important restraints. /d. at 703.

SORA 2021 removed the exclusion zones, allowing
registrants to live and work anywhere. [*42] But as
previously discussed, SORA 2021 maintained the bulk
of SORA 2011's in-person reporting requirements.
Registrants are still required to report in person at
regular intervals throughout the year, depending on tier,
and within three days whenever certain personal
information changes. As the Michigan Supreme Court
explained in Lymon,

Overall, [SORA 2021] continues to impose

significant obligations on registrants by requiring

the immediate disclosure of extensive personal

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information, annual (or more-frequent) in-person
visits to law enforcement, and the payment of fees.
[SORA 2021] ensures compliance with these
requirements through the potential for
imprisonment, which is the paradigmatic affirmative
restraint Accordingly, this factor weighs toward a
finding that [SORA 2021] constitutes punishment-—
although it weighs less heavily in that regard than
[SORA 2011], which additionally restricted
registrants’ choices and actions through student-
safety zones and imposed more-frequent in-person
reporting requirements.

Lymon, 2024 Mich. LEXIS 1439, 2024 WL_3573528, at
“10.

The Court agrees with Lymon's characterization of
SORA 2021. Although SORA 2011 imposed more
significant restraints than SORA 2021, the Court still
finds that SORA 2021 imposes significant [*43]
restraints on registrants.

iii. Traditional Aims of Punishment

In Does _I, the Sixth Circuit found that "[SORA 2011]
advances all the traditional aims of punishment:
incapacitation, retribution, and specific and general
deterrence." Does |, 834 F.3d_at 704. As the court
explained, "[SORA 2011's] very goal is incapacitation
insofar as it seeks to keep sex offenders away from
opportunities to reoffend. It is retributive in that it looks
back at the offense (and nothing else) in imposing its
restrictions Finally, its professed purpose is to deter
recidivism . . . and it doubtless serves the purpose of
general deterrence." Id. None of this changed with
SORA 2021. See Lymon, 2024 Mich. LEXIS 1439, 2024
WL. 3573528, at *10-*11 (noting that "the changes to
[SORA 2021] have not materially affected [the court's]
analysis of this factor" and holding that SORA 2021 still
supports the aims of general deterrence, specific
deterrence, and retribution). This factor weighs in
Plaintiffs’ favor.

iv. Rational Connection to a Non-Punitive Purpose

The statute's rational connection to a nonpunitive
purpose is "a most significant’ factor in [the Court's]
determination that the statute's effects are not punitive.”
Does |. 834 F.3d at 704 (quoting Smith, 538 U.S. af
102). The parties seem to agree that the stated goal of
SORA 2021, which is to promote [*44] public safety,

constitutes a valid, non-punitive purpose. The parties
strongly disagree, however, regarding the efficacy of
SORA in achieving that purpose.

In evaluating whether sex offender registration systems
bear a rational relationship to a non-punitive purpose,
courts have considered social-science evidence.
Plaintiffs urge that this Court do the same here,
contending that it shows that SORA 2021 fails to reduce
sexual recidivism, and may possibly increase it. See PI.
SOMF 153; Pl. Br. Supp. Mot. for Summ. J. at 16-17.
Plaintiffs point to a body of scholarship, including reports
of their experts, supporting that view. Pl. SOMF q 153.21
However, as discussed below, courts reviewing the
scientific literature have expressed the view that there is
no universally accepted scientific view about the efficacy
of registration systems. And the parties’ submissions
confirm that there is no unanimity of scientific opinion on
the subject. While the Court concludes that there are
strong, science-based opinions challenging the impact
of registration systems like SORA 2021 on recidivism, it
cannot conclude that the state of scientific opinion
mandates a finding that SORA 2021 bears no rational
connection [*45] to a non-punitive purpose.

The Michigan Supreme Court concluded that the
efficacy of sex offender registry regimes, like SORA
2021, is the subject of “robust scientific debate [with] no
universally accepted conclusion on the matter[].” Lymon,
2024 Mich. LEXIS 1439, 2024 WL 3573528, at *12 n.18.
The court looked back at its earlier decision in Betts,
968 N.W.2d_ 497, where it had found that certain
"studies demonstrate that, at a minimum, [SORA
2011's] efficacy is unclear." Id. at 12. It confirmed in
Lymon that its prior conclusion remains true with respect
to SORA 2021. See id. ("The same and additional
studies continue to support the uncertainty of SORA's
general efficacy.").

The same conclusion was reached in a 2017 US.
Department of Justice report, which analyzed studies
about sex offender registration and notification (SORN)
systems and found that "research on the effectiveness
of [SORN] remains relatively limited and findings from
the studies are somewhat inconclusive.” U.S.
Department of Justice, Sex Offender Management
Assessment and Planning Initiative at 202 (March

21 Plaintiffs point to expert reports of Elizabeth Letourneau
(Dkt. 123-9), J.J. Prescott (Dkt. 123-10), Kelly Socia (Dkts.
123-11, 123-12, 123-13), Kristen Zgoba (Dkt. 123-15), and
Karl Hanson (Dkt. 123-7, 123-8).
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2017).2? As the study explains:

Studies based on a comparison of outcomes for
sex offenders subject and not subject to SORN also
produced mixed findings. An arguable lack of
sufficient scientific [*46] rigor may further cloud the
import of studies in this area. Therefore, the results
of SORN research undertaken to date continue to
leave open questions about the effects of
registration and community notification
requirements.

Id.

One potential shortcoming of studies measuring the
efficacy of registries on recidivism is the difficulty in
measuring the prevalence of sexual offending. As the
study points out, "[e]ven with the best sources of data, it
is extremely difficult to estimate the actual number of
sex crimes committed because of low levels of
reporting.” Id. at 3. Moreover, "conclusions about the
extent of sex offender recidivism and the propensity of
sex offenders to reoffend over the life course inherently
involve some uncertainty." Id, at 121. In part, because of
these difficulties in measuring offenses and, more
specifically, recidivism rates, "problems found in sex
offender recidivism research no doubt have contributed
to a lack of consensus among researchers regarding the
proper interpretation of some research findings and the
validity of certain conclusions." Id, at 107.

Similar conclusions can be found in a 2022 report
prepared by the Federal Research Division of the
Library of [*47] Congress under an interagency
agreement with the U.S. Department of Justice's Office
of Sex Offender Sentencing, Monitoring, Apprehending,
Registering, and Tracking. See Office of Justice
Programs, Sex Offender Reaistration and _ Notification
Act—Summary_and Assessment of Research (April
2022).23 The report finds that “research is not
conclusive about whether SORN laws have mitigated
sex offender recidivism." Id. at 18-19. The study adds
that "[als a whole, literature on the impacts of
registration on. [registered sex offenders] was
indeterminate in its findings” with limitations "caused by
methodological shortcomings _ restricting reliability,

22 Defendants cite to the DOJ report in their reply. See Defs.
Reply at 4-5. The report can be found at:
https://smart.ojp.gov/sites/g/files/xyckuh231/files/media/docum
ent/somapi_full_report.pdf.

23 The report can be found at:
https://www.ojp.gov/pdffiles1/smart/305231 pdf.

validity, and/or applicability of findings to only those
individuals in the samples." Id. at 2. Ultimately, the
report concludes that “drawing sound conclusions about
policy decisions" regarding SORN laws “is difficult due
to the current cohort of limited research and lack of
convincing data." Id. at 23.

In opposing this conclusion, Plaintiffs present significant
expert opinions that the registries lack efficacy, arguing
that they demonstrate a “broad scientific consensus"
that registries do not reduce—and may increase—
sexual recidivism. Pls. SOMF §[[*48] 153. While the
expert reports do reach the ultimate conclusion that
public notification registration systems, like SORA 2021,
do not significantly reduce recidivism and may increase
it, there are concessions within the reports
acknowledging that some studies do show some public
benefit through reduction of recidivism. Further, some
studies show that registration systems can have the
separate public benefit of deterring first-time offenders.

For example, Elizabeth Letourneau, a public health
professor at Johns Hopkins University, reported on a
number of studies bearing on these issues. While many
supported Plaintiffs’ position, some diverged. See
Letourneau Report [7 (Dkt. 123-9) (acknowledging that
of "14 studies [that] specifically examined policy effects
on sexual re-offense rates ... . [alll but two failfed] to
find any effect on sexual or violent re-offense rates").
One divergent analysis was a 2009 New Jersey study,
which detected declining rates of sex crimes during and
after implementation of that state's registration law in
1994. Id.24 This finding was tempered by a 2012 follow-
up study, which found that "registration had no effect on
sexual or violent re-offense rates." Id. [*49] 75 Similarly,
a 2010 South Carolina study found a "small but
significant deterrent effect on first-time sex crimes
following implementation of the registration in 1995," but
"no effect on re-offense rates.” Id.2° A Minnesota study

24 Citing Veysey, B. M., Zgoba, K., & Dalessandro, M., A
preliminary step towards evaluating the impact of Megan's
Law: A trend analysis of sexual offenses in New Jersey from
Justice 1985 to 2005, Justice Research and Policy, 10, 1-18
(2008).

25 Citing Tewksbury, R., Jennings, W. G., & Zgoba, K.M., A
lonaitudinal examination of sex offender recidivism prior to and
following the implementation of SORN, Behavioral Sciences
and the Law, 30, 308-328.

26 Citing Letourneau, E. J., Levenson, J. S., Bandyopadhyay,
D., Armstrong, K. S., & Sinha, D., Effects of South Carolina's

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found “lower recidivism risk . . . relative to what was
predicted based on their risk scores" following
implementation of a registration law. Id.2”? A Washington
study found that adoption of a revision in the registration
law “was associated with a significant reduction in
recidivism." \d.28

Another expert for Plaintiffs, Michigan Law Professor
J.J. Prescott, also opined that community notification
laws, like SORA, reduce offenses by non-
registrants. [*50] See Prescott Report ] 11 (Dkt. 123-
10) ("The threat of becoming subject to a community
notification regime—and the shame and collateral
effects that accompany being publicly identified as a
‘sex offender—appear to have a measurable deterrent
effect (i.e., it reduces offenses) by nonregistrants.").79

To be sure, these divergent studies were accompanied
by critiques and limitations.°° But there is at least some
evidence supporting the view that registration systems,
like SORA 2021, promote some non-punitive goal. It is
not fair to say that scientific studies mandate a finding of
no public benefit at all.

While Plaintiffs focus primarily on the impact registration
systems may or may not have on recidivism, they fail to
adequately address other potential benefits of SORA.
As just discussed, some studies cited by Plaintiffs show
that registration systems can have a deterrent effect on
first-time offenders, which is undoubtedly a benefit to
public safety. In addition, SORA provides members of
the public with valuable information that they can use to

sex offender registration and notification policy on deterrence
of adult sex crimes, Criminal Justice Review, 35, 295-317
(2010).

27 Citing Duwe, G., & Donnay, W., The impact of Megan's Law
on sex offender_recidivism: The Minnesota experience,
Criminology, 46(2), 411-446 (2008).

28 Citing Barnoski, R., Sex offender sentencing in Washington
state: Did community notification influence recidivism?,
Olympia: Washington State Institute for Public Policy (2005).

28 Prescott also concluded that “it is very unlikely that these
laws are reducing recidivism by registrants; instead, it is
probable that these laws are actually increasing recidivism "
(emphasis in original). Prescott Report q11.

30 For example, the Minnesota study was questioned because
it involved registrants who were subject to “intensive
supervised release conditions.” Letourneau Report ¥ 7. The
Washington study was questioned by Letourneau because it
did not appear in a peer-reviewed journal. Id.

protect themselves and their families. As explained by
Defendants, "SORA is a tool for the people to use to
potentially prevent criminal [*51] sexual activity from
happening in the first instance." Defs. Reply at 2. “It
provides factual information to the public so residents
may decide how to interact with individuals [who] are
registered sex offenders|] (e.g.. a member of the public
may decide not to date someone on the registry; or a
member of the public may decide not to let their children
be cared for [by] a neighbor that is a registered sex
offender.)" Id, at 2-3.

Plaintiffs’ singular focus on recidivism might have been
prompted by the stated goal of preventing harm from
repeat offenders found in SORA's _ legislative
declaration, Mich. Comp. L. § 28.721a. But "[i]n our
review of governmental purposes .. . we need not rely
only upon those purposes the legislature, litigants, or
[other courts] have espoused, but may also consider
any other rational purposes possibly motivating
enactment of the challenged statute." Mountain Water
Co. Mont. Dep't of Pub. Serv. Regul., 919 F.2d 593, 597

(9th Cir. 1990).

Here, there is apparently undisputed evidence showing
that SORN laws promote the goal of public safety, at
least by deterring first-time offenders, although there is
also mixed evidence regarding whether they reduce
recidivism. SORN laws also serve the goal of providing
the public with information they can use to protect
themselves. [*52] For these reasons, the Court finds
that SORA is rationally connected to a non-punitive
purpose.

v. Excessive with Respect to Purpose

The final factor—whether the statute is excessive with
respect to its purpose—weighs in Plaintiffs’ favor. It is
clear that SORA 2021 exacts a heavy toll on registrants.
This includes requiring frequent in-person reporting,
publishing personal information online, and often
requiring registration for life. Yet, as discussed above,
there is a spirited debate regarding its effectiveness,
particularly as it relates to reducing recidivism. While it
is true that SORA contributes to public safety by
deterring first-time offenders and providing members of
the public with information they can use to protect
themselves, it is not clear that these purposes alone
justify the heavy toll on registrants. Notably, this
weighing of factors takes place in the "ex post facto"
context, where the state has changed the “rules of the
game" after registrants have committed their offenses—

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a context in which the Constitution has provided express
protection. This leads the Court to conclude that SORA
2021 is excessive for purposes of its ex post facto
analysis. This is in harmony with other courts [*53]
addressing the same issue. See Does |, 834 F.3d at
705; Betts, 968 N.W.2d. at 513-515.

Taking all the Mendoza-Martinez factors into account
supports a finding that SORA 2021 constitutes
punishment. The Court holds that the 2006 and 2011
amendments to SORA violate the Ex Post Facto
Clause.3"

B. Lack of Individualized Review

Plaintiffs allege that SORA 2021 violates equal
protection and due process by imposing lengthy and
lifetime registration without individualized consideration
of risk. Am. Compl. 9] 746-756. According to Plaintiffs,
SORA is a "one-size-fits-all regime designed for the
highest risk offenders, without any individualized
assessment of current risk. It presumes that all those
convicted of a sex offense pose the same high risk to
public safety... .” Id. 4] 250.

Plaintiffs are correct that SORA 2021, like many other
sex offender registration acts across the nation, is an
offense-based statute that does not offer individualized
review in most circumstances.°2 But SORA 2021 is not
a “one-size-fits-all” regime as Plaintiffs contend. As
discussed already, SORA categorizes registrants into
three tiers based on their offense. A registrant's tier
determines their length of registration, frequency of
reporting, inclusion in the public registry, and ability to
petition for removal from the registry. Thus, [*54] not all
registrants are treated the same; the severity of a
registrant's offense determines _ their registration
requirements. Regardless, Plaintiffs argue that SORA
2021's lack of individualized review “restricts the liberty
of thousands of people who pose no appreciable risk
with no public benefit." Pls. Br. Supp. Mot. for Summ. J.
at 28-29.

31 To be clear, this holding means that the in-person reporting
requirements and retroactive extension of registration terms
originally introduced in SORA 2011 cannot be applied to a
registrant who committed an offense before SORA 2011 was
enacted.

32s discussed later in the opinion, SORA 2021 provides
individual review for certain individuals convicted of offenses
without a sex element.

Plaintiffs do not specify exactly what they mean by
“individualized review." In their amended complaint,
Plaintiffs argue that “[a]ctuarial risk assessment
instruments—which are used to determine the statistical
likelihood that an individual will reoffend based on
known diagnostic indicators—are far better at predicting
recidivism risk than the fact of a conviction." Am. Compl.
{ 283 (citing Hanson Report {] 27-32 (Dkt. 1-4); Zgoba
Report {| 36-37 (Dkt. 1-8)). Plaintiffs discuss two
actuarial instruments, the Static-99R and _ its
predecessor the Static-99, in detail in both their
amended complaint and statement of material facts. But
Plaintiffs do not mention either in their brief supporting
their motion for summary judgment, and they do not
explicitly endorse using Static-S9R to determine
registration requirements. Further, they do not specify
when [*55] and how often they think an individualized
risk assessment should occur. For instance, one can
imagine a system that conducts an initial individualized
review when determining a_ registrant's reporting
requirements. Alternatively, one can imagine an
individualized review that occurs later, to determine if a
registrant's risk-level has changed. Plaintiffs also do not
say who should perform this review—-whether a court,
the MSP, or some other decisionmaker.

Because both parties submitted evidence regarding the
Static-99R, the Court will briefly address its feasibility as
a tool for individualized review.

Plaintiffs describe Static-99R as "[t]he most widely used
and well-researched sex offense risk assessment
instrument{] in the world." Pls. SOMF {[ 232. Plaintiffs
submitted an expert report by Dr. Karl Hanson, who,
along with a colleague, created the Static-99 in 1999
and the Static-99R in 2009. See Hanson Report (Dkt.
123-7). As explained by Dr. Hanson, the Static-99
"assess the recidivism risk of adult male with a history of
sexual crime ... ." Id. {| 29. The Static-99 groups
individuals into five levels of risk for sexual offending,
Level | (the lowest risk category) through Level V
(the [*56] highest risk category). Id. at J 36. The
assessment is based on ten factors, including the nature
of the sex-related offense, demographics (including age
at release and relationship history), sexual criminal
history, and general criminal history. Id. at 29. The
static-99R is truly “static” in that it estimates risk at a
specific point in time based on factors present at that
time. Id. at 34.

According to Defendants, Static-99R is a flawed
measure because it predicts recidivism—i.e., the
chances of someone being convicted for a subsequent

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offense—and not re-offenses, ie., the chances of
someone committing another offense. Defs. Br. Supp.
Mot. for Summ. J. at 19. Defendants argue that Static-
99 scores do not account for offenses that were never
reported by the victim; offenses that were reported by
the victim, but not reported to law enforcement; offenses
reported to law enforcement but not resulting in charges
or arrests; arrests not resulting in convictions; cases of
criminal sexual conduct that were pled down fo non-
sexual offenses; or cases that do not end ina conviction
for criminal sexual conduct. Id, at 18-19. Defendants
also submit that the five risk levels used by Static-
QOR [*57] are arbitrary. Id. at 18.

Defendants note that Dr. Hanson testified that he was
not aware of any state that uses Static-99 as a basis for
determining how long someone needs to register as a
sex offender. Id. at 22 (citing Hanson Dep. Tr. at 64
(Dkt. 125-3)). Dr. Hanson testified that he is aware of
various states that utilize Static-99R "within their
correctional systems," but he did not elaborate how.
Hanson Dep. Tr. at 64. He also stated that his
recommendation “would be not to write in a specific
measure [into the law] but to write in a risk level, which
is . . . associated with the appropriate levels of
intervention." Id. at 63.

In addition to debating the utility of Static-99R, the
parties also dispute whether performing individualized
review of any sort would be economically feasible.
Defendants argue that "the legislature opted to use a
simple conviction-based statute rather than a
complicated, time | consuming and expensive
individualized risk assessment." Defs. Resp. to Pls.
SOMF {| 64. But the parties dispute exactly how
expensive and time-consuming individualized review
might be.

Defendants cite the report submitted by Dr. Darrel
Turner, which estimates that an individualized [*58] risk
assessment costs between $8,000 to $20,000 and takes
between eight and 26 hours to complete. Defs. Resp. to
Pls. SOMF §] 151 (citing Turner Decl. at PagelD.7091
(Dkt. 128-22)). Based on this estimate, conducting an
individualized risk assessment for all current SORA
registrants—roughly 44,000 people—would cost
between $352 million and $880 million and take
between 352,000 and 1.1 million hours. Id, Defendants
also cite the declaration of Dr. Anna Salter, who stated
that she spends at least 15 hours on each sex offender
evaluation. Id. (citing Salter Decl. at 16). Based on that
estimate, it would take 660,000 hours to conduct
evaluations for all registrants. Id.

Plaintiffs argue that these estimates are based on
“comprehensive evaluations .. . performed for civil
commitment proceedings by psychologists," and that
"routine risk assessments" would be “far less
complicated and much less expensive." Pls. Resp. to
Defs. SOMF {[ 83 (punctuation modified) (citing Hanson
Rebuttal Report at 24-25 (Dkt. 123-8)). Plaintiffs cite the
testimony of James Kissinger, the State Administrative
Manager for Sexual Abuse Prevention Services for the
Michigan Department of Corrections (MDOC), who
estimated [*59] that calculating the Static-99R for an
individual can take as little as 15 minutes. Id. (citing
Kissinger Dep. Tr. at 62-63 (Dkt. 126-5)). But as
Defendants point out, Kissinger stated that it can take
anywhere from 15 minutes to an hour to calculate a
Static-99R. Defs. Resp. to Pls. SOMF ff 151 (citing
Kissinger Dep. Tr. at 62-63). Using this estimate, it
would take 11,000 to 44,000 hours to calculate a Static-
QOR for all registrants. !d, Plaintiffs do not provide a cost
estimate for calculating a Static-99R for all registrants,
but they contend that many registrants have already
been assessed by MDOC. Pls. Resp. to Defs. SOMF ¥
83 (citing Kissinger Dep. Tr. at 29-35).

Aside from potentially towering costs, an individualized
assessment scheme carries another risk: the risk of
making poor predictions of dangerousness. Whether the
assessment is made at the outset of registration, or
periodically throughout the term, there is an unknown
risk that the evaluators will make a mistake about who
should be required to register and for how long. A
legislature might conclude that an offense-based system
at least gives some certainty that those who commit
serious offenses are monitored for significant [*60]
periods, perhaps for life, and thereby mitigate the risk of
an erroneous prediction. Making choices about whether
to adopt bright-tine rules or customized assessments of
people, entities, or transactions subject to government
regulation is the hallmark of the legislative function.
"Under the system of government created by our
Constitution, it is up to legislatures, not courts, to decide
on the wisdom and utility of legislation." Ferguson v.
Skrupa, 372 U.S. 726, 729, 83 S. Ct. 1028, 10 L. Ed. 2d
93 (1963). There is nothing irrational in choosing a
bright-line rule for a sex offender registration system.

In sum, it is not clear what form of individualized review
Plaintiffs envision, or what the associated costs would
be. What is clear is that the legislature could reasonably
conclude that individualized review carried risks not
deemed worth taking.

In any case, Plaintiffs’ claim is vulnerable for another

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reason: Any potential right to review would require a
showing of entitlement to avoid or remedy a
constitutional violation. As discussed below, Plaintiffs’
two claimed bases for constitutional violations—due
process and equal protection—come up short.

4. Due Process

The Due Process Clause of the Fourteenth Amendment
protects citizens from government deprivation of "life,
liberty, or property, without due process [*61] of law."
U.S. Const. amend. XIV, § 1. Due process has two
components: procedural! and substantive. Bambach v.
Moegle, 92 F.4th 615, 624 (6th Cir. 2024). Procedural
due process rights “protect individuals from deficient
procedures that lead to the deprivation of cognizable
liberty interests." Id. (punctuation modified). Substantive
due process rights “ensure that—regardless of the
procedural protections available—the government may
not deprive individuals of fundamental rights unless the
action is necessary and animated by a compelling
purpose." Id, (punctuation modified).

Plaintiffs do not specify whether they bring a procedural
or substantive due process claim, but it appears they
bring only a substantive claim.59 Because arguing that
SORA lacks individualized review is akin to arguing that
SORA's procedures are inadequate, the Court analyzes
Plaintiffs' claim under both due process components.

a. Procedural Due Process

To the extent Plaintiffs argue that SORA 2021's lack of
individualized review violates procedural due process,
this claim fails. The Supreme Court has held that
registrants are not entitled to a hearing to determine risk
where that fact is irrelevant to a state's statutory
scheme, as is the case here. See Conn. Dep't of Pub.
Safety v. Doe, 538 U.S. 1, 8, 123 S. Ct. 1160, 155 L.
Ed, 2d 98 (2003) (DPS).

In DPS, the Supreme Court addressed [*62] a
procedural due process challenge to Connecticut's sex
offender registry. Like SORA 2021, the Connecticut
statute at issue was conviction-based; “the law's

33 In their motion for summary judgment, Defendants state that
“[i]t appears that Plaintiffs assert only a substantive Due
Process claim... ." Defs. Br. Supp. Mot. for Summ. J. at 28.
Plaintiffs do not refute this in their response. Pls. Resp. at 14-
15.

requirements turnfed) on an_ offender's conviction
alone." DPS, 538 U.S. at 2. The plaintiff argued that the
Connecticut law "deprive[d] him of a liberty interest . . .
without notice or a meaningful opportunity to be heard.”
Id. at 6. Without deciding whether the plaintiff properly
alleged deprivation of a liberty interest, the court held
that there was no procedural due process violation._d.
at 8.

The Supreme Court explained that the plaintiff was not
entitled to a hearing to determine whether he was
currently dangerous because that fact was irrelevant to
Connecticut's statute, which was strictly conviction-
based. fd. at 7-8, The court explained that "even if
respondent could prove that he is not likely to be
currently dangerous, Connecticut has decided that the
registry information of all sex offenders—currently
dangerous or not—must be publicly disclosed.” /d. at 7
(emphasis in original). In enacting an offense-based
statute, Michigan has made the same decision here.
Because “[pjlaintiffs who assert a right to a hearing
under the Due Process Clause must show that the facts
they seek to establish [*63] in that hearing are relevant
under the statutory scheme," id. at 8, Plaintiffs have not
established a procedural due process violation.

The Sixth Circuit has previously rejected an attempt to
distinguish SORA from DPS. See Fullmer v. Mich. Dep't
of State Police, 360 F.3d 579 (6th Cir. 2004). In Fullmer,
the plaintiff argued that the registration and public
disclosure aspects of SORA deprived him of a.
constitutionally-protected liberty interest without "giving
him notice and an opportunity to be heard on whether
he is a threat to the public safety.” Fullmer, 360 F.3d at
581 (punctuation modified). The plaintiff attempted to
distinguish DPS because a provision in Michigan's
SORA states that "[t]he legislature has determined that
a person who has been convicted of committing an
offense covered by this act poses a potential serious
menace and danger to the health, safety, morals, and
welfare of the people" and that "[t]he registration
requirements of this act are intended to provide law
enforcement and the people ... an... effective means
to monitor those persons who pose such a potential
danger." Id. at 582 (citing Mich. Comp. L. § 28.721a).
The plaintiff contended that, unlike in DPS,
dangerousness was a component of the registration
scheme under SORA.

The court rejected this argument, explaining that
"[rlegardless of [*64] the language in the statute, the
information on the registry’s website makes it clear to
anyone accessing the registry that all sex offenders

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convicted after a certain date are listed, without
exception. Moreover, there is nothing on the website to
indicate that the state has made an_ individual
determination as to a registrant's dangerousness.” /d. af
582. Relying on DPS, the court found that a
determination regarding dangerousness was irrelevant
to Michigan's statutory scheme, which was also
conviction-based. /d._at 581-583. The court held that
there was no procedural due process violation and
noted that the plaintiff had not brought a substantive due
process claim. /d. at 582.

Nothing of significance to the analysis of this claim has
changed since Fullmer was decided. SORA 2021
contains the same provision regarding the legislature's
determination, and the registry's current website does
not indicate that the state has made an individual
determination as to a registrants’ dangerousness.
Therefore, any procedural due process claim brought by
Plaintiffs fails under DPS and Fullmer.

b. Substantive Due Process

Substantive due process “ensure[s] that—regardless of
the procedural protections available—the government
may not deprive individuals of [*65] fundamental rights
unless the action is necessary and animated by a
compelling purpose.” Bambach, 92 F.4th at 624, Rights
protected by the Due Process Clause must be “deeply
rooted in this Nation's history and tradition and implicit in
the concept of ordered liberty, such that neither liberty
nor justice would exist if they were sacrificed." Gore v.
Lee, 107 F.4th 548, 562 (6th Cir. 2024) (quoting
Washington v. Glucksberg, 521 U.S. 702, 720-721, 117
S. Ct 2258, 117-S. Ct. 2302, 138 L. Ed. 2d 772 (1997).
If legislation infringes on a fundamental right, strict
scrutiny applies. Does |, 932 F. Supp. 2d at 814. Where
no fundamental right is implicated, the statute need only
survive rational basis review. Id. (citing City of Cleburne
v. Cleburne Living Ctr. Inc., 473 U.S. 432, 105 S. Ct.
3249, 87.L. Ed. 2d 313 (1985)).

Plaintiffs. argue that the aspects of SORA 2021 that
restrict their fundamental rights to work and travel
should be analyzed under strict scrutiny.*4 Pls. Br.

34 Plaintiffs also contend that SORA impacts their fundamental
right to speak. Pls. Br. Supp. Mot. for Summ, J. at 29.
Plaintiffs’ right to speak is already protected by the First
Amendment, and the Court will address the First Amendment
implications of SORA later in this opinion.

Supp. Mot. for Summ. J. at 29. "With respect to the rest
of SORA [2021]," id., Plaintiffs argue that an “exacting
rational basis scrutiny” applies because the law was
motivated by animus, id. at 29-32. But even if standard
rational basis applies, Plaintiffs contend that SORA
2021 is unconstitutional because it irrationally imposes
extensive burdens with no public safety benefit. Id. at
33-35. The Court disagrees. As explained below,
Plaintiffs have not shown that SORA 2021 significantly
burdens any fundamental right. Further, Plaintiffs have
failed to show that SORA 2021 was motivated by
animus. Finally, [*66] as explained below, SORA 2021
passes constitutional muster under the rational basis
standard.

i. Fundamental Rights

Plaintiffs argue that SORA restricts their fundamental
rights to work and travel. The Court begins by
addressing the fundamental right to work, then turns to
travel. With respect to work, Plaintiffs argue that SORA
impacts them in the following ways:

* "Registrants' work addresses are posted online,
meaning that employers who hire registrants will
have their business address show up in registry
searches.” Pls. SOMF {[ 339 (citing Mich. Comp. L.

§ 28.728(2)(d)).35

* While Michigan's unemployment rate was 4.3% in
January 2023, 45% of class members who are not
incarcerated report no current employment. Id. Ff
340 (citing Class Data Report {7 20, 109-110 (Dkt.
123-6)).96

* According to Plaintiffs, "research demonstrates
that being on a sex offender registry dramatically
reduces employment options for registrants, and
frequently results in job loss." Id. § 339. Plaintiffs
cite two expert reports in support of this claim. Id,
(citing Socia Report J] 22-23 (Dkt. 123-11); Zgoba
Report {J 25-30 (Dkt. 123-1 5)). Both reports cite
surveys where roughly 40% of respondents

35 Plaintiffs do not explain whether and why it would violate the
law for employers to choose not to hire convicted sex
offenders.

36The Court notes that this is not an apples-to-apples
comparison. Plaintiffs’ 45% statistic does not account for
whether individuals are actively looking for work, which is the
definition used by Michigan (as well as the federal
government) to track unemployment.

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reported losing a job because of their registration
status. [*67] Socia Report J] 27; Zgoba Report {
25.37

In response, Defendants admit that registrants may
have more difficulty finding employment but note that
this is also true for individuals with criminal histories.
Defs. Resp. to Pls. SOMF {| 339. Defendants argue that
the HR policies of certain employers may prohibit
employing individuals with criminal histories, and that
some individuals with criminal histories may “lack the
motivation and hard or soft skills to obtain{]
employment." Id.

According to Plaintiffs, “[rlegistrants report that it is
appearing on the online registry, not their conviction,
that turns employers away.” Pls. SOMF {[ 354. Plaintiffs
provide various examples of registrants who claim that
their registry status has impeded their job opportunities,
but many of their specific facts are contested by
defense.*8

37 Neither expert report explains how the surveys controlled for
the impact of registrants’ criminal record, separate from their
registry status.

38For example, Plaintiffs make the following claims, which
Defendants contest:

+ Plaintiffs claim that John Doe B worked at a family
business for many years because he “learned from
experience that he would be unable to find work
elsewhere." Pls. SOMF {[ 342 (citing Doe B Dep. Tr. at 8,
60-61 (Dkt. 125-5)). He now has his real estate license
but he has had sales fall through when a buyer or seller
learned he was on the registry. Id, In response,
Defendants [*68] point out that John Doe B has earned a
good livelihood, making $70,000 a year in the family
business and approximately $100,000 a year as a real
estate agent. Defs. Resp. to Pls. SOMF ¥ 342 (citing Doe
B Dep. Tr. at 8-10).

« Plaintiffs claim that John Doe C has been "repeatedly
terminated because he is on the registry.” Pls. SOMF {
342 (citing Doe C Dep. Tr. at 9, 17-18, 54-55 (Dkt. 125-
6)). He was fired from one job because “an anonymous
caller exposed his status.” Id. He was fired from another
job after a copy of a newspaper publishing registry
listings, including his, appeared in the break room at
work. Id, In response, Defendants note that John Doe C
has been at the same employer for a decade. Defs.
Resp. to Pls. SOMF {] 343 (citing John Doe C Dep. Tr. at
410-11).

+ Plaintiffs claim that Mary Doe received a certificate in
medical billing near the top of her class, but her

Regardless of whether there are actual employment
difficulties, no court decision of which the Court is aware
has found that employment in the private sector is a
fundamental right. In fact, the district court in Does |
considered and rejected such an argument. Does 1, 932
F. Supp. 2d 803. As that court explained, "[whhile the
freedom to choose and pursue a career, to engage in
any of the common occupations of life, qualifies as a
liberty interest . . . there is no ‘general right to private
employment.” Id. at 817 (punctuation modified) (citing
Cutshall_v. Sundquist. 193 F.3d 466, 479 (6th Cir.
1999)). Stated differently, legislation that bars
individuals from pursuing particular careers may infringe
on a fundamental right, but legislation that incidentally
makes obtaining private employment more difficult does
not. Finding that SORA 2011 did not bar the plaintiffs
from freely electing a particular career, the court
rejected their due process [*70] argument on that
ground. /d. at 817-818.

SORA 2021—like SORA 2011—does not prohibit
registrants from pursuing any particular career. SORA
2021 may make it more difficult for registrants to find
employment in general, but as the Does | court noted,
there is no general right to private employment. And
SORA 2021 imposes less of a burden on finding work
than SORA 2011, which prohibited registrants from
working within 1,000 feet of a school, thereby
eliminating certain job opportunities. "A charge that
merely makes a_ plaintiff less attractive to other
employers but leaves open a definite range of
opportunity does not constitute a liberty deprivation."
Cutshall. 193 F.3d _at_478 (punctuation modified)
(holding that Tennessee sex registration statute did not
deprive registrant of procedural due process based on
impact on his job- possibilities, because any past judicial
recognition of a constitutionally-protected interest
related to employment involved termination of
government employment, not private employment).

While Plaintiffs undoubtedly face more difficulty finding

extermnship placement “was unwilling to hire her because
its name and address would be posted on the registry."
Pls. SOMF {| 348 (citing Mary Doe Dep. Tr. at 27-40 (Dkt.
125-10). She submitted over 100 resumes for other jobs
before finding one. Id. Her current employer is unaware
of her registry status, but Mary Doe [*69] expects she
would be fired if it were discovered. Id. In response,
Defendants submit that Mary Doe was at one employer
from 2017 through 2022, and that she left that position
voluntarily for a new position with a “huge increase in
salary and benefits” that she is still in. Defs. Resp to Pis.
SOME {] 348 (citing Mary Doe Dep. Tr. at 38-41).

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employment than those who have not been convicted of
a sex offense, they have not shown a fundamental right
has been infringed. :

With respect to travel, Plaintiffs argue that SORA
impacts [*71] them in the following ways:

+ For any travel of more than seven days,
registrants must provide advance notice to the
police. Registrants must state where they are
going, where they will stay, and when they will
return. Pls. SOMF ¥ 360 (citing Mich. Comp. L. §§
28.725(1)(e);°9 28.727(1)(e). Plaintiffs contend that
the practical effect of this requirement is that
"fajlmost all Plaintiffs limit travel to no more than six
days... ."Id. 9 366.40

+ For international travel of more than seven days,
registrants must report in person at least 21 days in
advance. Id. {| 360 (citing Mich. Comp. L. 8§
28.725(8)).

+ Registrants “must plan to travel so that they are
able to register in person at specified intervals." Id J]
361 (citing Mich. Comp. L. §§ 28.725a(3)).

+ "Because registration in one state generally
triggers registration in other states, if registrants
travel, they must comply with all applicable
registration laws in other jurisdictions. Any travel
out-of-state requires extensive research to
determine what the registry requirements are in the
states through which and to which registrants
travel." According to Plaintiffs, this "significantly
restricts registrants’ ability to associate with family
or friends out of state, or indeed to leave the state
for any purpose." Id. § 363.41

- Registrants [*72] convicted of an offense against

39 Plaintiffs cite Mich. Comp. L. § 28.725(1)(e), but this
appears to be a typo. The correct provision should be §

28.725(2)(b).

40 Plaintiffs do not cite to the record in support of this
contention. In response, Defendants admit that “several
plaintiffs, who are only a few of the approximately 44,000
registrants, made the statement.” Defs. Resp. to Pls. SOMF ¥
366.

41 Plaintiffs do not explain why Michigan should be faulted for
aspects of other states’ registration systems that may be
triggered by virtue of an individual being required to register as
a sex offender in Michigan.

a minor can only get passports that identify them as
sex offenders. Id. {| 365 (citing 22 USC. §
212b(c)(I); 34 U.S.C § 21503/f).

Plaintiffs provide numerous examples of individual

plaintiffs who would like to travel but do not do so, or

who have experienced difficulty while traveling, because

of their registration status. Id. {{] 367-378. For example:
SORA's three-week notice requirement for
international travel limits Doe G's career
advancement, as he has had to tell his employer he
cannot travel internationally. He was forced to
cancel a business trip to China because he would
have been away for 30 days during his reporting
period. He doesn't visit his father in Florida or sister
in Illinois for fear of violating those states' laws or
ending up on those states’ registries. He missed his
niece's graduation for similar reasons.

Id. 373 (citing Doe G Dep. Tr. at 20-22 (Dkt. 125-9).

The right to travel has been recognized as fundamental
in certain contexts. As explained in Does I, “[nJeither the
Supreme Court nor the Sixth Circuit has recognized [] a
generically defined fundamental 'right [to travel].' Instead
the Supreme Court has found a fundamental right to
interstate travel that is comprised of three [*73] distinct
components: (1) ‘the right of a citizen of one State to
enter and to leave another state’; (2) 'the right to be
treated as a welcome visitor rather than an unfriendly
alien when temporarily present in the second State’; and
(3) ‘for those travelers who elect to become permanent
residents, the right to be treated like other citizens of
that State." Does /, 932 F. Supp. 2d. at 814-815
(emphasis in original) (citing Saenz v. Roe, 526 U.S.
489, 500, 119 S. Ct. 1518, 143 L. Ed. 2d 689 (1999)).
The court further explained that “the Sixth Circuit, in the
absence of any express statement by the Supreme
Court, has also recognized a fundamental right to
intrastate travel, which it found to include the ‘right to
travel locally through public spaces and roadways.” Id.
at 815 (citing Johnson v. City of Cincinnati, 310 F.3d
484, 498 (6th Cir. 2002)).4?

42In Johnson, the Sixth Circuit struck down a city's drug-
exclusion ordinance, which banned an individual for up to
ninety days from public streets and sidewalks in all drug-
exclusion zones if the individual is arrested or taken into
custody within any drug-exclusion zone for one of several
enumerated drug offenses. Johnson, 310 F.3d_at 487. The
ordinance in Johnson is distinguishable from SORA 2021,
which does not ban registrants from entering any particular
areas within the state.

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But the Does | court also-noted that SORA 2011 did not
create any actual barriers preventing registrants from
entering or exiting the state. Id. at_815. The court
explained that the requirement that registrants report
travel of greater than seven days “does not... make
out-of-state travel impossible." Id. “It merely requires
more advanced planning and less spontaneity on the
part of a traveling registrant." Id. The court held that
"mere burdens on a person's ability to travel from state
to state are not necessarily a violation of their [*74]
right to travel" and that although SORA 2011 “imposes
some burdens on registrants who wish to travel for
extended period of times, the burdens cannot be fairly
characterized as substantial or unreasonable." Id. The
same is true with respect to SORA 2021, which contains
the same requirement that registrants report travel of
greater than seven days and adds no new restrictions
with respect to travel.

The court next addressed the quarterly in-person
reporting requirement and held that "[a]t most, the
provision imposes only a de minimis, incidental burden
on registrants who wish to travel during these periods."
id. at 816. Again, the same is true of SORA 2021, which
requires registrants to report in person either once,
twice, or four times a year, depending on their tier.
SORA 2021 assigns required reporting months, but
registrants can choose any day within those months to
report in person. At most, this requirement prevents
certain registrants from traveling on four days within the
year, and registrants have a fair degree of flexibility in
choosing those days. The Does _| court's description of
this burden as “de minimis" is accurate.

Notably, SORA 2021 imposes significantly less of a
burden on travel than[*75] SORA 2011, which
contained exclusion zones. Yet the Does | court found
that SORA 2011, even with exclusion zones, did not
substantially burden Plaintiffs’ rights to interstate or
intrastate travel because the exclusion zones "[did] not
restrict registrants from entering or traveling through"
exclusion zones. /d. at 816. Rather, the court explained
that the exclusion zones “regulat[ed] the type of activity
registrants [could] engage in when they are within 1,000
feet of school property." Id. The court held that the
exclusionary zones were "tailored to prohibit only the
type of conduct the state has reasonably identified as
creating potential harm to children." /d. at_817. In the
present case, SORA 2021 imposes no restrictions on
the activities registrants can engage in when they are
within 4,000 feet of a school.

Because SORA 2021 only imposes incidental burdens

on a registrant's ability to travel, strict scrutiny does not
apply.**

ii, Animus

Even if SORA 2021 does not violate a fundamental
right, Plaintiffs argue that an "exacting rational
relationship standard" must apply because SORA 2021
was motivated by animus. Pls. Br. Supp. Mot. for
Summ. J. at 29-32. Plaintiffs contend that “[t]his more
searching form of rational basis review [*76] applies
when a law exhibits a desire to harm a politically
unpopular group." Id. at 29 (citing Lawrence v. Texas,
539 U.S. 558, 580, 123 S. Ct. 2472, 156 L. Ed. 2d 508
(2003) (O'Connor, J., concurring). This argument is
echoed in the amicus curie brief filed by law professors
William Araiza, Eric Janus, and Sandra Mayson in
support of Plaintiffs equal protection and substantive
due process claims. See Araiza Br. (Dkt. 136).

The amicus brief refers to a line of United States
Supreme Court cases—which the amici refer to as the
“animus cases"—where the court applied the exacting
rational relationship standard to laws that "might reflect
prejudice or stereotype." id. at 7-9. According to the
brief, these cases "illustrate the objective features of
legislation that suggest potential stereotype or

prejudice." Id. at 7. These features include: (i) “laws that.

target a_ politically disfavored group,” (ii) laws that
“impose[| broad or severe burdens on the
disadvantaged group," and (iii) "rarity," or laws that
impose "discriminations of an unusual character." /d. at
7-8 (punctuation modified). Plaintiffs cite similar factors
to consider when determining whether a statute was
motivated by animus.*4 Pls. Br. Supp. Mot. for Summ. J.
at 30-31. In addition to the amicus brief factors,
Plaintiffs [*77] contend that courts should consider
legislative history and background. Id.

A consideration of these factors, however, does not
establish that SORA 2021 was motivated by animus. As

43Other courts in this circuit have reached the same
conclusion with respect to Tennessee's sex offender
registration statute, which is similar to SORA 2021. See, e.d.,
Doe v. Rausch, 648 F. Supp. 3d 925, 949 (W.D. Tenn. 2023);
Jefferies v. Lee, No. 22-cv-02258, 2023 U.S. Dist. LEXIS
55333, 2023 WL 2724249, at *8 (W.D. Tenn, Mar. 30, 2023).

44The Court notes that Plaintiffs and the amicus brief provide
no authority showing that a court has adopted these factors as
a test.

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an initial matter, the present case is distinguishable from
the "animus cases" cited by the amicus brief because
those cases addressed the regulation of politically
disfavored groups who did not do anything wrongful or
objectionable. See Romer v. Evans, 517 U.S. 620, 116
S. Ct. 1620, 134 L. Ed. 2d 855 (1996) (LGBTQ people);
Cleburne, 473 U.S. 432, 105 S. Ct. 3249, 87 L. Ed. 2d
313 (1985) (severely intellectually disabled); Plyler _v.
Doe, 457 U.S. 202, 102 S. Ct. 2382, 72 L. Ed. 2d 786
(1982) (children of undocumented immigrants); U.S.
Dep't of Agric. v. Moreno, 413 U.S, 528, 93 S. Ct. 2821,
37 L. Ed. 2d 782 (1973) (hippies). Unlike these groups,
sex offenders did do something wrongful by committing
dangerous acts that are often violent in nature. And, in
many cases, they did so in extremely conceming ways.
If they are "politically disfavored,” that is explainable
based on conduct that is understandably troubling to
law-abiding citizens. None of the “animus cases"
addressed an unpopular group whose members had
been convicted of similarly dangerous crimes.

Plaintiffs rely heavily on Bannum, Inc. v. City of
Louisville, 958 F.2d 1354 (6th Cir. 1992). In Bannum,
the plaintiff argued that a city zoning ordinance violated
equal protection because it required community
treatment centers for federal offenders (CTCs) to obtain
a special permit to operate but did not require
operators [*78] of other group residences to do the
same. Bannum, 958 F.2d at 1355-1356. The CTC
program was intended to facilitate the reintegration of
federal offenders into society. fd. at 1355. The court
applied a “rational relationship level of review," which
asked "whether the classifications drawn by the zoning
ordinance are rationally related to a legitimate state
interest." Id. at 1360. The court described the standard
as “highly deferential" but also warned that rational
relationship review can be "exacting" in that "the desire
to impede a politically unpopular group is not a
legitimate state interest." Id. (punctuation modified).

The city's main justification for the ordinance was that
the occupants of a CTC are more likely to commit
crimes than a person never having been convicted of a
crime. Id. The Sixth Circuit held that “[iJf the city's goal
was to protect its residents from recidivists, then some
data reflecting the extent of the danger must exist in
order to render the different treatment of CTCs rationally
related to that goal." /d. at 1360-1361. Explaining that
the city's expert witness found that literature on the topic
was inconclusive, the court rejected the city's proffered
purpose. Id. Instead, the court concluded that "the
purpose behind [*79] different treatment of CTCs...is
to assure residents . . . that they would not find

themselves with a CTC as a neighbor." /d. af 1367. The
court held that this justification was invalid. Id.

Bannum does not provide clear guidance here. Its
holding seems to be that the special permit requirement
reflected a naked fear of felons generally, without any
evidence that they would likely re-offend. Id. af 1360
("The city was able to present the district court with no
evidence supporting its contention that CTCs present a
danger to the community."). That is different from the
present case because, as discussed above, there is at
least some evidence of recidivism being thwarted by the
registration system. It is also different from the present
case because, as discussed above, there is some
evidence that registration systems deter first-time
offenders, and registration systems serve the goal of
empowering individuals to pursue measures to promote
their own safety.

Further, Bannum appeared to qualify its pronouncement
that naked fear of federal offenders justified heightened
scrutiny when it stated that "[ijt is important to note that
the CTCs . .. do not house felons convicted of crimes of
violence involving firearms, or [*80] sexual offenders."
Id._at_1361_n.3 (emphasis added). Similarly, it also
stated that "the city may well have a legitimate interest
in requiring a conditional use permit of an institution
housing those with a prior record of violent felony
offenses." Id. at 1361. Thus, Bannum does not suggest
that a regulation impacting convicted sex offenders must
pass exacting scrutiny on the theory that the law
operates against a politically unpopular group. Violent
offenders and sex offenders, in particular, gain no right
to invoke special constitutional protection under that
decision. The "politically unpopular” factor does not
weigh in favor of Plaintiffs.

As to the second factor, it is clear that SORA imposes
burdens on registrants. Plaintiffs discuss these burdens
in detail, particularly as they relate to SORA's impact on
access to housing, employment, education, and travel.
Defendants do not seem to dispute that SORA imposes
such burdens on registrants. This factor weighs in
Plaintiffs’ favor.

As to the third factor, Plaintiffs argue that SORA is a
structural aberration because it is “unlike other laws.”
Pls. Br. Supp. Mot. for Summ. J. at 32. According to
Plaintiffs, SORA “criminalizes ordinary behavior (that is
not criminal [*81] for non-registrants) and imposes
extensive supervision for decades/life on a disfavored
group without any individual assessment." Id. Plaintiffs
contend that other "[n]on-punitive systems that impose

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significant restrictions on liberty (e.g., child protective
services, guardianships, medication compliance for
mentally ill), all turn on individual assessments and
periodic review to ensure these restrictions are
warranted." Id.

The only case Plaintiffs cite in support of this claim is
Bassett v, Snyder, 59 F. Supp. 3d 837 (E.D. Mich.
2014). In Bassett, five same-sex couples, each with one
partner employed by a local municipality, challenged the
constitutionality of a Michigan law that prohibited public
employers from providing health care and other fringe
benefits to the domestic partners of their employees. Id.
at 839. The plaintiffs argued that the law was “nothing
more than a mean-spirited attempt to deny health care
benefits to the same-sex domestic partners of public
employees on the basis of their sexual preference, ...."
in violation of equal protection. Id.

In determining whether the law was motivated by
animus, the court asked, in part, whether it was a
structural aberration. Id. at 847, 855. The court
explained that "[s]tructural aberration occurs when [a]
law [*82] (1) ‘impose[s] wide-ranging and novel
deprivations upon the disfavored group;’ or (2) 'stray[s]
from the historical territory of the lawmaking sovereign
to eliminate privileges that a group would otherwise
receive." Id. at 847 (citing Bishop v. Smith, 760 F.3d
1070 at 1100 (10th Cir. 2014) (Holmes, J., concurring)).
The court found that the law in question was a structural
aberration because "the legislature took the unusual
step of telling local governments that they could not
offer employee fringe benefits to a specific class of
people who had been receiving them up to then." Id. at
855.

Bassett is distinguishable from the present case. For
one, Bassett is more similar to the traditional “animus
cases" discussed above because it dealt with a
politically unpopular group whose members had not
done something violent or dangerous. In addition, the
law at issue in Bassett deprived individuals of benefits
they had previously been receiving, due to no fault of
the individual. To the extent SORA 2021 deprives
registrants of any benefits, it does so because the
registrant has been convicted of a dangerous crime.

Further, Plaintiffs admitted in the ex post facto context
that "SORA 2021 resembles the traditional punishment
of parole/probation." Pls. Br. Supp. Mot. for Summ. J. at
10 (punctuation [*83] modified). In an about-face,
Plaintiffs now try to point out various ways in which

SORA 2021 differs from parole and probation.45 For the
reasons already discussed in the ex post facto section,
the Court finds that SORA 2021 resembles probation
and parole. This and Plaintiffs’ lack of case law
supporting the rarity of SORA 2021 weigh in favor of
finding that SORA is not a structural aberration.

Lastly, Plaintiffs argue that SORA's legislative history
indicates that it was motivated by animus. Pls. Br. Supp.
Mot. for Summ. J. at 31-32. Plaintiffs cite to legislators
who have called registrants ‘beasts," "monsters,"
"animals," and “the human equivalent of toxic waste." Id,
at 31 (citing Wayne Logan, Knowledge _as_ Power:
Criminal Reaistration and Community Notification Laws
in America 95 (1st ed. 2009)). But the Michigan
legislature consists of 38 senators and 110
representatives—statements from a handful of members

do not represent the views of the legislature at large.

See Mich. Const. art. IV, §§ 2-3.

Moreover, courts have recognized the combative tenor
of political discourse, instructing that the First
Amendment reflects "a profound national commitment to
the principle that debate on public issues should be
uninhibited, robust, and wide-open.” Snyder v. Phelps,
562 U.S. 443, 452, 131 S. Ct. 1207, 179 L. Ed. 2d 172
(2011). For better or worse, the use of inflammatory
language is fairly widespread throughout the continuum
of political issues. But “[a]ls a Nation we have chosen. .
. to protect even hurtful speech on public issues to

45 Plaintiffs note the following distinctions between SORA 2021
and probation/parole:

* Probation and parole are individually determined, while
sex offender registration requirements are not. Pls. Resp.
to Defs. SOMF {44 (citing SORA, Probation & Parole
Comparison Chart (Dkt. 131-10).

+ Probation and parole usually only last for two to four
years, while registration requirements can last for
decades or life. Id. (citing SORA, Probation & Parole
Comparison Chart). But the Court notes that, depending
on the severity of the crime, parole-like systems like
supervised release can last for life. See United States v.
Zabel. 35 F.4th 493, 508 (6th Cir. 2022) ("There is no
question that the district court had authority to impose a
life term of supervised release. Congress insists that
lifetime supervision be available to courts in sentencing
sexual offenders “) (punctuation modified).

+ Most probationers and parolees can petition to be
discharged early, whereas [*84] most sex offender
registrants cannot. Id, (citing SORA, Probation & Parole
Comparison Chart).
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ensure that we do not stifle public debate.” Id. at 461.
There is nothing unique [*85] in that regard pertaining
to the sex offender registration issue. While demeaning
comments are certainly troubling, the use of strong
language in debates about sex offenders should not be
surprising. All sex offenses are condemnable and many
involve particularly heinous conduct.

Plaintiffs also emphasize that, for recent enactments of
SORA, legislators ignored a "scientific consensus that
registries don't work." Pls. Br. Supp. Mot. for Summ. J.
at 31. But as already discussed, the literature regarding
the effect of registries on recidivism is not conclusive.
These arguments, therefore, fait to establish that the
legislative history demonstrates that SORA was
motivated by animus.

In sum, considering all of the factors that courts have
considered in the animus cases, the present case hardly
seems like it falls within that category. Further, the Court
is not aware of any case holding that sex offenders are
subject to exacting scrutiny or otherwise comparing sex
offenders to the groups at issue in the cases cited by
Plaintiffs and amici.

iii. Rational Basis Review

Plaintiffs argue that SORA 2021 is unconstitutional no
matter what standard of review is applied because it
cannot survive even rational [*86] basis review. Pls. Br.
Supp. Mot. for Summ. J. at 33-35. Under rational basis
review, the relevant question is whether the statute at
issue is “rationally related to legitimate government
interests." Doe v. Mich. Dep't of State Police, 490 F.3d
491, 501 (6th Cir. 2007) (citing Washington _V.
Glucksberg, 521 U.S. 702, 728, 117. S. Ct. 2258, 117 S.
Ct. 2302, 138 L. Ed. 2d 772 (1997)). "That deferential
standard does not require States to show that a
classification is the only way, the best way, or even the
most defensible way to achieve their interests." Gore v.
Lee, 107 F.4th 548, 561 (6th Cir. 2024).

Plaintiffs argue that SORA 2021 does not meet this
standard because “imposing extensive burdens that
have no public safety benefit on thousands of people
who present no appreciable risk is irrational." Pls. Br.
Supp. Mot. for Summ. J. at 33 (punctuation modified).
According to Plaintiffs, "unrebutted evidence” shows
SORA does not promote public safety and instead
shows that SORA undermines the key factors for
reentry (housing, employment, and social connections)
and harms survivors. Id. at 33. Further, Plaintiffs

contend that SORA wastes millions of dollars each year
on "a system that undermines its very purpose.” Id. In
response, Defendants argue that the state has a
compelling interest in protecting public safety. Defs. Br.
Supp. Mot. for Summ. J. at 31.

As. already _—_ discussed, the social science
regarding [*87] the efficacy of SORA in reducing
recidivism is mixed. And Plaintiffs’ theory that SORA is
irrational because it promotes recidivism by impeding
"key factors for reentry" to society such as housing and
employment, Pls. Br. Supp. Mot. for Summ. J. at 33, has
been questioned by the Office of Justice Programs
report cited above. It noted that studies examining the
impacts of registration on offenders’ “employment and
finances, housing, and physical and psychological well-
being" were limited in that the studies were largely
based on "self-reported data provided by [registrants],
their family members, and treatment providers in
surveys and interviews with researchers." Office of
Justice Programs, Sex Offender Registration and
Notification _Act—Summary _and___ Assessment of
Research, at 9 (April 2022). Given the apparent
indeterminate state of the scientific record, it cannot be
said that Michigan has selected an irrational registration
scheme on the theory that it promotes recidivism.

The indeterminate state of scientific opinion also serves
to temper the assertion of Plaintiffs that lengthy
registration  periods—and in particular _ lifetime
registration—is irrational. This is predicated on the
contention [*88] that after several years—perhaps as
few as 10—the recidivism rate for registrants with an
average risk level who remain offense-free equals the
risk of offending for all males in the general population.
Pls. SOMF {[ 187.

However, determining who is offense-free is a fraught
undertaking, given the severe problem of underreporting
of sex offenses. As Rachel Lovell, director of the
Criminology Research Center at Cleveland State
University, stated in her declaration: "[s]exual recidivism
research based on official, court/administrative records
from criminal justice agencies provides biased and
unrepresentative estimates of repeat sexual offending.”
Lovell Decl. 4 6 (Dkt. 128-19). According to Lovell,
sexual assault "is the most underreported violent crime"
in the country. Id. Only about a third of such offenses
are reported to law enforcement and five percent or less
result in a conviction. Id. Thus "sexual recidivism cannot
be used interchangeably with repeat sexual offending."
Id. 7 4. Lovell opines that one meta-analysis of 808
empirical studies reported sexual recidivism rates that
OY

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varied from 0 to 68%. Id. | 7. Lovell asserts that sexual
recidivism estimates cannot be reliably used [*89] to
determine if sexual offenders live offense-free. Id. at 9.

Similar conclusions are reached by Rachel Goodman-
Williams, an assistant professor of psychology at
Wichita State University. She opined:
Recidivism studies based solely on criminal history
data are therefore not measuring sexual offenders’
behaviors so much as they are measuring the
behavior of the criminal legal system; they are not
effectively measuring multiple instances of sexual
offending so much as they are measuring multiple
instances of being caught and held accountable by
a system with a uniquely poor track record of doing
so. Measures of serial sexual offending that include
data less vulnerable to case attrition suggest that
approximately 40% of sexual offenders are serial
sexual offenders.
Goodman-Williams Decl. ff 1, 51 (Dkt. 128-20)
(emphasis omitted). Thus, there is nothing irrational in
maintaining a registration system with lengthy periods of
registration.

Nor is it irrational for the system to cover people who
have a low risk of reoffending. As an example, even
accepting one of Plaintiffs’ expert's statistics that 80% to
90% of convicted male offenders will never be
reconvicted of a new sex crime, Letourneau [*90]
Report J 12, that still leaves 10% to 20% who well may
recidivate. Rationality does not demand a perfect or
even a "good" success rate to pass constitutional
muster. See Gore, 107 F.4th at 561 (6th Cir. 2024).

For the same reason, Plaintiffs’ contention that most sex
offenses are not committed by strangers, but by persons
known to their victims, is of no constitutional moment.
See Pls. SOMF {[ 159 (citing Socia Report {| 4 (Dkt. {23-
11); Prescott Report J] 32 (Dkt. 123-10); Lovell Decl. q
10). Their theory appears fo be that registration serves
no purpose as to victims who know their perpetrator
because they already are aware of their perpetrator's
past. Id. {| 160. But other victims do not know of that
past and may want to avoid becoming a fresh victim.
And even according to Plaintiffs' estimates, 13-15% of
sex crimes reported to the police are committed by
strangers. Id. {| 159. Providing information that will help
the public protect themselves from even a portion of
reported sex crimes is a legitimate goal. Again, the
Constitution does not demand legislative perfection.

As discussed previously, _ rationality is further
established by recognizing that SORA serves at least

two other legitimate purposes completely unrelated
to [*91] recidivism: deterring first-time offenders and
providing information that individuals can use to protect
themselves and their families. These purposes alone
are each legitimate government purposes sufficient to
justify SORA under rational basis review.

Although there are no federal cases adopting Plaintiffs’
argument, Plaintiffs cite to certain state cases that they
contend “have held that non-reviewable lifetime
registration without any opportunity for judicial review
violates due process ... ." Pls. Br. Supp. Mot. for
Summ. J. at 34. All are distinguishable.

in Powell v. Keel, 433 S.C. 457, 860 S.E.2d 344 (S.C.
2021), the respondent was convicted of a sex offense
and required to register under South Carolina's SORA
for life. Powell, 860 S.E.2d at 345-346. As explained by
that state's supreme court, South Carolina's SORA
"generally mandate[d] that a person required to register
as a sex offender must do so biannually for life." Id. at
347, The respondent challenged the constitutionality of
this lifetime requirement, arguing that it violated various
constitutional protections, including due process. Id. at
346.

The court agreed with the respondent and held that
"“SORA's lifetime registration requirement without judicial
review violated due process." /d. at 348. But the court
specifically held that [*92] "the initial mandatory
imposition of sex offender registration" was
constitutional. Id. Powell only found that "SORA's
lifetime registration requirement without any opportunity
for judicial review to assess the risk of re-offending"
violated due process. !d.

But Michigan SORA 2021, unlike South Carolina SORA,
only imposes lifetime registration on Tier Ill offenders—
there is a degree of tailoring imbedded in the statute.
This ameliorates the Powell court's concern that "there
is no evidence in the record that current statistics
indicate all sex offenders generally pose a high risk of
re-offending."46 id._at 349. Under Michigan SORA, not

48The court in Powell described the State's purpose in
enacting SORA as "protecting the public from a high risk of re-
offending.” Powell, 433 S.C. af 466. The “high risk of re-
offending” language most likely came from the “purpose”
provision of South Carolinats SORA, which states that
"[s]tatistics show that sex offenders often pose a high risk of
re-offending.” Id, at 348 (citing S.C. Code_Ann. § 23-3-400
(2007 & Supp. 2020)). This Court notes that Michigan SORA
2021 does not include the same language in its statement of

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all sex offenders are required to register for life. And as
already discussed, the social science regarding the risk
of recidivism is mixed. The Michigan legislature has
determined that individuals who committed certain
offenses should be required to register for life without
any chance for reassessment. This determination is far
more reasonable than requiring all registrants to register
for life. Powell, therefore, is not directly applicable to the
present case.

Plaintiffs also cite to Doe v. Dep't of Pub. Safety, 444
P.3d 116 (Alaska 2019). In that case, the plaintiff argued
that the Alaska Sexual Offender Registration Act
(ASORA) violated the due process clause of the Alaska
Constitution by requiring all sex offenders [*93] to
register without providing a procedure for them to
establish that they do not represent a threat to the
public. fd. at 179. The plaintiff alleged that ASORA
infringed on a number of fundamental rights: the right to
integrate into society, the right to privacy, the right to be
let alone, and the right to pursue employment. Id._at
124. Finding that the right to privacy "is an explicitly
enumerated right under the Alaska Constitution" that
“should generally be considered fundamental,” the court
employed strict scrutiny. /d. at 126. The court ultimately
held that "AGORA's coverage is excessive to the extent
it applies to sex offenders who do not present a danger
of committing new sex offenses." /d. at 132. But rather
than invalidate ASORA, the Doe v. Dep't of Pub. Safety
court allowed the plaintiff to file a civil action in the
superior court "in which he would be permitted to
attempt to prove that he no longer poses a risk to the
public that justifies continued registration." /d. at 135.

Doe v. Dep't of Pub. Safety is distinguishable because it
was grounded in the Alaska constitution's guaranty of
privacy. There is no case finding an analogous right in
the U.S. Constitution applicable to a sex offender
registry challenge. Indeed, Plaintiffs [*94] make no
claim that any alleged right to privacy is at issue in this
case.

Lastly, Plaintiffs cite to State v. Bani, 97 Haw. 285, 36
P.3d 1255 (Haw. 2001), as amended on clarification

purpose. Instead, Michigan SORA 2021 states that "[t]he
legislature has determined that a person who has been
convicted of committing an offense covered by this act poses
a potential serious menace and danger to the health, safety,
morals, and welfare of the people, and particularly the
children, of this state.” Mich. Comp. L. § 28.721a. The
legislature could reasonably consider an individual with even a
low risk of reoffending to be a “potential serious menace and
danger."

(Dec. 6, 2001). In Bani, the appellant argued that
Hawaii's sex offender registration and notification statute
violated his procedural due process rights by failing to
provide him with notice and an opportunity to be heard
before being subjected to the statute's public notification
provisions. Bani, 36_P.3d at 1262-1263. As discussed
above, federal precedents require rejection of any
procedural due process challenge to SORA.

2, Equal Protection

Plaintiffs also argue that SORA 2021 violates equal
protection by failing to provide for individualized review.
Am. Compl. {ff 746-756. But Plaintiffs do not develop
this argument in their brief supporting their motion for
summary judgment beyond mentioning equal protection
in a section header and arguing that a lack of
individualized review fails rational basis review. Pls. Br.
Supp. Mot. for Summ. J. at 28-35. Plaintiffs do not
attempt to show that they have been disparately treated
as compared to similarly-situated persons, as is
required of any equal protection claim. See Cfr. for Bio-
Ethical Reform, Inc. v. Napolitano, 648 F.3d 365, 379

(6th Cir. 2011).

"It is not the court's responsibility to craft winning legal
arguments for" the [*95] parties. United States _v.
Munaarro, No. 07-20076, 2020 U.S. Dist. LEXIS 70576,
2020 WL 1933816, at *3 (E.D. Mich. Apr. 22, 2020).
Accordingly, the Court declines to address Plaintiffs’
equal protection claim as it relates to a lack of
individualized review.

C. Unequal Opportunity to Petition for Removal

Plaintiffs argue that denying similarly-situated
registrants the opportunity to petition for removal from
the registry violates the Equal Protection Clause. Am.
Compl. V1 757-772. But Plaintiffs have failed to show
that they have been treated disparately than similarly-
situated persons, so this claim fails.

Under SORA 2021, only two groups of registrants are
allowed to petition for removal.‘” First, Tier | registrants

47 For those eligible to petition, SORA 2021 establishes the
required procedure. Mich. Comp. L § 28.728c(4)-(11). A copy
of the petition must be filed with the office of the prosecuting
attorney that prosecuted the case against the registrant, and
any known victim must be notified. Id. § 28.728c(7) and (8).

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can petition for removal ten years after the later of their
conviction or release from confinement if they meet
certain conditions.48 Mich. Comp. L. § 28.728c/1), (12).
Tier | registrants are required to register for 15 years, so
this means that they can petition for removal from the
registry up to five years early.

Second, registrants subject to SORA 2021 for a juvenile
adjudication can petition for removal from the registry 25
years after the later of their adjudication or release from
confinement if they meet certain conditions.49 Mich.
Comp. L. § 28.728c(2), (13). Although not emphasized
by either party, the Court notes that juveniles are only
required to register under SORA 2021 if their
adjudication [*96] is for the commission of an offense
that would classify the individual as a Tier Ill offender.
Mich. Comp. L. § 28.722/a)(iii). So unlike Tier Il! adult
registrants who are required to register for life and may
never petition for removal from the registry, Tier Ill
juveniles may petition after 25 years. This still allows
many juvenile registrants to live free from registration
requirements for many years, if not decades, of their
lives.

Tier | registrants and juvenile registrants account for 7%
and 5% of all registrants, respectively. Pls. SOMF ] 218,
433 (citing Class Data Report {J 5, 18, 42, 93-98 (Dkt.
123-6)). This means that only 12% of SORA registrants
can petition for removal, and even then, only if they
meet certain conditions. The other 88% of registrants

The court must then conduct a hearing, at which the victim
may speak. The court must consider the following factors in
determining whether to allow the individual to discontinue
registration: (i) the individual's age and level of maturity at the
time of the offense, (ii) the victim's age and level of maturity at
the time of the offense, (ili) the nature of the offense, (iv) the
severity of the offense, (v) the individual's prior juvenile or
criminai history, (vi) the individual's likelihood to commit further
listed offenses, (vii) any impact statement submitted by the
victim, and (viii) any other information considered relevant by
the court. Id. § 28,728c¢/11). But the court "shall not grant the
petition if the court determines that the individual is a
continuing threat to the public.” id.

48 Tier | registrants may petition for removal ten years after the
later of conviction or release from confinement if they: (i) have
not since been convicted of any felony or other registrable
offense, (ii) have successfully completed their assigned
periods of supervised release, probation, or parole, and (iti)
have successfully completed a sex offender treatment
program. Mich. Compl. L. § 28. 728c(1), (12).

49 Juvenile registrants must meet the same conditions as Tier |
registrants described in the footnote above.

can never petition for removal. Plaintiffs argue that such
a scheme “violates equal protection because (1) the
barred-from-petitioning sub-class is treated differently
than others .. . who are similarly situated in all material
respects, and (2) the state has no rational basis for the
different treatment." Pls. Br. Supp. Mot. for Summ. J. at
35-36 (punctuation modified).

The Equal Protection Clause prevents a state from
denying its citizens “equal protection of the laws." U.S.
Const. amend. XIV, § 1. [*97] The provision "does not
forbid States from drawing distinctions in their laws [b]ut
it does prohibit States from allocating benefits and
burdens based on suspect and irrational classifications."
Gore, 107 F.4th at 555.

"To state an equal protection claim, a plaintiff must
adequately plead that the government treated the
plaintiff disparately as compared to similarly situated
persons and that such disparate treatment either
burdens a fundamental right, targets a suspect class, or
has no rational basis." Ctr. for Bio-Ethical Reform, Inc.,
648 F.3d at 379 (punctuation modified). The "threshold
element" of an equal protection claim is disparate
treatment. Id. "[O]nce disparate treatment is shown, the
equal protection analysis to be applied is determined by
the classification used by government decision-makers."
Id. "Laws that discriminate based on suspect
classifications, such as race or sex, receive heightened
review." Gore, 107 F.4th at 555 (citing City of Cleburne
v. Cleburne Living Ctr., 473 U.S. 432, 440-441, 105 S.
Ct 3249, 87_L. Ed. 2d 313 (1985)). If a law does not
discriminate based on a suspect classification, it is
"oresumed to be valid" and rational basis review will

apply. Id.

As a threshold matter, the barred-from-petitioning
subclass is not similarly situated to other SORA 2021
registrants. Plaintiffs argue that “[t]he barred-from-
petitioning subclass is similarly situated [*98] to
petition-eligible registrants in all respects material to that
purpose: both groups have registered for ten years;
have not been convicted of another registrable offense
or felony; and have successfully completed supervised
release, probation or parole, and any required sex
offender treatment. The only difference (their tier) is not
relevant to the statutory goal of providing a path off the
registry for people who are rehabilitated. Individuals in
any tier can be rehabilitated." Pls. Br. Supp. Mot. for
Summ. J. at 37-38. But the characterization of tier as
“the only difference" between the barred-from-
petitioning subclass and other registrants is inaccurate.
The barred-from petitioning subclass, by definition,
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committed offenses that the legislature has deemed
more serious than other registrants, either because of
the nature of the offense itself, or the age of the
offender. This is a material difference.

But even if the Court found that the barred-from-
petitioning subclass was similarly situated to other
SORA 2021 registrants, the statutory scheme satisfies
rational basis review. Plaintiffs‘ various arguments to the
contrary fail for the following reasons.

Plaintiffs contend that [*99] "[s]tates may punish some
offenses more severely than others, but equal protection
forbids line-drawing based on offense history where
such line-drawing is not related to the statutory
purpose." Id. at 38. In support of this proposition,
Plaintiffs rely on Baxstrom v. Herold, 383 U.S. 107, 86
S. Ct. 760, 15 L. Ed. 2d 620 (1966). But Plaintiffs’
reliance on Baxstrom is misguided.

In Baxstrom, the petitioner was certified as insane bya
prison physician shortly after he was sentenced to a
term of two and one-half to three years in a New York
prison. /d. at 107. The petitioner was transferred from
prison to a New York Department of Corrections
hospital for mentally ill prisoners. Id. Shortly before the
petitioner's sentence was over, the director of the
hospital filed a petition requesting that the petitioner be
civilly committed. Id. The petitioner was committed
without a jury trial. /d. at 108-109. The Supreme Court
held that denying prisoners a jury trial to determine their
sanity, while affording such a right to people not in
prison facing — civil commitment, violated equal
protection. Id. at 110-115. As the Supreme Court
explained,

The capriciousness of the classification employed
by the State is thrown sharply into focus by the fact
that the full benefit of a judicial hearing to determine
dangerous tendencies is withheld [*100] only in the
case of civil commitment of one awaiting expiration
of penal sentence. A person with a past criminal
record is presently entitled to a hearing on the
question whether he is dangerously mentally ill so
long as he is not in prison at the time civil
commitment proceedings are instituted. Given this
distinction, all semblance of rationality of the
classification, purportedly based upon criminal
propensities, disappears.

id. at 115. Baxstrom, therefore, does not stand for the
proposition that equal protection forbids line-drawing
based on offense history; it prohibited line-drawing

based on custodial status.

Plaintiffs also argue that SORA 2021's scheme is
irrational because tier classifications do not correspond
to risk. Pls. Br. Supp. Mot. for Summ. J. at 39. But the
legislature could reasonably conclude that adults who
committed more serious crimes should be monitored for
longer periods of time without the opportunity for
removal. Making a mistaken judgment about who is not
dangerous _— carries potentially more severe
consequences when made about a more serious
offender.

Lastly, the Court notes that Plaintiffs’ arguments
regarding juvenile offenders are inaccurate. Plaintiffs
contend that "[rlequiring [*101] juveniles to wait 15
years longer than adults to petition is [] irrational" and
argue that “[c]ourts have repeatedly struck down laws
that subject juvenile registrants to stricter requirements
than adults." Id. at 39-40. But as already explained,
SORA 2021 does not subject juvenile registrants to
stricter requirements than adults. In fact, the opposite is
true: SORA 2021 allows all juvenile registrants to
petition for removal after 25 years, whereas Tier I! and
Tier IIl adults can never petition for removal.

For these reasons, Plaintiffs‘ equal protection claim
based on registrants’ unequal opportunity to petition for
removal fails.

D. Plea Agreements

Plaintiffs argue that SORA 2021 violates due process by
retroactively changing the terms of plea agreements.
Am. Compl. 9] 789-797. Plaintiffs bring this claim on
behalf of the plea bargain subclass, which is defined as
"members of the primary class who gave up their right to
trial and pled guilty to a registrable offense in Michigan
and who, as a result of retroactive amendments to
SORA, (a) were retroactively subjected to SORA even
though there was no registration requirement at the time
of their plea; or (b) had their registration terms
retroactively extended beyond that in [*102] effect at
the time of their plea." 5/18/22 Order at 3.

Plaintiffs argue that due process protects plea
agreements in two ways: by requiring (i) defendants’
waiver of constitutional rights to be knowing and
voluntary and (ii) agreements with defendants to be
fulfilled. Pls. Br. Supp. Mot. for Summ. J. at 48-49.
According to Plaintiffs, “[bly retroactively lengthening or
imposing lifetime registration on people who reasonably
expected no or shorter registration in return for pleading
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guilty, Michigan has changed the terms of plea deals."
Id. at 52. Plaintiffs contend that this violates both due
process protections afforded to plea agreements. Id. at
50.

However, the Court has now determined that SORA
2021 violates the Ex Post Facto Clause, which ruling will
prohibit retroactive enforcement of amendments to
SORA. This means that no plea agreements will be
retroactively modified or go unfulfilled. It does not
appear that any further finding need be reached with
respect to this claim. This claim is therefore moot.

E. Non-Sex Offenses

Plaintiffs make two arguments regarding non-sex
offenses. Am. Compl. I] 798-808. First, Plaintiffs argue
that the state cannot label someone as a sex offender,
by including that person on [*103] a sex offender
registry, unless that person's offense involved sex as an
element or circumstance. Pls. Br. Supp. Mot. for Summ.
J. at 53-55. Second, Plaintiffs argue that if the elements
of an offense do not include a sexual element, then the
offender has a right to a judicial determination regarding
whether or not the circumstances of the offense
involved sex. Id. at 55-57.

According to Plaintiffs, there are two situations where
SORA 2021 requires registration for offenses without a
sex element. Am. Compl. {ff 799-801. The first is the
"catch-all" provision, which requires registration for an
offense "that by its nature constitutes a sexual offense
against an individual who is a minor." Id. § 800 (citing
Mich. Comp. L. § 28.722(r)(vii)). For such offenses, the
statute requires a judicial determination of whether the
offense "by its nature constitute[d] a sexual offense." Id.
(citing Mich. Comp. L. § 769.1(13)).°9 Plaintiffs do not
challenge the constitutionality of this "catch-all"
provision. Id. {| 801.

In addition, SORA 2021 requires registration for people
convicted of certain offenses against minors, regardless
of whether there is a sexual component to the crime. Id.
q 801.51 For these offenses, registration is required

50 Plaintiffs note that "[t]he statutory cross-references to SORA
in MCL 769.1(13) were not amended when SORA was
amended, and thus refer to an alder version of SORA." Am.
Compl. { 800 n.26.

51 These offenses include: (i) kidnapping a minor (Mich. Comp.
L § 750.349); (ii) unlawful imprisonment of a minor (id. §

automatically. Plaintiffs argue that procedural due
process [*104] requires a judicial determination that a
person committed a sex offense before the state can
brand them as a sex offender. Plaintiffs also argue that
the current scheme—in which some non-sex offenders
are provided a judicial determination whereas others are
not—violates equal protection. Id. at 56-57.

Rather than responding to the merits of Plaintiffs’
constitutional arguments, Defendants contend that
Plaintiffs’ claims are moot and that class-wide relief is
not appropriate. Defs. Mot. for Summ. J. at 22-28. The
Court disagrees.

41. Mootness

Defendants argue that Plaintiffs’ claims are moot. Id. at
22-26. In People v. Lymon, _N.W.3d__, No. 164685,
2024 Mich. LEXIS 1439, 2024 WL 3573528 (Mich. July
29, 2024), the Michigan Supreme Court affirmed a
Michigan Court of Appeals decision holding that
requiring non-sex offenders to register under SORA
2021 violates Michigan's constitutional protection
against cruel or unusual punishment.92

The parties agree that after the Michigan Court of
Appeals decision in Lymon, the MSP created a
procedure to remove certain offenders convicted of
offenses without a sex element from the registry. Defs.
SOMF 4] 122-123; Pls. Resp. to Defs. SOMF {If 122-
123. As part of this procedure, the MSP identified
people registered based solely on a Michigan offense
without a sex [*105] element. Defs. SOMF {| 422. The
MSP. notified the convicting courts, law enforcement
agencies, prosecutors, affected registrants, and the
Prosecuting Attorneys Association of Michigan that
“[alffected registrants would be removed from the

750,349b); (iii) leading away of child under 14 (id. § 750.350);
or (iv) a comparable out-of-state offense. id. § 28.722/(n(iii),
(O60, (wifi, viii}, (vifvii). Kidnapping a minor and leading
away of a child under 14 constitute Tier Ill offenses, which
require tifetime registration. Id. § 28.722/v)(ii)-fiii). Unlawful
imprisonment of a minor is a Tier | offense, requiring 15-year
registration. Id. 28.722(r) (iii).

52 The Michigan Supreme Court vacated the Michigan Court of
Appeals opinion "insofar as its conclusions went beyond the
consideration of non-sexual offenders" but “affirm[ed] its
judgment that defendant and other offenders whose crimes
lacked a sexual component are entitled to removal from the
sex-offender registry." Lymon, 2024 Mich. LEXIS 1439, 2024
WL 3573528, at *17.

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registry unless the prosecutor provided information
indicating that there was a sexual component to a
registrant's crime." Jd. ] 123. Prosecutors were given 90
days to decide whether the affected registrant must be
required to register. Pls. SOMF {J 458 (citing Lymon
Prosecutor Letter (Dkt. 128-7)). Prosecutors were told
that their assessment should be based on whether the
underlying offense conduct had a sexual component. Id.
(citing Lymon Prosecutor Letter). This process resulted
in the removal of all people registered based solely on a
Michigan offense without a sex element, except for 14
individuals for whom the prosecutor determined that the
offense was sexual in nature. Defs. SOMF {| 124.

Defendants argue that the MSP removed "nearly all" of
the non-sex offense subclass from the registry in the
wake of Lymon. Defs. Mot. for Summ. J. 24. Plaintiffs
disagree and estimate that about 146 members of the
non-sex offense subclass remain on the registry. [*106]
Pls. SOMF {| 460 (citing Elbakr Decl. I] 7-12 (Dkt. 123-
27); Class Data Report {| 24.d). The exact reason for the
parties' disagreement is not clear. The parties agree that
the MSP's process did not apply to people subject to
SORA based on out-of-state convictions for offenses
without a sex element. Pls. SOMF {] 459; Defs. Resp. to
Pls. SOMF {J 459. They also agree that it did not apply
to people with convictions for both a sex offense and an
offense without a sex element.o? Defs. SOMF {| 125;
Pls. Resp. to Defs. SOMF 125. Defendants dispute
Plaintiffs! claim that roughly 146 members of the non-
sex offense subclass remain on the registry, but they do
not explain the basis for their dispute or offer a different
estimate. Defs. Resp. to Pls. SOMF {[ 460.

"(A] case is moot when the issues presented are no
longer ‘live’ or the parties lack a legally cognizable
interest in the outcome." Powell_v. McCormack, 395
U.S. 486, 496, 89 S. Ct, 1944, 23 L. Ed. 2d 491 (1969).
Here, at the very least, the parties agree that 14
individuals remain on the registry for offenses without a
sex element. As Plaintiffs note, the Michigan Supreme
Court in Lymon “had no reason to consider—and did not
consider—what procedures should apply to determine
who is a 'non-sex offender.” Pls. Lymon [*107]_ Br. at 4.
Therefore, the issue of whether these 14 individuals
were afforded proper process constitutes a live issue for

53 Plaintiffs explain that “because the removal of the non-sex
offense can affect a person's tiering (which controls both
registration obligations and length of registration), some such
class members may be entitled to reduced obligations or be
entitled to removal if the registration term for their sex offense
has run." Pls. Lymon Br. at 3 n.2 (Dkt. 155).

the Court to decide.

2. Class-Wide Relief

Defendants also argue that class wide relief is not
appropriate for the offenders convicted of offenses
without a sex element who were not removed as a result
of Lymon. Defs. Br. Supp. Mot. for Summ. J. at 27-28.
Because there are "no longer questions of fact common
to the class," Defendants contend that these registrants
would have to file an independent lawsuit seeking relief
under Lymon. Id. In response, Plaintiffs argue that "[t]he
subclass is seeking common relief: a bar on registration
absent a judicial determination that their offense was
sexual in nature. Subclass members thus share a claim
for procedural relief, even if the requested judicial
determinations will result in varied outcomes." Pls.
Reply at 22.

Plaintiffs are correct that a common claim regarding
inadequate procedures is appropriate for class
treatment. See, e.g., Barry v. Lyon, 834 F.3d 706, 721-
722 (6th Cir, 2016) (finding that class certification was
appropriate for a group of plaintiffs challenging
Michigan's procedure for terminating food assistance
benefits for persons with an outstanding felony
warrant). [*108]

Because Plaintiffs’ non-sex claim is not moot and is
appropriate for class treatment, the Court turns to the
merits of Plaintiffs’ claim.

3. Merits of Plaintiffs' Non-Sex Claim

First, Plaintiffs argue that the state cannot label
someone as a sex offender unless that person's offense
involved sex. Pls. Br. Supp. Mot. for Summ. J. at 53-55.
Defendants do not dispute this point, and for good

reason. As already discussed, the Michigan Supreme -

Court recently held that requiring non-sexual offenders
to register under SORA 2021 violates Michigan's
constitutional protection against cruel or unusual
punishment. Lymon, 2024 Mich. LEXIS 1439, 2024 WL
3573528, at *17. Multiple other courts have also held
that requiring people to register as sex offenders when
their offense did not involve sex violates substantive due
process. See, e.g., ACLU of New Mexico v. City of
Albuquerque, 2006- NMCA 078, 139 N.M._761, 137
P.3d 1215 (N.M. Ct. App. 2006); People v. Bell, 3 Misc.
3d 773, 778 N.Y.S.2d 837 (N.Y. Sup. Ct. 2003); Stafe v.
Small. 162 Ohio App. 3d_375, 2005- Ohio 3813, 833

